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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

   W.K., E.H., M.M., R.P., M.B., D.P.,
   A.F., C.A., R.K., K.P. and T.H.,

    Plaintiffs,
   v.

   RED ROOF INNS, INC.;
   FMW RRI NC, LLC;                             Civil Action No.
   RED ROOF FRANCHISING, LLC;                   1:20-CV-05263-VMC
   RRI WEST MANAGEMENT, LLC;
   and RRI III, LLC,

     Defendants.




   SUPPLEMENTAL PROPOSED CONSOLIDATED PRETRIAL ORDER
        Plaintiffs W.K., E.H., M.M., R.P., M.B., D.P., A.F., C.A., R.K., K.P., and T.H.

and Defendants Red Roof Inns, Inc., FMW RRI NC, LLC, Red Roof Franchising,

LLC, RRI West Management, LLC, and RRI III, LLC, by and through their

undersigned counsel, submit this supplemental proposed consolidated pretrial order.

This supplemental order replaces the pretrial order submitted on October 13, 2023

(Doc. 425) and reflects the parties’ further efforts to prepare the case for trial

                                           1.


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      There are no motions or other matters pending for consideration by the
court except as noted:

        Upon review of the Court’s order on the Parties’ summary judgment motions

(Doc. 421), the Parties noticed what appears to be an error. In Footnote 4, the Court

stated that it was “omit[ting] background information about Plaintiffs E.H., M.B.,

and D.P., as each of them only held claims against Defendant Varahi.” However, all

three of these Plaintiffs have the following live claims against the Red Roof Inn

Defendants relating to trafficking at the Smyrna Red Roof:

    • Count 1 (RICO, OCGA § 16-14-4(a))
    • Count 2 (RICO, OCGA § 16-14-4(c))
    • Count 3 (TVPRA)

(See Am. Compl., Doc. 31 at PDF 102–115.)

        As part of their settlement with Varahi, these plaintiffs agreed to dismiss

count 4 (the negligence count relating to the Smyrna Red Roof) against the Red

Roof Inn Defendants, which the Court did when it adopted Plaintiffs’ proposed

order on September 8, 2023. (Doc. 420.) But the settlement with Varahi had no

impact on Plaintiffs’ claims in Counts 1, 2 and 3 against the Red Roof Inn

Defendants relating to the Smyrna Red Roof.

        The Parties see no need for reconsideration or even an amended summary

judgment order because the order denied the Red Roof Inn Defendants’ motions for

summary judgment as to E.H., M.B., and D.P. (Docs. 271, 275, and 282). (Doc. 421


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at 2–3, 32.) Plaintiffs also believe that such denial is consistent with the Court’s

substantive rulings, rejecting the Defendants’ arguments.

        Defendants’ Motion to Sever (Doc. 434) remains pending. Plaintiffs oppose

that motion. The parties are aware of no other motions or matters pending for

consideration by the court.

        Plaintiffs’ intend to file a motion for protective order to permit Plaintiffs to be

referred to by their initials during trial. Defendants intend to oppose this motion.

        Defendants’ motion to strike portions of Dr. Bliss’ opinion is still outstanding.

The parties did meet and confer and were unable to reach agreement. Further,

Defendants intend to move to strike portions of Dr. Whitmore’s testimony, whose

deposition was just completed. Plaintiffs intend to oppose these motions.



                                       2.
      All discovery has been completed, unless otherwise noted, and the court
will not consider any further motions to compel discovery. (Refer to LR 37.1B).
Provided there is no resulting delay in readiness for trial, the parties shall,
however, be permitted to take the depositions of any persons for the
preservation of evidence and for use at trial.

        Pursuant to agreement, the parties are completing the depositions of expert

witnesses and will cooperate to schedule trial depositions, if any.

                                      3.
       Unless otherwise noted, the names of the parties as shown in the caption
to this Order and the capacity in which they appear are correct and complete,


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and there is no question by any party as to the misjoinder or non-joinder of any
parties.

        The parties are correctly identified.



                                         4.
      Unless otherwise noted, there is no question as to the jurisdiction of the
court; jurisdiction is based upon the following code sections. (When there are
multiple claims, list each claim and its jurisdictional basis separately.)

        This Court has subject matter jurisdiction over this lawsuit pursuant to 28

U.S.C. § 1331 because Plaintiffs assert claims arising under 18 U.S.C. § 1595(a),

and pursuant to 28 U.S.C. § 1367 because Plaintiffs’ state law claims form part of

the same case or controversy as their federal law claims. There is no dispute as to

jurisdiction.



                                    5.
      The following individually-named attorneys are hereby designated as
lead counsel for the parties:

Plaintiff:
Patrick J. McDonough
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Defendants:
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Other parties:

None

                                         6.
      Normally, the plaintiff is entitled to open and close arguments to the jury.
(Refer to LR39.3(B)(2)(b)). State below the reasons, if any, why the plaintiff
should not be permitted to open arguments to the jury.

        None.


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                                           7.

        The captioned case shall be tried ( X ) to a jury or (_____) to the court

without a jury, or (_____) the right to trial by jury is disputed.



                                       8.
      State whether the parties request that the trial to a jury be bifurcated, i.e.
that the same jury consider separately issues such as liability and damages.
State briefly the reasons why trial should or should not be bifurcated.

        Plaintiffs request to bifurcate the consideration of punitive damages pursuant

to O.C.G.A. §51-12-5.1(d), which provides that “the trier of fact shall first resolve

from the evidence produced at trial whether an award of punitive damages shall be

made.” Then, “[i]f it is found that punitive damages are to be awarded, the trial shall

immediately be recommenced in order to receive such evidence as is relevant to a

decision regarding what amount of damages will be sufficient to deter, penalize, or

punish the defendant in light of the circumstances of the case.”

        Defendants agree the issue of punitive damages will be bifurcated to the extent

the procedure is consistent with O.C.G.A. 51-12-5.1.

                                       9.
       Attached hereto as Attachment “A” and made a part of this order by
reference are the questions which the parties request that the court propound
to the jurors concerning their legal qualifications to serve.

        The parties do not request any additions to Judge Calvert’s standard jury

qualification questions.

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                                        10.
      Attached hereto as Attachment “B-1” are the general questions which
plaintiff wishes to be propounded to the jurors on voir dire examination.
Attached hereto as Attachment “B-2” are the general questions which
defendant wishes to be propounded to the jurors on voir dire examination.
Attached hereto as Attachment “B-3”, “B-4”, etc. are the general questions
which the remaining parties, if any, wish to be propounded to the jurors on voir
dire examination. The court, shall question the prospective jurors as to their
address and occupation and as to the occupation of a spouse, if any. Counsel
may be permitted to ask follow-up questions on these matters. It shall not,
therefore, be necessary for counsel to submit questions regarding these matters.
The determination of whether the judge or counsel will propound general voir
dire questions is a matter of courtroom policy which shall be established by each
judge.

                                           11.

State any objections to plaintiff’s voir dire questions: See below.

State any objections to defendant’s voir dire questions: See below.

State any objections to the voir dire questions of the other parties, if any:

        The parties filed their voir dire questions and objections, per the Court’s

instructions.


                                        12.
      All civil cases to be tried wholly or in part by jury shall be tried before a
jury consisting of not less than six (6) members, unless the parties stipulate
otherwise. The parties must state in the space provided below the basis for any
requests for additional strikes. Unless otherwise directed herein, each side as a
group will be allowed the number of peremptory challenges as provided by 28
U.S.C. § 1870. See Fed.R.Civ.P. 47(b).

        Given the potentially sensitive nature of the subject matter of the lawsuit,

which may involve discussion of sex trafficking and prostitution, including physical

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violence, sexual violence, and sexual trauma, the parties propose a larger panel of

40 potential jurors and a total of 6 peremptory challenges.

        Furthermore, given the nature of the facts at issue, the parties also propose

that the jurors complete a questionnaire in advance of voir dire. A questionnaire

permits jurors to disclose sensitive information in a more discreet manner than if

questions were posed in open court. The parties will confer with the goal of

submitting a joint questionnaire in advance of the pre-trial conference.

                                      13.
      State whether there is any pending related litigation. Describe briefly,
including style and civil action number.


Plaintiffs’ position: Jane Does 1–4 v. Red Roof Inns, Inc. et al, civil action no. 1:21-

cv-4278-WMR, involved similar factual allegations and legal claims arising out of

alleged sex trafficking and prostitution at the same two Red Roof Inn hotels. This

case has now settled.

Defendants’ position: There are no related cases. The Jane Doe case involved

different plaintiffs, different traffickers, at different time periods and therefore did

not arise out of the same or similar occurrences as this case.

                                       14.
       Attached hereto as Attachment “C” is plaintiff’s outline of the case which
includes a succinct factual summary of plaintiff’s cause of action and which
shall be neither argumentative nor recite evidence. All relevant rules,
regulations, statutes, ordinances, and illustrative case law creating a specific
legal duty relied upon by plaintiff shall be listed under a separate heading. In

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negligence cases, each and every act of negligence relied upon shall be
separately listed. For each item of damage claimed, plaintiff shall separately
provide the following information: (a) a brief description of the item claimed,
for example, pain and suffering; (b) the dollar amount claimed; and (c) a
citation to the law, rule, regulation, or any decision authorizing a recovery for
that particular item of damage. Items of damage not identified in this manner
shall not be recoverable.
                                        15.
       Attached hereto as Attachment “D” is the defendant’s outline of the case
which includes a succinct factual summary of all general, special, and
affirmative defenses relied upon and which shall be neither argumentative nor
recite evidence. All relevant rules, regulations, statutes, ordinances, and
illustrative case law relied upon as creating a defense shall be listed under a
separate heading. For any counterclaim, the defendant shall separately provide
the following information for each item of damage claimed: (a) a brief
description of the item claimed; (b) the dollar amount claimed; and (c) a citation
to the law, rule, regulation, or any decision authorizing a recovery for that
particular item of damage. Items of damage not identified in this manner shall
not be recoverable.


                                       16.
      Attached hereto as Attachment “E” are the facts stipulated by the parties.
No further evidence will be required as to the facts contained in the stipulation
and the stipulation may be read into evidence at the beginning of the trial or at
such other time as is appropriate in the trial of the case. It is the duty of counsel
to cooperate fully with each other to identify all undisputed facts. A refusal to
do so may result in the imposition of sanctions upon the noncooperating
counsel.

        The parties are in the process of meeting and conferring on stipulations of fact

and will submit any in advance of the pre-trial conference.

                                          17.
        The legal issues to be tried are as follows:

By Plaintiffs:


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            (1) Whether Defendants engaged in racketeering activity, in violation of
                state and federal law, including but not limited to O.C.G.A. §§ 16-6-9,
                16-6-10, 16-6-11, 16-14-3, 16-5-46, 18 U.S.C. § 1591, and 18 U.S.C.
                § 1595.
            (2) Whether FMW, RRI West, RRI, and Red Roof Franchising
                (Collectively “Smyrna Red Roof Defendants”) are liable to Plaintiffs
                under the TVPRA, 18 U.S.C. § 1595.
            (3) Whether RRI III, RRI West, RRI, and Red Roof Franchising
                (Collectively “Buckhead Red Roof Defendants”) are liable to Plaintiffs
                under the TVPRA, 18 U.S.C. § 1595.
            (4) Whether Smyrna Red Roof Defendants RRI, and Red Roof
                Franchising, and RRI West are liable to Plaintiffs for violating the
                Georgia Racketeer Influenced and Corrupt Organizations Act,
                O.C.G.A. §§ 16-14-4, 16-14-6.
            (5) Whether Buckhead Red Roof Defendants are liable to Plaintiffs for
                violating the Georgia Racketeer Influenced and Corrupt Organizations
                Act, O.C.G.A. §§ 16-14-4, 16-14-6.
            (6) Whether Smyrna Red Roof Defendants are liable to Plaintiffs in
                negligence for the time period prior to December 14, 2012.
            (7) Whether Buckhead Red Roof Defendants are liable to Plaintiffs in
                negligence.
            (8) Whether the totality of the circumstances show that the Smyrna Red
                Roof Defendants were negligent in the operation of the Smyrna hotel.
            (9) Whether the totality of the circumstances show that the Buckhead Red
                Roof Defendants were negligent in the operation of the Buckhead hotel.
            (10)      Whether the Defendants are liable to Plaintiffs for damages, and
                the amount of such damages, including general damages, compensatory
                damages, economic damages, consequential damages, punitive
                damages and treble damages under Georgia RICO.
            (11)     Whether the Defendants are liable to Plaintiffs for costs,
                expenses and reasonable attorneys’ fees including fees pursuant to the

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                TVPRA, Georgia RICO, O.C.G.A. § 13-6-11, and O.C.G.A. §9-11-
                68(e) and any other fee-shifting statute.
            (12)       Whether Georgia law, O.C.G.A. § 51-12-33, permits Defendants
                to apportion damages to non-parties for Plaintiffs claims under the
                TVPRA, 18 U.S.C. § 1595, a federal statute to which the default rule of
                joint and several liability applies.
            (13)     Whether Plaintiffs are entitled to punitive damages against
                Defendants.
            (14)      Any additional legal issues raised by any affirmative defenses or
                counterclaims Defendants may assert.
By Defendants:

        (1) Whether Plaintiffs’ negligence claims are time-barred by the two-year
            statute of limitations, which accrued when there was a negligent act
            coupled with a proximately resulting injury. O.C.G.A. § 9-3-33.
        (2) Whether Plaintiffs’ Georgia civil RICO claims are time-barred by the five-
            year statute of limitations. O.C.G.A. § 16-14-8.
        (3) Whether Defendants can be held liable for allegations of trafficking
            occurring at the Smyrna location after Varahi Hotels, LLC (Varahi)
            franchised Smyrna on December 14, 2012 or thereafter, including whether
            franchisee Varahi was an agent or apparent agent of Defendants, and
            whether Defendants owed a duty to Plaintiffs after that time.
        (4) Whether Defendant Red Roof Franchising, as the franchisor of the Smyrna
            property after December 14, 2012, or any Red Roof Defendant can be held
            vicariously liable for the acts or omissions of the franchisee, Varahi,
            including whether any Defendant obligated itself to pay the debts of
            Varahi, and whether Varahi was an alter ego of the franchisor.
        (5) Whether Red Roof Defendants maintained ownership, operation, and/or
            control of the Smyrna property after it was franchised to Varahi on
            December 14, 2012.
        (6) Whether Plaintiffs can meet their burden to prove that Defendants are
            liable for negligence, including whether the intervening criminal actions

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            of third parties (the traffickers, John Doe Johns, and John/Jane Doe
            Accomplices) were reasonably foreseeable, which would trigger a duty to
            take ordinary precautions to protect against a third party’s intervening
            criminal acts. O.C.G.A. § 51-3-1.
        (7) Whether Plaintiffs had superior knowledge of the specific dangers of the
            commercial sex trade as compared to Defendants.
        (8) Whether and what percentage of fault should be apportioned to various
            non-parties identified in Defendants’ Notices of Intent to Seek
            Apportionment of Fault Against Non-Parties (ECF Doc. Nos. 66, 67, 68,
            69, 302, and 312), including: Plaintiffs’ various alleged traffickers; the
            alleged purchasers of sex and sexual acts performed by Plaintiffs (John
            Doe Johns); individuals who allegedly provided help and assistance to
            Plaintiffs’ traffickers (John and Jane Doe Accomplices); owners and
            operators of additional hotels where Plaintiffs were allegedly trafficked;
            online websites were Plaintiffs were allegedly subjected to online
            advertising for the sale of illegal commercial sex; Varahi Hotels, LLC
            (Varahi) franchisee and owner/operator of the Smyrna location starting on
            December 14, 2012; and security companies providing security services
            at the Smyrna and Buckhead locations during some or all of the time
            periods of Plaintiffs’ alleged trafficking. O.C.G.A. § 51-12-33.
        (9) Whether the acts or omissions of any third party (including those for whom
            apportionment of fault is sought) constitutes a superseding/intervening
            cause such that the alleged causal connection was broken between
            Defendants’ alleged acts or omissions and Plaintiffs’ alleged injuries.
      (10) Whether Plaintiffs engaged in acts of voluntary commercial sex
           (prostitution) or were trafficked as required by the TVPRA by means of
           force, threats of force, fraud, or coercion. 18 U.S.C. § 1591.
      (11) Whether Defendants can be held liable as a beneficiary under the TVPRA,
           including whether Defendants directly and knowingly participated in a
           venture with Plaintiffs’ alleged traffickers, which they knew or should
           have known was a violation of the TVPRA, whether Defendants
           knowingly benefitted from Plaintiffs’ alleged trafficking, and whether
           Defendants knew or should have known that each individual Plaintiff was
           being trafficked in violation of the TVPRA. 18 U.S.C. § 1595.


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      (12) Whether Plaintiffs’ recovery is barred because they engaged in the
           commission of any alleged predicate act under GA RICO, and cannot
           recover for any crimes that they committed.
      (13) Whether recovery for each Plaintiff’s injuries should be limited or barred
           as a result of her own contributory and comparative fault, due to her own
           intentional, negligent, or criminal conduct which contributed to or caused
           her alleged injuries and damages, including whether each Plaintiff
           assumed the risk of injury.
      (14) Whether Plaintiffs’ alleged injuries and damages are fully or partially due
           to pre-existing and subsequent conditions and events unrelated to the
           alleged trafficking, including but not limited to health or mental health
           conditions, physical, mental, and sexual abuse, and drug use, abuse, and
           dependence.
      (15) Whether Defendants can be held liable for claims by W.K., R.P., E.H.,
           M.B., and D.P., with respect to allegations of trafficking occurring at the
           Smyrna location, including whether franchisee Varahi (or any agent or
           employee of Varahi) was an agent or apparent agent of any of the
           Defendants.
      (16) Whether Plaintiffs can meet their burden to prove that Defendants violated
           GA RICO, including whether Defendants were involved in a pattern of
           racketeering activity, whether each Plaintiff was the intended target of any
           alleged predicate act, and whether each Plaintiff’s injury was the direct
           result of a predicate act targeted toward her, such that she was the intended
           victim. O.C.G.A § 16-14-4.
      (17) Whether Plaintiffs can meet their burden to prove that Defendants directly
           and knowingly engaged in trafficking an individual for sexual servitude or
           keeping a place of prostitution in violation of GA RICO, or intentionally
           encouraged, aided, or abetted another to commit those crimes. O.C.G.A. §
           16-14-1, et. seq.
      (18) Whether Plaintiffs can meet their burden to prove that any act or omission
           allegedly committed by an agent or employee of Defendants, and that is
           alleged to constitute evidence of negligence, a violation of the TVPRA, or
           of Georgia RICO, whether such act was committed within the course and
           scope of his employment and on behalf of Defendants.

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      (19) Whether Plaintiffs can meet their burden to prove that Defendants
           knowingly and willfully joined a conspiracy with a common plan or
           purpose to commit two or more predicate acts in violation of GA RICO,
           and whether an overt act to effect the object of the conspiracy was
           committed.
      (20) Whether Plaintiffs’ claims are barred or limited by the doctrines of
           acquiescence, waiver, estoppel, or laches.
      (21) Whether Plaintiffs’ GA RICO claims are barred by the defense of in pari
           delicto, which prohibits a plaintiff from recovering from a conspiracy that
           they participated in.
      (22) Whether Plaintiffs’ claims are barred because they have released, settled,
           entered into accord and satisfaction, or otherwise compromised their
           claims.
      (23) The amount and extent of alleged injuries and damages incurred by each
           Plaintiff, and whether Plaintiffs’ alleged injuries and damages were
           proximately caused by Defendants.
      (24) Whether fault should be apportioned under the TVPRA because joint and
           several liability does not apply.
      (25) Whether Plaintiffs are entitled to an award of punitive damages under any
           claim, and if so if the punitive damages are capped.
      (26) Whether Plaintiffs are entitled to an award of attorney’s fees.
                                       18.
      Attached hereto as Attachment “F-1” for the plaintiff, Attachment “F-2”
for the defendant, and Attachment “F-3”, etc. for all other parties is a list of all
the witnesses and their addresses for each party. The list must designate the
witnesses whom the party will have present at trial and those witnesses whom
the party may have present at trial. Expert (any witness who might express an
opinion under Rule 702), impeachment and rebuttal witnesses whose use as a
witness can be reasonably anticipated must be included. Each party shall also
attach to the list a reasonable specific summary of the expected testimony of
each expert witness. All of the other parties may rely upon a representation by
a designated party that a witness will be present unless notice to the contrary is
given ten (10) days prior to trial to allow the other party(s) to subpoena the

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witness or to obtain the witness’ testimony by other means. Witnesses who are
not included on the witness list (including expert, impeachment and rebuttal
witnesses whose use should have been reasonably anticipated) will not be
permitted to testify, unless expressly authorized by court order based upon a
showing that the failure to comply was justified.

                                        19.
       Attached hereto as Attachment “G-1” for the plaintiff, “G-2” for the
defendant, and “G3”, etc. for all other parties are the typed lists of all
documentary and physical evidence that will be tendered at trial. Learned
treatises which are expected to be used at trial shall not be admitted as exhibits.
Counsel are required, however, to identify all such treatises under a separate
heading on the party’s exhibit list.
       Each party’s exhibits shall be numbered serially, beginning with 1, and
without the inclusion of any alphabetical or numerical subparts. Adequate
space must be left on the left margin of each party’s exhibit list for court
stamping purposes. A courtesy copy of each party’s list must be submitted for
use by the judge.
       Prior to trial, counsel shall mark the exhibits as numbered on the
attached lists by affixing numbered yellow stickers to plaintiff’s exhibits,
numbered blue stickers to defendant’s exhibits, and numbered white stickers to
joint exhibits. When there are multiple plaintiffs or defendants, the surname
of the particular plaintiff or defendant shall be shown above the number on the
stickers for that party’s exhibits. Specific objections to another party’s exhibits
must be typed on a separate page and must be attached to the exhibit list of the
party against whom the objections are raised. Objections as to authenticity,
privilege, competency, and, to the extent possible, relevancy of the exhibits shall
be included. Any listed document to which an objection is not raised shall be
deemed to have been stipulated as to authenticity by the parties and shall be
admitted at trial without further proof of authenticity. Unless otherwise noted,
copies rather than originals of documentary evidence may be used at trial.
Documentary or physical exhibits may not be submitted by counsel after filing
of the pretrial order, except upon consent of all the parties or permission of the
court. Exhibits so admitted must be numbered, inspected by counsel, and
marked with stickers prior to trial.
       Counsel shall familiarize themselves with all exhibits (and the numbering
thereof) prior to trial. Counsel will not be afforded time during trial to examine
exhibits that are or should have been listed.


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        For the Court’s convenience, the Parties’ objections to the other sides’ exhibits

are noted in an “Objections” column on each exhibit list, rather than on a separate

page attached to the exhibit list. The parties will confer in an attempt to resolve or

reduce the number of objections in advance of trial and believe many should be

resolved by this Court’s rulings on the various motions in limine.


                                    20.
     The following designated portions of the testimony of the persons listed
below may be introduced by deposition:

        The Parties exchanged their proposed deposition designations, attached hereto

as Attachment J-1 and J-2. The Parties are continuing to confer and anticipate that

the Court’s rulings on motions in limine will assist the parties in resolving additional

objections. The parties will submit any remaining objections to the Court in advance

of trial.

      Any objections to the depositions of the foregoing persons or to any
questions or answers in the depositions shall be filed in writing no later than the
day the case is first scheduled for trial. Objections not perfected in this manner
will be deemed waived or abandoned. All depositions shall be reviewed by
counsel and all extraneous and unnecessary matter, including non-essential
colloquy of counsel, shall be deleted. Depositions, whether preserved by
stenographic means or videotape, shall not go out with the jury.


                                       21.
      Attached hereto as Attachments “H-1” for the plaintiff, “H-2” for the
defendant, and “H-3”, etc. for other parties, are any trial briefs which counsel
may wish to file containing citations to legal authority concerning evidentiary
questions and any other legal issues which counsel anticipate will arise during

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the trial of the case. Limitations, if any, regarding the format and length of trial
briefs is a matter of individual practice which shall be established by each
judge.

        The parties will submit trial briefs, if any, to the Court at least fourteen (14)

days before the start of the trial.

                                       22.
      In the event this is a case designated for trial to the court with a jury,
requests for charge must be submitted no later than 9:30 a.m. on the date on
which the case is calendared (or specially set) for trial. Requests which are not
timely filed and which are not otherwise in compliance with LR 51.1, will not
be considered. In addition, each party should attach to the requests to charge
a short (not more than one (1) page) statement of that party’s contentions,
covering both claims and defenses, which the court may use in its charge to the
jury.
      Counsel are directed to refer to the latest edition of the Eleventh Circuit
District Judges Association’s Pattern Jury Instructions and Devitt and
Blackmar’s Federal Jury Practice and Instructions in preparing the requests to
charge. For those issues not covered by the Pattern Instructions or Devitt and
Blackmar, counsel are directed to extract the applicable legal principle (with
minimum verbiage) from each cited authority.

                                          23.
       If counsel desire for the case to be submitted to the jury in a manner other
than upon a general verdict, the form of submission agreed to by all counsel
shall be shown in Attachment “I” to this Pretrial Order. If counsel cannot agree
on a special form of submission, parties will propose their separate forms for
the consideration of the court.

        The parties will submit proposed verdict forms to the Court pursuant to the

Court’s Instructions.

                                      24.
      Unless otherwise authorized by the court, arguments in all jury cases
shall be limited to one-half hour for each side. Should any party desire any


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additional time for argument, the request should be noted (and explained)
herein.

        The parties request that they be permitted up to one hour (for each side) for

opening statements and closing arguments.

                                         25.
       If the case is designated for trial to the court without a jury, counsel are
directed to submit proposed finding of fact and conclusions of law not later than
the opening of trial.
                                         26.
       Pursuant to LR 16.3, lead counsel and persons possessing settlement
authority to bind the parties met in person on March 14, 2023, and plan to meet
again on May 13, 2024, to discuss in good faith the possibility of settlement of
this case. The court (_____) has or (___X_) has not discussed settlement of this
case with counsel. It appears at this time that there is: (_____) A good possibility
of settlement. (_____) Some possibility of settlement. (__X__) Little possibility
of settlement. (_____) No possibility of settlement.

                                      27.
      Unless otherwise noted, the court will not consider this case for a special
setting, and it will be scheduled by the clerk in accordance with the normal
practice of the court.

                                          28.
The plaintiff estimates that it will require 7–10 days to present its evidence. The
defendant estimates that it will require 5-7 days to present its evidence. The
other parties estimate that it will require _____ days to present their evidence.
It is estimated that the total trial time is 12–17 days.



                                         29.

IT IS HEREBY ORDERED that the above constitutes the pretrial order for the
above captioned case (_____) submitted by stipulation of the parties or (_____)
approved by the court after conference with the parties.


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       IT IS FURTHER ORDERED that the foregoing, including the
attachments thereto, constitutes the pretrial order in the above case and that it
supersedes the pleadings which are hereby amended to conform hereto and that
this pretrial order shall not be amended except by Order of the court to prevent
manifest injustice. Any attempt to reserve a right to amend or add to any part
of the pretrial order after the pretrial order has been filed shall be invalid and
of no effect and shall not be binding upon any party or the court, unless
specifically authorized in writing by the court. IT IS SO ORDERED this
______________ day of ______________________, 20_____.


                                     __________________________________
                                     UNITED STATES DISTRICT JUDGE


                  Signatures of counsel follow on the next page.




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Each of the undersigned counsel for the parties hereby consents to entry of the

foregoing pretrial order, which has been prepared in accordance with the form

pretrial order adopted by this court.



/s/ Tiana S. Mykkeltvedt                        /s/ Chelsea R. Mikula
Tiana S. Mykkeltvedt                            Chelsea R. Mikula
Counsel for Plaintiffs                          Counsel for Defendants




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                                 Attachment “C”
                          Plaintiffs’ Outline of the Case

      Plaintiffs allege injuries and damages arising from the sex trafficking of W.K.,

E.H., M.M., R.P., M.B., D.P., and A.F. at 2200 Corporate Plaza, Smyrna, Georgia,

30080 (the “Smyrna Red Roof”) and the sex trafficking of R.K., T.H., K.P., C.A.,

W.K., and R.P. at 1960 North Druid Hills Road NE, Atlanta, Georgia, 30329 (the

“Buckhead Red Roof”) from 2009 to 2018.

      Plaintiffs specifically allege that Defendants profited from the operation of the

Smyrna and Buckhead hotels and knew of prostitution and sex trafficking at both

locations, making them liable to Plaintiffs for damages. Prior to December 14, 2012,

FMW acted as the franchisee owner of the Smyrna Red Roof. During the relevant

time period, RRI III acted as the franchisee owner of the Buckhead Red Roof. RRI

West acted as the manager of the Smyrna and Buckhead Red Roofs. Red Roof

Franchising had franchise agreements with FMW and RRI III and acted as the

franchisor for the Smyrna and Buckhead Red Roofs. RRI owns Red Roof

Franchising. Plaintiffs allege these Defendants are liable for their own knowledge

and conduct, which violated the law.

      Plaintiffs assert that (1) Defendants knew or should have known that the

Smyrna and Buckhead Red Roofs violated the Trafficking Victims Protection

Reauthorization Act, 18 U.S.C. 1595(a) (“TVPRA”) and knowingly benefited from

participation in ventures that it knew or should have known engaged in sex
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trafficking in violation of the TVPRA; (2) Defendants knowingly permitted the

Smyrna and Buckhead Red Roofs to be used for prostitution and sex trafficking in

violation of the Georgia Racketeer Influenced and Corrupt Organizations Act

(“Georgia RICO”), O.C.G.A. § 16-14-4(c) and O.C.G.A. § 16-14-4(a), by engaging

in racketeering activity in violation of state and federal law including but not limited

to violations of O.C.G.A. §§ 16-6-9, 16-6-10, 16-6-11, 16-14-3, 16-5-46, and 18

U.S.C. § 1595 and (3) Defendants knew or should have known of the foreseeable

risk of sex trafficking, prostitution, and other crimes at the Smyrna and Buckhead

Red Roof Inns and are liable to Plaintiffs for their negligence under Georgia law in

not taking steps to address the risk.

      Smyrna Red Roof Defendants, FMW, RRI West, RRI, and Red Roof

Franchising negligently failed to keep the Smyrna Red Roof location safe and

negligently failed to protect their invitees adequately and properly in breach of their

duty of care prior to December 14, 2012. These Smyrna Red Roof Defendants were

negligent, and their negligence proximately caused Plaintiffs’ injuries by:

      a.     Negligently violating O.C.G.A. § 51-3-1 by failing to use ordinary care

             to keep the premises safe;

      b.     Negligently violating O.C.G.A. § 41-1-1 by creating and maintaining a

             nuisance;

      c.     Negligently failing to provide appropriate and effective security


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             personnel during Plaintiffs’ trafficking at the hotel;

      d.     Negligently failing to properly inspect and maintain the premises;

      e.     Negligently failing to properly train and supervise their employees

             regarding sex trafficking at the hotel;

      f.     Negligently failing to properly retain, hire, train, and supervise said

             employees;

      g.     Negligently failing to select a franchisee qualified to operate the hotel

             in a safe and secure manner;

      h.     Negligently failing to ensure business policies, systems, and security

             were adequately followed and implemented;

      i.     Negligently failing to inspect, patrol, or appropriately monitor the

             property;

      j.     Negligently failing to remediate a long history of crime at the Smyrna

             Red Roof and the area nearby;

      k.     Negligently failing to warn invitees of known hazards at the property;

             and

      l.     Negligently representing to invitees that the property was safe.

      Buckhead Red Roof Defendants, RRI III, RRI West, RRI, and Red Roof

Franchising negligently failed to keep the Buckhead Red Roof location safe and

negligently failed to protect their invitees adequately and properly in breach of their


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duty of care. These Buckhead Red Roof Defendants were negligent, and their

negligence proximately caused Plaintiffs’ injuries by:



      m.    Negligently violating O.C.G.A. § 51-3-1 by failing to use ordinary care

            to keep the premises safe;

      n.    Negligently violating O.C.G.A. § 41-1-1 by creating and maintaining a

            nuisance;

      o.    Negligently failing to provide appropriate and effective security

            personnel during Plaintiffs’ trafficking at the hotel;

      p.    Negligently failing to properly inspect and maintain the premises;

      q.    Negligently failing to properly train and supervise their employees

            regarding sex trafficking at the hotel;

      r.    Negligently failing to properly retain, hire, train, and supervise said

            employees;

      s.    Negligently failing to ensure business policies, systems, and security

            were adequately followed and implemented;

      t.    Negligently failing to inspect, patrol, or appropriately monitor the

            property;

      u.    Negligently failing to remediate a long history of crime at the Buckhead

            Red Roof and the area nearby;


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      v.     Negligently failing to warn invitees of known hazards at the property;

             and

      w.     Negligently representing to invitees that the property was safe.

      Plaintiffs will seek general non-economic damages, under the TVPRA,

Georgia RICO, and Georgia negligence including recovery for their past, present,

and future physical and mental harm and pain and suffering in a range of $2 million

to $50 million per Plaintiff to be determined by the enlightened conscience of the

jury. Further, any damages awarded by the jury to Plaintiffs for Defendants’

violations of Georgia RICO will be trebled (i.e., an amount that is three times the

compensatory damages award) as a matter of law. Plaintiffs will seek to hold

Defendants jointly and severally liable for injuries arising out of their claims under

the TVPRA.

      Plaintiffs also seek punitive damages under the TVPRA, Georgia RICO, and

Georgia negligence in an amount to be determined by the jury. Plaintiffs intend to

request between $10 million and $100 million per Plaintiff in punitive damages.

      Finally, Plaintiffs will seek to recover their reasonable attorney’s fees, costs,

and expenses under the TVPRA, Georgia RICO, O.C.G.A. § 13-6-11, O.C.G.A. § 9-

11-68(e) and any other fee-shifting authority.

      Plaintiffs reserve the right to pursue all damages allowed under Georgia and

Federal law for their injuries and Defendants’ unlawful actions.


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      Plaintiffs incorporate the representative caselaw contained in their response

to Defendants’ motions for summary judgement. That case law includes but is not

limited to:

      Representative caselaw

   • Dorsey v. State, 279 Ga. 534, 540 (2005)

   • Williams General Corp. v. Stone, 279 Ga. 428, 429 (2005)

   • Coggins v. State, 275 Ga. 479, 480 (2002);

   • Whaley v. State, 343 Ga. App. 701, 704 (2017)

   • Clemmons v. State, 361 Ga. App. 666 (2021).

   • Fitts v. State, 312 Ga. 134, 142 (2021).

   • Cox v. Adm’r U.S. Steel & Carnegie, 17 F.3d 1386, 1398 (11th Cir.)

   • Fitzgerald v. State, 10 Ga. App. 70, 77 (1911).

   • Peters v. State, 72 Ga. App. 157, 158 (1945); see

   • Shealy v. State, 142 Ga. App. 850, 850 (1977)

   • Brannan v. State, 43 Ga. App. 231 (1931)

   • Ward v. State, 22 Ga. App. 786 (1918)

   • Platt v. State, 335 Ga. App. 49, 53 (2015)

   • Basil v. State, 22 Ga. App. 765 (1918)

   • Whaley v. State, 343 Ga. App. 01, 704 (2017)

   • Lemery v. State, 330 Ga. App. 623, 623 (2015)
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• Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 654 (2008)

• Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006)

• InterAgency v. Danco, 203 Ga. App. 418, 424 (1992)

• S. Intermodal Logistics, Inc. v. D.J. Powers Co., 10 F.Supp.2d 1337, 1354

    (S.D. Ga. 1998)

• United States v. Pipkins, 378 F.3d 1281, 1291 (11th Cir. 2004), vacated on

    other grounds by 544 U.S. 902

• Pasha v. State, 273 Ga. App. 788, 790 (2005)

• Akintoye v. State, 340 Ga. App. 777, 781 (2017)

• Brown v. State, 177 Ga. App. 284, 295 (1985)

•    Studivant v. State, 309 Ga. 650, 651 (2020)

• Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 499 (1985)

• Reaugh v. Inner Harbour Hosp., 214 Ga. App. 259, 264 (1994)

• Doe#1 v. Red Roof Inns, Inc., 21 F.4th 714, 723 (11th Cir. 2021)

• United States v. Prather, 205 F.3d 1265, 1270 (11th Cir. 2000)

• United States v. Perez, 698 F.2d 1168, 1171 (11th Cir. 1983)

• Allen v. Bd. of Pub. Educ., 495 F.3d 1306 (11th Cir. 2007)

• Matt v. Days Inns of Am., Inc., 212 Ga. App. 792, 794–95 (1994)

• M.A. v. Wyndham Hotel & Resorts, Inc., 425 F.Supp.3d 959, 968 (S.D. Ohio

    2019)
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• J.G. v. Northbrook Indus., Inc., 2022 WL 4482735, at *6–7 (N.D. Ga. Aug.

   2, 2022)

• G.W. v. Northbrook Indus., Inc., 2022 WL 1644923, at *1–4 (N.D. Ga. May

   24, 2022)

• Lundstrom v. Choice Hotels Int’l, Inc., 2021 WL 5579117, at *4 (D. Colo.

   Nov. 30, 2021)

• S.Y. v. Choice Hotels Int’l, Inc., 2021 WL 1610101, at *4 (M.D. Fla. Apr.

   26, 2021)

• Frazier v. Godley Park Homeowners Ass’n, Inc., 342 Ga. App. 608, 609

   (2017)

• McGarity v. Hart Elec. Membership Corp., 307 Ga. App. 739, 744 (2011)

• Handberry v. Stuckey Timberland, Inc., 345 Ga. App. 191, 195 (2018)

• TGM Ashley Lakes, Inc. v. Jennings, 264 Ga. App. 456, 462 (2003) (en

   banc)

• Walker v. Aderhold Props., Inc., 303 Ga. App. 710, 713 (2010) (en banc)

• Six Flags Over Ga. II, L.P. v. Martin, 335 Ga. App. 350, 361 (2015)

• Wade v. Findlay Mgmt., Inc., 253 Ga. App. 688, 690 (2002)

• Wallace v. Boys Club, 211 Ga. App. 534, 536 n.2 (1993)

• Gustin v. Nicoll, 824 F. App’x 875, 877–78 (11th Cir. 2020)

• Kahn v. Visador Holding Corp., No. 2:07-cv-73, 2009 WL 10668538, **2–3

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   (N.D. Ga. Jul. 17, 2009)

• Marietta v. Godwin, 106 Ga. App. 113, 116–17 (1962)

• German Am. Mut. Life Ass’n v. Farley, 102 Ga. 720, 737 (1897)

• Shadow v. Fed. Exp. Corp., 359 Ga. App. 772, 779 (2021)

• Sturbridge Partners v. Walker, 267 Ga. 785 786(1997)

• Remediation Res., Inc. v. Balding, 281 Ga. App. 31 (2006).

• Georgia CVS Pharmacy v. Carmichael, 362 Ga. App. 59 (2023)




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                                   Attachment “D”
                           Defendants’ Statement of the Case

            Defendants deny that they are liable to Plaintiffs for sex trafficking that

allegedly occurred at various hotels, over different periods of time, by different

traffickers, under any theory of liability, including negligence, violations of the

Trafficking Victims Protection Reauthorization Act, 18 U.S.C. 1595(a) (“TVPRA”),

or pursuant to Georgia’s civil RICO statute, O.C.G.A. § 16-14-4 (a) & (c) (GA

RICO). Plaintiffs allege that that they were trafficked at multiple hotels, including

two hotel properties under the Red Roof brand: (1) 2200 Corporate Plaza, Smyrna,

Georgia 30080 (Smyrna property); and (2) 1960 N. Druid Hills, Atlanta, Georgia

30329 (Buckhead property). Prior to December 14, 2012, the Smyrna property was

owned by Defendant FMW RRI NC, LLC and operated by Defendant RRI West

Management, LLC (RRI West). On December 14, 2012, the Smyrna property was

purchased by an independent third-party franchisee, former Defendant Varahi

Hotels, LLC (Varahi), who entered into a franchise agreement with Red Roof

Franchising (RRF) to operate the Smyrna property as a franchise Red Roof location.

At all relevant times, the Buckhead location was owned by RRI III, LLC and was

operated by RRI West. Red Roof Inns, Inc. employed certain employees at the

Buckhead property, and at the Smyrna property prior to December 14, 2012.

            Any alleged injuries and damages incurred by Plaintiffs were not

proximately caused by any acts or omissions of Defendants, and instead were caused

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by the acts or omissions of others for whom Defendants bear no legal responsibility,

including: Plaintiffs’ various alleged traffickers; the alleged purchasers of sex and

sexual acts allegedly performed by Plaintiffs (John Doe Johns); individuals who

allegedly provided help and assistance to Plaintiffs’ traffickers (John and Jane Doe

Accomplices); owners and operators of other hotels where Plaintiffs were allegedly

trafficked; online websites where Plaintiffs were allegedly subjected to online

advertising for the sale of illegal commercial sex; Varahi Hotels, LLC (Varahi), the

franchisee and owner/operator of the Smyrna location starting on December 14,

2012; and security companies providing security services at the Smyrna and

Buckhead locations during some or all of the time periods of Plaintiffs’ alleged

trafficking. The acts and omissions of these third parties are superseding/intervening

actions such that the causal chain is broken between any act or omission by

Defendants and Plaintiffs’ alleged injuries.

            Each Plaintiff’s alleged injuries and damages were caused by her own

intentional, negligent, or criminal conduct. Each Plaintiff assumed the risk of injury.

Plaintiffs’ alleged injuries and damages are fully or partially due to her own pre-

existing or subsequent conditions and events unrelated to the alleged trafficking at

Red Roof properties, including but not limited to health or mental health conditions,

physical, mental, and sexual abuse, childhood or other trauma, criminal history, and

drug use, abuse, and dependence, etc.



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        Plaintiffs’ negligence claims are time barred by the two-year statute of

limitations, which accrued on the date that the alleged sex trafficking occurred.

Likewise, one or more Plaintiffs’ GA RICO claims are time-barred by the five-year

statute of limitations.

        Defendants did not owe or breach any legal duty to Plaintiffs and had no

knowledge of sex trafficking with respect to the individual Plaintiffs and/or their

alleged traffickers at the Smyrna or Buckhead properties, and had no knowledge,

nor should they have known that each Plaintiff specifically was being trafficked. The

Smyrna property was not owned, operated, or controlled by any Defendant after it

was franchised by former Defendant, Varahi Hotels, LLC (Varahi) on December 14,

2012. Varahi was neither an actual nor apparent agent of any Defendants, and

Plaintiffs have expressly disclaimed any claims against or liability of Defendants

arising out of the acts or omissions of Varahi and its employees and agents.

        The intervening criminal acts of the third-party traffickers, John Doe Johns,

and John/Jane Doe Accomplices as alleged by Plaintiffs were not reasonably

foreseeable, because Defendants had no knowledge of sex trafficking with respect

to the individual Plaintiffs and/or their alleged traffickers at the Smyrna or Buckhead

properties. Accordingly, Defendants owed no duty to protect Plaintiffs from

unforeseeable criminal acts of their traffickers John Doe Johns, or the John/Jane Doe




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Accomplices. Additionally, Plaintiffs had superior knowledge of the specific

dangers of the commercial sex trade as compared to Defendants.

        Defendants did not knowingly and directly participate in a venture with

Plaintiffs’ traffickers, John Doe Johns, or the John/Jane Doe Accomplices that

Defendants knew or should have known was a violation of the TVPRA. Defendants,

including RRI West, did not knowingly benefit from Plaintiffs’ alleged trafficking,

and Defendants did not know, nor should they have known, that each individual

Plaintiff was being trafficked.

        Defendants did not violate GA RICO, because they were not involved in any

pattern of racketeering activity and did not intend that any Plaintiff would be the

targeted and intentional victim of any predicate acts. Plaintiffs’ injuries are not the

direct result of any predicate act targeted toward her such that she was the intended

victim. Defendants did not directly and knowingly engage in trafficking an

individual for sexual servitude or keeping a place of prostitution in violation of GA

RICO, and did not intentionally encourage, aid, or abet another to commit those

crimes. Defendants did not knowingly and willfully join a conspiracy with a

common plan or purpose to commit two or more predicate acts in violation of GA

RICO.

        Any act or omission allegedly committed by an agent or employee of

Defendants, which is alleged to constitute evidence of negligence, a violation of the



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TVPRA, or of GA RICO, was not committed within the course and scope of

employment, and was not committed on behalf of any Defendant. Further, Plaintiffs’

GA RICO claims are barred by the defense of in pari delicto. The doctrine of in pari

delicto is an equitable doctrine that states “a plaintiff who has participated in

wrongdoing may not recover damages resulting from the wrongdoing.” Black’s Law

Dictionary 794 (7th ed.1999). This defense applies to claims under GA RICO. In

addition, Plaintiffs’ claims are barred or limited by the doctrines of acquiescence,

waiver, estoppel, or laches. Furthermore, Plaintiffs have released, settled, entered

accord and satisfaction, or otherwise compromised their claims, and accordingly,

their claims are limited or barred as a matter of law.

LAW TO BE RELIED UPON BY DEFENDANTS:

        Defendants may rely on the statutes and representative case law listed below,

and similar cases, and expressly incorporate by reference as if fully rewritten herein,

all statutes and representative case law cited in any parties’ summary judgment

briefing.

    • 18 U.S.C. § 1591, et. seq.

    •       42 U.S.C. § 1988(a)

    • 42 U.S.C. § 2000a(a)

    • O.C.G.A. § 13-4-10

    • O.C.G.A. § 13-5-7



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    • O.C.G.A. § 16-5-46

    • O.C.G.A. § 16-6-10

    • O.C.G.A. § 16-6-9

    • O.C.G.A. § 16-2-1, et seq.

    • O.C.G.A. § 16-2-22

    • O.C.G.A. § 16-2-20

    • O.C.G.A. § 23-1-25

    • O.C.G.A. § 24-14-29

    • O.C.G.A. § 43-21-3

    • O.C.G.A. § 51-3-1

    • O.C.G.A. § 51-11-7

    • O.C.G.A. § 51-12-5.1

    • O.C.G.A. § 51-12-33

    • O.C.G.A. § 9-3-33

    • O.C.G.A. §51-12-11

    • O.C.G.A. § 16-14-1, et. seq.

    • A.B. v. Hilton Worldwide Holdings Inc., 484 F. Supp. 3d 921 (D. Or. 2020)

    • A.B. v. Marriott Int'l, Inc., 455 F. Supp. 3d 171, 182 (E.D. Pa. 2020)

    • A.B. v. Wyndham Hotels & Resorts, Inc., 532 F. Supp. 3d at 1018 (D. Or.
      2021)

    • A.D. v. Holistic Health Healing Inc., No. 2:22-CV-641-JES-NPM, 2023 WL
      2242507 (M.D. Fla. Feb. 27, 2023)


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    • Ahn v. State, 631 S.E.2d 711 (Ga.App. 2006)

    • Allum v. Valley Bank, 849 P.2d 297 (Nev. 1993)

    • Anderson v. Turton Dev., 225 Ga. App 270, 271, 274 (1997)

    • Atlanta Gas Light Co. v. Jennings, 86 Ga. App. 868 (1952)

    • B.M. v. Wyndham Hotels & Resorts, Inc., No. 20-cv-00656-BLF, 2020 WL
      4368214 (N.D. Cal. July 30, 2020)

    • Bateman Eichler, Hill Richards, Inc. v. Berner, 472 U.S. 299, 105 S. Ct. 2622,
      86 L. Ed. 2d 215 (1985)

    • Baillie Lumber Co. v. Thompson, 279 Ga. 288 (2005)

    • Birdwell v. State, 146 S.E.2d 374 (Ga.App. 1965)

    • Blakely v. Johnson, 220 Ga. 572, 140 S.E.2d 857 (1965)

    • C.C. v. H.K. Grp. of Co., Inc., No. 1:21-CV-1345-TCB, 2022 WL 467813
      (N.D. Ga. Feb. 9, 2022)

    • Carlson v. BRGA Assocs., LLC, 82 F. Supp. 3d 1333 (S.D. Ga. 2015)

    • Cox v. Mayan Lagoon Estates Ltd., 734 S.E.2d 883 (Ga. Ct. App. 2012)

    • DaimlerChrysler Motors Co. v. Clemente, 294 Ga. App. 38 (2008).

    • Doe #1 v. Red Roof Inns, Inc., 21 F.4th 714 (11th Cir. 2021)

    • Doe v. GTE Corp., 347 F.3d 655 (7th Cir. 2003)

    • Does 1-6 v. Reddit, Inc., 51 F.4th 1137 (9th Cir. 2022)

    • Duvall v. Cronic, 820 S.E.2d 780 (Ga. Ct. App. 2018)

    • Fitts v. State, 312 Ga. 134 (2021)

    • G.G. v. Salesforce.com, Inc., No. 22-2621, 2023 WL 4944015 (7th Cir. Aug.
      3, 2023)


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    • G.W. v. Northbrook Indus., Inc., No. 1:20-CV-05232-JPB, 2022 WL 1644923
      (N.D. Ga. May 24, 2022)

    • Garner v. Driver, 155 Ga. App. 322, 270 S.E.2d 863 (1980)

    • Geiss v. Weinstein Co. Holdings, LLC, et al., 383 F.Supp.3d 156 (S.D.N.Y.
      2019)

    • Gentry v. Volkswagen of America, 238 Ga. App. 785 (1999)

    • Goldstein, Garber & Salama, LLC v. J.B., 300 Ga. 840 (2017)

    • H.G. v. Inter-Cont’l Hotels Corp., 489 F. Supp. 3d 697 (E.D. Mich. 2020)

    • J.B. v. G6 Hosp., LLC, No. 19-cv-07848-HSG, 2020 WL 4901196 (N.D. Cal.
      Aug. 20, 2020)

    • J.C. v. I Shri Khodiyar, LLC, 624 F. Supp. 3d 1307 (N.D. Ga. 2022)

    • J.L. v. Best W. Int’l, Inc., 521 F. Supp. 3d 1048 (D. Colo. 2021)

    • Kettner v. Compass Grp. USA, Inc., 570 F. Supp. 2d 1121 (D. Minn. 2008)

    • K. H. v. Riti, Inc., No. 23-11682, 2024 WL 505063 (11th Cir. Feb. 9, 2024)

    • Kids R Kids Intl, Inc. v. Cope, 330 Ga. App. 891 (2015)

    • King v. Georgia Dep’t of Corr., 347 Ga. App. 606, 820 S.E.2d 445 (2018)

    • L.H. v. Marriot Int’l, Inc., 604 F. Supp. 3d 1346 (S.D. Fla. 2022)

    • Leo v. Waffle Howe, Inc., 298 Ga. App. 838 (2009)

    • McDermott, Inc. v. AmClyde, 511 U.S. 202 (1994)

    • New Star Realty, Inc. v. Jungang PRI USA, LLC, 346 Ga. App. 548 (2018);

    • Nicholson v. Windham et al., 571 S.E.2d 466 (Ga. Ct. App. 2002)

    • Noble v. Weinstein, 335 F. Supp. 3d 504 (S.D.N.Y. 2018)



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    • Off. Comm. of Unsecured Creditors of PSA, Inc. v. Edwards, 437 F.3d 1145
      (11th Cir. 2006)

    • Reaugh v. Inner Harbour Hosp., 447 S.E.2d 617 (Ga. Ct. App. 1994)

    • Rent to Own, Inc. v. Bragg, 248 Ga. App. 130 (2011)

    • Rice v. Six Flags Over Georgia, 257 Ga. App. 864, 572 S.E.2d 322 (2002)

    • Rogers v. McDorman, 521 F.3d 381 (5th Cir. 2008)

    • S.J. v. Choice Hotels Int’l, Inc., 473 F. Supp. 3d 147 (E.D.N.Y. 2020)

    • Schlotzsky’s, Inc. v. Hyde, 245 Ga. App. 888 (2000)

    • Summit Auto. Grp., LLC v. Clark, 298 Ga. App. 875 (2009);

    • Sun Trust Banks, Inc. v. Killebrew, 266 Ga. 109 (1995)

    • Travis v. QuikTrip Corp., 339 Ga. App. 551 (2016)

    • Wade v. McDade, 67 F.4th 1363 (11th Cir. 2023)

    • Waters v. Steak & Ale of Ga., 241 Ga. App. 709 (2000)

    • Whelan v. Moone, 242 Ga. App. 795, 531 S.E.2d 727 (2000)

    • Wilks v. Overall Const. Inc., S.E.2d 320 (Ga. Ct. App. 2009)

    • Wylie v. Denton, 746 S.E.2d 689 (Ga. Ct. App. 2015)




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                        ATTACHMENT F-1 – PLAINTIFFS’ WITNESS LIST
     Witness               Address/Contact Information                                May or Will Call
C.A.                       Contact through Plaintiffs’ counsel                        Will
M.B.                       Contact through Plaintiffs’ counsel                        Will
T.H.                       Contact through Plaintiffs’ counsel                        Will
E.H.                       Contact through Plaintiffs’ counsel                        Will
W.K.                       Contact through Plaintiffs’ counsel                        Will
R.K.                       Contact through Plaintiffs’ counsel                        Will
M.M.                       Contact through Plaintiffs’ counsel                        Will
A.F.                       Contact through Plaintiffs’ counsel                        Will
K.P.                       Contact through Plaintiffs’ counsel                        Will
R.P.                       Contact through Plaintiffs’ counsel                        Will
D.P.                       Contact through Plaintiffs’ counsel                        Will
Jane Doe 2                 Contact through Plaintiffs’ counsel                        May
Jane Doe 3                 Contact through Plaintiffs’ counsel                        May
Jane Doe 4                 Contact through Plaintiffs’ counsel                        May
Anique Whitmore            3500 Lenox Road, Suite 1500                                May
                           Atlanta, GA 30326
                           (404) 419-2138
Dr. David Williamson       Walter Reed National Military Medical Center               May
                           8901 Rockville Pike
                           Bethesda, MD 20889
                           -and-
                           9710 Traville Gateway Drive, No. 296
                           Rockville, MD 20850
                           (410) 463-0560




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     Witness                 Address/Contact Information                                May or Will Call
Dr. Melanie Bliss            111 North McDonough Street                                 May
                             Decatur, GA 30030
                             (404) 387-0780
Allan Tallis                 11919 Edgestone Road                                       May
                             Dallas, TX 75230
                             (972) 960-8450
Andrew Alexander             100 Main Street North                                      May
                             St. Petersburg, FL 33716
                             (216) 496-9122
Vanessa Cole                 1393 Tysons Corner                                         May
                             Marietta, GA 30062
                             (770) 313-5756
Glenn Galbraith              Contact through defense counsel                            May
Vickie Lam                   Contact through defense counsel                            May
George Limbert               Contact through defense counsel                            May
Marina MacDonald             Contact through defense counsel                            May
Tom McElroy                  83 River Rise Way                                          May
                             Inlet Beach, FL 32461
                             (901) 488-8135
Jay Moyer                    1329 Moher Boulevard                                       May
                             Franklin, TN 37069
John Park                    Contact through defense counsel                            May
Greg Stocker                 Contact through defense counsel                            May
Vince Vittatoe               Contact through defense counsel                            May
Michelle Wehrle              Contact through defense counsel                            May
Brianne Austin               Contact through defense counsel                            May




                                                    2
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      Witness                   Address/Contact Information                                May or Will Call
Forrest Castille                1408 Adams Lake Boulevard SE                               May
                                Atlanta, GA 30339
                                (762) 359-1595
Brenda Conner                   880 Rock Street NW                                         May
                                Apartment 82
                                Atlanta, GA 30314
                                (404) 438-4794
Sirin Sirinsapasitti            6546 Deerings Lane                                         May
                                Norcross, GA 30092
                                (678) 641-8973
Monica Nash Hamilton            7334 Exeter Court                                          May
                                Riverdale, GA 30296
                                (318) 228-5986
Michael Thomas                  851 E 169th Street, Apt C                                  May
                                Bronx, NY 10459
                                (972) 800-8525
Bharat Patel                    3572 Guildhall Trail                                       May
                                Marietta, GA 30066
Peggy Christensen               8163 Broken Ridge Drive                                    May
                                Lincoln, Nebraska 68526
Laurie Ausley                   14 North Broad Street                                      May
                                Porterdale, Georgia, 30014
Shannon Stovall                 328 County Road 1140                                       May
                                Ravenna, Texas, 75476.
Shawn Hogue                     6635 SW 49th Terrace                                       May
                                South Miami, Florida 33155
                                404-434-6351



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     Witness                  Address/Contact Information                                May or Will Call
James Carson                  1996 Kimberly Rd.                                          May
                              Atlanta, Georgia 30331
                              770-710-8358
Althea Foster                 11027 Lorin Way,                                           May
                              Duluth, GA 30097
                              817-856-9200
Ricky Foster                  11027 Lorin Way,                                           May
                              Duluth, GA 30097
                              817-832-5318
Kimberly Dawn Collins         110 Amberidge Drive                                        May
                              Cartersville, Georgia 30121
Kristopher Seabrooks          (470) 992-9714                                             May
                              Economy Hotel
                              2100 NW Pkwy SE
                              Marietta, GA 30067
Cynthia Pountain              6625 Cow Hollow Dr.                                        May
                              Charlotte, NC 28226
                              (231) 233-8102
Michelle Sarkisian            315 West Country Drive                                     May
                              Duluth, GA 30097
                              (770) 235-8402
Susan Norris                  1750 Powder Springs Road                                   May
                              Suite 190, Box 112
                              Marietta, GA 30064
                              (678) 388-9551




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     Witness                 Address/Contact Information                                May or Will Call
Kimberly McDevitt            Sunrise Ministries                                         May
                             PO Box 801303
                             Acworth, GA 30101
                             (678) 379-5194
Kasey McClure                P.O. Box 82685                                             May
                             Conyers, GA 30012
                             (404) 312-6793
Ann Bailey                   P.O. Box 82685                                             May
                             Conyers, GA 30012
                             (470) 362-8808
Jeff Thomas                  10 Dodd Trail                                              May
                             Greenville, SC 29605
                             (404) 314-8742
                             (404) 468-7277
Joe Fonseca                  971 Deron Drive                                            May
                             Lawrenceville, GA 30044
                             (678) 682-0575
Officer Brian Graham         1665 Windchase Dr.                                         May
Cobb County Police           Marietta, GA 30064
                             (404) 451-0901
Officer Brian C. Moore       1149 Roselawn Lane SE                                      May
Cobb County Police           Marietta, GA 30067
                             (404) 545-5372
Officer John Clifford        4045 George Busbee Parkway, #6304                          May
Brookhaven Police            Kennesaw, GA 30144
                             (770) 843-4112




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      Witness                 Address/Contact Information                                       May or Will Call
Officer Lonnie D. Green       2800 Camp Creek Parkway, L-5                                      May
Cobb County Police            Atlanta, GA 30337
                              (334) 354-4080
Angie Burnette                Alston & Bird LLP                                                 May
                              1201 W. Peachtree Street
                              Atlanta, GA 30309-3424
Tiana Mykkeltvedt (solely as Bondurant, Mixson & Elmore, LLP                                    May
to attorneys’ fees and        1201 West Peachtree Street, N.W., Suite 3900
expenses)                     Atlanta, GA 30309
                              (404) 881-4144
Pat McDonough (solely as to Andersen, Tate & Carr, P.C.                                         May
attorneys’ fees and expenses) 1960 Satellite Boulevard, Suite 4000
                              Duluth, GA 30097
                              (678) 518-6859
Any witness identified on     N/A                                                               N/A
the Defendants’ witness list

                                    Summary of Expert Witness Testimony
     The following is a summary of the expected testimony of each of Plaintiffs’ expert witnesses:
  1. Anique Whitmore: Ms. Whitmore will testify about the psychological dynamics involved in sex trafficking,
     including the psychology behind common behaviors seen in victims of sex trafficking. She will also address
     other aspects of sex trafficking that may be unfamiliar to the jury. And she will also testify about how these
     dynamics have manifested in the Plaintiffs’ specific trafficking experience, as well as other issues addressed
     in her expert report served on or about September 6, 2022. Ms. Whitmore may also serve to rebut the
     testimony of defense experts.



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2. Dr. Melanie Bliss: Dr. Bliss will testify about the neurobiology of trauma, the effects of trauma on memory,
   and common dynamics in repeated sexual assault. She will also address other issues identified in her expert
   report of September 6, 2022. And she may also serve to rebut the testimony of defense experts.

3. Dr. David Williamson: Dr. Williamson will testify about the psychiatric conditions of the Plaintiffs,
   including that the Plaintiffs suffer from psychiatric issues as a result of the traumatic experiences endured
   while being trafficked for sex, along with other issues addressed in his September 6, 2022 expert report. Dr.
   Williamson may also serve to rebut the testimony of defense expert Dr. Matthew Norman.

4. Alan L. Tallis: Mr. Tallis will testify about the standard of care a reasonable hotelier should exercise in the
   face of known signs of prostitution and sex trafficking, including that these signs of trafficking have been
   known in the hotel industry for decades. He will also opine regarding the Defendants’ failure to take
   sufficient steps to address prostitution and sex trafficking occurring at the two hotels at issue in this case and
   beyond. He will also address other issues identified in his September 6, 2022 expert report. And he may
   serve to rebut the testimony of defense expert Greg Bristol.




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                                              ATTACHMENT F-2

                                       Defendants’ Fact Witness List

At trial, Defendants will call the following fact witness:

    1. Glenn Galbraith, can be contacted through counsel for Red Roof Inns

Defendants may call the following fact witnesses:

    2. A.F., can be contacted through counsel
    3. C.A., can be contacted through counsel
    4. D.P., can be contacted through counsel
    5. E.H., can be contacted through counsel
    6. K.P., can be contacted through counsel
    7. M.B., can be contacted through counsel
    8. M.M., can be contacted through counsel
    9. R.K., can be contacted through counsel
    10. R.P., can be contacted through counsel
    11. T.H., can be contacted through counsel
    12. W.K., can be contacted through counsel
    13. Plaintiff’s alleged traffickers, including but not limited to Michael Beene and Tradelle Lacey
    14. Meghan Harrsch, 516 Bluff Ct., Woodstock, GA 30188
    15. Lavan Chandra, 2015 Powers Ferry Rd., S.E., Apt C, Marietta GA 30067
    16. Sandra Taylor, 2379 Tiffany Circle, Decatur, GA 30035
    17. Carlos Johnson, 1895 Stockton St Apt 1, Decatur, GA 30032
    18. Tyray Monroe, 1314 Taylor Way, Stone Mountain, GA 30083
    19. Christopher Maxwell, 866 Churchill Court, Stone Mountain, GA 30083
    20. Joe Fonseca, 971 Deron Drive, Lawrenceville, GA 30044
    21. Henry Herrera, 785 Walnut Creek Drive, Lilbrum, GA 30047
    22. Andrew Alexander, 100 Main Street North, St. Petersburg, FL 33716
    23. Vanessa Cole, 1393 Tysons Corner, Marietta, Georgia 30062
    24. Monica Hamilton, Atlanta, Georgia
    25. Vickie Lam, 2144 E Walnut Creek Pkwy, West Covina, CA 91791
    26. George Limbert, 104 Kastlekove Dr., Lewis Center, OH 43035
    27. Marina MacDonald, can be contacted through counsel for Red Roof Inns
    28. James Moyer, 1329 Moher Blvd., Franklin, Tennessee 37069
    29. John Park, can be contacted through counsel for Red Roof Inns
    30. Gregory Stocker, can be contacted through counsel for Red Roof Inns
    31. Vincent Vittatoe, McKinney, Texas
    32. Michelle Wehrle, can be contacted through counsel for Red Roof Inns
    33. Bernard Mitchell, 3705 Meadow Vista Trail, Lithonia, GA 30038
    34. Robert Allen, 92 Fairwind Court, Stone Mountain, GA 30083
    35. Ella Bowen, 2000 Mallory Ln, St. 130, Franklin, TN 37067
    36. Bob Patel, 2200 Corporate Plaza, Smyrna, GA 30080
    37. Rita Patel, 2200 Corporate Plaza, Smyrna, GA 30080
    38. Rakesh Patel, 2200 Corporate Plaza, Smyrna, GA 30080


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    39. Dorraine Lallani, 2011 Larimer Point Crt, Sugar Land, TX 77479
    40. President and/or Custodian of records for Banneret Security, Inc., 160 Clairemont Ave, Suite
        200, Decatur, GA 30030
    41. President and/or Custodian of records for B.E.S.T., Inc. d/b/a Best Security, P.O. Box 961774,
        Riverdale, GA 30274
    42. Custodian of records for Cobb County Police Department, 545 Fairground ST SE Unit 101,
        Marietta, GA 30060
    43. Custodian of records for LifeStance, 1899 Powers Ferry Rd., Marietta, GA 30339
    44. Custodian of records for Northside Hospital Duluth, 3620 Howell Ferry Rd NW, Duluth, GA 30096
    45. Custodian of records for Cobb County Sherriff’s Office, 185 Roswell St NE, Marietta, GA 30060
    46. Custodian of records for Bibb County, 668 Oglethorpe St., Macon, GA 31201
    47. Custodian of records for Gwinnett County Sheriff’s Office, 2900 University Parkway,
        Lawrenceville, GA 30043
    48. Custodian of records for Gwinnett County Police Department, 770 Hi Hope Road Lawrenceville,
        GA 30044
    49. Custodian of records for DeKalb Community Service Board, 445 Win Way 2nd Fl., Suite 220,
        Decatur, GA 30030
    50. Custodian of records for Carroll County State Court, 311 Newnan Street, Carrollton, GA 30117
    51. Custodian of records for Northside Hospital Atlanta, 1000 Johnson Ferry Rd NE, Atlanta, GA
        30342
    52. Custodian of records for Juvenile Court of Forsyth County, 101 East Courthouse Square, First
        Floor – Suite 1007, Cumming, GA 30040
    53. Custodian of records for DeKalb County Police Department, 1960 W Exchange Pl, Tucker GA
        30084
    54. Custodian of records for Marietta Police Department, 240 Lemon St NE, Marietta GA 30060
    55. Custodian of records for GA Regional Hospital, 3073 Panthersville Rd, Decatur, GA 30034
    56. Custodian of records for Piedmont Cartersville, 960 Joe Frank Harris Pkwy SE, Cartersville, GA
        30120
    57. Custodian of records for Arlington Police Department, 567 Pioneer Rd., Arlington GA 39813
    58. Custodian of records for Wellstar Kennestone Hospital, 677 Church St. NE, Marietta, GA 30060
    59. Custodian or records for other documents produced in discovery to be supplemented in
        advance of the final pre-trial
    60. Any and all witnesses necessary to rebut any testimony or documents used by Plaintiffs in their
        case in chief.



                                     Defendant’s Expert Witness List

At trial, Defendants will call the following expert witnesses:

    1. Matthew Norman, M.D., 4401 Northside Parkway, NW Suit 25, Atlanta, GA 30327
    2. Greg Bristol, 15920 Fairway Drive, Montclair, Virginia 22025
    3. Dr. Kimberly Mehlman-Orozco, 15920 Fairway Drive, Montclair, Virginia 22025




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                             Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 48 of 258
                                                           Attachment G-1 Plaintiffs’ Exhibit List




Admitted   Ex. No. BatesNumber              Date          Filename/Deposition Exhibit        Description                            Defendants' Objections
                                                          Lam 001.pdf; Galbraith
           PX001   RRI000777-RRI000800             1/1/13 001.pdf                            Guest Redi Expectations
                                                                                                                                    Relevance under Rule 401 and
                                                        Lam 002.pdf; Patel 002.pdf;                                                 unfair prejudice and confusion of
                   RRI_WK_00004227-                     RE You have 58 new                                                          the issues under Rule 403
           PX002   RRI_WK_00004245              9/24/14 reviews.msg                          Email re: You have 58 new reviews      (Varahi conduct)
                                                                                                                                    Relevance under Rule 401 and
                                                                                             Email re: GR Alert - NEGATIVE          unfair prejudice and confusion of
                   RRI_WK_00004248-                                                          Case Created for 088:Atlanta -         the issues under Rule 403
           PX003   RRI_WK_00004296             10/22/14 Lam 003.pdf                          Smyrna                                 (Varahi conduct)
                   RRI_WK_00018645-
                   RRI_WK_00018646&RRI_W
           PX004   K_00018647(excerpt)                   Lam 004.pdf                         Email re: September Mid Month NR

                   RRI_WK_00018312-                      Guest_Relations_Presentation        Medallia & Guest Relations
           PX005   RRI_WK_00018331                       by Vickie.ppt; Lam 005.pdf          Presentation PowerPoint Presentation
                   RRI_WK_00001234-                                                          RRI 88 Smyrna YTD Summary,
           PX006   RRI_WK_00001237                       Lam 006.pdf                         Executive Summary emails

                   VARAHI000057-
           PX007   VARAHI000631                          Lam 007.pdf                         RRI Manager in Training Manual
                                                                                             Red Roof Inn Inn Management
           PX008   RRI000223-RRI000262      June 2012    Lam 008.pdf                         Innsider June 2012

           PX009   RRI_WK_00005586                       Lam 009.pdf                         Chart of Complaints of Atlanta RRIs Privilege
                   RRI_WK_00005269-                                                          Email Re: All Atlanta Properties
           PX010   RRI_WK_00005271             10/22/16 Lam 010.pdf                          Need Immediate Attention            duplicate?
                   RRI_WK_00005596-
                   RRI_WK_00005598;RRI_WK
                   _00004268-                                                                Email re: RRI #88 Smyrna, GA -
           PX011   RRI_WK_00004269              1/25/16 Lam 011.pdf                          UPDATE
           PX012   RRI_WK_00018574              Mar-16 Lam 012.pdf                           Vickie Lam - Region 4 Chart
                                                                                             Email re: Reputology 10.5.16 -
                   RRI_WK_00018654-                                                          VICKIE LAM - APPROVAL
           PX013   RRI_WK_00018657              10/5/16 Lam 013.pdf                          NEEDED




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                                                       Attachment G-1 Plaintiffs’ Exhibit List




Admitted   Ex. No. BatesNumber            Date       Filename/Deposition Exhibit     Description                                Defendants' Objections
                                                                                     Email re: FOR RALEIGH
                     RRI_WK_00001258-                                                MEETING - VICKIE LAM'S
           PX014     RRI_WK_00001271          10/5/16 Lam 014.pdf; Galbriath 014.pdf BOTTOM 20% PRESENTATION
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                     RRI_WK_00005613-                                                                                           the issues under Rule 403
           PX015     RRI_WK_00005614         12/28/16 Lam 015.pdf                        Email re: RRI #88 Smyrna, GA           (Varahi conduct)
                     RRI_WK_00004304-
           PX016     RRI_WK_00004311          4/18/17 Lam 016.pdf; Patel 002.pdf         Email re: legal notice




                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                     RRI_WK_00002998-                                                    Email re: Red Roof 2200 Corporate      the issues under Rule 403
           PX017     RRI_WK_00003007          8/10/17 Lam 017.pdf                        Plaza                                  (unrelated properties)
                     RRI_WK_00001364-                                                    Email re: Bad Apples & Terminations
           PX018     RRI_WK_00001375          10/2/17 Lam 018.pdf                        Slides (E-mail 1 of 2)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                     RRl_WK_00001359-                                                    Email re: FEEBACK - Bad Apple          the issues under Rule 403
           PX019     RRl_WK_00001363          2/21/17 Lam 19; Galbraith 019.pdf          Slides - SMYRNA, GA                    (Varahi conduct)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                     RRI_WK_00002901-                                                    Email re: Shout out to the francise    the issues under Rule 403 (redact
           PX020     RRI_WK_00002904          1/19/17 Lam 020.pdf                        ops team (TRIP ADVISOR)                unrelated properties)
                     RRI_WK_00005686-                                                    Email re: Week of July 2 to July 6 -
           PX021     RRI_WK_00005699          6/27/18 Lam 021.pdf                        NASSER JARRAH
                     RRI_EF_00009877-                                                    Email re: What's the Plans to Change
           PX022     RRI_EF_00009878          7/21/16 Lam 022.pdf                        the Image???
                     RRI_EF_00009909-                                                    Email re: Red Roof Inn, 4430
           PX022-2   RRI_EF_00009910          10/7/16 Lam 022-2.pdf                      Frederick Drive, Atlanta, GA 30336
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                     RRl_EF_00009924-                                                    Email re: Please Use Bottom 20%        the issues under Rule 403
           PX023     RRl_EF_00009937         10/14/16 Lam 023.pdf                        Presentation                           (unrelated properties)


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                                                            Attachment G-1 Plaintiffs’ Exhibit List




Admitted    Ex. No. BatesNumber              Date         Filename/Deposition Exhibit         Description                            Defendants' Objections
                    RRI_EF_00010004-
           PX024    RRI_EF_00010008                 4/6/17 Lam 024.pdf                        Email re: 793 Atlanta Six Flags
                    RRI_WK_000038266-
           PX025    RRI_WK_000038267            6/13/18 Lam 025.pdf                           Email re: RRI 793 Six Flags, GA
                    RRI_WK_00002994-                                                          Email re: *RISK CASE* Property
           PX026    RRI_WK_00002997             6/27/17 Lam 026.pdf                           793 Guest Russ Weber
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                   RRl_EF_00003972-                                                                                                  the issues under Rule 403 (other
           PX027   RRl_EF_00003973                        Lam 027.pdf                         Prostitution Ranker Chart              hotels)
                                                                                              Email re: GR Alert - NEGATIVE
                                                                                              Case Created for 793:Atlanta - Six
           PX028   RRI_EF_00006673              7/20/17 Lam 028.pdf                           Flags
                                                                                              Email re: #793 Atlanta Six Flags, GA
                   RRI_WK_00038327-                                                           - WEDNESDAY, SEPTEMBER 26,
           PX029   RRI_WK_00038328              9/13/18 Lam 029.pdf                           2018
                                                                                              RRI Six Flags Hotel Reviews-
           PX030   PLAINTIFF-00009516(RRI)      6/15/19 Lam 030. pdf                          Orbitz
                                                                                                                                     Relevance under Rule 401,
                                                                                                                                     unfair prejudice and confusion of
                                                                                                                                     the issues under Rule 403
                                                                                                                                     (unrelated property in 2019 -
                                                                                              RRI Six Flags Hotel Reviews-           RRI Six Flags), and
           PX031   PLAINTIFF-00009515(RRI)      6/30/19 Lam 031.pdf                           Orbitz                                 authentication
                                                                                                                                     Relevance under Rule 401,
                                                                                                                                     unfair prejudice and confusion of
                                                                                                                                     the issues under Rule 403
                                                                                                                                     (unrelated property in 2019 -
                                                                                              RRI Six Flags Hotel Reviews-           RRI Six Flags), and
           PX032   PLAINTIFF-00009514(RRI)      6/29/19 Lam 032.pdf                           Orbitz                                 authentication
                                                                                                                                     Relevance under Rule 401,
                                                                                                                                     unfair prejudice and confusion of
                                                                                                                                     the issues under Rule 403
                                                                                                                                     (unrelated property in 2019 -
                                                                                              RRI Six Flags Hotel Reviews-           RRI Six Flags), and
           PX033   PLAINTIFF-00009513(RRI)     10/19/19 Lam 033.pdf                           Orbitz                                 authentication




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                                                      Attachment G-1 Plaintiffs’ Exhibit List




Admitted   Ex. No. BatesNumber          Date        Filename/Deposition Exhibit         Description                        Defendants' Objections

                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                   RRl_EF_00010103-                                                     2019/10/30 Emails about Fox News   the issues under Rule 403 (post
           PX034   RRl_EF_00010104         10/30/19 Lam 034.pdf                         Article                            alleged period of trafficking)
                   RRI_WK_00000416-                 Protection of the Rights of         RRI Protection and Rights of
           PX035   RRI_WK_00000417                  Children Policy.docx                Children Policy                    Authenticity; Foundation
                   RRI_WK_00014791-
           PX036   RRI_WK_00014792                  Hotel Training Outline.pdf          Hotel Training Video Outline
           PX037
                                                                                   PowerPoint: General Manager
                   RRI_WK_00001752-                 Red Roof Inn - MIT Training-3- Training Safety and Security
           PX038   RRI_WK_00001778          3/23/08 23-2008.ppt                    Presentation
                                                                                   Safety Services Agreement between
                   RRI_WK_00001791-                 2022-01-19 -Hamilton-          B.E.S.T. Inc. and Red Roof Inn #
           PX039   RRI_WK_00001803          3/10/11 4.pdf;011922-Hamilton-4.pdf 10130
                                                    Travel Risk Management
                                                    Conference Focusing on         Email re: Travel Risk Management      Relevance under Rule 401 and
                   RRI_WK_00020970-                 Corporate & Government         Conference: Focusing on Corporate & unfair prejudice and confusion of
           PX040   RRI_WK_00020973          7/26/12 Travel.msg                     Government Travel                     the issues under Rule 403
                   RRI_WK_00013502-                                                2014/03/06 Email re: ECPAT and
           PX041   RRI_WK_00013504           3/6/14 RE ECPAT .msg                  training
                                                    Preventing and Reacting to
                                                    Child Sex Trafficking          PowerPoint: Preventing & Reacting
                   RRI_WK_00000423-                 (corporate and franchise for   to Child Sex Trafficking with speaker
           PX042   RRI_WK_00000455          9/17/14 9.17.14).pptx                  notes

                                                                                                                           Relevance under Rule 401 and
                                                    RE Human Trafficking                                                   unfair prejudice and confusion of
                   RRI_WK_00000134-                 Training - Franchise                Email re: Human Trafficking -      the issues under Rule 403 (post
           PX043   RRI_WK_00000136          1/24/19 1.23.19.docx.msg                    Francise 1.23.19.docx              alleged period of trafficking)

                                                   Human Trafficking                                                       Relevance under Rule 401 and
                                                   Investigative Protocol Summary Human Trafficking Investigative          unfair prejudice and confusion of
                   RRI_WK_00004146-                and Recommendations FINAL Protocol Summary and                          the issues under Rule 403 (post
           PX044   RRI_WK_00004171          Nov-20 November 2020.pptx             Recommendations, November 2020           alleged period of trafficking)




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                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                   RRI_WK_00005968-                 FW Red Roof January 2012            Email re: Red Roof January 2012    the issues under Rule 403
           PX045   RRI_WK_00006025          2/16/12 Monthly Activity Report.msg         Monthly Activity Report            (unrelated properties)
                                                    RED ROOF WEEKLY
                   RRI_WK_00013148-                 REPORT, September 30 -              Email re: Red Roof WEEKLY
           PX046   RRI_WK_00013152          10/4/13 October 4.msg                       REPORT, September 30 - October 4
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                   RRI_WK_00013153-                                                                                       the issues under Rule 403
           PX047   RRI_WK_00013155         10/10/16 Today's Clips.msg              Email re: Today's Clips                (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                   RRI_WK_00013391-                 RE Media Hotline Call -- fu on Email re: Media hotline call -- f/u on the issues under Rule 403
           PX048   RRI_WK_00013392          12/5/13 alleged rape from 1127.msg     alleged rape from 11/27                (unrelated properties)
                                                                                   Reputology Monitor Review
                   RRI_WK_00002545-                                                Summaries - Red Roof Inn Daily
           PX049   RRI_WK_00002557          9/24/14 You have 58 new reviews.msg Summaries
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                                                                                                                          the issues under Rule 403
           PX050   RRI_WK_00014486           5/1/15 RE Media hotline call.msg      Email re: Media hotline call           (unrelated properties)
                   RRI_WK_00014846-
           PX051   RRI_WK_00014847          9/18/15 Today's Clips.msg                   Email re: Today's clips email

                                                    Clarabridge Comment
                                                    Reports.msg; Comment List -                                            Relevance under Rule 401 and
                                                    July 2015.xlsx; Comment List -                                         unfair prejudice and confusion of
                   RRI_WK_00005226-                 September 2015.xlsx; Comment Email re: Clarabridge Comment             the issues under Rule
           PX052   RRI_WK_00005230          10/6/15 List - August 2015.xlsx        Reports and attachments                 403(unrelated properties)
                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                   RRI_WK_00015681-                                                                                        the issues under Rule 403
           PX053   RRI_WK_00015682         10/21/15 Today's Clips.msg                   Email re: Today's clips email      (unrelated properties)

           PX054                               Exhibit Number Intentionally Omitted                                        Privilege




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                                                            RE RRI Crisis Monitoring
                   RRI_WK_00050261-                         Monthly Report - July to    Email Re: Crisis Monitoring Monthly
           PX055   RRI_WK_00050280                 11/18/15 October, 2015.msg           Report email                        Privilege
                                                                                                                            Relevance under Rule 401 and
                   RRI_WK_00015907-                                                     Email re: Assistance needed- 2016   unfair prejudice and confusion of
           PX056   RRI_WK_00015932                  1/14/16 Re Assistance needed.msg    RRI Crisis Training Presentation    the issues under Rule 403
                                                                                                                            Relevance under Rule 401 and
                                                            RED ROOF WEEKLY             Email re: RED ROOF WEEKLY           unfair prejudice and confusion of
                   RRI_WK_00015980-                         REPORT January 18 – January REPORT - January 18-January 22,     the issues under Rule
           PX057   RRI_WK_00015988                  1/22/16 22, 2016.msg                2016                                403(unrelated properties)
                   RRI_WK_00005478-                         UPDATE Red Roof Caves...or Email re: ATL Trafficking article
           PX058   RRI_WK_00005479                   2/3/16 Did They.msg                "Red Roof Caves … or Did They?"
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403
           PX059   RRI_WK_00050688                   2/7/19 #793-Six Flags.msg          Email re: #793-Six Flags            (unrelated properties)
                   WK-Tallis-000854-WK-Tallis-                                          Polaris Project Tips for First
           PX060   000871                                   Tallis Materials 068.pdf    Interactions with Victims
                                                                                        UN Office on Drugs and Crime: An
                   WK-Whitmore000001-WK-                    UN Introduction to Human    Introduction to Human Trafficking:
           PX061   Whitmore000140                    Jan-08 Trafficking.pdf;13.pdf      Vulnerability, Impact and Action
                   RRI_WK_00000412-                         ECPATUSA_hotelcompanyimp ECPAT USA Hotel Company Code
           PX062   RRI_WK_00000415                          lementationprintRedRoof.pdf Implementation                      Authenticity; Foundation
                                                                                        Article: Polaris Project,
                                                                                        "Understanding the Definition of
                                                                                        Human Trafficking: The Action-
           PX063   WK-Whitmore000141                   2012 2.pdf                       Means-Purpose Model"
           PX064

                                                            Kimberly Ritter stands up to           Article: The Christian Science
                   WK-Tallis-000142-WK-Tallis-              child sex trafficking in US            Monitor, "Kimberly Ritter stands up
           PX065   000148                           3/15/13 hotels - CSMonitor.com.pdf             to child sex trafficking in US hotels"
                                                                                                   Center for Public Policy Studies
                   WK-Tallis-000241-WK-Tallis-                                                     Georgia Human Trafficking Fact
           PX066   000246                               Jun-13 Tallis Materials 009.pdf            Sheet
           PX067




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                    Pltf.-RRI0006361-Pltf.-
           PX068    RRI0006363                        2015 102021-Sarkisian-P6.pdf     The Code article
                                                                                       Article: ECPAT USA Releases First-
                                                                                       Ever guide to States to Stop Child
                     Pltf.-RRI0006364-Pltf.-                                           Sex Trafficking Victims from Falling
           PX069     RRI0006365                      2015 102021-Sarkisian-P5.pdf      Through the Cracks
                                                                                       Article: Cornell Hospitality Report
                                                                                       "Adopting the Code: Human
                     Pltf-RRI0006203-Pltf-                                             Trafficking and the Hospitality
           PX070     RRI0006216                      2015 102021-Sarkisian-P2.pdf      Industry"                            Authenticity; Foundation
                                                          BEST - Inhospitable to Human Email re: BEST - Inhospitable to
           PX071     RRI_WK_00045910              6/26/17 Trafficking.msg              Human Trafficking

           PX072                                      Exhibit Number Intentionally Omitted
                     JDX0005547; JDX0005549-
                     JDX0005550; JDX0005552;                                                   Online Reviews Compilation-
                     JDX0005632-JDX0005635;                Online Reviews-RRI-DH-              Expedia- RRI-Druid Hills
           PX073     JDX0005637-JDX0005640                 Expedia.pdf                         (Buckhead)                          Authentication

                                                           Online Reviews-RRI-DH-              Online Reviews Compilation- Google-
           PX074     JDX0005566-JDX0005575                 Google.pdf                          RRI-Druid Hills (Buckhead)          Authentication
                     JDX0005517-JDX0005521;
                     JDX0005545; JDX0005548;
                     JDX0005551; JDX0005553;                                                   Online Reviews Compilation- Trip
                     JDX0005556-JDX0005563;                Online Reviews-RRI-DH-              Advisor- RRI-Druid Hills
           PX075     JDX0005576;JDX0005636                 TripAdvisor.pdf                     (Buckhead)                          Authentication
                     JDX0005314-                           Online Reviews-RRI-Smyrna-          Online Reviews Compilation-
           PX076     JDX0005315;JDX0005617                 Facebook.pdf                        Facebook- RRI-Smyrna                Authentication
                     JDX0005577-
                     JDX0005583;JDX0005604-                Online Reviews-RRI-Smyrna-          Online Reviews Compilation- Google-
           PX077     JDX0005606                            Google.pdf                          RRI-Smyrna                          Authentication




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                   JDX0005522-
                   JDX0005544;JDX0005546;JD
                   X0005554-
                   JDX0005555;JDX0005590-
                   JDX0005603;JDX0005607-
                   JDX0005616;JDX0005618-                Online Reviews-RRI-Smyrna-         Online Reviews Compilation-
           PX078   JDX0005631                            TripAdvisor.pdf                    TripAdvisor- RRI-Smyrna              Authentication
           PX079   N/A                           10/5/12 CONFMichaelBeene_16.pdf            2012/10/05 Beene Tweet
           PX080   N/A                                   CONFMichaelBeene_5.pdf             Beene Twitter Page
           PX081   N/A                           9/30/12 CONFMichaelBeene_6.pdf             2012/09/30 Tweet with added labels
           PX082   N/A                           4/16/12 CONFMichaelBeene_19.pdf            2012/04/16 Beene Tweet
                                                                                                                                 Relevance under Rule 401,
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                                                                                                                                 (unrelated plaintiff), and
           PX083   Pltf.C.A.004427                      CA_21.pdf                           Choose Up or Lose Up Logo            authentication
                                                                                                                                 Relevance under Rule 401,
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                                                                                            Photo of men wearing Choose up or    (unrelated plaintiff), and
           PX084   Pltf.C.A.009135                      CONFMichaelBeene_7.pdf              Lose up t-shirts                     authentication
                                                                                                                                 Relevance under Rule 401,
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                                                                                                                                 (unrelated plaintiff), and
           PX085   Pltf.K.P.001505                      CONFMichaelBeene_14.pdf             Photo of men with cash               authentication
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                                                        File127.txt;File3.txt;File2.jpeg; Photo of man wearing "Choose Up”       the issues under Rule 403
           PX086   Pltf.C.A.008975                      File126.jpeg                      shirt                                  (unrelated plaintiff)
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                                                                                            Mugshot of Bagz - Earnest Lloyd      the issues under Rule 403
           PX087   Pltf.C.A.009136                      File37.jpeg                         Wright                               (unrelated plaintiff)
           PX088   WK-Tallis-000828                     AlanLTallisVolI_16.pdf              Tallis RRI, RRF Franchising




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                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403 (not a
                                                                                            Operating Agreement of RRF         party to the case); also marked
           PX089   RRI002683-RRI002704                  RRI 002683-RRI 002704.pdf           Holding Company, LLC               AEO
                                                                                            Second Amended and Restated
                                                                                            Operating Agreement of Red Roof
           PX090   RRI002631-RRI002682                  RRI 002631-RRI 002682.pdf           Franchising, LLC
                                                                                            2015/03/02 Word document from
                   JDX0008922;Pltf-RRI-                                                     Dorraine Lallani re Confidential
           PX091   0010181                        3/2/15 March 2.docx                       Ownership Information
                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403
           PX092                                Exhibit Number Intentionally Omitted                                           (unrelated properties)
                                                      102221-Castille-D4.pdf;
                                                      101821-Cole-D4.pdf; 020222- RRI InnSider Employee Handbook
           PX093   RRI000466-RRI000508           2016 Thomas-D4.pdf                  January 2016
                   VARAHI001314-                                                     Acknowledgement - Employee
           PX094   VARAHI001315               2/21/13 Conner BC-001.pdf              Handbook
                                                                                     Acknowledgement/Consent - Drug-
                                                                                     Free Workplace/Criminal Background
           PX095   VARAHI001313               2/22/13 Conner BC-002.pdf              Check
           PX096   VARAHI001297               1/22/16 Conner BC-003.pdf              Separation Notice
                                                      102221-Castille-D2.pdf;
                                                      101821-Cole-D2.pdf; 020222- RRI Safety and Security
           PX097   RRI_000541-RRI_000543      Dec-10 Thomas-D2.pdf                   Housekeeping
                                                      102221-Castille-D3.pdf;        RRI Presentation Preventing &
                                                      101821-Cole-D3.pdf; 020222- Reacting to Child Sex Trafficking (no
           PX098   RRI000509-RRI000540                Thomas-D3.pdf                  speaker notes)
           PX099   RRI000544-RRI000545        Dec-10 102221-Castille-D1.pdf          Dec 2010 RRI Prostitution Notice
                                                      e-Pak 3.30.2012 Continuing
                                                      Ed, April promotions_ April
                                                      2012 Pet Friendly_ Human                                        Relevance under Rule 401 and
                                                      trafficking_ golden shovel                                      unfair prejudice and confusion of
                   RRI_WK_00038055-                   contest_ WIS memo_ February 2012/03/30 Weekly e-Pak for 3.30.12 the issues under Rule 403
           PX100   RRI_WK_00038077            3/30/12 2012 Inn rankings.msg       email                               (unrelated properties)



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Admitted    Ex. No. BatesNumber             Date      Filename/Deposition Exhibit         Description                              Defendants' Objections
           PX101    N/A                               Moyer 101.pdf                       Red Roof Smyrna Photo
           PX102    N/A                               Moyer 102.pdf                       Red Roof Buckhead Photo
                                                                                          2013 Robert Allen Performance
           PX103   RRI000120-RRI000122         2/16/14 Moyer 103.pdf                      Evaluation
                                                                                          Robert Earnest Allen II Status and
           PX104   RRI000135-RRI000136        12/12/19 Moyer 104.pdf                      Key Dates
                                                                                          2016 Robert Allen Performance
           PX105   RRI000117-RRI000119         3/12/17 Moyer 105.pdf                      Evaluation
                   RRI_WK_00001779-
           PX106   RRI_WK_00001790             1/17/08 Moyer 106.pdf                      Safety Services Agreement
                   RRI_WK_00011787-
           PX107   RRI_WK_00011846            11/29/10 Moyer 107.pdf                      Email re: S&S Training

                                                       RRI 000923-RRI 000940.pdf;
           PX108   RRI000923-RRI000940         3/28/12 Moyer 108.pdf                      RRI Weekly E-pak
                   RRI_WK_00012074-
                   RRI_WK_00012076;RRI_WK                                                 Email re: Webinar Link "Preventing
                   _00001150-                                                             and reacting to child sex trafficking"
           PX109   RRI_WK_00001181             8/14/14 Moyer 109.pdf                      webinar
                                                                                                                                   Hearsay to narrative
                                                                                                                                   reports/statements within,
           PX110   JDX0005295-JDX0005298       7/10/13 Moyer 110.pdf                      Dekalb County Police Report              authentication
                                                                                                                                   Hearsay to narrative
                                                       Moyer 111.pdf;                                                              reports/statements within,
           PX111   JDX0000149-JDX0000152       9/20/13 CONFMeghanHarrsch_1.pdf            Brookhaven Police Report                 authentication
                                                                                                                                   Hearsay to narrative
                                                                                                                                   reports/statements within,
           PX112   JDX0000192-JDX0000198      10/24/13 Moyer 112.pdf                      Brookhaven Police Report                 authentication
                                                                                                                                   Hearsay to narrative
                                                                                                                                   reports/statements within,
           PX113   JDX0000216-JDX0000219      10/31/13 Moyer 113.pdf                      Brookhaven Police Report                 authentication
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                   RRI_EF_00007425-                                                       Notes for Budget Reviews FMC and         the issues under Rule 403
           PX114   RRI_EF_00007426            11/12/13 Moyer 114.pdf                      Dune email                               (unrelated properties)

           PX115   RRIWK00004955              11/12/13 Moyer 115.pdf                      Email re: 2014 Budget                    duplicate




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                    RRI_WK_00000791-                                                         Email re: July/July YTD Results - NR
           PX116    RRI_WK_00000794               8/15/12 Moyer 116.pdf                      (Feedback Requested)

                    RRI_WK_00004873;RRI_WK
           PX117    _00004871-RRI_WK_0004872      8/17/12 Moyer 117.pdf                      Email re: Prostitutes
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                    RRI_WK_00031069-                                                                                              the issues under Rule 403
           PX118    RRI_WK_00031076               9/17/12 Moyer 118.pdf                      Email re: Due Monday or sooner!      (unrelated properties)
                                                                                             Email re: Red Roof Inn - Atlanta
                    RRI_WK_00004874-                                                         (Buckhead) - Marhonda Norman -
           PX119    RRI_WK_00004875              12/19/12 Moyer 119.pdf                      Satisfaction Survey results
                    RRI_WK_00004883-                                                         Email Re: Druid Hills Buckhead
           PX120    RRI_WK_00004886              10/22/12 Moyer 120.pdf                      #130
                                                                                             Email re: Red Roof Inn- Atlanta
                    RRI_WK_00000817-                                                         (Buckhead) - Jaguar Eisele -
           PX121    RRI_WK_00000828              11/10/12 Moyer 121.pdf                      Satisfaction Survey Results          duplicate

                                                                                             Email re: Red Roof Inn - Atlanta -
                    RRI_WK_00004900-                                                         Smyrna - Kelly Keammann -
           PX122    RRI_WK_00004901              11/27/12 Moyer 122.pdf; Patel 122.pdf       Satisfaction Survey Results
                                                                                             Email re: Red Roof Inn - Atlanta
                    RRI_WK_00000829-                                                         (Buckhead) - Renee Huber -
           PX123    RRI_WK_00000831              12/17/12 Moyer 123.pdf                      Satisfaction Survey Results
                                                                                             Email re: Red Roof Inn - Altanta
                    RRI_WK_00004902-                                                         (Buckhead) - Joseph Kraut -
           PX123A   RRI_WK_00004903              12/17/12 Moyer 123a.pdf                     Satisfaction Survey Results
                    RRIWK00000832-                                                           Email re: FYI - Karesma Hendrix
           PX124    RRI_WK_00000836               6/22/12 Moyer 124.pdf                      email
                    RRI_WK_00004742-                                                         Email re: Service Manager Task
           PX125    RRI_WK_00004746               10/7/13 Moyer 125.pdf                      Assigned - Sandra Watson
                    RRI_WK_00004952-
           PX126    RRI_WK_00004954              10/31/13 Moyer 126.pdf                      Email re: Tricia LeTempt
                                                          Moyer 127.pdf; Fwd RRI130 -
                                                          Red Roof PLUS+ Atlanta -           Email re: RRI130 - Red Roof PLUS+
                    RRI_WK_00004957-                      Buckhead Complaint of guest        Atlanta - Buckhead Complaint of
           PX127    RRI_WK_00004958               4/26/15 at property. .msg                  guest at property



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                                                                                          Email re: Red Roof Plus Guest
                   RRI_WK_00004982-                                                       Relations Case Created for Scott
           PX128   RRI_WK_00004986         12/30/15 Moyer 128.pdf                         Ernster
                                                                                          Email re: Red Roof Plus Guest
                   RRI_WK_00004999-                                                       Relations Case Created for John
           PX129   RRI_WK_00005001          6/14/16 Moyer 129.pdf                         Foster
                   RRI_WK_0012585-                                                        Email re: 130 Buckhead Reclass
           PX130   RRI_WK_0012587               9/1/16 Moyer 130.pdf                      Sierria Jordon
                   RRI_WK_00005021-
                   RRI_WK_00005025;
                   RRI_WK_00004766-
                   RRI_WK_00004770
                   ;RRI_WK_00005050-
           PX131   RRI_WK_00005055          9/16/16 Moyer 131.pdf                         Email re: Kyle Miller
                   RRI_WK_00000897-                                                       Email re: 130 Buckhead, Reclass
           PX132   RRI_WK_00000900          4/17/17 Moyer 132.pdf                         130509434, Christina Schroer
                                                                                          Email re: Red Roof PLUS Case for
                                                                                          Dijon Rice has been open for 12
           PX133   RRI_WK_00000903         11/13/17 Moyer 133.pdf                         hours
                                                                                          PowerPoint: Preventing & Reacting
                                                                                          to Child Sex Trafficking no speaker
           PX134   RRI000466-RRI000497           2013 Limbert 134.pdf                     notes
                                                                                                                                Relevance under Rule 401 and
                                                                                          Email re: WSOC-TV request -           unfair prejudice and confusion of
                   RRl_WK_00043402-                                                       Federal investigation into Clt        the issues under Rule 403
           PX135   RRl_WK_00043403          9/16/15 Limbert 135.pdf                       Franchise                             (unrelated properties)
                                                    Limbert 136.pdf; RE RRI Crisis
                                                    Monitoring Monthly Report -
                                                    July to October, 2015.msg ;
                                                    PowerPoint Presentation;RRI
                                                    Crisis Monitoring Monthly      Email re: RRI Crisis Monitoring
                   RRl_WK_00050250-                 Report - July to               Monthly Report - July to October
           PX136   RRl_WK_00050260         11/16/15 October_FINAL.pptx             2015 with attachment                         Privilege
                                                                                                                                Relevance under Rule 401 and
                                                                                          Email re: RRI Crisis Monitoring       unfair prejudice and confusion of
                   RRl_WK_00050321-                                                       Monthly Report - July to October      the issues under Rule 403
           PX137   RRl_WK_00050323         11/20/15 Limbert 137.pdf                       2015                                  (unrelated properties)



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                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                    RRl_WK_00043415-                                                       Email re: Attorney Client Privileged - the issues under Rule 403
           PX138    RRl_WK_00043460          12/4/15 Limbert 138.pdf                       Confidential                           (Varahi conduct)

           PX139    RRl_WK_00001723         12/14/15 Limbert 139.pdf                       Email re: Training and ECPAT
                    RRl_WK_00050396-                                                       Email re: RRI Crisis Monitoring
           PX140    RRl_WK_00050414         12/17/15 Limbert 140.pdf                       Monthly Report - November 2015       Privilege
                    RRl_WK_00043466-                                                       Email re: Trafficking-one example at
           PX141    RRl_WK_00043469         12/24/15 Limbert 141.pdf                       Red Roof Inn
                    RRl_WK_00045313-
           PX142    RRl_WK_00045317          1/19/16 Limbert 142.pdf                       Email re: Press Release
                    RRl_WK_00045335-                                                       Email Re: All Atlanta Properties
           PX143    RRl_WK_00045336          1/19/16 Limbert 143.pdf                       Need Immediate Attention
                    RRIWK00045442-                                                         Email re: Red Roof Inn in Smyrna,
           PX144    RRIWK00045446            1/21/16 Limbert 144.pdf                       GA                                   duplicate
                    RRI_WK_00045362-                                                       Email re: Anonymous Caller RRI
           PX145    RRI_WK_00045363          1/21/16 Limbert 145.pdf                       #088
                    RRI_WK_00045469-                                                       Email re: #88 Smyrna, GA - Contact
           PX146    RRl_WK_00045471          1/22/16 Limbert 146.pdf                       Us Form Submission on web            duplicate
                    RRl_WK_00045472-                                                       Email re: Smyrna Letter - needs
           PX147    RRl_WK_00045475          1/22/16 Limbert 147.pdf                       completed today to be sent out today
                                                                                                                                Relevance under Rule 401 and
                                                     Limbert 147A.pdf; Patel                                                    unfair prejudice and confusion of
                                                     147A.pdf;                             Letter re: Recent Issues at Red Roof the issues under Rule 403
           PX147A   RRI005311-RRI005312      1/22/16 AlanLTallisVolI_11.pdf                Inn #088 located in Smyrna, GA       (Varahi conduct)
                                                                                                                                Relevance under Rule 401 and
                                                                                           Email re: What is your response to   unfair prejudice and confusion of
                    RRl_WK_00045531-                                                       Human Trafficking at Cobb County the issues under Rule 403
           PX148    RRl_WK_00045533          1/28/16 Limbert 148.pdf                       Red Roof Inn on Windy Hill?          (Varahi conduct)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                    RRl_WK_00043560-                                                       Email re: RRI #88 Smyrna, GA -       the issues under Rule 403
           PX149    RRl_WK_00043563          1/26/16 Limbert 149.pdf                       UPDATE                               (Varahi conduct)

                    RRl_WK_00050482-                                                       Email re: 2015 RRI Crisis Monitoring
           PX150    RRI_WK_00050495              2/2/16 Limbert 150.pdf                    Report: May to December 2015




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                    RRI_WK_00050496-                                                      Email re: RRI Crisis Monitoring
           PX151    RRl_WK_00050507          2/28/16 Limbert 151.pdf                      Monthly Report Jan 2016                Attorney Work Product
                                                                                          Email re: Tom again he posted on our Relevance under Rule 401 and
                                                                                          pets page and I removed it this is his unfair prejudice and confusion of
           PX152   RRl_WK_00045615           3/23/16 Limbert 152.pdf                      response                               the issues under Rule 403
                   RRI_WK_00045856-                                                       Email re: legal notice - RRI #88
           PX153   RRI_WK_00045864           4/18/17 Limbert 153.pdf                      Smyrna, GA
                                                                                                                                Relevance under Rule 401 and
                                                                                          Email re: RRI#88 Smyrna, GA -         unfair prejudice and confusion of
                                                                                          Officer Jeffrey Adcock (Abatement     the issues under Rule 403
           PX154   RRI_WK_00045963              8/9/17 Limbert 154.pdf                    Concerns)                             (unrelated properties)

           PX155   RRl_WK_00001721          12/10/15 Limbert 155.pdf                      Email Re: Training and EPCAT
                                                                                          Email re: ECPAT USA Tourism and
                   RRl_WK_00045342-                                                       Child-Protection Code Follow-Up
           PX156   RRl_WK_00045354           1/20/16 Limbert 156.pdf                      email
                   RRl_WK_00045693-                                                       Email Re: EPCAT-USA Tourism
           PX157   RRl_WK_00045698           6/28/16 Limbert 157.pdf                      Child-Protection Code Follow-Up

                                                     Limbert 158.pdf; FW ECPAT-
                                                     USA Rubric Report - Red Roof
                   RRl_WK_00047523-                  Inns.msg; ECPAT-USA Rubric Email re: EPCAT-USA Rubric
           PX158   RRl_WK_00047527           8/13/19 Report_Red Roof Inns.pdf     Report - Red Roof Inns
                   RRl_WK_00045809-                                               Email re: Sex Trafficking Video -
           PX159   RRl_WK_00045810           1/15/17 Limbert 159.pdf              Comments
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                                                                                          RRI FaceBook Posts on Human           the issues under Rule 403 (post
           PX160   N/A                          1/9/22 Limbert 160.pdf                    Trafficking                           trafficking period)
                                                                                          Red Roof's Instagram Post re: Denim
           PX161   N/A                       4/23/21 Limbert 161.pdf                      Day Campaign
                                                                                          PowerPoint Presentation: Safety &
                   RRl_WK_00002938-      12/31/2015-                                      Security the Address Hotel Dubai
           PX162   RRl_WK_00002993       01/01/2016 Limbert 162.pdf                       12/31/2015-1/1/2016
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRl_WK_00000548-                                                                                             the issues under Rule 403
           PX163   RRl_WK_00000609           1/28/16 Limbert 163.pdf; Patel 163.pdf Do Not Rent List for RRI Smyrna             (Varahi conduct)


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                   RRl_WK_00001150-                                                       PowerPoint Presentation: Preventing
           PX164   RRl_WK_00001181                    Limbert 164.pdf                     & Reacting to Child Sex Trafficking   duplicate
                                                                                                                                Relevance under Rule 401 and
                                                                                          Article: The Vindicator, "Raising the unfair prejudice and confusion of
           PX165   N/A                     10/24/21 Limbert 165.pdf                       Roof"                                 the issues under Rule 403

                                                                                          Article: Hotel Business, "Listen &      Relevance under Rule 401 and
                                                                                          Grow - This is the foundation of Red    unfair prejudice and confusion of
                                                                                          Roof's future under the leadership of   the issues under Rule 403 (post
           PX166   N/A                     10/15/21 Limbert 166.pdf                       its new president, George Limbert       alleged period of trafficking)

                                                                                          Article: Lodging Magazine, "Crisis      Relevance under Rule 401 and
                                                                                          Management and Beyond: RR's New         unfair prejudice and confusion of
                                                                                          CEO on Pivoting to Survive and          the issues under Rule 403 (post
           PX167   N/A                     11/12/21 Limbert 167.pdf                       Prosper"                                alleged period of trafficking)
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                                                                                                                                  the issues under Rule 403 (jurors
                                                                                                                                  need instructed on the law
                   RRl_WK_00024102-                                                                                               through jury instructions, not a
           PX168   RRl_WK_00024118          1/12/17 Limbert 168.pdf                       Red Roof Plus Weekly e-Pak              proper exhibit)
                                                                                          Email re: Purchasing the Role of
                   AHLA_WK_RR_0001945-                                                    Hospitality in Preventing and
           PX169   AHLA_WK_RR_0001950           5/5/14 Limbert 169.pdf                    Reacting to Child Sex Trafficking
           PX170
           PX171

                                                                                          Franchise Agreement Between RRF,
           PX172   RRI001423-RRI001476     12/14/12 Limbert 172.pdf                       LLC and Varahi Hotel, LLC               duplicate
                   RRl_WK_00050250-                 Limbert 173.pdf; MacDonald            Email re: RRI Crisis Monitoring
           PX173   RRl_WK_00050251         11/16/15 173.pdf                               Monthly Report - July to Oct 2015       Privilege
                   RRI_WK_00011307-
           PX174   RRI_WK_00011315              9/2/15 Limbert 174.pdf                    Affidavit of Shawna Drummond            Inadmissible hearsay
                   RRl_WK_00050426-                                                       Red Roof Plus+ Crisis Monitoring
           PX175   RRl_WK_00050434          Nov-15 Limbert 175.pdf                        Monthly Report                          Privilege




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                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
                   RRl_WK_00050777-                                                      Email re: RRI #357 Atlanta Midtown, the issues under Rule 403
           PX176   RRl_WK_00050779             1/7/16 Limbert 176.pdf                    GA - Crisis Monitoring              (unrelated property)

                   RRl_WK_00050510-     May 2015 -                                       Red Roof Plus+ Crisis Monitoring
           PX177   RRl_WK_00050520      Dec. 2015 Limbert 177.pdf                        Report                               Privilege
                   RRl_WK_00050498-                                                      Red Roof Plus+ Crisis Monitoring
           PX178   RRl_WK_00050507             Jan-16 Limbert 178.pdf                    Report                               Privilege




                   RRI_WK_00002998-
                   RRI_WK_00002999 &                                                                                          Relevance under Rule 401 and
                   RRI_WK_00003000 &                                                                                          unfair prejudice and confusion of
                   RRI_WK_00003002-                                                Email re: Red Roof 2200 Corporate          the issues under Rule 403
           PX179   RRI_WK_00003007          8/10/17 Limbert 179.pdf; Patel 179.pdf Plaza                                      (unrelated properties)
                                                                                   Email re: Motel 'frequently involved       Relevance under Rule 401 and
                                                                                   in criminal activity' sees more than       unfair prejudice and confusion of
                   RRl_WK_00046582-                                                200 class for service this year -          the issues under Rule 403
           PX180   RRl_WK_00046584          11/4/18 Limbert 180.pdf                absactionnews.com WFTS-TV                  (unrelated properties)
                   RRI_WK_00001285-                                                Email re: Please Use Bottom 20%
           PX181   RRI_WK_00001298         10/14/16 Limbert 181.pdf                Presentation
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
                   RRI_WK_00001359-                 Limbert 182.pdf; Galbraith           Email re: FEEBACK - Bad Apple        the issues under Rule 403
           PX182   RRI_WK_00001363          2/21/17 019.pdf; Lam 19                      Slides - SMYRNA, GA                  (Varahi conduct)
           PX183   Miscellaneous            1/18/12 Limbert 183.pdf                      2012/01/18 Smyrna Composite

                                                                                                                              Relevance under Rule 401 and
                                                                                         Texas Franchise Public Information   unfair prejudice and confusion of
                                                                                         Report re Westmont Hospitality       the issues under Rule 403 (post
           PX184   N/A                  2012-2021 Limbert 184.pdf                        Group, Inc. 2012-2021                alleged period of trafficking)

                                                                                                                              Relevance under Rule 401 and
                                                     Limbert 185.pdf; Austin                                                  unfair prejudice and confusion of
           PX185   WRRH000236                        185.pdf                             RRI Organizational Chart             the issues under Rule 403; AEO


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                                                                                                                                 Relevance under Rule 401 and
                                                      Limbert 186.pdf; Austin                                                    unfair prejudice and confusion of
           PX186   WRRH000235                         186.pdf                            RRI - FMC Structure Chart               the issues under Rule 403; AEO

                                                                                                                                 Relevance under Rule 401 and
                                                      Limbert 187.pdf; Austin                                                    unfair prejudice and confusion of
           PX187   WRRH000234                         187.pdf                            RRI - Dune Structure Chart              the issues under Rule 403; AEO
           PX188
           PX189
           PX190
           PX191
           PX192   N/A                                Vittatoe 192.pdf                   Vittatoe Linked in Resume

                   RRl_WK_00001779-                                                      Security Services Agreement between
           PX193   RRl_WK_00001790          1/17/08 Vittatoe 193.pdf                     Best Security and Red Roof Inns, Inc.
           PX194   RRl_WK_00011660           9/1/07 Vittatoe 194.pdf                     Red Roof Hotline Numbers
                                                                                         PowerPoint Presentation: RRI
                   RRl_WK_00001752-                                                      General Manager Training Safety and
           PX195   RRl_WK_00001778                    Vittatoe 195.pdf                   Security
                   RRl_WK_00011787-
           PX196   RRl_WK_00011817         11/29/10 Vittatoe 196.pdf                     Email re: S&S Training
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                   RRI_WK_00011324-                                                      Email re: Prostitution Incident         (unrelated property in South
           PX197   RRI_WK_00011326             3/9/08 Vittatoe 197.pdf                   Report                                  Carolina)
           PX198
           PX199
           PX200
           PX201
           PX202
           PX203   N/A                                Stocker 203.pdf                Greg Stocker Linked in Resume
           PX204                                                Exhibit Number Intentionally Omitted

                   RRl_WK_00011168-                                                      RRI Assaults Operating and Reporting
           PX205   RRl_WK_00011306          Dec-10 Stocker 205.pdf                       Procedures- December 2010




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                                                                                          Red Roof Inn GSR Innsider June
           PX206   RRI000178-RRI000222          Jun-12 Stocker 206.pdf                    2012
                                                                                                                                Relevance under Rule 401 and
                                                                                          Article: Detroit News "5 Charged in   unfair prejudice and confusion of
                                                                                          federal probe of child prostitution   the issues under Rule 403
           PX207   N/A                      3/21/08 Stocker 207.pdf                       rings"                                (unrelated property)

                   RRl_WK_00004874-                                                       2012/09/17 Marhonda Norman
           PX208   RRl_WK_00004875                     Stocker 208.pdf                    Satisfaction Survey Results

                                                                                          Email re: Red Roof Inn - Atlanta -
                   RRl_WK_00004900-                                                       Smyrna - Kelly Keammann -
           PX209   RRl_WK_00004901         11/27/12 Stocker 209.pdf                       Satisfaction Survey Results
                                                                                          Email re: GR Alert - Negative Case
           PX210   RRl_WK_00004942          10/7/13 Stocker 210.pdf                       Created for 130:Atlanta (Buckhead)
                                                                                          Email re: RRI Crisis Monitoring
                   RRl_WK_00005242-                                                       Monthly Report - July to October
           PX211   RRl_WK_00005251         11/13/15 Stocker 211.pdf                       2015                                  Privilege
                                                                                                                                Privilege; relevance under Rule
                                                                                                                                401 and unfair prejudice and
                                                                                                                                confusion of the issues under
                   RRl_WK_00002844-      May 2015 -                                       Red Roof Plus+ Crisis Monitoring      Rule 403 (redact unrelated
           PX212   RRl_WK_00002854       Dec. 2015 Stocker 212.pdf                        Report                                properties and Varahi conduct)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRl_WK_00005446-                                                                                             the issues under Rule 403
           PX213   RRl_WK_00005447          12/3/15 Stocker 213.pdf                       Email re: Crisis Grid                 (unrelated properties)

                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRl_WK_00003800-                                                       Email re: Red Roof Guest              the issues under Rule 403 (post
           PX214   RRl_WK_00003804          4/16/20 Stocker 214.pdf                       Complaints                            alleged period of trafficking)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRl_WK_00005483-                                                                                             the issues under Rule 403
           PX215   RRl_WK_00005490          4/18/17 Stocker 215.pdf; Patel 215.pdf Email re: legal notice                       (Varahi conduct)
                   RRl_WK_00045964-                                                Email re: Red Roof T15 17077718 -
           PX216   RRl_WK_00045965          8/18/17 Stocker 216.pdf                #88 Smyrna, GA


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                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                   RRl_WK_00003033-                                                    Email re: Employee Meeting Notes - the issues under Rule 403
           PX217   RRl_WK_00003036              9/18/17 Stocker 217.pdf; Patel 217.pdf Red Roof Inn Smyrna                (Varahi conduct)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                                                                                                                          the issues under Rule 403 (post
                                                                                       Summary of Meeting with RRI-       alleged period of trafficking and
           PX218   RRl_WK_00003980              7/15/20 Stocker 218.pdf                Smyrna                             Varahi conduct)
                   RRI_WK_00003813-                     Human Trafficking              PowerPoint Presentation: Human
           PX219   RRI_WK_00003862               6/5/20 6.5.2020.pptx                  Trafficking with speaker notes
           PX220   n/a                                  102221-Castille-D9.pdf         Photos                             Foundation
                   Pltf-RRI00002223-Pltf-
           PX221   RRI00002225                  9/23/19 102221-Castille-P10.pdf               Affidavit of Forrest Castille          Inadmissible hearsay
           PX222
                                                                                                                                     Hearsay to narrative
                   Pltf-RRI0005336-Pltf-                                                                                             reports/statements within,
           PX223   RRI0005339                   7/10/13 011922-Hamilton-6.pdf                 Dekalb Police Incident Report          authentication
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
           PX224                                                                                                                     the issues under Rule 403
                   Pltf-RRI00005117-Pltf-
           PX225   RRI00005119                             101821-Cole-P1.pdf                 Affidavit of Vanessa Cole              Inadmissible hearsay
                   RRl_WK_00042263-                        Park Exhibit No. 226.pdf;
           PX226   RRl_WK_00042569                  4/1/20 Austin 226.pdf                     RRI Franchise Disclosure Document
                   Pltf-RRI0000075 - Pltf-                                                    Article: Red Roofie Blog, "Avoid Red
           PX227   RRI0000085                             102021-Sarkisian-P9.pdf             Roof Inn Smyrna Georgia"
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                   RRI_WK_00002651-                     FW Trafficking-one example at Email re Trafficking-one example at            the issues under Rule 403
           PX228   RRI_WK_00002696              12/4/15 Red Roof Inn.msg              Red Roof Inn                                   (Varahi conduct)
                                                        FW Trafficking-one example at                                                Relevance under Rule 401 and
                                                        Red Roof Inn.msg; Red Rood                                                   unfair prejudice and confusion of
                   RRI_WK_00045060-                     Inn Smyrna GA - Oct 2015 -    Email re Trafficking-one example at            the issues under Rule 403
           PX229   RRI_WK_00045107             12/22/15 Copy.doc                      Red Roof Inn                                   (Varahi conduct)
                   Pltf-RRI0006220-Pltf-                                              Email re: Trafficking-one example at
           PX230   RRI0006221                  12/22/15 102021-Sarkisian-P4.pdf       Red Roof Inn



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                    RRI_WK_00002699-
           PX231    RRI_WK_00002701           1/18/18 Press Release.msg                  Email Re: Press Release
                    RRI_WK_00005262-
           PX232    RRI_WK_00005264           1/18/16 Important Press Release.msg        Email re: Important: Press Release
                                                                                         Email re: What is your response to
                                                                                         Human Trafficking at Cobb County
           PX233   RRI004934-RRI004936        1/29/16 RRI 004934-RRI 004936.pdf          Red Roof Inn on Windy Hill?

                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
                   Pltf-RRI0006390-Pltf-                                                                                      the issues under Rule 403 (post
           PX234   RRI0006391                10/15/21 102021-Sarkisian-P8.pdf            Email re: yikes!                     alleged period of trafficking)

                                                                                                                              Relevance under Rule 401 and
                                                                                         2021/08/21 Sarkisian Email to        unfair prejudice and confusion of
                                                                                         McDonough re Conversation with       the issues under Rule 403 (post
           PX235   N/A                        8/21/21 102021-Sarkisian-D1.pdf            George Limbert                       alleged period of trafficking)
                                                                                                                              Relevance under Rule 401,
                                                                                                                              unfair prejudice and confusion of
                                                                                                                              the issues under Rule 403
                                                                                                                              (Varahi conduct), and
           PX236   Pltf-RRI0006120                    00516.MTS                          Operation Liberate Video 516         authenticity
                                                                                                                              Relevance under Rule 401,
                                                                                                                              unfair prejudice and confusion of
                                                                                                                              the issues under Rule 403
                                                                                                                              (Varahi conduct), and
           PX237   Pltf-RRI0006121                    00517.MTS                          Operation Liberate Video 517         authenticity
                                                                                                                              Relevance under Rule 401,
                                                                                                                              unfair prejudice and confusion of
                                                                                                                              the issues under Rule 403
                                                                                                                              (Varahi conduct), and
           PX238   Pltf-RRI0006124                    00520.MTS                          Operation Liberate Video 520         authenticity
                                                                                                                              Relevance under Rule 401,
                                                                                                                              unfair prejudice and confusion of
                                                                                                                              the issues under Rule 403
                                                                                                                              (Varahi conduct), and
           PX239   Pltf-RRI0006125                    00521.MTS                          Operation Liberate Video 521         authenticity



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                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX240   Pltf-RRI0006126                00522.MTS                          Operation Liberate Video 522   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX241   Pltf-RRI0006127                00528.MTS                          Operation Liberate Video 528   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX242   Pltf-RRI0006130                00531.MTS                          Operation Liberate Video 531   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX243   Pltf-RRI0006137                00538.MTS                          Operation Liberate Video 538   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX244   Pltf-RRI0006139                00540.MTS                          Operation Liberate Video 540   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX245   Pltf-RRI0006144                00545.MTS                          Operation Liberate Video 545   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX246   Pltf-RRI0006148                00549.MTS                          Operation Liberate Video 549   authenticity




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                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX247   Pltf-RRI0006152                00553.MTS                          Operation Liberate Video 553   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX248   Pltf-RRI0006162                00563.MTS                          Operation Liberate Video 563   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX249   Pltf-RRI0006180                00586.MTS                          Operation Liberate Video 586   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX250   Pltf-RRI0006186                00592.MTS                          Operation Liberate Video 592   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX251   Pltf-RRI0006188                00594.MTS                          Operation Liberate Video 594   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX252   Pltf-RRI0006189                00595.MTS                          Operation Liberate Video 595   authenticity
                                                                                                                    Relevance under Rule 401,
                                                                                                                    unfair prejudice and confusion of
                                                                                                                    the issues under Rule 403
                                                                                                                    (Varahi conduct), and
           PX253   Pltf-RRI0006193                00599.MTS                          Operation Liberate Video 599   authenticity




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                                                                                                                              Relevance under Rule 401,
                                                                                                                              unfair prejudice and confusion of
                                                                                                                              the issues under Rule 403
                                                                                                                              (Varahi conduct), and
           PX254   Pltf-RRI0006196                     00602.MTS                           Operation Liberate Video 602       authenticity
                                                       020222-Thomas-D1.pdf;
           PX255   RRI000544-RRI00545                  101821-Cole-D1.pdf                  Dec 2010 RRI Prostitution Notice
           PX256
           PX257
           PX258

           PX259
                                                                                                                         Relevance under Rule 401 and
                                                                                                                         unfair prejudice and confusion of
                                                                                    Email re: Police Officer Help Needed the issues under Rule 403
           PX260   RRI_WK_00004253           1/22/16 Patel 260.pdf                  at Red Roof Inn, Smyrna              (Varahi conduct)
                                                                                                                         Relevance under Rule 401 and
                                                                                                                         unfair prejudice and confusion of
                   VARAHI000632-                     Patel 261.pdf; Conner 007.pdf;                                      the issues under Rule 403
           PX261   VARAHI000680               Jan-10 102221-Castille-D7.pdf         Varahi Hotels Employee Handbook (Varahi conduct)
                                                                                                                         Relevance under Rule 401 and
                                                                                                                         unfair prejudice and confusion of
                   RRI_WK_000004297-                                                                                     the issues under Rule 403
           PX262   RRI_WK_000004303          4/10/17 Patel 262.pdf                  Email re: legal notice               (Varahi conduct)
                                                                                    Article: "Red Roof Admits Sex
           PX263   n/a                               RP-001.pdf                     Trafficking Occurs in its Rooms!"
                   VARAHI00244-                                                     Franchise Agreement between RRF
           PX264   VARAHI00297               Mar-12 Patel 264.pdf                   and Varahi Hotels
                   RRl_WK_00001450-
           PX265   RRl_WK_00001501              Sep-14 Patel 265.pdf                       RRI Standards Manual
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403
           PX266   VARAHI002697                        Patel 266.pdf                       DHS.gov Human Trafficking Poster (Varahi conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                           Email re: GREYHOUND TRUST & the issues under Rule 403
           PX267   RRI_WK_00004222          12/21/13 Patel 267.pdf                         ALLIANCE VP + 502799             (Varahi conduct)


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                                                                                                                                      Relevance under Rule 401 and
                                                                                                                                      unfair prejudice and confusion of
                                                                                                                                      the issues under Rule 403
           PX268   RRI_WK_00004225                   4/29/14 Patel 268.pdf                       Email re Prostitutes                 (Varahi conduct)
                                                                                                                                      Relevance under Rule 401 and
                                                                                                 Email re: GR Alert - NEGATIVE        unfair prejudice and confusion of
                   RRI_WK_00004248-                                                              Case Created for 088:Atlanta -       the issues under Rule 403
           PX269   RRI_WK_00004296                  10/22/14 Patel 269.pdf                       Smyrna                               (Varahi conduct)

                   Pltf-RRI0005549;Pltf-
                   RRI0005509;Pltf-
                   RRI0005545;Pltf.-RRI0006339-
                   Pltf.-RRI0006340;Pltf-
                   RRI0005510-Pltf-
                   RRI0005512;Pltf-
                   RRI0005517;Pltf-RRI0005455-
                   Pltf-RRI0005456;Pltf-
                   RRI0005520;Pltf-
                   RRI0005519;Pltf-
                   RRI0005516;Pltf-
                   RRI0005515;Pltf-
                   RRI0005514;Pltf-                                                                                                   Relevance under Rule 401,
                   RRI0005542;Pltf-                                                                                                   unfair prejudice and confusion of
                   RRI0005444;Pltf-                                                                                                   the issues under Rule 403
                   RRI0005443;Pltf-                                                              Compilation RRI Smyrna               (Varahi conduct), and
           PX270   RRI0005550;Pltf-RRI0005538                Patel 270.pdf                       TripAdvisor Reviews                  authenticity
                                                                                                                                      Relevance under Rule 401 and
                                                                                                                                      unfair prejudice and confusion of
                   RRl_WK_00004251-                                                              Email re: Service Manager Task       the issues under Rule 403
           PX271   RRl_WK_00004252                  12/22/15 Patel 271.pdf                       Assignment - Shalandria Detry        (Varahi conduct)
                                                                                                                                      Relevance under Rule 401 and
                                                                                                                                      unfair prejudice and confusion of
                                                                                                 Article: ATL Trafficking "Red Roof the issues under Rule 403
           PX272   JDX0000027-JDX0000033             1/13/16 Patel 272.pdf                       Inn Runs Rampant”                    (Varahi conduct)
                                                                                                                                      Relevance under Rule 401 and
                                                                                                 Article: ATL Trafficking: "Red Roof unfair prejudice and confusion of
                                                                                                 Admits Sex Trafficking Occurs in its the issues under Rule 403
           PX273   JDX0000021-JDX0000026             1/21/16 Patel 273.pdf                       Rooms!"                              (Varahi conduct)



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Admitted    Ex. No. BatesNumber                Date          Filename/Deposition Exhibit         Description                          Defendants' Objections
                    RRI_WK_00005703-                                                             Email re: Police Officer Help Needed
           PX274    RRI_WK_00005704               8/28/19 Patel 274.pdf                          at Red Roof Inn, Smyrna
                                                                                                                                      Relevance under Rule 401 and
                                                                                                                                      unfair prejudice and confusion of
                   RRI_WK-00004265-                                                              Email re: Police Officer Needed at   the issues under Rule 403
           PX275   RRI_WK_00004266                1/29/16 Patel 275.pdf                          Red Roof Inn, Smyrna                 (Varahi conduct)
                   RRI_WK_00000610-
           PX276   RRI_WK_00000611                1/29/16 Patel 276.pdf                          Email Re: Part Time Slot
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                   RRI_WK-00004270-                                                              Email re: Service Manager Task      the issues under Rule 403
           PX277   RRI_WK_00004271                    2/2/16 Patel 277.pdf                       Assigned - Wylene Myers             (Varahi conduct)
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                   RRI_WK_00004295-                                                              Email re: Service Manager Task      the issues under Rule 403
           PX278   RRI_WK_00004296                4/15/16 Patel 278.pdf                          Assigned - Tracey Strickland        (Varahi conduct)
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                   RRI_WK_00000612-                                                              Email re: One Call Resolution Case the issues under Rule 403
           PX279   RRI_WK_00000613                    9/1/16 Patel 279.pdf                       Created for Keniefah Martin         (Varahi conduct)
                                                                                                                                     Relevance under Rule 401 and
                   RRI_WK_00001879-                                                              Security Guard Protection           unfair prejudice and confusion of
                   RRI_WK_00001888;Varahi013                                                     Agreement between Banneret Security the issues under Rule 403
           PX280   81-Varahi01382                 4/19/17 Patel 280.pdf                          Inc. and Motel 6                    (Varahi conduct)
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                   RRI_WK_00000614-                                                              Email re: One Call Resolution Case the issues under Rule 403
           PX281   RRI_WK_00000615                6/26/17 Patel 281.pdf                          Created for Phillip Vasseur         (Varahi conduct)
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                                                                                                 Email re: Employee Meeting Notes    the issues under Rule 403
           PX282   RRI_WK_00003033                9/18/17 Patel 282.pdf                          Smyrna - Red Roof Inn Smyrna        (Varahi conduct)
                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                                                                                                 Red Roof Inn Public Safety Action   the issues under Rule 403
           PX283   VARAHI01110                        Sep-17 Patel 283.pdf                       Plan after Sept.2017                (Varahi conduct)




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                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                   VARAHI01317-                                                           Security Solutions of America            the issues under Rule 403
           PX284   VARAHI01366              12/21/15 Patel 284.pdf                        Invoice Smyrna RRI                       (Varahi conduct)
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                   VARAHI01367-                                                                                                    the issues under Rule 403
           PX285   VARAHI01380              12/17/12 Patel 285.pdf                        Security Timecard                        (Varahi conduct)
           PX286
                   RRI_WK_00004869-
           PX287   RRI_WK_00004870           6/22/12 Patel 287.pdf                        Email re: District 11 Analysis
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                                                                                          TripAdvisor review "Prostitutes          the issues under Rule 403
           PX288   Prtf-RRI0005450              7/7/13 Patel 288.pdf                      everywhere"                              (Varahi conduct)
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                   RRI_WK_00004246-                                                       Email re: GR Alert - Negative case       the issues under Rule 403
           PX289   RRI_WK_00004247          10/21/14 Patel 289.pdf                        Created for 088:Atlanta - Smyrna         (Varahi conduct)
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                                                                                          Handwritten Note: 13 Negative            the issues under Rule 403
           PX290   N/A                                 Patel 290.pdf                      Reviews                                  (Varahi conduct)
                                                                                          Red Roof Franchising, LLC's
                                                                                          Objections and Responses to
           PX291   N/A                          4/6/22 MacDonald 291.pdf                  Plaintiffs' Second Interrogatories
                   RRI_WK_00014780-                                                       Email re: Follow up - training video -
           PX292   RRI_WK_00014789           9/15/15 MacDonald 292.pdf                    sex and labor trafficking in hotels
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                   RRI_WK_00005763-                                                       Email re: Red Roof October 2011          the issues under Rule 403
           PX293   RRI_WK_00005764          11/11/11 MacDonald 293.pdf                    Monthly Report                           (unrelated properties)
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                   RRI_WK_00050960-                                                                                                the issues under Rule 403
           PX294   RRI_WK_00050968              3/2/13 MacDonald 294.pdf                  Email Re: Red Roof Weekly Report         (unrelated properties)
                   RRI_WK_00015978-                                                       Email Re: All Atlanta Properties
           PX295   RRI_WK_00015979           1/22/16 MacDonald 295.pdf                    Need Immediate Attention


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Admitted   Ex. No. BatesNumber            Date         Filename/Deposition Exhibit         Description                          Defendants' Objections
                                                                                           Emails re: RRI Crisis Monitoring
                   RRI_WK_00050339-                                                        Monthly Report - July to October,
           PX296   RRI_WK_00050340           11/23/15 MacDonald 296.pdf                    2015                                 Privilege
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                                                                                           Email re: You got 324 reviews        the issues under Rule 403
           PX297   RRI_WK_00015110           10/13/15 MacDonald 297.pdf                    between 2015-10-05 to 2015-10-11     (unrelated properties)

                   RRI_WK_00050475-                                                        Email re: 2015 RRI Crisis Monitoring
           PX298   RRI_WK_00050476            1/21/16 MacDonald 298.pdf                    Report: May to December 2015         Privilege
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRI_WK_00015030-                                                        Email re: You got 324 reviews        the issues under Rule 403
           PX299   RRI_WK_00015069           10/13/15 MacDonald 299.pdf                    between 2015-10-05 to 2015-10-11     (unrelated properties)
                   RRl_WK_00050450-
           PX300   RRl_WK_00050481            1/17/16 MacDonald 300.pdf                    Email re: Review from Expedia      Relevance (unrelated property)
                   RRI_WK_00005325-                                                        Email re: Your CX Studio Dashboard
           PX301   RRI_WK_00050536               7/1/16 MacDonald 301.pdf                  PDF is ready                       Privilege
                   RRt_WK_00050691-
           PX302   RRI_WK_00050699                     MacDonald 302.pdf                   YTD All Brands - Ranker
                                                                                                                                Relevance under Rule 401 and
                                                                                           Composite of news articles and Email unfair prejudice and confusion of
                                                                                           clips used at the MacDonald          the issues under Rule 403
           PX303   Composite                           MacDonald 303.pdf                   Deposition                           (unrelated properties)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRI_WK_00065018-                                                                                             the issues under Rule 403
           PX304   RRI_WK_00065019               3/9/16 MacDonald 304.pdf                  Email re: Cyber                      (unrelated properties)

                                                                                                                                Relevance under Rule 401 and
                                                                                           Email re: Special Message from       unfair prejudice and confusion of
                   RRl_WK_00000074-                                                        Andrew Alexander Human               the issues under Rule 403 (post
           PX305   RRl_WK_00000207            1/16/20 Alexander 305.pdf                    Trafficking Training & Update        alleged period of trafficking)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRl_WK_00043397-                                                                                             the issues under Rule 403
           PX306   RRl_WK_00043398               5/2/15 Alexander 306.pdf                  Email re: Media hotline call         (unrelated properties)



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Admitted    Ex. No. BatesNumber           Date         Filename/Deposition Exhibit         Description                           Defendants' Objections
                    RRl_WK_00050900-                                                       Email re: Meeting on Friday,
           PX307    RRl_WK_00050903          9/14/12 Alexander 307.pdf                     Suggested Amanda                   Relevance under Rule 401
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
                   RRI_WK_00002514-                                                                                           the issues under Rule 403
           PX308   RRI_WK_00002602               9/4/14 Alexander 308.pdf                  Email re: You have 157 new reviews (unrelated properties)
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
                   RRI_WK_00051792-                                                        Email re: Smyrna GA 88 -           the issues under Rule 403
           PX309   RRI_WK_00051793           12/4/15 Alexander 309.pdf                     Operational Summary                (Varahi conduct)

           PX310   RRl_WK_00001392          12/14/15 Alexander 310.pdf                     Email re: Training and ECPAT
                   RRl_WK_00008499-
           PX311   RRl_WK_00008501               3/6/13 Alexander 311.pdf                  Email re: EPCAT
                                                                                                                                 Unclear what this document is?
           PX312                                                                                                                 Can you please send
                   RRl_WK_00031920-
           PX313   RRl_WK_00031937          12/20/17 Alexander 313.pdf                     Red Roof Inn Plus+ Weekly e-Pak
                   RRl_WK_00009323-
           PX314   RRl_WK_00009327           1/14/15 Alexander 314.pdf                     Email re: quality
                                                                                                                                 Relevance under Rule 401 and
                   RRI_WK_00050883-                                                                                              unfair prejudice and confusion of
           PX315   RRI_WK_00050885           7/15/12 Alexander 315.pdf                     Email re: Severe Incident             the issues under Rule 403
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                   RRl_WK_00020954-                                                        Email re: Did we stay at the seacucus the issues under Rule 403
           PX316   RRl_WK_00020958           7/24/12 Alexander 316.pdf                     RRI?????                              (unrelated properties)
                                                                                           Tom McElroy Tweets re Human
           PX317   N/A                                 McElroy 317.pdf                     Trafficking Awareness Resources       Inadmissible hearsay
                   RRI_WK_00016105-
           PX318   RRI_WK_00016106           3/21/16 McElroy 318.pdf                       Email re: He just doesn't give up
                   RRIunredacted000941-                                                    RRI Franchise Agreement between
           PX319   RRIunredacted000984       8/25/11 Wehrle 319.pdf                        RRF and FMW RRI NC Smyrna
                                                                                           June 2012 RRI Inn Management
           PX320   RRI000223-RRI000262            2012 Wehrle 320.pdf; Lam 008.pdf         InnSider
                   RRl_WK_00008494-
           PX321   RRl_WK_00008495               3/6/14 Wehrle 321.pdf                     Email re: EPCAT




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                                                                                                                                    Relevance under Rule 401 and
                                                                                                                                    unfair prejudice and confusion of
                   RRl_WK_00068385-                                                                                                 the issues under Rule 403
           PX322   RRl_WK_00068389                1/23/16 Wehrle 322.pdf                        Email re: Smyrna Property           (Varahi conduct)

           PX323   RRl_WK_00000422               12/20/17 Wehrle 323.pdf                        Email re: Human Trafficking
                   VARAHI000057-
           PX324   VARAHI000631                             Wehrle 324.pdf                      RRI Manager in Training Manual      duplicate
           PX325   RRIF000382-RRIF000405               2016 MacDonald 325.pdf                   2016 Crisis Communications          AEO
                                                                                                RRF, RRI, and RRI West
           PX326   N/A                                      Park Exhibit No. 326.pdf            Organizational Map
                                                                                                                                    Relevance under Rule 401 and
                                                                                                                                    unfair prejudice and confusion of
                                                                                                                                    the issues under Rule 403
           PX327   Westmont002727                           Park Exhibit No. 327.pdf            RRI Structure Chart                 (unrelated entities)
                   RRIUnredacted002741-                                                         Minutes of Annual Meeting of the
           PX328   RRIUnredacted002753            1/13/14 Park Exhibit No. 328.pdf              Sole Shareholder RRI              duplicate
                                                                                                RRI - FMC Structure Chart and
                                                                                                2011/08/25 Franchise Agreement
                   Westmont002726;RRI000941-                                                    between Red Roof Franchising, LLC
           PX329   RRI000984                      8/25/11 Park Exhibit No. 329.pdf              and FMW RRI NC LLC
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                                                                                                                                  the issues under Rule 403
           PX330   Westmont002725                           Park Exhibit No. 330.pdf            RRI - Dune Structure Chart        (unrelated entities)
                                                                                                Unredacted Property Management
                   RRIunredacted000991-                                                         Agreement between FMW RRI NC
           PX331   RRIunredacted001102            8/25/11 Park Exhibit No. 331.pdf              and RRI West Management
                                                                                                Exclusive Property Management
                   RRIunredacted000722-                                                         Agreement Hospitality Property
           PX332   RRIunredacted000758                3/2/11 Park Exhibit No. 332.pdf           Druid Hills

                                                          Park Exhibit No. 333.pdf;
                   RRIunredacted001423-                   Galbraith 333.pdf; Patel              Unredacted RRI Franchise Agreement
           PX333   RRIunredacted001476           12/14/12 333.pdf                               between RRF and Varahi Hotels       duplicate
                                                                                                Unredacted Minutes of Annual
                   RRIUnredacted002705-                                                         Meeting of the Sole Shareholder RRI
           PX334   RRIUnredacted002740            1/20/15 Park Exhibit No. 334.pdf              Canada and RRI Financial            Replace redacted copy - AEO


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                                                                                           Action of the Manager of Red Roof
           PX335   RRI002763-RRI002774        1/22/13 Park Exhibit No. 335.pdf             Franchising, LLC by Written Consent AEO

                                                                                           Unanimous Written Consent of the
                                                                                           Sole Member of RRF Holding
           PX336   RRI002754-RRI002762           3/1/10 Park Exhibit No. 336.pdf           Company in Lieu of Special Meeting AEO

                   RRIunredated000677-                                                     Unredacted RRI Franchise Agreement
           PX337   RRIunredated000721        11/11/10 Park Exhibit No. 337.pdf             between RRF and Druid Hills        duplicate

                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                                                                                           List of fiscal years, room revenue,     the issues under Rule 403 until a
           PX338   N/A                        31-Dec Park Exhibit No. 338.pdf              royalty %, and franchise royalty        finding of punitive damages
                   WHM_WK_000076-                                                          RRI Franchise Operations Executive
           PX339   WHM_WK_000114              Dec-14 Park Exhibit No. 339.pdf              Summary

                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
                                                                                           RRI West Statement of Income 2015- the issues under Rule 403 until a
           PX340   RRI012014              2015-2018 Park Exhibit No. 340.pdf               2018                               finding of punitive damages

                                                                                                                                   Relevance under Rule 401 and
                                                                                           RRF Consolidated Financial              unfair prejudice and confusion of
                                          2010, 2009,                                      Statements for the years ended          the issues under Rule 403 until a
           PX341   RRI011682-RRI012013    2008        Park Exhibit No. 341.pdf             December 31, 2010, 2009, and 2008       finding of punitive damages
                                                                                           RRI Consolidated Financial
                                                                                           Statements for the years ended
           PX342   RRI011695-RRI011994    2010, 2009 Park Exhibit No. 342.pdf              December 31, 2010, and 2009             duplicate
                                                                                           2022/04/26 Red Roof Inns, Inc.'s
                                                                                           Objections and Responses to
                                                                                           Plaintiffs' Second Interrogatories to
           PX343   N/A                        4/26/22 Park Exhibit No. 343.pdf             RRI West Management, LLC
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                                                                                           Email re: Red Roof Inn in Cobb          the issues under Rule 403
           PX344   RRl_WK_00005461            1/28/16 Park Exhibit No. 344.pdf             County, Georgia                         (Varahi conduct)


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                                                                                           List of Inns, Termination Dates, and
           PX345   RRIF000381                          Park Exhibit No. 345.pdf            Termination Reasons
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                   RRl_WK_00064527-                                                                                               the issues under Rule 403
           PX346   RRl_WK_00064535             9/15/15 Park Exhibit No. 346.pdf            Email re: Charlotte Coverage Report    (unrelated property)
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                   RRl_WK_00047614-                                                        Email re: FYI: RRI085 Columbia         the issues under Rule 403
           PX347   RRl_WK_00047617            10/28/17 Park Exhibit No. 347.pdf            West, SC Police Departmen Called       (unrelated properties)
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                   RRl_WK_00064490-                                                                                               the issues under Rule 403
           PX348   RRl_WK_00064491             9/16/15 Park Exhibit No. 348.pdf            Email re: Red Roof Statement           (unrelated property)
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                   RRI_WK_00068385-                    RE Smyrna Property.msg; Park 2016/01/23 Email Re: Smyrna                   the issues under Rule 403
           PX349   RRI_WK_00068389             1/23/16 Exhibit No 349.pdf           Property                                      (Varahi conduct)
           PX350   RRIF000382-RRIF000435       May-11 Galbraith 350.pdf             Red Roof Standards Manual
                   RRI_WK_00005659-                    Bad Apple Slides_Region      Email re: Bad Apple Slides_Region
           PX351   RRI_WK_00005671             10/2/17 F11.msg; Galbraith 351.pdf.  F11

                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                   RRl_WK_00000141-                                                                                               the issues under Rule 403 (post
           PX352   RRl_WK_00000153             8/18/19 Galbraith 352.pdf                   Eamil re: 88 Smyrna FVR                alleged period of trafficking)
                                                                                                                                  Relevance under Rule 401 and
                   RRl_WK_00043385-                                                                                               unfair prejudice and confusion of
           PX353   RRl_WK_00043386             5/30/13 McElroy 316.pdf                     Email re: TV Reporter 10143            the issues under Rule 403
                                                                                                                                  Relevance under Rule 401 and
                                                                                                                                  unfair prejudice and confusion of
                   VARAHI001258-                                                                                                  the issues under Rule 403
           PX354   VARAHI001264               12/31/12 Patel 354.pdf                       Statistics Report                      (Varahi conduct)
           PX355   RRIF000495-RRIF000550       Apr-13 Patel 355.pdf                        Red Roof Standards Manual
                   RRl_WK_00002604-                                                        Email re: Trafficking-one example at
           PX356   RRl_WK_00002650             12/4/15 Patel 356.pdf                       Red Roof Inn

           PX357   RRl_WK_00001718             12/8/15 Patel 357.pdf                       Email re: Training and ECPAT


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                                                                                            Email re: Trafficking-one example at
           PX358   RRl_WK_00051794           12/22/15 Patel 358.pdf                         Red Roof Inn
                   RRl_WK_00051842-                                                         Email re: Trafficking-one example at
           PX359   RRl_WK_00051843           12/24/15 Patel 359.pdf                         Red Roof Inn
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403 (post
                   Pltf-RRI0002284-Pltf-                                                    Red Roof Inn Public Safety Nuisance period of alleged trafficking and
           PX360   RRI0002285                     9/5/17 Patel 360.pdf                      Abatement Meeting Agenda             Varahi conduct)
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                   VARAHI01106-                                                             Public Safety Nuisance Abatement     the issues under Rule 403
           PX361   VARAHI01109                           Patel 361.pdf                      Plan                                 (Varahi conduct)
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                   VARAHI01111-                                                             Memo re: Red Roof Inn/Changes        the issues under Rule 403
           PX362   VARAHI01112                9/19/17 Patel 362.pdf                         from recent Abatement Notice         (Varahi conduct)
                                                                                                                                 Relevance under Rule 401,
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                                                                                            TripAdvisor Review "Skin Still       (Varahi conduct), and
           PX363   Pltf-RRI0005549                       Patel 363.pdf                      Crawling"                            authenticity
                                                                                                                                 Relevance under Rule 401,
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                                                                                                                                 (Varahi conduct), and
           PX364   Pltf-RRI0005509            6/16/14 Patel 364.pdf                         TripAdvisor Review "Wow"             authenticity
                                                                                                                                 Relevance under Rule 401,
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                                                                                            TripAdvisor review "Red Roof Inn- (Varahi conduct), and
           PX365   Pltf-RRI0005511            8/25/14 Patel 365.pdf                         Smyrna"                              authenticity
                                                                                                                                 Relevance under Rule 401,
                                                                                                                                 unfair prejudice and confusion of
                                                                                            TripAdvisor review "This place       the issues under Rule 403
                                                                                            should be condemed and avoided by (Varahi conduct), and
           PX366   Pltf-RRI0005512            8/30/14 Patel 366.pdf                         all means"                           authenticity



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                                                                                                                               Relevance under Rule 401,
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403
                                                                                          TripAdvisor review "Nothing but a    (Varahi conduct), and
           PX367   Pltf-RRI0005517              9/7/14 Patel 367.pdf                      dope and prostitution den!!"         authenticity
                                                                                                                               Relevance under Rule 401,
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403
                                                                                                                               (Varahi conduct), and
           PX368   Pltf-RRI0005520          7/25/15 Patel 368.pdf                         TripAdvisor review "Dive"            authenticity
                                                                                                                               Relevance under Rule 401,
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403
                                                                                          TripAdvisor review "Family trip turn (Varahi conduct), and
           PX369   Pltf-RRI0005519              8/9/15 Patel 369.pdf                      nightmare"                           authenticity
                                                                                                                               Relevance under Rule 401,
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403
                                                                                          TripAdvisor review "Horrible alert   (Varahi conduct), and
           PX370   Pltf-RRI0005516          8/13/15 Patel 370.pdf                         horrible"                            authenticity
                                                                                                                               Relevance under Rule 401,
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403
                                                                                          TripAdvisor review "Unsafe and       (Varahi conduct), and
           PX371   Pltf-RRI0005515          8/25/15 Patel 371.pdf                         Disgusting!"                         authenticity
                                                                                                                               Relevance under Rule 401,
                                                                                                                               unfair prejudice and confusion of
                                                                                                                               the issues under Rule 403
                                                                                                                               (Varahi conduct), and
           PX372   Pltf-RRI0005514              9/8/15 Patel 372.pdf                      TripAdvisor review "Don't stay here" authenticity
                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                                                                                          Email re: You have a positive Real- the issues under Rule 403 (post
                   RRl_WK_00000616-                                                       time Feedback at Red Roof Inn        alleged period of trafficking and
           PX373   RRl_WK_00000617          6/21/19 Patel 373.pdf                         Atlanta - Smyrna/Ballpark            Varahi conduct)




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                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403 (post
                   RRl_WK_00004559-                                                                                         alleged period of trafficking and
           PX374   RRl_WK_00004560         11/17/19 Patel 374.pdf                        Email re: You have a new review    Varahi conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                         Email re: Red Roof Inn - Smyrna -  unfair prejudice and confusion of
                   RRl_WK_00000419-                                                      MICHAEL COMPANY - Satisfaction the issues under Rule 403
           PX375   RRl_WK_00000421             7/5/17 Patel 375.pdf                      Survey Results                     (Varahi conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                         Spreadsheet of Inn, Region, Date,  unfair prejudice and confusion of
                                                                                         Categories (Police, Prostitution,  the issues and cumulative
           PX376   RRl_WK_00050474                    Patel 376.pdf                      Drug, Weapon), and Comment         evidence under Rule 403
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403 (post
                   RRl_WK_00004552-                                                      Email re: Contact Center Guest     alleged period of trafficking and
           PX377   RRl_WK_00004554         11/11/19 Patel 377.pdf                        Relations Escalation               Varahi conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403 (post
                   RRl_WK_00004642-                                                      Email re: One Call Resolution Case alleged period of trafficking and
           PX378   RRl_WK_00004643          8/24/20 Patel 378.pdf                        Created for Adam Witherspoon       Varahi conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                         Email re: New Guest Relations Case the issues under Rule 403 (post
                   RRl_WK_00004680-                                                      has been created for Cassandra     alleged period of trafficking and
           PX379   RRl_WK_00004681         11/16/20 Patel 379.pdf                        Ferguson                           Varahi conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403 (post
                   RRl_WK_00000635-                                                                                         alleged period of trafficking and
           PX380   RRl_WK_00000636         10/23/19 Patel 380.pdf                        Email re: Human Trafficking        Varahi conduct)
                                                                                         2012/06 RRI Corporate Office
           PX381   N/A                         Jun-12 McElroy MCD 1.pdf                  InnSider
           PX382   N/A                                McElroy MCD 3.pdf                  Statement of Thomas McElroy        Inadmissible hearsay




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                                                                                                                                     Relevance under Rule 401 and
                                                                                                                                     unfair prejudice and confusion of
                                                                                                 US Dept of Labor Re: RRI West       the issues under Rule 403
           PX383   N/A                                 5/1/14 McElroy MCD 4.pdf                  Management/ McElroy                 (Varahi conduct)
                                                                                                 RRI Consolidated Financial
                                                                                                 Statements for the Years Ended
           PX384   RRI011734-RRI011754          2012, 2011 RRI 011734-RRI 011754.pdf             December 31, 2012, and 2011
                                                                                                                                     Relevance under Rule 401,
                                                                                                                                     unfair prejudice and confusion of
                                                                                                                                     the issues under Rule 403 (Red
                                                                                                                                     Roof Inn on Windy Hill Rd),
           PX385   N/A                            12/14/14 WK_14.pdf                             2014/12/14 Marietta Police Report   and authentication
                   Pltf.W.K.-00367-Pltf.W.K.-                                                    2014/12/07 Cobb County
           PX386   000369                          12/7/14 WK_15.pdf                             Incident/Investigative Report       Authentication
                                                                                                 2015/02/02 Cobb County
           PX387   N/A                                 2/2/15 DP_12.pdf                          Incident/Investigative Report       Authentication
                                                                                                                                     Hearsay to narrative
                                                                                                 2011/09/06 Dekalb County Police     reports/statements within,
           PX388   N/A                             11/9/06 CONFMichaelBeene_3.pdf                Department Incident Report          authentication
                                                                                                                                     Hearsay to narrative
                                                   1/2410-                                                                           reports/statements within,
           PX389   JDX0005109–5111                 5/22/14 Dekalb Police- RRI-DH.pdf             DeKalb County Police Report         authentication
                                                                                                                                     Hearsay to narrative
                                                                                                                                     reports/statements within,
           PX390   JDX0005179–80                       9/6/11 Dekalb Police- RRI-DH.pdf          DeKalb County Police Report         authentication
                                                                                                                                     Hearsay to narrative
                                                                                                                                     reports/statements within,
           PX391   JDX0005181–83                       9/9/11 Dekalb Police- RRI-DH.pdf          DeKalb County Police Report         authentication
                                                                                                                                     Hearsay to narrative
                                                                                                                                     reports/statements within,
           PX392   JDX0005184–5190                 9/15/11 Dekalb Police- RRI-DH.pdf             DeKalb County Police Report         authentication
                                                                                                                                     Hearsay to narrative
                                                                                                                                     reports/statements within,
           PX393   JDX0005191–5193                11/11/11 Dekalb Police- RRI-DH.pdf             DeKalb County Police Report         authentication
                                                                                                                                     Hearsay to narrative
                                                                                                                                     reports/statements within,
           PX394   JDX0005197–98                   11/7/11 Dekalb Police- RRI-DH.pdf             DeKalb County Police Report         authentication



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                                                                                                                       Hearsay to narrative
                                                                                                                       reports/statements within,
           PX395   JDX0005250–53            9/20/12 Dekalb Police- RRI-DH.pdf            DeKalb County Police Report   authentication
                                                                                                                       Hearsay to narrative
                                                                                                                       reports/statements within,
           PX396   JDX0005268–70            4/17/13 Dekalb Police- RRI-DH.pdf            DeKalb County Police Report   authentication
                                                                                                                       Hearsay to narrative
                                                                                                                       reports/statements within,
           PX397   JDX0005275–77               5/5/13 Dekalb Police- RRI-DH.pdf          DeKalb County Police Report   authentication
                                                                                                                       Hearsay to narrative
                                                                                                                       reports/statements within,
           PX398   JDX0005278–80               5/8/13 Dekalb Police- RRI-DH.pdf          DeKalb County Police Report   authentication
                                                                                                                       Hearsay to narrative
                                                                                                                       reports/statements within,
           PX399   JDX0005304–5308          5/22/14 Dekalb Police- RRI-DH.pdf            DeKalb County Police Report   authentication
                                                                                                                       Hearsay to narrative
                                                    Brookhaven Police Reports-                                         reports/statements within,
           PX400   JDX0000149–152           9/20/13 RRI-DH.pdf                           Brookhaven Police Report      authentication
                                                                                                                       Hearsay to narrative
                                                    Brookhaven Police Reports-                                         reports/statements within,
           PX401   JDX0000192–198          10/24/13 RRI-DH.pdf                           Brookhaven Police Report      authentication
                                                                                                                       Hearsay to narrative
                                                    Brookhaven Police Reports-                                         reports/statements within,
           PX402   JDX0000216–219          10/31/13 RRI-DH.pdf                           Brookhaven Police Report      authentication
                                                                                                                       Hearsay to narrative
                                                    Brookhaven Police Reports-                                         reports/statements within,
           PX403   JDX00000655–665         11/24/15 RRI-DH.pdf                           Brookhaven Police Report      authentication
                                                                                                                       Hearsay to narrative
                                                      Brookhaven Police Reports-                                       reports/statements within,
           PX404   JDX0000711–716              1/7/16 RRI-DH.pdf                         Brookhaven Police Report      authentication
                                                                                                                       Hearsay to narrative
                                                    Brookhaven Police Reports-                                         reports/statements within,
           PX405   JDC0000801–809           4/10/16 RRI-DH.pdf                           Brookhaven Police Report      authentication
                                                                                                                       Hearsay to narrative
                                                    Brookhaven Police Reports-                                         reports/statements within,
           PX406   JDX0000844–849           5/10/16 RRI-DH.pdf                           Brookhaven Police Report      authentication




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                                                                                                                          Hearsay to narrative
                                                    Brookhaven Police Reports-                                            reports/statements within,
           PX407   JDX0001162–1165          8/15/17 RRI-DH.pdf                           Brookhaven Police Report         authentication
                                                                                                                          Hearsay to narrative
                                                      Brookhaven Police Reports-                                          reports/statements within,
           PX408   JDX0001377–1380             6/4/20 RRI-DH.pdf                         Brookhaven Police Report         authentication
                                                                                                                          Hearsay to narrative
                                                    Brookhaven Police Reports-                                            reports/statements within,
           PX409   JDX0001640–1643         11/25/20 RRI-DH.pdf                           Brookhaven Police Report         authentication
                                                                                                                          Hearsay to narrative
                                                    Brookhaven Police Reports-                                            reports/statements within,
           PX410   JDX002221–2224           8/12/20 RRI-DH.pdf                           Brookhaven Police Report         authentication
                                                                                                                          Hearsay to narrative
                                                    Marietta Police- RRI-                                                 reports/statements within,
           PX411   JDX0005317-339          12/16/10 Smyrna.pdf                           Smyrna Police Report             authentication
                                                                                                                          Hearsay to narrative
                                                    Smyrna-RRI Misc Police                                                reports/statements within,
           PX412   JDX0005423-425           6/19/11 Reports.pdf                          Marrietta & Cobb Police Report   authentication
                                                                                                                          Hearsay to narrative
                                                    Smyrna-RRI Misc Police                                                reports/statements within,
           PX413   JDX0005426-5429          4/18/12 Reports.pdf                          Marrietta & Cobb Police Report   authentication
                                                                                                                          Hearsay to narrative
                                                    Smyrna-RRI Misc Police                                                reports/statements within,
           PX414   JDX0005430-5434          6/18/12 Reports.pdf                          Marrietta & Cobb Police Report   authentication
                                                                                                                          Hearsay to narrative
                                                      Smyrna-RRI Misc Police                                              reports/statements within,
           PX415   JDX0005435-5439             3/6/13 Reports.pdf                        Marrietta & Cobb Police Report   authentication
                                                                                                                          Hearsay to narrative
                                                    Smyrna-RRI Misc Police                                                reports/statements within,
           PX416   JDX0005440-5451          10/1/17 Reports.pdf                          Marrietta & Cobb Police Report   authentication
                                                                                                                          Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                           reports/statements within,
           PX417   JDX0002278–2300         10/16/10 RRI.pdf                              Cobb County Police Report        authentication


                                                                                                                          Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                           reports/statements within,
           PX418   JDX0002462–2467         12/21/11 RRI.pdf                              Cobb County Police Report        authentication


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                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX419   JDX0002477–2480         4/18/12 RRI.pdf                               Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX420   JDX0002500–2504         2/20/12 RRI.pdf                               Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                    reports/statements within,
           PX421   JDX0002538–2541             5/7/12 RRI.pdf                            Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX422   JDX0002562–2569         6/18/12 RRI.pdf                               Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX423   JDX0002570–2574         6/28/12 RRI.pdf                               Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX424   JDX0002616–2625         9/19/12 RRI.pdf                               Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                    reports/statements within,
           PX425   JDX0002721–2725             3/6/13 RRI.pdf                            Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX426   JDX0002748-2752         4/25/13 RRI.pdf                               Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                    reports/statements within,
           PX427   JDX0002841–2844             9/4/13 RRI.pdf                            Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                    reports/statements within,
           PX428   JDX0002845-2849             9/3/13 RRI.pdf                            Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX429   JDX0003003–3007         3/20/14 RRI.pdf                               Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                   Cobb County Police- Smyrna-                                       reports/statements within,
           PX430   JDX0003065–3069         3/21/14 RRI.pdf                               Cobb County Police Report   authentication




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                                                                                                                     Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                    reports/statements within,
           PX431   JDX0003109-3113             8/4/14 RRI.pdf                            Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX432   JDX0003211–3213         10/24/14 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX433   JDX0003310–3314          3/21/16 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX434   JDX0003326–3329          6/20/16 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX435   JDX0003330–3334          6/22/16 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX436   JDX0003352–3357          6/28/16 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                    reports/statements within,
           PX437   JDX0003445-3451             3/2/11 RRI.pdf                            Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX438   JDX0003569–3571          8/29/17 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX439   JDX0003587–3598          10/1/17 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX440   JDX0003772-3778          2/27/17 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                    Cobb County Police- Smyrna-                                      reports/statements within,
           PX441   JDX0003832–3837          3/12/18 RRI.pdf                              Cobb County Police Report   authentication
                                                                                                                     Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                    reports/statements within,
           PX442   JDX0003844–3848             4/2/18 RRI.pdf                            Cobb County Police Report   authentication



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                                                                                                                              Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                             reports/statements within,
           PX443   JDX0004033-4039            1/12/15 RRI.pdf                               Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                             reports/statements within,
           PX444   JDX0004075–4077            2/16/15 RRI.pdf                               Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                             reports/statements within,
           PX445   JDX0004136–4137            4/14/15 RRI.pdf                               Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                         Cobb County Police- Smyrna-                                          reports/statements within,
           PX446   JDX0004233–4237                7/2/15 RRI.pdf                            Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                         Cobb County Police- Smyrna-                                          reports/statements within,
           PX447   JDX0004238–4241                7/8/15 RRI.pdf                            Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                             reports/statements within,
           PX448   JDX0004336-JDX0004343      8/27/15 RRI.pdf                               Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                         Cobb County Police- Smyrna-                                          reports/statements within,
           PX449   JDX0004346–4349                9/4/15 RRI.pdf                            Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                         Cobb County Police- Smyrna-                                          reports/statements within,
           PX450   JDX0004882–4887                4/2/19 RRI.pdf                            Cobb County Police Report         authentication
                                                                                                                              Hearsay to narrative
                                                      Cobb County Police- Smyrna-                                             reports/statements within,
           PX451   Pltf.-RRI0006503           4/30/21 RRI.pdf                               Cobb County Police Report         authentication
           PX452
                                                                                                                              Relevance under Rule 401 and
                   RRI_WK_00002385-                      FW Dorraine's request for LP6 Email re: Dorraine's request for LP6   unfair prejudice and confusion of
           PX453   RRI_WK_00002476                4/5/11 Information.msg               Information with attachments           the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                                                         Feb. 1, 2012 The dawning of a Emil re: February 1, 2012: The         unfair prejudice and confusion of
                   RRI_WK_00050853-                      comprehensively new day for    dawning of a comprehensively new      the issues under Rule 403
           PX454   RRI_WK_00050857                2/1/12 Hilton's breakfast program.msg day for Hilton's breakfast program    (unrelated hotel)




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                                                                                                                               Relevance under Rule 401 and
                                                      Calfee Report on Ohio                                                    unfair prejudice and confusion of
                   RRI_WK_00005964-                   Government February                Email re: Calfee Report on Ohio       the issues under Rule 403
           PX455   RRI_WK_00005965             2/8/12 2012.msg                           Government: February 2012             (unrelated properties)
                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                   RRI_WK_00005966-                 OH&LA Recap of Columbus              Email re: OH&LA:Recap of              the issues under Rule
           PX456   RRI_WK_00005967          2/15/12 Meeting 2.9.12.msg                   Columbus Meeting 2.9.12               403(unrelated properties)
                                                                                                                               Relevance under Rule 401 and
                                                    RE Questions from Star                                                     unfair prejudice and confusion of
                   RRI_WK_00022156-                 Tribune- Privileged                  Email Re: Questions from Star         the issues under Rule 403
           PX457   RRI_WK_00022157          9/18/12 Confidential.msg                     Tribune - Privileged/Confidential     (unrelated properties)
                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                   RRI_WK_00006026-                 RE Google Alert - red roof                                                 the issues under Rule 403
           PX458   RRI_WK_00006028          2/19/12 inn.msg                              Email re: Google Alert Red Roof Inn (unrelated properties)
                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                   RRI_WK_00050866-                 Re Google Alert - red roof           Email Re: Google Alert - Red Roof the issues under Rule 403
           PX459   RRI_WK_00050867          2/21/12 inn.msg                              Inn                                   (unrelated properties)
                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                   RRI_WK_00020959-                 Re Did we stay at the seacucus       Email re: Did we stay at the seacucus the issues under Rule 403
           PX460   RRI_WK_00020963          7/24/12 RRI.msg                              RRI?????                              (unrelated properties)
                                                                                                                               Relevance under Rule 401 and
                                                    St Louis-Forest Park                                                       unfair prejudice and confusion of
                   RRI_WK_00050890-                 Notice.msg;                          Email re: St Louis-Forrest Park       the issues under Rule 403
           PX461   RRI_WK_00050893          8/28/12 20120828142825738.pdf                Notice email                          (unrelated properties)
                   RRI_WK_00022150-                 Re Meeting on Friday,                Email re: Meeting on Friday,
           PX462   RRI_WK_00022155          9/15/12 Suggested Agenda.msg                 Suggested Agenda
                                                                                                                               Relevance under Rule 401 and
                                                                                                                               unfair prejudice and confusion of
                   RRI_WK_00069656-                                                      Timonium Preliminary Liability        the issues under Rule 403
           PX463   RRI_WK_00069657         11/15/12 Miller 11.15.12.pdf                  Incident Report                       (unrelated properties)




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                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                                                   Google Alert - Red Roof          Email Re: Google Alert - Red Roof the issues under Rule 403
           PX464   RRI_WK_00012915          6/9/13 Inn.msg                          Inn                                   (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                   RRI_WK_00043387-                                                                                       the issues under Rule 403
           PX465   RRI_WK_00043391          8/2/13 Fwd RRI Framingham.msg           Email re: RRI Framingham              (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                                                                                                                          the issues under Rule 403
           PX466   RRI_WK_00012068         3/26/14 250 CC Request.msg               Email re: 250 CC Request              (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                                                                                                                          the issues under Rule 403
           PX467   RRI_WK_00013666         4/28/14 Media Hotline Calls.msg          Email re: Media Hotline Calls         (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                                                   Google Alert - Red Roof          Email Re: Google Alert - Red Roof the issues under Rule 403
           PX468   RRI_WK_00013667         4/30/14 Inn.msg                          Inn                                   (unrelated properties)
                                                   RE Google Alert - Red Roof                                             Relevance under Rule 401 and
                                                   Inn.msg; Nashville Airport, Tn -                                       unfair prejudice and confusion of
                   RRI_WK_00048407-                Inn 10206 - prostitution 6-11- Email Re: Google Alert - Red Roof the issues under Rule 403
           PX469   RRI_WK_00048410         6/11/14 14.doc                           Inn                                   (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                   RRI_WK_00014056-                                                                                       the issues under Rule 403
           PX470   RRI_WK_00014058         6/25/14 RE Today's Clips.msg             Email Re: Today's Clips               (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                   RRI_WK_00012069-                                                                                       the issues under Rule 403
           PX471   RRI_WK_00012070         6/25/14 Fwd Today's Clips.msg            Email Re: Today's Clips               (unrelated properties)
                                                                                                                          Relevance under Rule 401 and
                                                                                                                          unfair prejudice and confusion of
                   RRI_WK_00045005-                FW Google Alert - red roof                                             the issues under Rule 403
           PX472   RRI_WK_00045006         9/23/15 inn.msg                          Email re: Google Alert - red roof inn (unrelated properties)




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                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                   RRI_WK_00012358-                 RE Google Alert - red roof inn, Email re: Google Alert - red roof inn, the issues under Rule 403
           PX473   RRI_WK_00012360         11/16/15 news.msg                        news                                   (unrelated properties)
                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                                                    Google Alert - Red Roof                                                the issues under Rule 403
           PX474   RRI_WK_00014215         11/16/14 Inn.msg                         Email re: Google Alert Red Roof Inn (unrelated properties)
                                                    Google Alert - red roof
           PX475   WHM_WK_000122            3/26/15 inn.msg                         Email re: Google Alert Red Roof Inn Authentication
                                                    Fwd Red Roof Inn - Atlanta                                             Relevance under Rule 401 and
                                                    Midtown - JUSTIN RILEY -        Email re: Red Roof Inn - Atlanta       unfair prejudice and confusion of
                   RRI_WK_00018430-                 Satisfaction Survey             Midtown - JUSTIN RILEY -               the issues under Rule 403
           PX476   RRI_WK_00018433          1/14/16 Results.msg                     Satisfaction Survey Results            (unrelated properties)
                                                                                                                           Relevance under Rule 401 and
                                                    RE Need to put this guest in                                           unfair prejudice and confusion of
                   RRI_WK_00018555-                 national DNR Fraud              Email re: Need to put this guest in    the issues under Rule 403
           PX477   RRI_WK_00018557          1/19/16 payments.msg                    national DNR Fraud payments            (unrelated properties)
                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                                                                                                                           the issues under Rule 403
           PX478   RRI_WK_00018256           5/6/16 Today's Clips.msg               Email re: Today's Clips                (unrelated properties)
                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                                                    Google Alert - Red Roof                                                the issues under Rule 403
           PX479   RRI_WK_00016329          8/25/16 Inn.msg                         Email re: Google Alert - red roof inn (unrelated properties)
                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                   RRI_WK_00065387-                 Google Alert - Red Roof         Email Re: Google Alert - Red Roof the issues under Rule 403
           PX480   RRI_WK_00065388         12/30/16 Inn.msg                         Inn                                    (unrelated properties)
                                                                                                                           Relevance under Rule 401 and
                                                                                                                           unfair prejudice and confusion of
                   RRI_WK_00045841-                 Re RRI793 Atlanta Six Flags, Email re: RRI793 Atlanta Six Falgs, the issues under Rule 403
           PX481   RRI_WK_00045842           4/5/17 GA --- Safety and Risk.msg      GA -- Safety and Risk                  (unrelated properties)




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Admitted   Ex. No. BatesNumber          Date         Filename/Deposition Exhibit         Description                            Defendants' Objections
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                                                                                                                                the issues under Rule 403
           PX482                                                                                                                (unrelated properties)
                                                    RE Changes to Age and
                                                    Payment Check In
                                                    Requirements.msg;                    Email re: Changes to Age and
                   RRI_WK_00000905-                 CCCashAgeCancellation                Payment Check In Requirements and
           PX483   RRI_WK_00000907         12/27/17 R6.xlsx                              attachment
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRI_WK_00043564-                                                                                             the issues under Rule 403
           PX484   RRI_WK_00043566         12/28/17 FW City of Columbus.msg              Email re: City of Columbus             (unrelated properties)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRI_WK_00035083-                 Google Alert - Red Roof              Email Re: Google Alert - Red Roof      the issues under Rule 403
           PX485   RRI_WK_00035084          1/30/18 Inn.msg                              Inn                                    (unrelated properties)
                                                                                                                                Relevance under Rule 401 and
                                                    Fwd 131 Jackson Fairgrounds          Email re: 131 Jackson Fairgrounds -    unfair prejudice and confusion of
                   RRI_WK_00047887-                 Possible Human Trafficking-          Possible Human Trafficking -           the issues under Rule 403
           PX486   RRI_WK_00047890          3/23/18 Privileged .msg                      Privileged                             (unrelated properties)
                                                                                                                                Relevance under Rule 401 and
                                                                                                                                unfair prejudice and confusion of
                   RRI_WK_00038264-                   085 Columbia W, SC Employee Email re: 085 Columbia W, SC                  the issues under Rule 403
           PX487   RRI_WK_00038265             6/6/18 Complaint.msg               Employee Complaint                            (unrelated properties)
                                                                                                                                Relevance under Rule 401 and
                                                    RE FYI RRI085 Columbia                                                      unfair prejudice and confusion of
                   RRI_WK_00047614-                 West, SC Police Department           Email re: FYI: RRI 085 Columbia        the issues under Rule 403
           PX488   RRI_WK_00047617         10/28/17 Called.msg                           West, SC Police Department Called      (unrelated properties)
                                                    FW Motel ‘frequently involved
                                                    in criminal activity’ sees more      Email re: Motel 'frequently involved   Relevance under Rule 401 and
                                                    than 200 calls for service this      in criminal activity' sees more than   unfair prejudice and confusion of
                   RRI_WK_00046570-                 year - abcactionnews.com             200 class for service this year -      the issues under Rule 403
           PX489   RRI_WK_00046572          11/4/18 WFTS-TV.msg                          absactionnews.com WFTS-TV              (unrelated properties)




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                                                                                                                                       Relevance under Rule 401 and
                                                                                                                                       unfair prejudice and confusion of
                   RRI_WK_00045993-                         RRI #85 Columbia, SC -                Email re: RRI #85 Columbus, SC       the issues under Rule 403
           PX490   RRI_WK_00045997                  12/7/17 Follow Up to Visit .msg               Follow Up to Visit and attachments   (unrelated properties)

                                                            Agenda for Next Week.msg;                                                 Relevance under Rule 401 and
                                                            111318- Red Roof Brand                                                    unfair prejudice and confusion of
                   RRI_WK_00048061-                         Health Meeting Agenda.pdf;            2018/11/09 RR Brand Health Meeting the issues under Rule 403 (post
           PX491   RRI_WK_00048062                  11/9/18 Austin 249.pdf                        Agenda email and attachment         alleged period of trafficking)
                                                                                                                                      Relevance under Rule 401 and
                                                               RRI 140 Lafayette LA Notice        2019/06/20 Red Roof Letter to Imran unfair prejudice and confusion of
                   RRI_WK_00054424-                            of Multiple Default                Ali re: Notice of Multiple Defaults the issues under Rule 403
           PX492   RRI_WK_00054431                      9/6/19 06.20.19.pdf                       Relating to Red Roof Inn #140       (unrelated properties)

                   Pltf.W.K.-000352-Pltf.W.K.-
                   000359;Pltf.W.K.-000363-
                   Pltf.W.K.-000366;Pltf.W.K.-
                   000369;Pltf.W.K.-000379-
                   Pltf.W.K.-000407;Pltf.W.K.-
                   000432;Pltf.W.K.-000483-
                   Pltf.W.K.-000485;Pltf.W.K.-
                   000487-Pltf.W.K.-
                   000488;Pltf.W.K.-000491-
                   Pltf.W.K.-000492;Pltf.W.K.-
                   000533-Pltf.W.K.-
                   000549;Pltf.W.K.-001004-
                   Pltf.W.K.-001007;Pltf.W.K.-                                                                                         Relevance under Rule 401 and
                   001011-Pltf.W.K.-                                                                                                   unfair prejudice and confusion of
                   001013;Pltf.W.K.-001025-                                                                                            the issues under Rule 403
           PX493   Pltf.W.K.-001044                           Armstead Files                      Armstead Files                       (unrelated plaintiff)
                                                                                                  Cobb County Police Supplemental
           PX494   Pltf.W.K.-000380                 12/7/14 WK_16.pdf                             Report, Dec. 7, 2014
                                                                                                                                       Relevance under Rule 401 and
                                                                                                                                       unfair prejudice and confusion of
           PX495   Pltf.-RRI0006394                           102221-Castille-P11.pdf             Photo of M.M.                        the issues under Rule 403




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                                                     MM0375-2021-10-19 - PDF of
                                                     MM Petition for Record                                                  Relevance under Rule 401 and
                   Pltf.M.M.002152-                  Restriction 16FT6656_1 (35-3-      2019/10/19 M.M. Petition to Restrict unfair prejudice and confusion of
           PX496   Pltf.M.M.002175          10/19/19 37).PDF                            Criminal History Record Information the issues under Rule 403
                                                     MM0376-2021-10-19 - PDF of                                              Relevance under Rule 401 and
                   Pltf.M.M.002176-                  MM Petition to Vacate              2021/10/19 MM Petition to Vacate     unfair prejudice and confusion of
           PX497   Pltf.M.M.002223          10/19/21 16FT6656_1 (17-10-21).PDF          Conviction                           the issues under Rule 403
                                                     MM0377-2021-10-19 - PDF of                                              Relevance under Rule 401 and
                   Pltf.M.M.002224-                  MM Pleadings - Cobb State_1        2021/10/19 MM Petition to Vacate     unfair prejudice and confusion of
           PX498   Pltf.M.M.002252          10/19/21 (17-10-21).PDF                     Conviction                           the issues under Rule 403
                                                     MM0378-2021-10-19 - PDF of                                              Relevance under Rule 401 and
                   Pltf.M.M.002253-                  MM Pleadings - Cobb Superior       2021/10/19 MM Petition to Vacate     unfair prejudice and confusion of
           PX499   Pltf.M.M.002354          10/19/21 (17-10-21).pdf                     Conviction                           the issues under Rule 403
                                                     MM0379-2021-11-02 - 12-9-
                                                     0941 - Stip of Consent to          2021/11/02 MM Stipulation of
                                                     Proposed Order for Vacatur of      Consent to Proposed Order for        Relevance under Rule 401 and
                   Pltf.M.M.002355-                  Convictions & Restric of           Vacatur of Convictions and           unfair prejudice and confusion of
           PX500   Pltf.M.M.002361           11/2/21 Access.pdf                         Restriction of Access                the issues under Rule 403

                                                     MM0380-2021-11-02 - 12-9-
                                                     0941---Order Limiting Public 2021/11/02 MM Order Limiting               Relevance under Rule 401 and
                   Pltf.M.M.002362-                  Access to Crim History Record Public Access to Criminal History         unfair prejudice and confusion of
           PX501   Pltf.M.M.002363           11/8/21 Info Under OCGA 35-3-37.pdf Record Information                          the issues under Rule 403

                                                     MM0381-2021-11-02 - 19-9-
                                                     4753---Order Limiting Public 2021/11/02 MM Order Limiting               Relevance under Rule 401 and
                   Pltf.M.M.002364-                  Access to Crim History Record Public Access to Criminal History         unfair prejudice and confusion of
           PX502   Pltf.M.M.002365           11/2/21 Info Under OCGA 35-3-37.pdf Record Info                                 the issues under Rule 403
                                                                                   2021/11/02 MM Stipulation of
                                                     MM0382-2021-11-02 -           Consent to Proposed Order for             Relevance under Rule 401 and
                   Pltf.M.M.002366-                  Certified Copies MM Orders - Vacatur of Convictions and                 unfair prejudice and confusion of
           PX503   Pltf.M.M.002383           11/2/21 Cobb Superior (17-10-21).pdf Restriction of Access                      the issues under Rule 403
                                                     MM0383-2021-11-02 -20-9-
                                                     0581- Stip of Consent to           2021-11-02 Stipulation of Consent to
                                                     Proposed Order for Vacatur of      Proposed Order for Vacatur of        Relevance under Rule 401 and
                   Pltf.M.M.002384-                  Convictions & Restric of           Convictions and Restriction of       unfair prejudice and confusion of
           PX504   Pltf.M.M.002390           11/2/21 Access.pdf                         Access                               the issues under Rule 403



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                                                                                                                           Relevance under Rule 401 and
                                                                                        Gwinnett County Detention Center   unfair prejudice and confusion of
           PX505   Pltf.M.M.-000135                 MM0068.pdf                          Record for M.M.                    the issues under Rule 403
                                                                                                                           Relevance under Rule 401 and
                                                                                        Gwinnett County Detention Center   unfair prejudice and confusion of
           PX506   Pltf.M.M.-000133                  MM0066.pdf                         Record for M.M.                    the issues under Rule 403
                                                     Correspondence re GCIC                                                Relevance; never produced
           PX507                             3/21/22 Report for M.M.                    Letter to GVCF re: M.M.            during discovery
                                                                                        Correspondence and documents
                                                                                        relating to MM's Motions to        Relevance; never produced
           PX508                                                                        Vacate/Seal                        during discovery
                                                                                                                           Relevance under Rule 401 and
                   Pltf.E.H.005037-                                               2014/08/11 EH RediCard Rewards           unfair prejudice and confusion of
           PX509   Pltf.E.H.005038           8/11/14 Welcome to RediCard.eml      Email                                    the issues under Rule 403
                                                     =UTF-                                                                 Relevance under Rule 401 and
                   Pltf.E.H.004432-                  8QYour_Tuesday_afternoon_or                                           unfair prejudice and confusion of
           PX510   Pltf.E.H.004435           8/21/18 der_with_Uber_Eats=.eml      2018/08/21 EH Uber Eats Receipt          the issues under Rule 403
                                                     =UTF-                                                                 Relevance under Rule 401 and
                   Pltf.E.H.004444-                  8QYour_Wednesday_morning_t                                            unfair prejudice and confusion of
           PX511   Pltf.E.H.004447           8/22/18 rip_with_Uber=.eml           2018/08/22 EH Uber Receipt               the issues under Rule 403
                                                     =UTF-                                                                 Relevance under Rule 401 and
                   Pltf.E.H.004436-                  8QYour_Wednesday_evening_o                                            unfair prejudice and confusion of
           PX512   Pltf.E.H.004439           8/22/18 rder_with_Uber_Eats=.em      2018/08/22 EH Uber Eats Receipt          the issues under Rule 403
                                                     =UTF-                                                                 Relevance under Rule 401 and
                   Pltf.E.H.004440-                  8QYour_Wednesday_evening_t                                            unfair prejudice and confusion of
           PX513   Pltf.E.H.004443           8/22/18 rip_with_Uber=.eml           2018/08/22 EH Uber Receipt               the issues under Rule 403
                                                     =UTF-                                                                 Relevance under Rule 401 and
                   Pltf.E.H.004411-                  8QYour_Saturday_evening_trip                                          unfair prejudice and confusion of
           PX514   Pltf.E.H.004414           8/25/18 _with_Uber=.eml              2018/08/25 EH Uber Receipt               the issues under Rule 403
                                                                                                                           Relevance under Rule 401 and
                   Pltf.E.H.005004-                  Thank you for your Pizza Hut                                          unfair prejudice and confusion of
           PX515   Pltf.E.H.005006           9/21/17 order.eml                          2017/09/21 EH Pizza Hut Receipt    the issues under Rule 403
                                                                                                                           Relevance under Rule 401 and
                   Pltf.E.H.005007-                  Thank you for your Pizza Hut                                          unfair prejudice and confusion of
           PX516   Pltf.E.H.005009           5/31/18 order.eml                          2018/05/31 EH Pizza Hut Receipt    the issues under Rule 403




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                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX517   Pltf.E.H.005211           9/30/15 IMG_20150930_150059.jpg               2015/09/30 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                           2017/08/26 EH Photo on RRI        unfair prejudice and confusion of
           PX518   Pltf.E.H.007577           8/26/17 20170826_101325.jpg                   Balcony                           the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX519   Pltf.E.H.007579           8/27/17 20170827_100145.jpg                   2017/08/27 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX520   Pltf.E.H.007581           8/28/17 20170828_104110.jpg                   2017/08/28 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX521   Pltf.E.H.007583               9/2/17 20170902_175734.jpg                2017/09/02 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX522   Pltf.E.H.007593           9/13/17 20170913_084342.jpg                   2017/09/13 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX523   Pltf.E.H.007595           9/17/17 20170917_150847.jpg                   2017/09/17 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX524   Pltf.E.H.007597           9/18/17 20170918_094407.jpg                   2017/09/18 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                           2018/05/30 EH Photo on RRI        unfair prejudice and confusion of
           PX525   Pltf.E.H.007619           5/30/18 20180530_175250.jpg                   Balcony                           the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                           2018/05/31 EH Photo in RRI        unfair prejudice and confusion of
           PX526   Pltf.E.H.007621           5/31/18 20180531_100331.jpg                   Bathroom                          the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX527   Pltf.E.H.007623           6/30/18 20180603_224025.jpg                   2018/06/03 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                           2018/06/05 EH Photo on RRI        unfair prejudice and confusion of
           PX528   Pltf.E.H.007629               6/5/18 20180605_135027.jpg                Balcony                           the issues under Rule 403




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                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX529   Pltf.E.H.007631            6/16/18 20180616_195647.jpg                  2018/06/16 EH Photo in RRI Room   the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX530   Pltf.E.H.007639            6/30/18 20180630_154911.jpg                  2018/06/30 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX531   Pltf.E.H.007641            6/30/18 20180630_171124.jpg                  2018/06/30 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX532   Pltf.E.H.007643            6/30/18 20180630_175338.jpg                  2018/06/30 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX533   Pltf.E.H.007651            7/13/18 20180713_123623.jpg                  2018/07/13 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX534   Pltf.E.H.007653            7/18/18 20180718_123317.jpg                  2018/07/18 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX535   Pltf.E.H.007659            7/27/18 20180727_181553.jpg                  2018/07/27 EH Photo               the issues under Rule 403
                                                                                           2018/08/01 Photo of RRI-Smyrna
           PX536   Pltf.E.H.007665               8/1/18 20180801_231457.jpg                Parking Lot
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX537   Pltf.E.H.007667               8/3/18 20180803_203747.jpg                2018/08/03 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX538   Pltf.E.H.007669               8/6/18 20180806_200426.jpg                2018/08/06 EH Photo               the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX539   Pltf.E.H.007710           11/14/16 IMG_20161114_124200.jpg              2016/11/14 Photo of Branding      the issues under Rule 403
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
           PX540   Pltf.E.H.007943               8/5/15 IMG_20150805_171910.jpg            2015/08/05 Photo of branding      the issues under Rule 403




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                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX541   Pltf.E.H.007068                 PicsArt_1435547964460.jpg          Photo of EH       the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX542   Pltf.E.H.009154                 IMG_20150724_144438~2.jpg Photo of EH                the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX543   Pltf.E.H.007706                 IMG_20150719_154852.jpg            Photo of EH       the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX544   Pltf.E.H.007585                 20170902_175745.jpg                Photo of EH       the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX545   Pltf.E.H.007589                 20170907_193745.jpg                Photo of EH       the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX546   Pltf.E.H.007645                 20180630_180212.jpg                Photo of EH       the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                   338097706469847041-                                  unfair prejudice and confusion of
           PX547   n/a                             BLEqEp3CcAEBLqk.jpg                Photo of EH       the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX548   Pltf.C.A.009071                 File242.jpeg;File243.txt           Photo of Victim   the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX549   Pltf.C.A.004372                 File134.jpeg                       CA Photo          the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX550   Pltf.C.A.004530                 File371.jpeg                       CA Photo          the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX551   Pltf.C.A.004531                 File372.jpeg                       CA Photo          the issues under Rule 403
                                                                                                        Relevance under Rule 401 and
                                                                                                        unfair prejudice and confusion of
           PX552   Pltf.C.A.004532                 File373.jpeg                       CA Photo          the issues under Rule 403




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                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX553   Pltf.C.A.004534                 File375.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX554   Pltf.C.A.004535                 File376.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX555   Pltf.C.A.004537                 File378.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX556   Pltf.C.A.004538                 File379.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX557   Pltf.C.A.005312                 File549.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX558   Pltf.C.A.005744                 File636.jpeg;File609.jpeg          CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX559   Pltf.C.A.005764                 File627.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX560   Pltf.C.A.005900                 File68.png                         Bagz photo    the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX561   Pltf.C.A.005905                 File684.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX562   Pltf.C.A.005970                 File743.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                                                                    unfair prejudice and confusion of
           PX563   Pltf.C.A.005976                 File749.jpeg                       CA Photo      the issues under Rule 403
                                                                                                    Relevance under Rule 401 and
                                                   File394.jpeg;File41.txt;File40.j                 unfair prejudice and confusion of
           PX564   Pltf.C.A.008987                 peg;File395.txt                  CA Photo        the issues under Rule 403




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                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
           PX565   Pltf.C.A.009195                          File496.jpeg;File497.txt           RK Photo                            the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
           PX566   Pltf.C.A.009221                          File540.jpeg;File541.txt           CA Photo                            the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                   Pltf.C.A.000468-                                                                                                unfair prejudice and confusion of
           PX567   Pltf.C.A.000481                      2010 CA0151.PDF;CA0166.PDF             2010 Planner for C.A.               the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                               2010/01/29 CA Craigslist Account    unfair prejudice and confusion of
           PX568   Pltf.C.A.001320                  1/29/10 CA_11.pdf                          Welcome email                       the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                               Email re: Backpage.com New          unfair prejudice and confusion of
           PX569   PltfCA001195                     3/11/10 CA_12.pdf                          Account: cjbunnyatl@gmail.com       the issues under Rule 403
                   Pltf.C.A.-000012-Pltf.C.A.-
           PX570   000065                                   CA0032.pdf                  Emory Healthcare Record for C.A.           Foundation; relevance
                                                            431563_3409471272573_11437                                             Relevance under Rule 401 and
                                                            11064_3475423_2027734048_n                                             unfair prejudice and confusion of
           PX571   Pltf.K.P.000458                          .jpg.jpg                    Traffickers Photo                          the issues under Rule 403
                                                            File55.jpeg;IMG_20130612_20                                            Relevance under Rule 401 and
                                                            1712.jpg;IMG_20130612_2017                                             unfair prejudice and confusion of
           PX572   Pltf.K.P.000484                  6/12/13 12#1.jpg                    2013/06/12 Trafficker Photo                the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
           PX573   Pltf.D.P.017847                          20170323_174103.jpg                DP Photo                            the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
           PX574   Pltf.D.P.017850                          20170320_071529.jpg                DP Photo                            the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                   Pltf.R.K.-000014-Pltf.R.K.-                                                 Georgia Department of Corrections   unfair prejudice and confusion of
           PX575   000015                                   RK_13.pdf                          Offender Report- R.K.               the issues under Rule 403
                                                                                                                                   Hearsay to narrative
                   Pltf.R.K.-000016-Pltf.R.K.-                                                                                     reports/statements within,
           PX576   000025                          10/26/11 RK_9.pdf                           Gwinnett Police Incident Report     authentication
           PX577   JDX0005641-42                            _Conner Affidavit.pdf              Conner Affidavit                    Inadmissible hearsay
           PX578   JDX0005646                               Conner Affidavit Ex 4.pdf          Exhibit 4 to Conner Affidavit       Inadmissible hearsay



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           PX579      JDX00056545                        Conner Affidavit Ex 3.pdf          Exhibit 3 to Conner Affidavit     Inadmissible hearsay
           PX580      JDX0005643                         Conner Affidavit Ex 1.pdf          Exhibit 1 to Conner Affidavit     Inadmissible hearsay
           PX581      JDX0005647                         Conner Affidavit Ex 5.pdf          Exhibit 5 to Conner Affidavit     Inadmissible hearsay
           PX582      JDX0005644                         Conner Affidavit Ex 2.pdf          Exhibit 2 to Conner Affidavit     Inadmissible hearsay
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
                                                                                                                              the issues under Rule 403
                                                                                                                              (includes photos of plaintiffs
           PX583      N/A                                102221-Castille-D8.pdf             Photos                            other than Jane Does 1-4)
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
           PX584      N/A                                102221-Castille-P12.pdf            Photo                             the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
           PX585      N/A                                102221-Castille-P13.pdf            Photo                             the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
           PX586      N/A                         6/18/10 CONFMichaelBeene_22.pdf           Online Order for Beene            the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                      JANEDOE02-                                                                                              unfair prejudice and confusion of
           PX587      MR000001;JD20001325                JANEDOE02-MR000001.pdf             Photo                             the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                                                                                                                              unfair prejudice and confusion of
           PX588      JD20003895                         IMG_20130908_010903.jpg            Jane Doe 2 Photo                  the issues under Rule 403
                                                                                            Jane Doe 2 Peachford Behavioral   Relevance under Rule 401 and
                                                                                            Health Expressive Therapy         unfair prejudice and confusion of
           PX589      JD20001922-JD20001923       6/17/14 JANEDOE02-MR000373.pdf            Assessment                        the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                                                                                            Jane Doe 2 Peachford Behavioral   unfair prejudice and confusion of
           PX590      JD20001938                  6/16/14 JANEDOE02-MR000379.pdf            Health Patient Discharge Order    the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                                                                                            Jane Doe 2 Peachford Behavioral   unfair prejudice and confusion of
           PX591      JD20002264-JD20002270       3/24/20 JANEDOE02-MR000467.pdf            Health Psychological Assessment   the issues under Rule 403
                                                                                                                              Relevance under Rule 401 and
                                                                                            Jane Doe 2 Peachford Behavioral   unfair prejudice and confusion of
           PX592      JD20002271-JD20002277       3/24/20 JANEDOE02-MR000468.pdf            Health Psychological Assessment   the issues under Rule 403




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                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
           PX593   RRI004456                         2018 RRI 004456-RRI 004456.pdf          2018 JD2 Arrival and Departure        the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                             Jane Doe 3 LSU Health Sciences        unfair prejudice and confusion of
           PX594   JD30000068-JD30000069            6/6/11 JANEDOE03-SV000101.pdf            Center Emergency Dept Record          the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                  Jane Doe 3 LSU Hospital Records                  unfair prejudice and confusion of
           PX595   JD30000071-JD30000074                 JANEDOE03-SV000100.1.pdf Certification                                    the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                             JD3 Gwinnett County Police            unfair prejudice and confusion of
           PX596   JD30000335-JD30000341       10/26/11 JANEDOE03-SV000351.pdf               Department Report                     the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                             Messages between Jane Doe 3 and       unfair prejudice and confusion of
           PX597   n/a                                   message_1.html                      witness                               the issues under Rule 403



                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
           PX598   JD30000233 - JD30000237      5/29/11 Untitled.msg                         Email to JD3 attaching pictures       the issues under Rule 403
                                                                                             Jane Doe 4 Peachford Behavioral       Relevance under Rule 401 and
                                                                                             Health Crisis Recovery/Safety Plan-   unfair prejudice and confusion of
           PX599   JD40000047                   1/31/12 JANEDOE04-CE000045.pdf               Triggers and Stressors                the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
           PX600   JD40001243                   4/12/12 0333.pdf                             Letter from JD4's Grandmother         the issues under Rule 403
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                                                                                                                                   the issues under Rule 403
                                                                                                                                   (unrelated properties and Varahi
           PX601                                                                                                                   conduct)
                                                                                                                                   Relevance under Rule 401 and
                                                                                                                                   unfair prejudice and confusion of
                                                                                                                                   the issues under Rule 403
           PX602   RRI000621-RRI000624               2014 RRI 000621-RRI 000624.pdf          2014 Guest Complaints                 (Varahi conduct)




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Admitted   Ex. No. BatesNumber           Date        Filename/Deposition Exhibit        Description                          Defendants' Objections
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
                                                                                                                             the issues under Rule 403
                                                                                                                             (unrelated properties and Varahi
           PX603                                                                                                             conduct)
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
                                                                                                                             the issues under Rule 403
           PX604   RRI000625-RRI000634          2015 RRI 000625-RRI 000634.pdf          2015 Guest Complaints                (Varahi conduct)
                                                                                                                             Privilege; relevance under Rule
                                                                                                                             401 and unfair prejudice and
                                                     RRI Crisis Moniotring_Top                                               confusion of the issues under
                                                     Properties_May-December            RRI Crisis Monitoring Top Priorities Rule 403 (redact unrelated
           PX605   RRI_WK_00002843              2015 2015.xlsx                          May-December 2015                    properties and Varahi conduct)
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
                                                                                                                             the issues under Rule 403
                                                                                                                             (unrelated properties and Varahi
           PX606                                                                                                             conduct)
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
                                                                                                                             the issues under Rule 403
                                                                                                                             (unrelated properties and Varahi
           PX607                                                                                                             conduct)
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
                                                                                                                             the issues under Rule 403
                                                                                                                             (unrelated properties and Varahi
           PX608                                                                                                             conduct)
                                                                                                                             Relevance under Rule 401 and
                                                                                                                             unfair prejudice and confusion of
                                                                                                                             the issues under Rule 403
                                                                                                                             (unrelated properties and Varahi
           PX609                                                                                                             conduct)




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Admitted   Ex. No. BatesNumber           Date       Filename/Deposition Exhibit         Description                         Defendants' Objections
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403
           PX610   RRI_WK_00050752         11/20/15 Top 10 Properties .xlsx             Top 10 Properties List              (unrelated properties)
                                                    RRI Crisis Monitoring_Nov           RRI Crisis Monitoring List-
           PX611   RRI_WK_00050437          Dec-15 Top Properties.xlsx                  November Top Properties             Privilege
                                                    12.31.2015RRI Crisis
                                                    Monitoring_Top 10 Pro               2015/12/31 Crisis Monitoring Top
           PX612   RRI_WK_00005586         12/31/15 (1).xlsx                            Properties
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403
           PX613   RRI000635-RRI000641          2016 RRI 000635-RRI 000641.pdf          2016 Guest Complaints               (Varahi conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403
                                                                                                                            (unrelated properties and Varahi
           PX614                                                                                                            conduct)
                                                                                                                            Relevance under Rule 401 and
                                                                                                                            unfair prejudice and confusion of
                                                                                                                            the issues under Rule 403
                                                                                                                            (unrelated properties and Varahi
           PX615                                                                                                            conduct)
                                                    LP 6 Asset Review Comments                                              Relevance under Rule 401 and
                   RRI_WK_00002388-                 on asset summaries from VPOs 2011/03/18 LP6 VPO Comments on             unfair prejudice and confusion of
           PX616   RRI_WK_00002475          3/18/11 3-18-2011.docx               Assets                                     the issues under Rule 403


           PX617
                                                    FW Customer Satisfaction            Email re: Customer Satisfaction
                   RRI_WK_00004862-                 Report- FebruaryFebruary            Report February/February YTD with
           PX618   RRI_WK_00004868          Mar-12 YTD.msg                              attachments
                                                    Incident Report ~ Inn #88 ~
                   RRI_WK_00048265-                 Chanee Norris 9712.msg; 9-7-        Email re: Inn 88 Incident Report
           PX619   RRI_WK_00048267           9/7/12 12 Chanee Norris.docx               email
                   RRI_WK_00004879-                 RE Druid Hills Buckhead             Email Re: Druid Hills Buckhead
           PX620   RRI_WK_00004882         10/22/12 #130.msg                            #130



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                    RRI_WK_00004876-                Druid Hills Buckhead                  Email Re: Druid Hills Buckhead
           PX621    RRI_WK_00004878        12/19/12 #130.msg                              #130
                                                                                          Franchise Visitation Report RRI
           PX622   RRI000772-RRI000776          5/7/13 RRI 000772-RRI 000776.pdf          Smyrna
                                                                                                                      Relevance under Rule 401 and
                                                                                                                      unfair prejudice and confusion of
                   RRI_WK_00002477-                 Review Alert for Red Roof Inn Email re: Trip Advisor Review Alert the issues under Rule 403
           PX623   RRI_WK_00002479          7/12/13 Atlanta North and more.msg     for RRI Atl North                  (unrelated properties)
                                                                                                                      Relevance under Rule 401 and
                                                                                                                      unfair prejudice and confusion of
                   RRI_WK_00002480-                                                                                   the issues under Rule 403
           PX624   RRI_WK_00002482         10/18/13 Mid Month NR - October.msg Email re: Mid-Month NR - October (unrelated properties)
                                                    RRI130 - Red Roof PLUS+         Email re RRI130 - Red Roof Plus+
                                                    Atlanta - Buckhead Complaint Atlanta - Buckhead Complaint of
           PX625   RRI_WK_00004956          4/25/15 of guest at property. .msg     guest at property
                                                                                   2015/10/06 Franchise Visitation
           PX626   RRI000985-RRI000990      10/6/15 RRI 000985-RRI 000990.pdf      Report
                                                                                                                      Relevance under Rule 401 and
                                                                                   2016/01/21 Email re Anonymous      unfair prejudice and confusion of
                                                    Anonymous Caller RRI           Caller re Sex Trafficking at RRI   the issues under Rule 403
           PX627   RRI_WK_00005587          1/21/16 #088.msg                       Smyrna                             (Varahi conduct)
                                                    Fwd Press Release - Red Roof
                                                    in Smyrna Admits Sex
                   RRI_WK_00005265-                 Trafficking Occurs in its      2016/01/22 Internal email re
           PX628   RRI_WK_00005266          1/22/16 Rooms.msg                      ATLTrafficking.com Press Release
                                                                                                                      Relevance under Rule 401 and
                                                                                   2016/01/22 Email re Atlanta        unfair prejudice and confusion of
                   RRI_WK_00005267-                 RE All Atlanta Properties Need properties Needing Immediate       the issues under Rule 403 (redact
           PX629   RRI_WK_00005268          1/22/16 Immediate Attention.msg        Attention                          unrelated properties)
                                                                                                                            Relevance under Rule 401 and
                                                    Fwd What is your response to                                            unfair prejudice and confusion of
                                                    Human Trafficking at Cobb                                               the issues under Rule 403 (redact
                   RRI_WK_00005286-                 County Red Roof Inn on Windy 2016/01/29 Email re Response to            unrelated properties and Varahi
           PX630   RRI_WK_00005288          1/29/16 Hill.msg                     Human Trafficking at RRI Smyrna            conduct)
           PX631   RRI_WK_00005020          9/16/16 Kyle Miller .msg             Email re: Kyle Miller




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                                                   BOTTOM 20%
                                                   PRESENTATION RALEIGH,
                                                   NC V. LAM
                                                   10.5.2016.pptx;BOTTOM                                                      Relevance under Rule 401 and
                                                   20%25 PRESENTATION                                                         unfair prejudice and confusion of
                   RRI_WK_00001245-                RALEIGH, NC V. LAM                                                         the issues under Rule 403
           PX632   RRI_WK_00001257         10/5/16 10.5.2016.pptx        RRI Bottom 20% Presentation                          (unrelated properties)
                                                                                                                              Relevance under Rule 401,
                                                                                                                              unfair prejudice and confusion of
                   RRI_WK_00005485-                Cobb County Attorney's                Cobb Co. Notice of Possible Public   the issues under Rule 403
           PX633   RRI_WK_00005490          4/7/17 office.pdf                            Safety Nuisance and Meeting Report   (Varahi conduct), hearsay
                   RRI_WK_00045856-                FW legal notice - RRI #88             Email re: legal notice - RRI #88
           PX634   RRI_WK_00045857         4/18/17 Smyrna, GA .msg                       Smyrna, GA
                                                                                                                      Relevance under Rule 401 and
                                                      RRI #88 Smyrna, GA - Officer                                    unfair prejudice and confusion of
                                                      Jeffrey Adcock (Abatement    2017/08/09 Smyrna Officer Adcock's the issues under Rule 403
           PX635   RRI_WK_00045963             8/9/17 Concerns).msg                abatement concerns email           (Varahi conduct)
           PX636
                                                                                                                              Relevance under Rule 401 and
                                                     Human Trafficking                                                        unfair prejudice and confusion of
                   RRI_WK_00003810-                  Investigative Protocol June         June 2020 Human Trafficking          the issues under Rule 403
           PX637   RRI_WK_00003811              2020 2020 Selections.docx                Investigative Protocol               (unrelated properties)
           PX638   N/A                               DP_25.pdf                           RRI Lobby Photo
           PX639   N/A                               CONFMichaelBeene_2.pdf              RRI Atlanta Buckhead photos
           PX640   N/A                               CONFMichaelBeene_4.pdf              RRI Smyrna Photos
                                                     2022-01-19 -Hamilton-
           PX641   N/A                               1.pdf;011922-Hamilton-1.pdf         Aerial Photo of RRI Atlanta RRI
                                                     2022-01-19 -Hamilton-
           PX642   N/A                               3.pdf;011922-Hamilton-3.pdf         Photos of Atlanta RRI
                                                     011922-Hamilton-2.pdf;2022-
           PX643   N/A                               01-19 -Hamilton-2.pdf               Photo of Atlanta RRI
           PX644   N/A                               020222-Thomas-P3.pdf                RRI Atlanta Buckhead photo
           PX645   N/A                               020222-Thomas-P2.pdf                RRI Atlanta Buckhead photo
           PX646   N/A                               020222-Thomas-P1.pdf                RRI Atlanta Buckhead photo




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                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
                                                                                                                                 the issues under Rule 403
                                                                                                                                 (Varahi conduct); also use of
                                                                                           JD1 2nd Amended Complaint,            Complaint is an improper exhibit
                                                                                           Paragraph 33- No Refunds Signs        (it is not evidence) ok to just use
           PX647   N/A                                 JD1 2ndAm Comp Para33.pdf           Smyrna RRI                            pictures as Exhibit
                                                                                                                                 Relevance under Rule 401 and
                                                                                                                                 unfair prejudice and confusion of
           PX648                                                                                                                 the issues under Rule 403
                                                       Scan - 2022-09-02
           PX649   N/A                                 12.20.21.pdf                        Norman Fee Schedule-RRI
           PX650   N/A                                 Norman 006A.pdf                     Norman Handwritten Notes

                                                                                           National Center for PTSD Checklist
                                                                                           for DSM-5 With Life Events
           PX651   N/A                                 Norman 007.pdf                      Checklist for DSM-5 and Criterion A
                   NORMAN0152-
                   NORMAN000153;NORMAN0
                   00145;NORMAN000148;NOR                                                  Matthew Norman, MD LLC Service
           PX652   MAN000142                           Norman 011.pdf                      Invoice
                                                                                           National Center for PTSD Checklist
           PX653   N/A                                 Norman 008.pdf                      for DSM-5
                                                                                           2005/05 AAPL Ethics Guideline for
           PX654   N/A                      05/00/2005 Norman 005.pdf                      the Practice of Forensic Psychiatry
                                                                                           AAPL Practice Guideline for the
                                                                                           Forensic Assessment. Journal of the
                                                                                           American Academy of Psychiatry and
                                                                                           the Law 42[2]: S3-S53 (2015
           PX655   N/A                                 Norman 004.pdf                      Supplement).
                                                                                           2020 Return of Organization Exempt
                                                                                           from Income Tax, FLI d/b/a Freedom
           PX656   N/A                             2020 Mehlman-Orozco 002.pdf             Light
                                                                                           USA Sex Guide Posts mentioning
           PX657   N/A                                 Mehlman-Orozco 001.pdf              Red Roof
                   NORMAN0141-                                                             Emails regarding invoices produced
           PX658   NORMAN0181                          Norman 0141-181.pdf                 by Dr. Norman Prior to Deposition



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                                                                  Attachment G-1 Plaintiffs’ Exhibit List




Admitted    Ex. No. BatesNumber                  Date            Filename/Deposition Exhibit        Description                             Defendants' Objections
                    NORMAN0030-                                                                     Matthew Norman Consulting
           PX659    NORMAN0037                                   Norman 010.pdf                     Invoices
           PX660    NORMAN0123-140                               Norman- WK.pdf                     Dr. Norman's Notes re: WK
                                                                                                    Melanie Bliss - Health and Mental
                   WK-Bliss-000083-WK-Bliss-                                                        Health Consequences from Sexual
           PX661   000105                                        MelanieJBlissPhD_7.pdf             Trauma Victimizations
                   WK-Tallis-000256-WK-Tallis-
           PX662   000257                                        Tallis Materials 014.pdf           Tallis Handwritten Notes
                                                                                                    Fuchs, E; Flugge G. Adult
                   WK-Whitmore000142-WK-                                                            Neuroplasty: More than 40 Years of
           PX663   Whitmore000152                                14.pdf                             Research. Neural Plasticity 2014
                                                                                                    Sanchez, R; Stark SW. The Hard
                                                                                                    Truth About Human Trafficking.
                   WK-Whitmore001023-WK-                                                            Nursing Management 2014 (Jan), pp.
           PX664   Whitmore001028                                11.pdf                             18-23
                                                                                                    Institute of Medicine and National
                                                                                                    Research Council article on
                   WK-Whitmore000538-WK-                                                            Confronting Commercial Sexual
           PX665   Whitmore001014                                4.pdf                              Exploitation of Minors in the US
                                                                                                                                            Relevance under Rule 401 and
                                                                                                                                            unfair prejudice and confusion of
                                                                                                                                            the issues under Rule 403;
                                                                                                    Invoices of Bondurant, Mixson &         Foundation; Authentication; Not
           PX666                                                                                    Elmore                                  a jury issue
                                                                                                                                            Relevance under Rule 401 and
                                                                                                                                            unfair prejudice and confusion of
                                                                                                                                            the issues under Rule 403;
                                                                                                    Invoices of Andersen Tate & Carr,       Foundation; Authentication; Not
           PX667                                                                                    P.C.                                    a jury issue
                                                                                                    City of Cartersville Criminal History
           PX668   Pltf. M.M.002416                     4/6/24                                      Consent Form




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                                                     Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 108 of 258


Exhibit Number   Bates Number                             Deposition Exhibit Number       Description                                Plaintiff's Objections
Defx 1           Plt. A.F. 000005-Pltf.A.F.000008                                         Atlanta Police Department Records
Defx 2           Pltf. A.F.000046                                                         Video of A.F.
Defx 3           Pltf. A.F.000047                                                         Video of A.F.
Defx 4           Pltf. A.F.000048                                                         Video of A.F.
Defx 5           Pltf. A.F.000049-Pltf. A.F.000209                                        Copy of "Memoir of a Teen Sex Trafficked."
Defx 6           Pltf. A.F.000210                                                         Q&A for "Memoir of a Teen Sex Trafficked."

Defx 7           Pltf. A.F.000211                                                         Video of A.F.
Defx 8           Pltf. A.F.000212-Pltf. A.F.000324                                        Copy of "Untold Stories of a Teen Call Girl."
Defx 9           Pltf. A.F.000325                                                         Video of A.F. summarizing her past
Defx 10          Pltf. A.F.000326                                                         "Memoir of a Teen Sex Trafficked"
Defx 11          Pltf. A.F.000332-Pltf. A.F.000335                                        Post Trauma Anxiety Screen
Defx 12          Pltf. A.F.000336-Pltf. A.F.000344                                        SafeWay Psychological Services screen -
                                                                                          DSM-5 symptoms of PTSD and MDD
Defx 13                                                   Deposition Exhibit 1 to A.F.    Deposition Exhibit 1 to A.F. Deposition
                                                          Deposition 8/31/2022            8/31/2022
Defx 14                                                   Deposition Exhibit 2 to A.F.    Deposition Exhibit 2 to A.F. Deposition
                                                          Deposition 8/31/2022            8/31/2022
Defx 15                                                   Deposition Exhibit 3 to A.F.    Deposition Exhibit 3 to A.F. Deposition
                                                          Deposition 8/31/2022            8/31/2022
Defx 16                                                   Deposition Exhibit 4 to A.F.    Deposition Exhibit 4 to A.F. Deposition
                                                          Deposition 8/31/2022            8/31/2022
Defx 17                                                   Deposition Exhibit 7 to A.F.    Twitter posts
                                                          Deposition 8/31/2022
Defx 18                                                   Deposition Exhibit 8 to A.F.    Clips 4 Sale
                                                          Deposition 8/31/2022
Defx 19                                                   Deposition Exhibit 9-10 to A.F. QueenAva Twitter
                                                          Deposition 8/31/2022
Defx 20                                                                                   Plaintiff A.F.'s Objections and Responses to
                                                                                          Requests for Admission
                                                 Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 109 of 258


Exhibit Number   Bates Number                            Deposition Exhibit Number   Description                 Plaintiff's Objections
Defx 21          Pltf. C.A. 004332-004557; Pltf. C.A.                                Photographs/Screenshots
                 004576; Pltf. C.A. 004586-004609; Pltf.
                 C.A. 004626-004628; Pltf. C.A. 004690-
                 004692; Pltf. C.A. 004712-004716; Pltf.
                 C.A. 004737; Pltf. C.A. 004764-004774;
                 Pltf. C.A. 004798; Pltf. C.A. 004849-
                 004850; Pltf. C.A. 004866; Pltf. C.A.
                 004906-004909; Pltf. C.A. 004925-
                 004942; Pltf. C.A. 004967; Pltf. C.A.
                 004989; Pltf. C.A. 005004-005013; Pltf.
                 C.A. 005035-005041; Pltf. C.A. 005055-
                 005056; Pltf. C.A. 005087-005093; Pltf.
                 C.A. 005109; Pltf. C.A. 005130; Pltf.
                 C.A. 005176-005188; Pltf. C.A. 005204;
                 Pltf. C.A. 005225; Pltf. C.A. 005243-
                 005244; Pltf. C.A. 005260-005261; Pltf.
                 C.A. 005276-005277; Pltf. C.A. 005297-
                 005316; Pltf. C.A. 005364-005365; Pltf.
                 C.A. 005412-005423; Pltf. C.A. 005456-
                 005464; Pltf. C.A. 005500-005503; Pltf.
                 C.A. 005535; Pltf. C.A. 005558-005562;
                 Pltf. C.A. 005574-005575; Pltf. C.A.
                 005603-005604; Pltf. C.A. 005616-
                 005622; Pltf. C.A. 005639; Pltf. C.A.
                 005665; Pltf. C.A. 005702; Pltf. C.A.
                 005728; Pltf. C.A. 005744-005805; Pltf.
                                                     Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 110 of 258


Exhibit Number   Bates Number                            Deposition Exhibit Number   Description                     Plaintiff's Objections
Defx 22          Pltf. C.A. 007655-007687; Pltf. C.A.                                Text Messages
                 007691-007747; Pltf. C.A. 007750-
                 007775; Pltf. C.A. 007777-007782; Pltf.
                 C.A. 007784-007845; Pltf. C.A. 007848-
                 008014; Pltf. C.A. 008249-008251; Pltf.
                 C.A. 008257; Pltf. C.A. 008; Pltf. C.A.
                 008320; Pltf. C.A. 008342-008343; Pltf.
                 C.A. 008357; Pltf. C.A. 008365; Pltf.
                 C.A. 008368; Pltf. C.A. 008391; Pltf.
                 C.A. 008436; Pltf. C.A. 008452; Pltf.
                 C.A. 008461; Pltf. C.A. 008466; Pltf.
                 C.A. 008472; Pltf. C.A. 008533; Pltf.
                 C.A. 008547; Pltf. C.A. 008557; Pltf.
                 C.A. 008564; Pltf. C.A. 008580

Defx 23          Pltf. C.A. 007847                                                   Video
Defx 24          Pltf. C.A. 008411; Pltf. C.A. 008529; Pltf.                         Hotel Reservation
                 C.A. 010085-010087; Pltf. C.A. 010113-
                 010115; Pltf. C.A. 010151-010152; Pltf.
                 C.A. 010462
Defx 25          Pltf. C.A. 008679-008745; Pltf. C.A.                                Backpage Emails/Voicemails
                 008747-008754; Pltf. C.A. 008756-
                 008759; Pltf. C.A. 008761-008770; Pltf.
                 C.A. 008772-008775; Pltf. C.A. 008777-
                 008885; Pltf. C.A. 008887-008901; Pltf.
                 C.A. 008903-008957; Pltf. C.A. 010013;
                 Pltf. C.A. 010015-010018; Pltf. C.A.
                 010023-010024; Pltf. C.A. 010072-
                 010076; Pltf. C.A. 010136;

Defx 26          Pltf. C.A. 0011635-0011641                                          Police Reports
Defx 27          Pltf. C.A. 0011642-0011646                                          Gwinnett County Police Record
                                                    Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 111 of 258


Exhibit Number   Bates Number                            Deposition Exhibit Number   Description                                   Plaintiff's Objections
Defx 28          Pltf. C.A. 009948-009949; Pltf. C.A.                                Various emails (Virgin Mobile, Skype,
                 009962-009963; Pltf. C.A. 009967-                                   Twitter, Extended Stay Hotel offers)
                 009968; Pltf. C.A. 009972-009977; Pltf.
                 C.A. 009981; Pltf. C.A. 009983-010000;
                 Pltf. C.A. 010004-010007; Pltf. C.A.
                 010009-010012; Pltf. C.A. 010014; Pltf.
                 C.A. 010019-010022; Pltf. C.A. 010026-
                 010033; Pltf. C.A. 010035-010046; Pltf.
                 010057-010067; Pltf. C.A. 010069-
                 010071; Pltf. C.A. 010077-010084; Pltf.
                 C.A. 010090-010091; Pltf. C.A. 010097-
                 010098; Pltf. C.A. 010107-010112; Pltf.
                 C.A. 010116-010128; Pltf. C.A. 010132-
                 010135; Pltf. C.A. 010140; Pltf. C.A.
                 010143-010148; Pltf. C.A. 010153; Pltf.
                 C.a. 010157-010158; Pltf. C.A. 010160-
                 010173; Pltf. C.A. 010176-010190; Pltf.
                 C.A. 010192-010236; Pltf. C.A. 010240-
                 010268; Pltf. C.A. 010271-010319; Pltf.
                 C.A. 010324-010364; Pltf. C.A. 010366-
                 010461; Pltf. C.A. 010463-010466


Defx 29          Pltf. C.A. 009961                                                   Email Lifting Warrant
Defx 30          Pltf. C.A. 009964-009965; Pltf. C.A.                                C.A. Email Conversations w/ family/friends
                 010321-010323
Defx 31          Pltf. C.A. 009966; Pltf. C.A. 009969-                               Letter of Recommendations/character letters
                 009970
Defx 32          Pltf. C.A. 009979; Pltf. C.A. 010034;                               Facebook Notifications
Defx 33          Pltf. C.A. 010047; Pltf. C.A. 010055-                               Hotel Reviews
                 010056
Defx 34          Pltf. C.A. 010048-010054                                            Lavan Chandra Resume
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Exhibit Number   Bates Number                            Deposition Exhibit Number      Description                                      Plaintiff's Objections
Defx 35          Pltf. C.A. 010068; Pltf. C.A. 010092-                                  Emails w/ Lavan Chandra
                 010096; Pltf. C.A. 010099-010106; Pltf.
                 C.A. 010467-010469
Defx 36          Pltf. C.A. 010470-010510; Pltf. C.A.                                   C.A. Search Activity
                 010547-010675
Defx 37          Pltf. C.A. 010677-010769                                               LifeStance Medical Records
Defx 38          Pltf. C.A. 010770-011504                                               Northside Hospital Medical Records
Defx 39          Pltf. C.A.-SM000001-000034; Pltf. C.A.-                                Facebook Messages
                 SM000042-000066; Pltf. C.A.-
                 SM000069-000206; Pltf. C.A.-
                 SM000267-000285; Pltf. C.A.-
                 SM000288
Defx 40          Pltf. C.A.-SM000035-000041; Pltf. C.A.-                                Photos sent on Facebook
                 SM000067-000068; Pltf. C.A.-
                 SM000207-000266
Defx 41          Pltf. C.A.-SM000286-000287                                             Category of messages exchanged on Facebook

Defx 42          Pltf. C.A.-SM000289-000294                                             Group Interactions on Facebook
Defx 43          Pltf. C.A.-SM000295-001110                                             Comments made on Facebook
Defx 44          Pltf. C.A.-SM001111-001148                                             Areas of Facebook recently visited (profiles,
                                                                                        pages, groups, and events)
Defx 45                                                Exhibit 2 to C.A.'s August 12,   C.A.'s Objections and Responses to RRI's First
                                                       2022 deposition                  Interrogatories
Defx 46                                                Exhibit 26 C.A.'s August 12,     5/6/2013 Text Message
                                                       2022 deposition
Defx 47                                                Exhibit 27 C.A.'s August 12,     Text Message
                                                       2022 deposition
Defx 48                                                Exhibit 28 C.A.'s August 12,     Sugardaddyforme.com Profile
                                                       2022 deposition
Defx 49                                                Exhibit 29 C.A.'s August 12,     a_kayy Instagram Post
                                                       2022 deposition
Defx 50                                                Exhibit 30 C.A.'s August 12,     mulahbunny Instagram Post
                                                       2022 deposition
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Exhibit Number   Bates Number                             Deposition Exhibit Number      Description                                    Plaintiff's Objections
Defx 51                                                   Exhibit 31 C.A.'s August 12,   Fasionfloozies Instagram post
                                                          2022 deposition
Defx 52                                                   Exhibit 32 C.A.'s August 12,   Email chain
                                                          2022 deposition
Defx 53                                                   Exhibit 33 C.A.'s August 12,   Photograph
                                                          2022 deposition
Defx 54                                                   Exhibit 34 C.A.'s August 12,   Handwritten notes
                                                          2022 deposition
Defx 55                                                   Exhibit 35 C.A.'s August 12,   Instagram posts
                                                          2022 deposition
Defx 56                                                   Exhibit 36 C.A.'s August 12,   Instagram posts
                                                          2022 deposition
Defx 57                                                   Exhibit 37 C.A.'s August 12,   Birthday invitation
                                                          2022 deposition
Defx 58                                                   Exhibit 38 C.A.'s August 12,   Photo
                                                          2022 deposition
Defx 59                                                   Exhibit 39 C.A.'s August 12,   Photo
                                                          2022 deposition
Defx 60                                                   Exhibit 40 C.A.'s August 12,   Text messages
                                                          2022 deposition
Defx 61                                                   Exhibit 41 C.A.'s August 12,   Email
                                                          2022 deposition
Defx 62                                                                                  Plaintiff C.A.'s Objections and Responses to
                                                                                         Requests for Admission
Defx 63          Pltf. D.P.010308-Pltf.D.P.010339                                        Backpage and Craigslist responses
Defx 64          Pltf. D.P.011455; 11278; 11210                                          Social Media Texts
Defx 65          Pltf. D.P. 017810-Pltf.D.P.017830                                       TextNow Exported Conversations Text
Defx 66          Pltf. D.P.017878                                                        "Selfie" Picture
Defx 67          Pltf. D.P.017879                                                        Mirror "Selfie" Picture
Defx 68          Pltf. D.P.017880                                                        "Selfie" Picture
Defx 69          Pltf. D.P.017881                                                        Mirror "Selfie" Picture
Defx 70          Pltf. D.P.017882                                                        "Selfie" Picture
                                                     Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 114 of 258


Exhibit Number   Bates Number                             Deposition Exhibit Number   Description                                   Plaintiff's Objections
Defx 71          Pltf. D.P.017883                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      10/09/21
Defx 72          Pltf. D.P.017884                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      12/20/20
Defx 73          Pltf. D.P.017885                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      12/16/19
Defx 74          Pltf. D.P.017886                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      11/18/19
Defx 75          Pltf. D.P.017887                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      12/10/18
Defx 76          Pltf. D.P.017888                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      06/27/18
Defx 77          Pltf. D.P.017889                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      06/04/18
Defx 78          Pltf. D.P.017890                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      04/15/18
Defx 79          Pltf. D.P.017891-Pltf. D.P.017892                                    Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      06/04/18
Defx 80          Pltf. D.P.017893                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      11/03/17
Defx 81          Pltf. D.P.017894                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      07/02/17
Defx 82          Pltf. D.P.017895                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      05/17/17
Defx 83          Pltf. D.P.017896                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      03/19/15
Defx 84          Pltf. D.P.017897                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      08/27/14
Defx 85          Pltf. D.P.017898                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      08/08/14
Defx 86          Pltf. D.P.017899                                                     Cobb Sheriff's Office Arrest/Booking Report -
                                                                                      05/08/14
Defx 87          Pltf. D.P.017900                                                     Arrest Information I.D.
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Exhibit Number   Bates Number                             Deposition Exhibit Number       Description                                  Plaintiff's Objections
Defx 88          Pltf. D.P.017901-Pltf. D.P.017902                                        DeKalb County Sheriff's Office Arrest
                                                                                          Information Record - 03/22/2018
Defx 89          Pltf. D.P.017903                                                         DeKalb County Court Order
Defx 90          Pltf. D.P.017904                                                         DeKalb County Bench Warrant for Failure to
                                                                                          Appear on Tuesday, July 25, 2017
Defx 91          Pltf. D.P.017905                                                         DeKalb County Sheriff's Office Arrest
                                                                                          Information Record - 12/06/2016
Defx 92          Pltf. D.P.017906                                                         Arrest Information I.D.
Defx 93                                                   Exhibit 1 to Deposition of D.P. Exhibit 1 to Deposition of D.P. 6/30/2022
                                                          6/30/2022
Defx 94                                                   Exhibit 2 to Deposition of D.P. Exhibit 2 to Deposition of D.P. 6/30/2022
                                                          6/30/2022
Defx 95                                                   Deposition Exs 3&4 to 6/30/22 Plaintiff D.P.' s Verification and Amended and
                                                          Deposition of D.P.              Supplemental Objections and Responses to
                                                                                          Defendant RRI's First Interrogatories
Defx 96                                                   Deposition Exhibit 5-7 to       Photographs of males
                                                          6/30/22 Deposition of D.P.
Defx 97                                                   Deposition Exhibit 8 to 6/30/22 Cobb Sheriff's Office Arrest/Booking Report
                                                          Deposition of D.P.
Defx 98                                                   Deposition Exhibit 9 to 6/30/22 Atlanta Police Records
                                                          Deposition of D.P.
Defx 99                                                   Deposition Exhibit 10 to        Marietta Police Records 5/30/2014
                                                          6/30/22 Deposition of D.P.
Defx 100                                                  Deposition Exhibit 11 to        OMS Offender Management System printout
                                                          6/30/22 Deposition of D.P.      on Delann Marie Pountain
Defx 101                                                  Deposition Exhibit 12 to        Cobb County Police Reports 2/2/2015
                                                          6/30/22 Deposition of D.P.
Defx 102                                                  Deposition Exhibit 13 to        Marietta Police Records 1/21/2017
                                                          6/30/22 Deposition of D.P.
Defx 103                                                  Deposition Exhibit 14 to        Facebook Profile Picture
                                                          6/30/22 Deposition of D.P.
Defx 104                                                  Deposition Exhibit 15 to        Mobile upload photograph
                                                          6/30/22 Deposition of D.P.
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Exhibit Number   Bates Number                             Deposition Exhibit Number    Description                                    Plaintiff's Objections
Defx 105                                                  Deposition Exhibit 16 to     Facebook Post
                                                          6/30/22 Deposition of D.P.
Defx 106                                                  Deposition Exhibit 19 to     Video screenshots
                                                          6/30/22 Deposition of D.P.
Defx 107                                                  Deposition Exhibit 20 to     Cobb County Police Reports 4/7/2017
                                                          6/30/22 Deposition of D.P.
Defx 108                                                  Deposition Exhibit 21 to     Cobb County Police Reports 5/17/2017
                                                          6/30/22 Deposition of D.P.
Defx 109                                                  Deposition Exhibit 22 to     Mobile upload photograph
                                                          6/30/22 Deposition of D.P.
Defx 110                                                  Deposition Exhibit 23 to     Cobb County Police Reports 7/26/2017
                                                          6/30/22 Deposition of D.P.
Defx 111                                                  Deposition Exhibit 24 to     Powder Springs Police Department -Family
                                                          6/30/22 Deposition of D.P.   Violence Incident Report
Defx 112                                                  Deposition Exhibit 25 to     Red Roof Inn photograph of lobby
                                                          6/30/22 Deposition of D.P.
Defx 113                                                  Deposition Exhibit 26 to     Red Roof Inn signage This Inn is
                                                          6/30/22 Deposition of D.P.   independently owned and operated by a Red
                                                                                       Roof franchisee
Defx 114                                                  Deposition Exhibit 27 to     Kent County Sheriff's Office records
                                                          6/30/22 Deposition of D.P.
Defx 115                                                                               Plaintiff D.P.'s Objections and Responses to
                                                                                       Requests for Admission
Defx 116         Pltf.E.H. 006545; 7219;                  Deposition Exhibit 9         Photographs E.H.
Defx 117         Pltf. E.H.007812-7814                                                 Bibb County Sheriff's Records
Defx 118         Pltf. E.H.007815-7824                                                 Cobb County Police and Sheriff's Records
Defx 119         Pltf. E.H.007825-Pltf. E.H.007831                                     Cobb County State Court Records

Defx 120         Pltf. E.H.007854-Pltf. E.H.007855                                     SmartCop Inmate Records
Defx 121         Pltf. E.H.007856-Pltf. E.H.007857                                     Municipal Court of Tuscaloosa records -
                                                                                       Charge Solicitation
Defx 122         Pltf. E.H.007858-7868;7907; 7923-7932;                                E.H. Photographs
                 7935-8278
                                                     Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 117 of 258


Exhibit Number   Bates Number                            Deposition Exhibit Number        Description                                  Plaintiff's Objections
Defx 123         Pltf. E.H.007869-7905                                                    Backpage emails
Defx 124         Pltf. E.H.007906; 7908-7917; 7933-7934;                                  Social Media photographs, Mp4s
                 8279-9597
Defx 125         Pltf. E.H.007918-7922                                                    Megapersonals ads
Defx 126         Pltf. E.H.009597-Pltf. E.H.009615                                        Google Activity
Defx 127         Pltf. E.H.009616-Pltf. E.H.009620                                        Cobb County, GA Juvenile Court Records

Defx 128         Pltf. E.H.009621                                                         Medication List

Defx 129         Pltf. E.H.009622-Pltf. E.H.009631                                        Western Psychological Services records

Defx 130         Pltf. E.H.009632-Pltf. E.H.009634                                        Behavior list
Defx 131         Pltf. E.H.009635-Pltf. E.H.009644                                        Muscogee County School District records
Defx 132         Pltf. E.H.009645-Pltf. E.H.009657                                        Wellstar Medical Records

Defx 133         Pltf. E.H.009658-Pltf. E.H.009659                                        Itemized rules for school
Defx 134         Pltf. E.H.009660-Pltf. E.H.009689                                        School Records
Defx 135         Pltf. E.H.009690-Pltf. E.H.009896                                        Cobb County School District records

Defx 136         Pltf. E.H.009897-Pltf. E.H.009990                                        Snap Chat History
Defx 137         Pltf. E.H.009991-Pltf. E.H.010120                                        Wellstar Medical Records
Defx 138         Pltf. E.H.010121-Pltf. E.H.010135                                        Psychological Services, Cobb County School
                                                                                          District -
                                                                                          Psychoeducational Report

Defx 139         Pltf. E.H.010136-Pltf. E.H.010166                                        Teen Challenge Columbus Girls Academy
                                                                                          records

Defx 140         Pltf. E.H.010167-Pltf. E.H.010184                                        Psychological Sciences Institute medical
                                                                                          records

Defx 141                                                  Exhibit 1 to Deposition of E.H. Exhibit 1 to Deposition of E.H. 10/12/2022
                                                          10/12/2022
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Exhibit Number   Bates Number                Deposition Exhibit Number       Description                                    Plaintiff's Objections
Defx 142                                     Deposition Exhibit 2 to         Photographs of male
                                             Deposition of E.H. 10/12/2022
Defx 143                                     Deposition Exhibit 3 to         Photograph
                                             Deposition of E.H. 10/12/2022
Defx 144                                     Deposition Exhibit 4 to         Plaintiff E.H.'s Amended and Supplemental
                                             Deposition of E.H. 10/12/2022   Objections and Responses to Defendant Red
                                                                             Roof Inns, Inc.s' First Interrogatories
Defx 145                                     Deposition Exhibit 5 to         Gwinnett County Police records
                                             Deposition of E.H. 10/12/2022
Defx 146                                     Deposition Exhibit 6 to         State of Georgia v. Elizabeth Hogue Final
                                             Deposition of E.H. 10/12/2022   Disposition case 14D-2438-2
Defx 147                                     Deposition Exhibit 7 to         State Court of Cobb County charge
                                             Deposition of E.H. 10/12/2022
Defx 148                                     Deposition Exhibit 8 to         Photographs
                                             Deposition of E.H. 10/12/2022
Defx 149                                     Deposition Exhibit 10 to        News Article "Arrests made in Tuscaloosa
                                             Deposition of E.H. 10/12/2022   prostitution detail"
Defx 150                                     Deposition Exhibit 11 to        Photograph
                                             Deposition of E.H. 10/12/2022
Defx 151                                     Deposition Exhibit 12 to        Photograph
                                             Deposition of E.H. 10/12/2022
Defx 152                                                                     Plaintiff E.H.'s Objections and Responses to
                                                                             Requests for Admission
Defx 153         K.P. 000003 - 000009                                        Sandy Springs Police Department Record
Defx 154         K.P. 000037 - 48                                            Ridgeview Institute Medical Records
Defx 155         K.P. 000017 - 35                                            DeKalb Community Service Board Medical
                                                                             Records
Defx 156         K.P. 0000053 - 77                                           DeKalb Community Service Board Psychiatric
                                                                             Records
Defx 157         K.P. 0000078 - 101                                          Sozo Family Services Medical Records
Defx 158         K.P. 0000102 - 113                                          Carroll County State Court Criminal Records
Defx 159         K.P. 0000114 - 206                                          Northside Hospital Atlanta Medical Records
Defx 160         K.P. 00004836 - 4940                                        Wellstar Medical Records
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Exhibit Number   Bates Number                             Deposition Exhibit Number      Description                                   Plaintiff's Objections
Defx 161         K.P. 0004941 - 4981                                                     Jose Nadala Medical Records
Defx 162         K.P. 231 – 236, 329 – 330, 346 – 348,                                   Various Photos Produced by K.P.
                 354 – 364, 368 – 421, 445 – 454, 456 –
                 476, 478 – 538, 558 – 577, 742 – 745,
                 756 – 855, 1235 – 1544, 1546 – 1573,
                 1590 – 1682 – 1682, 3095 – 3178

Defx 163         K.P. 000539 - 000545                                                      Marital History 1984 to Present
Defx 164         K.P. 0000546 - 557                                                        Juvenile Court of Forsyth County Records
Defx 165         K.P. 0000578 - 741                                                        Facebook Messages
Defx 166         K.P. 000872 - 873                                                         Letter from Kenneth Schatten
Defx 167         K.P. 1686 - 3094; 3179 - 3198; 3179 - 4835                                Various Computer/Internet Histories and
                                                                                           Downloads
Defx 168                                                  Exhibit 2 to July 14, 2022 Depos Plaintiff K.P.'s Amended and Supplemental
                                                                                           Objections and Responses to Defendant Red
                                                                                           Roof's First Interrogatories
Defx 169                                                  Exhibit 3 to July 14, 2022       Photographs
                                                          Deposition of K.P.
Defx 170                                                  Exhibit 4 to July 14, 2022       5/7/10 Incident/Investigation Report
                                                          Deposition of K.P.
Defx 171                                                  Exhibit 5 to July 14, 2022       8/24/11 Northside Hospital Record
                                                          Deposition of K.P.
Defx 172                                                  Exhibit 6 to July 14, 2022       Medical Records
                                                          Deposition of K.P.
Defx 173                                                  Exhibit 7 to July 14, 2022       SGN Nutrition Documents
                                                          Deposition of K.P.
Defx 174                                                  Exhibit 8 to July 14, 2022       7/20/12 Cherokee County Sheriff's Office
                                                          Deposition of K.P.               Record
Defx 175                                                  Exhibit 9 to July 14, 2022       8/6/12 Georgia Uniform Motor Vehicle
                                                          Deposition of K.P.               Accident Report
Defx 176                                                  Exhibit 10 to July 14, 2022      12/6/12 Unique Business Solutions, LLC
                                                          Deposition of K.P.               Letter
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Exhibit Number   Bates Number        Deposition Exhibit Number      Description                                    Plaintiff's Objections
Defx 177                             Exhibit 11 to July 14, 2022    Northside Hospital Records
                                     Deposition of K.P.
Defx 178                             Exhibit 12 to July 14, 2022    Tradelle Lacy CV
                                     Deposition of K.P.
Defx 179                             Exhibit 13 to July 14, 2022    Conversation
                                     Deposition of K.P.
Defx 180                             Exhibit 14 to July 14, 2022    Conversation
                                     Deposition of K.P.
Defx 181                             Exhibit 15 to July 14, 2022    10 Questions
                                     Deposition of K.P.
Defx 182                             Exhibit 16 to July 14, 2022    12/27/15 Incident/Investigation Report
                                     Deposition of K.P.
Defx 183                             Exhibit 17 to July 14, 2022    Choose up or Loose up Document
                                     Deposition of K.P.
Defx 184                                                            Plaintiff K.P.’s Objections and Responses to
                                                                    Defendants Red Roof Inns, Inc.’s Request for
                                                                    Admission.
Defx 185                                                            Plaintiff K.P.'s Objections and Responses to
                                                                    Requests for Admission
Defx 186                             Exhibit 1 to March 22, 2022    Notice of Video Deposition
                                     Deposition of M.B.
Defx 187                             Exhibit 2 to March 22, 2022     M.B. Objections to Varahi Hotel's First
                                     Deposition of M.B.              Interrogatories
Defx 188                             Exhibits 3 and 11 to March 22, M.B. Objections/Responses to RRI's First
                                     2022 Deposition of M.B.         Interrogatories
Defx 189                             Exhibit 4 to March 22, 2022     DeKalb County Arrest Record
                                     Deposition of M.B.
Defx 190                             Exhibits 5-7 to March 22, 2022 SafeWay Psychological Services Records
                                     Deposition of M.B.
Defx 191                             Exhibits 8-9 to March 22, 2022 Photographs
                                     Deposition of M.B.
Defx 192                             Exhibits 10 and 12 to March 22, ML Healthcare Medical Billing
                                     2022 Deposition of M.B.         Summary/Distribution Agreement
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Exhibit Number   Bates Number                              Deposition Exhibit Number   Description                                     Plaintiff's Objections
Defx 193                                                                               Plaintiff M.B.'s Objections and Responses to
                                                                                       Requests for Admission
Defx 194         Pltf. M.M. 000974-001075                                              Phone locations
Defx 195         Pltf. M.M.001076-Pltf. M.M.001081;                                    Red Roof Inn emails to customer
                 1083-1086
Defx 196         Pltf. M.M.001082                                                      The Ritz-Carlton-Reynolds Plantation email to
                                                                                       customers
Defx 197         Pltf. M.M.001088                                                      Georgia Bureau of Investigation Georgia
                                                                                       Crime Information Center
                                                                                       Consent Form
Defx 198         Pltf. M.M.001089-90                                                   Email re 4Sarah
Defx 199         Pltf. M.M.001091-92                                                   Photographs
Defx 200         Pltf. M.M.001093-Pltf. M.M.001094                                     Backpage post re survivor of human
                                                                                       trafficking
Defx 201         Pltf. M.M.001095-1115; 1118-1176;                                     Craigslist Emails/Communications
                 1598; 1600-1629; 1635-1659; 1665-
                 1671; 1673-1695; 1866-1909; 1912-
                 1917; 1928-1932; 1967-1972
Defx 202         Pltf. M.M.001116-1117; 1599; 1630-                                    Eros documents
                 1632-1634; 1664; 1672; 1910-1911; 1918-
                 1921
Defx 203         Pltf. M.M.001177-1532; 1590-1597;                                     Backpage emails/communications
                 1696-1865
Defx 204         Pltf. M.M.001533-1589                                                 Backpage payments/credit purchase
Defx 205         Pltf. M.M.001660-Pltf. M.M.001663                                     Quora Digest request on call history
Defx 206         Pltf. M.M.001922-Pltf. M.M.001927;                                    Paxful
                 1933-1966
Defx 207         Pltf. M.M.001973-1981                                                 ML Healthcare Services LLC / SafewWay
                                                                                       Psychological Services medical records

Defx 208         Pltf. M.M.002413-Pltf. M.M.002415                                     Mixson Dental & Associates Medical Records
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Exhibit Number   Bates Number        Deposition Exhibit Number      Description                                  Plaintiff's Objections
Defx 209                             Deposition Exhibit 55          Plaintiff M.M.'s Objections and Responses to
                                                                    Defendant Red Roof Inns, Inc.'s First
                                                                    Interrogatories
Defx 210                             Exhibit 56 to Deposition of    Exhibit 56 to Deposition of M.M. 11/11/2021
                                     M.M. 11/11/2021
Defx 211                             Exhibit 57 to Deposition of   Exhibit 57 to Deposition of M.M. 11/11/2021
                                     M.M. 11/11/2021 to Deposition
                                     of M.M. 11/11/2021

Defx 212                             Deposition Exhibit 58 to      Color Photograph
                                     Deposition of M.M. 11/11/2021

Defx 213                             Deposition Exhibit 59 to      Palm Beach County Sheriff's Office records
                                     Deposition of M.M. 11/11/2021

Defx 214                             Deposition Exhibit 60 to      Coral Springs Police Department records
                                     Deposition of M.M. 11/11/2021

Defx 215                             Deposition Exhibit 62 to      Cobb County Police records
                                     Deposition of M.M. 11/11/2021

Defx 216                             Deposition Exhibit 64 to      Marietta Police Department records
                                     Deposition of M.M. 11/11/2021

Defx 217                             Deposition Exhibit 65 to      Cobb County Sheriff's Office photograph
                                     Deposition of M.M. 11/11/2021

Defx 218                             Deposition Exhibit 66 to      Color Photograph
                                     Deposition of M.M. 11/11/2021

Defx 219                                                            Plaintiff M.M.'s Objections and Responses to
                                                                    Requests for Admission
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Exhibit Number   Bates Number                             Deposition Exhibit Number       Description                                    Plaintiff's Objections
Defx 220         Pltf.R.K.000011-Pltf.R.K.000013                                          State Court Case Summary Case No. 12-cr-
                                                                                          380671
Defx 221         Pltf. R.K.000014-Pltf.R.K. 000015                                        Georgia Department of Corrections offender
                                                                                          search results
Defx 222         Pltf. R.K.000016-Pltf. R.K.000025                                        Gwinnett County Police records
Defx 223         Pltf. R.K.-000027-Pltf.R.K.000031                                        Gwinnett Superior Court records
Defx 224         Pltf. R.K.000035-Pltf.R.K. 000037                                        Gwinnett Superior Court Petition for
                                                                                          Adjudication of Guild and Imposition of
                                                                                          Sentence
Defx 225         Plt. R.K. 000047-Pltf. R.K.000055                                        Atlanta Medical Center medical records
Defx 226         Pltf. R.K.000056-Pltf. R.K.000357                                        Dallas Children's Health Complete Medical
                                                                                          File Including documentation from birth at
                                                                                          Irving Healthcare

Defx 227         Pltf. R.K.000358-Pltf. R.K.000387                                        metadata from emails/location
Defx 228         Pltf. R.K.000388-Pltf. R.K.000391                                        R.K. email to Craigslist
Defx 229         Pltf. R.K.000395-Pltf. R.K.000421                                        USMD Hospital at Arlington
                                                                                          Admissions for OD on Tylenol
Defx 230         Pltf. R.K.001874-Pltf. R.K.002558                                        Google search history
Defx 231         Pltf. R.K.002559-Pltf. R.K.002836                                        Image search history
Defx 232         Pltf. R.K.002837-Pltf. R.K.004025                                        YouTube history
Defx 233         Pltf. R.K.004026-Pltf. R.K.004035                                        Arlington Municipal Court records

Defx 234         Pltf. R.K.004036                                                         Bradford County Sheriff's Office records
Defx 235         Pltf. R.K.004037-Pltf. R.K.004038                                        Report of inmate search
Defx 236                                                  Exhibit 1 to Deposition of R.K. Plaintiff R.K.'s Objections and Responses to
                                                          5/6/2022                        Interrogatories
Defx 237                                                  Exhibit 2 to Deposition of R.K. Verification
                                                          5/6/2022
Defx 238                                                  Deposition Exhibit 3 to         House locations
                                                          Deposition of R.K. 5/6/2022
Defx 239                                                  Exhibit 4 to Deposition of R.K. Exhibit 4 to Deposition of R.K. 5/6/2022
                                                          5/6/2022
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Exhibit Number   Bates Number                  Deposition Exhibit Number      Description                                     Plaintiff's Objections
Defx 240                                       Deposition Exhibit 5 to        Arlington Police Department Records
                                               Deposition of R.K. 5/6/2022
Defx 241                                       Deposition Exhibit 6 to        Miscellaneous hotel locations and photographs
                                               Deposition of R.K. 5/6/2022
Defx 242                                       Deposition Exhibit 7 to        Admission Records
                                               Deposition of R.K. 5/6/2022
Defx 243                                       Deposition Exhibit 8 to        CJIS Record Check
                                               Deposition of R.K. 5/6/2022
Defx 244                                       Deposition Exhibit 9 to        CJIS Data
                                               Deposition of R.K. 5/6/2022
Defx 245                                       Deposition Exhibit 10 to       Accusation
                                               Deposition of R.K. 5/6/2022
Defx 246                                       Deposition Exhibit 11 to       Final Disposition
                                               Deposition of R.K. 5/6/2022
Defx 247                                       Deposition Exhibit 12 to       Petition for Adjudication of Guilt
                                               Deposition of R.K. 5/6/2022
Defx 248                                       Deposition Exhibit 13 to       Photos sent on Facebook
                                               Deposition of R.K. 5/6/2022
Defx 249                                       Deposition Exhibit 14 to       Atlanta Police Department Records
                                               Deposition of R.K. 5/6/2022
Defx 250                                       Deposition Exhibit 15 to       Case Summary
                                               Deposition of R.K. 5/6/2022
Defx 251                                       Deposition Exhibit 16 to       Dunwoody Police Department Records
                                               Deposition of R.K. 5/6/2022
Defx 252                                       Deposition Exhibit 17 to       Atlanta Police /Fulton County Police Records
                                               Deposition of R.K. 5/6/2022
Defx 253                                       Deposition Exhibits 18-30 to   Facebook pages
                                               Deposition of R.K. 5/6/2022
Defx 254                                                                      Plaintiff R.K.'s Objections and Responses to
                                                                              Requests for Admission
Defx 255         Pltf. R.P.000050 - 202                                       Cobb County Community Services Board
                                                                              Medical Records
Defx 256         Pltf. R.P.000202                                             Wellstar Behavioral Health Medical Records
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Exhibit Number   Bates Number                                Deposition Exhibit Number        Description                              Plaintiff's Objections
Defx 257         Pltf. R.P.000203                                                             Peachford Behavioral Health System of
                                                                                              Atlanta Medical Records
Defx 258         Pltf. R.P.000204 - 000524                                                    Tampa Community Hospital Medical Records

Defx 259         Pltf. R.P.000525-Pltf. R.P.000906                                            Wellstar Health System Records
Defx 260         Pltf. R.P.000907-Pltf. R.P.001267; 3717 -                                    GA Regional Hospital Medical Records
                 3976
Defx 261         Pltf. R.P.003408 - 003711                                                    Piedmont Cartersville Hospital

Defx 262         Pltf. R.P.003712 - 3716                                                      Social Media Posts of Plaintiff
Defx 263         Pltf. R.P.003977                                                             State of Georgia, County of Gwinnett Criminal
                                                                                              Record
Defx 264                                                     Exhibit 2 to Plaintiff R.P.'s    Plaintiff R.P.'s Supplemental Objections and
                                                             April 14, 2022 Deposition        Responses to Defendant Varahi Hotel's First
                                                                                              Interrogatories
Defx 265                                                     Exhibit 3 to Plaintiff R.P.'s    Verification
                                                             April 14, 2022 Deposition
Defx 266                                                     Exhibit 4 to Plaintiff R.P.'s    Plaintiff R.P.'s Supplemental Objections and
                                                             April 14, 2022 Deposition        Responses to Defendant Red Roof Inn's First
                                                                                              Interrogatories
Defx 267                                                     Exhibit 5 to Plaintiff R.P.'s    Verification
                                                             April 14, 2022 Deposition
Defx 268                                                     Exhibit 6 to Plaintiff R.P.'s    Handwritten notes
                                                             April 14, 2022 Deposition
Defx 269                                                     Exhibit 7 to Plaintiff R.P.'s    4/27/12 DeKalb County Police Incident
                                                             April 14, 2022 Deposition
Defx 270                                                     Exhibit 8 to Plaintiff R.P.'s    Twitter Records
                                                             April 14, 2022 Deposition
Defx 271                                                     Exhibit 9 to Plaintiff R.P.'s    Facebook post
                                                             April 14, 2022 Deposition
Defx 272                                                     Exhibit 10 to Plaintiff R.P.'s   Norcross Police Department Incident
                                                             April 14, 2022 Deposition
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Exhibit Number   Bates Number        Deposition Exhibit Number        Description                                 Plaintiff's Objections
Defx 273                             Exhibit 11 to Plaintiff R.P.'s   Facebook Posts
                                     April 14, 2022 Deposition
Defx 274                             Exhibit 12 to Plaintiff R.P.'s   Facebook Posts
                                     April 14, 2022 Deposition
Defx 275                             Exhibit 13 to Plaintiff R.P.'s   12/9/13 Gwinnett County Police Incident
                                     April 14, 2022 Deposition        Report
Defx 276                             Exhibit 14 to Plaintiff R.P.'s   Facebook Post
                                     April 14, 2022 Deposition
Defx 277                             Exhibit 15 to Plaintiff R.P.'s   Facebook Post
                                     April 14, 2022 Deposition
Defx 278                             Exhibit 16 to Plaintiff R.P.'s   Facebook Post
                                     April 14, 2022 Deposition
Defx 279                             Exhibit 17 to Plaintiff R.P.'s   Facebook Post
                                     April 14, 2022 Deposition
Defx 280                             Exhibit 18 to Plaintiff R.P.'s   Facebook Post
                                     April 14, 2022 Deposition
Defx 281                             Exhibit 19 to Plaintiff R.P.'s   4/12/16 Gwinnett County Police Department
                                     April 14, 2022 Deposition
Defx 282                             Exhibit 20 to Plaintiff R.P.'s   Facebook Posts
                                     April 14, 2022 Deposition
Defx 283                             Exhibit 21 to Plaintiff R.P.'s   Norcross Police Department Records
                                     April 14, 2022 Deposition
Defx 284                             Exhibit 22 to Plaintiff R.P.'s   Facebook Posts
                                     April 14, 2022 Deposition
Defx 285                             Exhibit 23 to Plaintiff R.P.'s   4/25/18 DeKalb County Police Records
                                     April 14, 2022 Deposition
Defx 286                             Exhibit 24 to Plaintiff R.P.'s   Facebook Posts
                                     April 14, 2022 Deposition
Defx 287                             Exhibit 25 to Plaintiff R.P.'s   Photographs
                                     April 14, 2022 Deposition
Defx 288                             Exhibit 26 to Plaintiff R.P.'s   Photographs
                                     April 14, 2022 Deposition
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Exhibit Number   Bates Number                             Deposition Exhibit Number       Description                                    Plaintiff's Objections
Defx 289                                                                                  Plaintiff R.P.'s Objections and Responses to
                                                                                          Requests for Admission
Defx 290         Pltf. T.H.000012-Pltf. T.H.000018                                        Arlington Police Department Records

Defx 291         Pltf. T.H.000019-Pltf. T.H.000030                                        Fort Worth Folice Department Records
Defx 292         Pltf. T.H.000031-33                                                      Texas Warrants
Defx 293         Pltf. T.H.000034-310                                                     Millwood Hospital/Excel Center Medical
                                                                                          Records
Defx 294         Pltf. T.H.000311-Pltf. T.H.000317                                        Emails shared from Pinterest
Defx 295         Pltf. T.H.000401                                                         Williamson County Sheriff's Office
                                                                                          Incarceration Verification Form

Defx 296         Pltf. T.H.000403-Pltf. T.H.000410                                        Round Rock Police Department Reports
Defx 297                                                  Deposition Exhibit 2 to T.H.    Plaintiff T.H.'s Objections and Responses to
                                                          Deposition 5/5/2022             Interrogatories
Defx 298                                                  Deposition Exhibit 2a to T.H.   Verification
                                                          Deposition 5/5/2022
Defx 299                                                  Deposition Exhibit 3 to TT.H.   Perfect 10 AD
                                                          Deposition 5/5/2022
Defx 300                                                  Deposition Exhibit 4 to T.H.    Incident Report
                                                          Deposition 5/5/2022
Defx 301                                                  Deposition Exhibit 5 to T.H.    Arrest Report
                                                          Deposition 5/5/2022
Defx 302                                                  Deposition Exhibit 6 to T.H.    Call Sheet Report
                                                          Deposition 5/5/2022
Defx 303                                                  Deposition Exhibit 7 to T.H.    Suspect Rap Sheet
                                                          Deposition 5/5/2022
Defx 304                                                  Deposition Exhibit 8 to T.H.    Offense/Incident Report
                                                          Deposition 5/5/2022
Defx 305                                                  Deposition Exhibit 9 to T.H.    Offender Details
                                                          Deposition 5/5/2022
Defx 306                                                  Deposition Exhibit 10 to T.H.   Incident/Investigation Report
                                                          Deposition 5/5/2022
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Exhibit Number   Bates Number        Deposition Exhibit Number       Description                            Plaintiff's Objections
Defx 307                             Deposition Exhibit 11 to T.H.   Incident/Arrest Report
                                     Deposition 5/5/2022
Defx 308                             Deposition Exhibit 12 to T.H.   Incident/Investigation Report
                                     Deposition 5/5/2022
Defx 309                             Deposition Exhibit 13 to T.H.   Facebook Profile
                                     Deposition 5/5/2022
Defx 310                             Deposition Exhibit 14 to T.H.   Facebook Post
                                     Deposition 5/5/2022
Defx 311                             Deposition Exhibit 15 to T.H.   Facebook Post
                                     Deposition 5/5/2022
Defx 312                             Deposition Exhibit 16 to T.H.   Medical Record
                                     Deposition 5/5/2022
Defx 313                             Deposition Exhibit 17 to T.H.   ML Healthcare Letter
                                     Deposition 5/5/2022
Defx 314                             Deposition Exhibit 18 to T.H.   ML Healthcare Districution Agreement
                                     Deposition 5/5/2022
Defx 315                             Deposition Exhibit 19 to T.H.   ML Healthcare Billing Summary
                                     Deposition 5/5/2022
Defx 316                             Deposition Exhibit 20 to T.H.   ML Healthcare Letter
                                     Deposition 5/5/2022
Defx 317                             Deposition Exhibit 21 to T.H.   Safeway Evaluation
                                     Deposition 5/5/2022
Defx 318                             Deposition Exhibit 22 to T.H.   Bradford County Booking Information
                                     Deposition 5/5/2022
Defx 319                             Deposition Exhibit 23 to T.H.   Facebook Photo
                                     Deposition 5/5/2022
Defx 320                             Deposition Exhibit 24 to T.H.   Facebook Photo
                                     Deposition 5/5/2022
Defx 321                             Deposition Exhibit 25 to T.H.   Facebook Photo
                                     Deposition 5/5/2022
Defx 322                             Deposition Exhibit 26 to T.H.   Facebook Photo
                                     Deposition 5/5/2022
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Exhibit Number   Bates Number                           Deposition Exhibit Number       Description                                    Plaintiff's Objections
Defx 323                                                Deposition Exhibit 27 to T.H.   Facebook Photo
                                                        Deposition 5/5/2022
Defx 324                                                Deposition Exhibit 28 to T.H.   Facebook Photo
                                                        Deposition 5/5/2022
Defx 325                                                Deposition Exhibit 29 to T.H.   Photo
                                                        Deposition 5/5/2022
Defx 326                                                                                Plaintiff T.H.'s Objections and Responses to
                                                                                        RRI's Request for Admissions
Defx 327         Pltf. W.K.-000012-Pltf. W.K.-001267                                    Georgia v. Aldontae Court Records
Defx 328         Pltf. W.K.-001249-Pltf. W.K.-001252                                    State of Georgia License Bureau
Defx 329         Pltf. W.K.-001268                                                      Cobb County Marijuana Analysis Unit
Defx 330         Pltf. W.K.-001269-Pltf. W.K.-001270                                    Georgia Division of Forensic Sciences
Defx 331         Pltf. W.K.-001271                                                      Vehicle Registration & Tags Run
Defx 332         Pltf. W.K.-001272-Pltf. W.K.-001282                                    Cobb County Police Incident/Investigation
                                                                                        Report 3/1/16
Defx 333         Pltf. W.K.-001283-Pltf. W.K.-001359                                    Cobb County Application for Arrest
Defx 334         Pltf. W.K.-001360- Pltf. W.K.-001362                                   Cobb County High Tech Crimes Examination
                                                                                        Submission Form
Defx 335         Pltf. W.K.-001363- Pltf. W.K.-001374                                   Cobb County Police Property/Evidence
                                                                                        Control Record
Defx 336         Pltf. W.K.-001375 Pltf. W.K.-002122                                    Wellstar Kennestone Hospital Records

Defx 337         Pltf. W.K.-002123                                                      Signed affidavit of Youth Villages Records
                                                                                        Custodian
Defx 338                                                Exhibit 8 to the 11/04/2021     Photos
                                                        Deposition of W.K.
Defx 339                                                Exhibit 9 to the 11/04/2021     Photos
                                                        Deposition of W.K.
Defx 340                                                Exhibit 10 to the 11/04/2021    PL Discovery Responses
                                                        Deposition of W.K.
Defx 341                                                Exhibit 11 to the 11/04/2021    Verification of Discovery Responses
                                                        Deposition of W.K.
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Exhibit Number   Bates Number        Deposition Exhibit Number      Description                                    Plaintiff's Objections
Defx 342                             Exhibit 12 to the 11/04/2021   Supplemental Discovery Responses
                                     Deposition of W.K.
Defx 343                             Exhibit 13 to the 11/04/2021   8/16/21 Inmate Recidivism
                                     Deposition of W.K.
Defx 344                             Exhibit 14 to the 11/04/2021   12/14/14 Marietta PD Incident Report
                                     Deposition of W.K.
Defx 345                             Exhibit 15 to the 11/04/2021   12/7/14 Cobb County Police Incident Report
                                     Deposition of W.K.
Defx 346                             Exhibit 16 to the 11/04/2021   12/7/14 Case Supplemental Report
                                     Deposition of W.K.
Defx 347                             Exhibit 17 to the 11/04/2021   12/7/14 Case Supplemental Report
                                     Deposition of W.K.
Defx 348                             Exhibit 18 to the 11/04/2021   12/7/14 Case Supplemental Report
                                     Deposition of W.K.
Defx 349                             Exhibit 19 to the 11/04/2021   12/8/14 Case Supplemental Report
                                     Deposition of W.K.
Defx 350                             Exhibit 20 to the 11/04/2021   2/23/15 Case Supplemental Report
                                     Deposition of W.K.
Defx 351                             Exhibit 21 to the 11/04/2021   Facebook screenshots
                                     Deposition of W.K.
Defx 352                             Exhibit 22 to the 11/04/2021   Crimes Against Children's Unit Prosecution
                                     Deposition of W.K.             Checklist
Defx 353                             Exhibit 23 to the 11/04/2021   Terrance Holt written statement
                                     Deposition of W.K.
Defx 354                             Exhibit 24 to the 11/04/2021   11/3/13 Incident Report
                                     Deposition of W.K.
Defx 355                             Exhibit 25 to the 11/04/2021   5/13/12 WellStar ED Record
                                     Deposition of W.K.
Defx 356                             Exhibit 26 to the 11/04/2021   5/14/12 WellStar ED Record
                                     Deposition of W.K.
Defx 357                             Exhibit 27 to the 11/04/2021   5/14/12 Highland Rivers Crisis Stabilization
                                     Deposition of W.K.             Programs Record
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Exhibit Number   Bates Number               Deposition Exhibit Number      Description                                    Plaintiff's Objections
Defx 358                                    Exhibit 28 to the 11/04/2021   10/15/13 WellStar ED Record
                                            Deposition of W.K.
Defx 359                                    Exhibit 29 to the 11/04/2021   2/4/14 WellStar ED Record
                                            Deposition of W.K.
Defx 360                                    Exhibit 30 to the 11/04/2021   5/3/14 WellStar ED Record
                                            Deposition of W.K.
Defx 361                                    Exhibit 31 to the 11/04/2021   11/28/15 WellStar ED Record
                                            Deposition of W.K.
Defx 362                                    Exhibit 32 to the 11/04/2021   9/21/16 WellStar ED Record
                                            Deposition of W.K.
Defx 363                                    Exhibit 33 to the 11/04/2021   Photo
                                            Deposition of W.K.
Defx 364                                    Exhibit 34 to the 11/04/2021   Photo
                                            Deposition of W.K.
Defx 365                                    Exhibit 35 to the 11/04/2021   Photo
                                            Deposition of W.K.
Defx 366                                    Exhibit 36 to the 11/04/2021   Photo
                                            Deposition of W.K.
Defx 367                                    Exhibit 37 to the 11/04/2021   Photo
                                            Deposition of W.K.
Defx 368                                    Exhibit 38 to the 11/04/2021   Photo
                                            Deposition of W.K.
Defx 369                                    Exhibit 39 to the 11/04/2021   Photo
                                            Deposition of W.K.
Defx 370                                    Exhibit 40 to the 11/04/2021   Photos from escortindex.com
                                            Deposition of W.K.
Defx 371                                                                   Plaintiff W.K.'s Response to Defendant RRI's
                                                                           Request for Admissions
Defx 372         RRI 000677 - 000721                                       Franchise Agreement by and between Red
                                                                           Roof Franchising, LLC and DMARC 2007-
                                                                           CD5 Druid Hills, LP
                                              Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 132 of 258


Exhibit Number   Bates Number                      Deposition Exhibit Number   Description                                 Plaintiff's Objections
Defx 373         RRI 000722 – 000758                                           Exclusive Property Management Agreement
                                                                               for Atlanta Druid Hills

Defx 374         RRI 000991 - 001102                                           Property Management Agreement by and
                                                                               between FMW RRI NC LLC and RRI West
                                                                               Management, LLC

Defx 375         RRI 000766 - 000771                                           Limited Warranty Deed between RRI III LLC
                                                                               and DMARC 2007-CD5 Druid Hills Limited
                                                                               Partnership

Defx 376         RRI 000263 - 000305                                           Red Roof InnSider Employee Handbook

Defx 377         RRI_WK_00011505 – 00011527                                    Housekeeping Handbook,

Defx 378         HB_NDGA_Red_Roof_00000140 - 193                               Red Roof Standards Manual,

Defx 379         HB_NDGA_Red_Roof_00000402 -                                   Safety and Security Presentation
                 00000424
Defx 380         RRI_WK_000028347-000028365                                    Safety and Security Presentation
Defx 381         HB_NDGA_Red_Roof_00000708 -                                   Manager in Training Manual
                 00001504
Defx 382         RRI_WK_00011168 – 00011306                                    Operations Manual, Safety and Security
                                                                               December 2010
Defx 383         RRI_WK_00011789 - 00011817                                    Red Roof Inn General Manager
                                                                               Safety and Security Presentation
Defx 384         RRI 000809 - 000821                                           Security Services Agreement between
                                                                               B.E.S.T., Inc. and Red Roof Inn #10130
Defx 385         RRI 001594 – 001605                                           Security Services Agreement between Best
                                                                               Security and Red Roof Inns, Inc.
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Exhibit Number   Bates Number                          Deposition Exhibit Number   Description                                  Plaintiff's Objections
Defx 386                                                                           Security Services Agreement between
                                                                                   Allegiance Security Group and Red Roof Inns,
                                                                                   Inc.

Defx 387         RRI 001423 – 001476                                               Franchise Agreement by and between Red
                                                                                   Roof Franchising, LLC and Varahi Hotel,
                                                                                   LLC

Defx 388         RRI 000941 – 000984                                               Franchise Agreement by and between Red
                                                                                   Roof Franchising, LLC and FMW RRI NC
                                                                                   LLC

Defx 389         RRI 000137 – 000177                                               GSR Inn Sider

Defx 390         RRI 000178 – 000222                                               GSR Inn Sider
Defx 391         RRI000223 - 000262                                                Inn Management Insider
Defx 392         RRI_WK_00001879 - 00001888                                        Security Guard Protection Agreement
Defx 393         RRI 000466 – 000497                                               Preventing & Reacting to Child Sex
                                                                                   Trafficking
Defx 394         RRI_WK_00001150 - 00001181                                        Preventing & Reacting to Child Sex
                                                                                   Trafficking
Defx 395         RRI_WK_00012179 - 00012200                                        Preventing & Reacting to Child Sex
                                                                                   Trafficking Quiz,
Defx 396         RRI 000923 - 000940                                               Red Roof Inn Weekly e-Pak
Defx 397         RRI 005311 - 005312                                               January 22, 2016 Letter
Defx 398          RRI_WK_00005596 – 00005598                                       Email correspondence
Defx 399          RRI_WK_00068385 – 00068389                                       Email correspondence
Defx 400          RRI_WK_00004246 –                                                Email correspondence
                 RRI_WK_00004247
Defx 401          RRI_WK_00005613 – 00005614                                       Email correspondence
Defx 402          RRI_WK_00003033 (if you want                                     Email correspondence
                 attachment - its through 3036)
Defx 403          RRI_WK_00000419 – 00000421                                       Email correspondence
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Exhibit Number   Bates Number                      Deposition Exhibit Number   Description                                   Plaintiff's Objections
Defx 404         RRI_WK_00004225                                               Email correspondence
Defx 405         RRI_WK_00001248-00001249                                      Smyrna Action Plan
Defx 406         RRI_WK_00004312 – 00004315                                    Email correspondence
Defx 407         RRI_WK_00000548 – 00000609                                    Smyrna Do Not Rent List
Defx 408         RRI_WK_00005483 – 00005484                                    Email correspondence
Defx 409         RRI_WK_00004222                                               Email correspondence
Defx 410         RRI_WK_00000142 – 00000153                                    Smyrna Franchise Visit
Defx 411         RRI_WK_00005267 – 00005268                                    Email correspondence
Defx 412         RRI_WK_00045335 – 00045336                                    Email correspondence
Defx 413         RRI_WK_00003033 – 3036                                        Smyrna safety and security
Defx 414         RRI_WK_00069567 – 00069568                                    Incident Report
Defx 415         RRI_WK_00048240 – 00048241                                    Incident Report
Defx 416         RRI_WK_00048266 – 00048267                                    Incident Report
Defx 417         RRI_WK_00000821 – 00000824                                    Email correspondence
Defx 418         RRI_WK_00000825 – 00000828                                    Email correspondence
Defx 419         RRI_WK_00005037 – 00005042                                    Email correspondence
Defx 420         RRI_WK_00004761 – 00004762                                    Email correspondence
Defx 421         RRI_WK_00004735 – 00004736                                    Email correspondence
Defx 422         RRI_WK_00033880 – 00033881                                    Email correspondence
Defx 423         RRI_WK_00000670 – 00000677                                    Internal Audit Report
Defx 424         RRI_WK_00061262 – 00061264                                    Email correspondence
Defx 425         RRI_WK_00012547 – 00012549                                    Email correspondence
Defx 426                                                                       AAPL Task Force, “Video Recording of
                                                                               Forensic Psychiatric American Academy of
                                                                               Psychiatry and the Law, Revised May 2013
                                                                               Evaluations."
Defx 427                                                                       Diagnostic and Statistical Manual of Mental
                                                                               Disorders, Fifth Edition, (DSM-5-TR),
                                                                               American Psychiatric Association, March
                                                                               2022 Text Revision
Defx 428                                                                       American Psychiatric Association, “CPT
                                                                               Primer for Psychiatrists,”
                                Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 135 of 258


Exhibit Number   Bates Number        Deposition Exhibit Number   Description                                      Plaintiff's Objections
Defx 429                                                         Centers for Medicare and Medicaid Services,
                                                                 “Medicare Physician (MPFS),” Fee Schedule

Defx 430                                                         Centers for Medicare and Medicaid
                                                                 Services, “Billing and Coding: Psychiatric
                                                                 Diagnostic Evaluation and Psychotherapy
                                                                 Service,”
Defx 431                                                         Hidden in Plain Sight: America’s Slaves of the
                                                                 New Millennium

Defx 432                                                         Reid, Joan A. "Entrapment and
                                                                 enmeshment schemes used by sex
                                                                 traffickers." Sexual Abuse 28.6 (2016): 491-
                                                                 511

Defx 433                                                         United Nations Office on Drugs and Crime
                                                                 (2008). An Introduction to Human
                                                                 Trafficking: Vulnerability, Impact and Action

Defx 434                                                         Department of Justice, Federal Bureau of
                                                                 Investigation. N.d. Human Trafficking in the
                                                                 Uniform Crime Reporting (UCR) Program

Defx 435                                                         Song, Sandra. 2019. When Anti-Sex
                                                                 Trafficking Policies Like the Marriott's Do
                                                                 More Harm Than Good. Paper Magazine

Defx 436                                                         Operational indicators of trafficking in human
                                                                 beings
                                Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 136 of 258


Exhibit Number   Bates Number        Deposition Exhibit Number   Description                                 Plaintiff's Objections
Defx 437                                                         Farley M, Barkan H. Prostitution, violence,
                                                                 and posttraumatic stress disorder. Women
                                                                 Health. 1998;27(3):37-49. doi:
                                                                 10.1300/J013v27n03_03. PMID: 9698636


Defx 438                                                         Farley, Melissa. (2003). Prostitution and
                                                                 Trafficking in 9 Countries: Update on
                                                                 Violence and Posttraumatic Stress Disorder.
                                                                 Journal of Trauma Practice. 2. 33-74

Defx 439                                                         Park JN, Decker MR, Bass JK, Galai N,
                                                                 Tomko C, Jain KM, Footer KHA, Sherman
                                                                 SG. Cumulative Violence and PTSD
                                                                 Symptom Severity Among Urban Street-
                                                                 Based Female Sex Workers. J Interpers
                                                                 Violence. 2021 Nov;36(21- 22):10383-
                                                                 10404. doi: 10.1177/0886260519884694.
                                                                 Epub 2019 Nov 2. PMID: 31679445;
                                                                 PMCID: PMC7195245.
Defx 440                                                         Hopper, E. K., and L. D. Gonzalez. "A
                                                                 comparison of psychological symptoms in
                                                                 survivors of sex and labor trafficking."
                                                                 Behavioral medicine 44.3 (2018): 177-188

Defx 441                                                         Trafficking to the Rescue?, 54 U.C. Davis
                                                                 Law Review 1 (2020)

Defx 442                                                         Cook, Rhonda, “Human Trafficking
                                                                 Documented in Georgia.” The Atlanta Journal
                                                                 Constitution, May 2, 2014, accessed October
                                                                 1, 2022
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Exhibit Number   Bates Number        Deposition Exhibit Number     Description                                     Plaintiff's Objections
Defx 443                                                           FBI CJIS Report: 2014 Crime in the United
                                                                   States
Defx 444                                                           Public Law 115-393 – December 21, 2018,
                                                                   Section 2 (Findings)(2)(6)
Defx 445                                                           DHS Blue Campaign: Hospitality Toolkit.
                                                                   U.S. Department of Homeland Security.
                                                                   https://www.dhs.gov/sites/default/files/publica
                                                                   tions/blue- campaign/toolkits/hospitality-
                                                                   toolkit-eng.pdf, accessed September 3, 2022
Defx 446                             Exhibit D2 to Deposition of   Exhibit D2 to Deposition of Michael Beene
                                     Michael Beene
Defx 447                             Exhibit 1 to Deposition of    Exhibit 1 to Deposition of Michael Beene
                                     Michael Beene
Defx 448                             Exhibit 2 to Deposition of    Exhibit 2 to Deposition of Michael Beene
                                     Michael Beene
Defx 449                             Exhibit 3 to Deposition of    Exhibit 3 to Deposition of Michael Beene
                                     Michael Beene
Defx 450                             Exhibit 5 to Deposition of    Exhibit 5 to Deposition of Michael Beene
                                     Michael Beene
Defx 451                             Exhibit 6 to Deposition of    Exhibit 6 to Deposition of Michael Beene
                                     Michael Beene
Defx 452                             Exhibit 7 to Deposition of    Exhibit 7 to Deposition of Michael Beene
                                     Michael Beene
Defx 453                             Exhibit 8 to Deposition of    Exhibit 8 to Deposition of Michael Beene
                                     Michael Beene
Defx 454                             Exhibit 9 to Deposition of    Exhibit 9 to Deposition of Michael Beene
                                     Michael Beene
Defx 455                             Exhibit 10 to Deposition of   Exhibit 10 to Deposition of Michael Beene
                                     Michael Beene
Defx 456                             Exhibit 11 to Deposition of   Exhibit 11 to Deposition of Michael Beene
                                     Michael Beene
Defx 457                             Exhibit 12 to Deposition of   Exhibit 12 to Deposition of Michael Beene
                                     Michael Beene
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Exhibit Number   Bates Number        Deposition Exhibit Number     Description                                 Plaintiff's Objections
Defx 458                             Exhibit 13 to Deposition of   Exhibit 13 to Deposition of Michael Beene
                                     Michael Beene
Defx 459                             Exhibit 14 to Deposition of   Exhibit 14 to Deposition of Michael Beene
                                     Michael Beene
Defx 460                             Exhibit 15 to Deposition of   Exhibit 15 to Deposition of Michael Beene
                                     Michael Beene
Defx 461                             Exhibit 16 to Deposition of   Exhibit 16 to Deposition of Michael Beene
                                     Michael Beene
Defx 462                             Exhibit 17 to Deposition of   Exhibit 17 to Deposition of Michael Beene
                                     Michael Beene
Defx 463                             Exhibit 18 to Deposition of   Exhibit 18 to Deposition of Michael Beene
                                     Michael Beene
Defx 464                             Exhibit 19 to Deposition of   Exhibit 19 to Deposition of Michael Beene
                                     Michael Beene
Defx 465                             Exhibit 20 to Deposition of   Exhibit 20 to Deposition of Michael Beene
                                     Michael Beene
Defx 466                             Exhibit 21 to Deposition of   Exhibit 21 to Deposition of Michael Beene
                                     Michael Beene
Defx 467                             Exhibit 22 to Deposition of   Exhibit 22 to Deposition of Michael Beene
                                     Michael Beene
Defx 468                             Exhibit D2 to Deposition of   Exhibit D2 to Deposition of Michael Beene
                                     Michael Beene
Defx 469                             Exhibit D8 to Deposition of   Exhibit D8 to Deposition of Anthony
                                     Anthony Crumbley              Crumbley
Defx 470                             Exhibit D9 to Deposition of   Exhibit D9 to Deposition of Anthony
                                     Anthony Crumbley              Crumbley
Defx 471                             Exhibit D1 to Deposition of   Exhibit D1 to Deposition of Tradelle Lacy
                                     Tradelle Lacy
Defx 472                             Exhibit 1 to Deposition of    Exhibit 1 to Deposition of Tradelle Lacy
                                     Tradelle Lacy
Defx 473                             Exhibit 3 to Deposition of    Exhibit 3 to Deposition of Tradelle Lacy
                                     Tradelle Lacy
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Exhibit Number   Bates Number                            Deposition Exhibit Number     Description                                 Plaintiff's Objections
Defx 474                                                 Exhibit 4 to Deposition of    Exhibit 4 to Deposition of Tradelle Lacy
                                                         Tradelle Lacy
Defx 475                                                 Exhibit 5 to Deposition of    Exhibit 5 to Deposition of Tradelle Lacy
                                                         Tradelle Lacy
Defx 476                                                 Exhibit D8 to Deposition of   Exhibit D8 to Deposition of Tradelle Lacy
                                                         Tradelle Lacy
Defx 477                                                 Exhibit D9 to Deposition of   Exhibit D9 to Deposition of Tradelle Lacy
                                                         Tradelle Lacy
Defx 478                                                                               Invoices from Anique Whitmore
Defx 479                                                                               Invoices from David Williamson, MD
Defx 480                                                                               Invoices from Melanie Bliss, Ph.D.
Defx 481         OMIT - see                                                            Invoices from Alan Tallis
Defx 482                                                                               IME Video of A.F.
Defx 483                                                                               IME Video of C.A.
Defx 484                                                                               IME Video of D.P.
Defx 485                                                                               IME Video of E.H.
Defx 486                                                                               IME Video of K.P.
Defx 487                                                                               IME Video of M.M.
Defx 488                                                                               IME Video of M.B.
Defx 489                                                                               IME Video of R.K.
Defx 490                                                                               IME Video of R.P.
Defx 491                                                                               IME Video of T.H.
Defx 492                                                                               IME Video of W.K.
Defx 493         Pltf. C.A. 000467                                                     Gwinett County Public School Records
Defx 494         Pltf. C.A. 000468-000481                                              2010 Planner/Calender
Defx 495         Pltf. C.A. 000482                                                     Corinthian-Everest Institute Records
Defx 496         Pltf. C.A. 000483-000500; Pltf. C.A.                                  SunTrust Investment Services
                 000503-000512; Pltf. C.A. 000517-
                 000520; Pltf. C.A. 005943; Pltf. C.A.
                 005971
Defx 497         Pltf. C.A. 000501-000502                                              Emory Healthcare Records
Defx 498         Pltf. C.A. 000513-000516; Pltf. C.A.                                  BestBank Account Records
                 000521-000523
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Exhibit Number   Bates Number                                  Deposition Exhibit Number   Description                                   Plaintiff's Objections
Defx 499         Pltf. C.A. 000524-000528                                                  Receipts/Money Orders
Defx 500         Pltf. C.A. 000529-000573                      C.A. 3                      Personal Notebook
Defx 501         Pltf. C.A. 000574; Pltf. C.A. 005364                                      Personal Documents/IDs
Defx 502         Pltf. C.A. 000575                                                         Gwinnett Center for Counseling/Family
                                                                                           Therapy
Defx 503         Pltf. C.A. 000576                                                         Employment Documents
Defx 504         Pltf. C.A. 000578-000585                                                  Atlanta SurgiCenter
Defx 505         Pltf. C.A. 000586                                                         Dunwoody Women's Medical Group
Defx 506         Pltf. C.A. 000587-000588; Pltf. C.A.                                      Outgoing Emails/solicitation
                 000594; Pltf. C.A. 000598; Pltf. C.A.
                 000604; Pltf. C.A. 000606; Pltf. C.A.
                 000610-000618; Pltf. C.A. 000701-
                 000704
Defx 507         Pltf. C.A. 000589; Pltf. C.A. 000669-                                     Incoming emails about hotels/reviews; misc.
                 000672; Pltf. C.A. 001319; Pltf. C.A.                                     emails
                 001419; Pltf. C.A. 004150-004151; Pltf.
                 C.A. 004255-004259; Pltf. C.A. 005298;
                 Pltf. C.A. 005420; Pltf. C.A. 005786; Pltf.
                 C.A. 005901; Pltf. C.A. 008411
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Exhibit Number   Bates Number                                Deposition Exhibit Number   Description                      Plaintiff's Objections
Defx 508         Pltf. C.A. 000595; Pltf. C.A. 000666; Pltf.                             Photographs
                 C.A. 000689-000690; Pltf. C.A. 000709-
                 000745; Pltf. C.A. 000881; Pltf. C.A.
                 000928; Pltf. C.A. 000973; Pltf. C.A.
                 000975; Pltf. C.A. 000985; Pltf. C.A.
                 001015; Pltf. C.A. 001065; Pltf. C.A.
                 001067; Pltf. C.A. 001130; Pltf. C.A.
                 001175; Pltf. C.A. 001192; Pltf. C.A.
                 001398-001399; Pltf. C.A. 001722-
                 001748; Pltf. C.A. 002019; Pltf. C.A.
                 002078; Pltf. C.A. 002400; Pltf. C.A.
                 002426; Pltf. C.A. 003371; Pltf. C.A.
                 003401; Pltf. C.A. 003445; Pltf. C.A.
                 003448; Pltf. C.A. 003450; Pltf. C.A.
                 003492; Pltf. C.A. 003496; Pltf. C.A.
                 003498; Pltf. C.A. 003500; Pltf. C.A.
                 003535; Pltf. C.A. 003555; Pltf. C.A.
                 003586; Pltf. C.A. 003675; Pltf. C.A.
                 003699; Pltf. C.A. 003705; Pltf. C.A.
                 003708; Pltf. C.A. 003729; Pltf. C.A.
                 003736; Pltf. C.A. 003740; Pltf. C.A.
                 003742; Pltf. C.A. 003744; Pltf. C.A.
                 003798; Pltf. C.A. 003809; Pltf. C.A.
                 003855; Pltf. C.A. 003916; Pltf. C.A.
                 003936; Pltf. C.A. 003943; Pltf. C.A.
                 003952; Pltf. C.A. 003979; Pltf. C.A.
Defx 509         Pltf. C.A. 000619                                                       Inmate money deposit statement
Defx 510         Pltf. C.A. 000620-000665; Pltf. C.A.                                    Emails w/ Lavan Chandra
                 000673-000689; Pltf. C.A. 000691-696;
                 Pltf. C.A. 000698-000700
Defx 511         Pltf. C.A. 000667-000668                                                Letters of rec for court
Defx 512         Pltf. C.A. 000705                                                       VitalChek Records
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Exhibit Number   Bates Number                            Deposition Exhibit Number   Description                 Plaintiff's Objections
Defx 513         Pltf. C.A. 000706-000708; Pltf. C.A.                                Craigslist Emails
                 000746-000776; Pltf. C.A. 001320-
                 001321; Pltf. C.A. 001395-001397; Pltf.
                 C.A. 001400-001409; Pltf. C.A. 001412-
                 001414; Pltf. C.A. 001418; Pltf. C.A.
                 001422-001425; Pltf. C.A. 001473-
                 001478; Pltf. C.A. 001486-001721
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Exhibit Number   Bates Number                            Deposition Exhibit Number   Description                 Plaintiff's Objections
Defx 514         Pltf. C.A. 000777-000880; Pltf. C.A.                                Backpage Emails
                 000882-000927; Pltf. C.A. 000929-
                 000972; Pltf. C.A. 000974; Pltf. C.A.
                 000976-000984; Pltf. C.A. 000986-
                 001014; Pltf. C.A. 001016-001064; Pltf.
                 C.A. 001066; Pltf. C.A. 001068-001129;
                 Pltf. C.A. 001131-001174; Pltf. C.A.
                 001176-001191; Pltf. C.A. 001193-
                 001318; Pltf. C.A. 001322-001394; Pltf.
                 C.A. 001410-001411; Pltf. C.A. 001415-
                 001417; Pltf. C.A. 001420-001421; Pltf.
                 C.A. 001426-001472; Pltf. C.A. 001479-
                 001485; Pltf. C.A. 001770-002018; Pltf.
                 C.A. 002020-002077; Pltf. C.A. 002079-
                 002233; Pltf. C.A. 002235-002399; Pltf.
                 C.A. 002401-002425; Pltf. C.A. 002427-
                 002515; Pltf. C.A. 002517-003370; Pltf.
                 C.A. 003372-003400; Pltf. C.A. 003402-
                 003444; Pltf. C.A. 003446-003447; Pltf.
                 C.A. 003449; Pltf. C.A. 003451-003491;
                 Pltf. C.A. 003493-003495; Pltf. C.A.
                 003497; Pltf. C.A. 003499; Pltf. C.A.
                 003501-003504; Pltf. C.A. 003506-
                 003509; Pltf. C.A. 003511-003534; Pltf.
                 C.A. 003536-003554; Pltf. C.A. 003556-
                 003585; Pltf. C.A. 003587-003674; Pltf.
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Exhibit Number   Bates Number                                Deposition Exhibit Number   Description               Plaintiff's Objections
Defx 515         Pltf. C.A. 001749-001768; Pltf. C.A.                                    Messages
                 004336; Pltf. C.A. 004340; Pltf. C.A.
                 004433; Pltf. C.A. 004441; Pltf. C.A.
                 004540-004541; Pltf. C.A. 004547; Pltf.
                 C.A. 004772; Pltf. C.A. 004934-004935;
                 Pltf. C.A. 005006; Pltf. C.A. 005035; Pltf.
                 C.A. 005037; Pltf. C.A. 005090; Pltf.
                 C.A. 005180; Pltf. C.A. 005186; Pltf.
                 C.A. 005413; Pltf. C.A. 005456; Pltf.
                 C.A. 005459; Pltf. C.A. 005502; Pltf.
                 C.A. 005560; Pltf. C.A. 005603; Pltf.
                 C.A. 005761; Pltf. C.A. 005790; Pltf.
                 C.A. 005803; Pltf. C.A. 005896; Pltf.
                 C.A. 005903; Pltf. C.A. 005919; Pltf.
                 C.A. 006000-006001; Pltf. C.A. 007655-
                 007687; Pltf. C.A. 007691-007747; Pltf.
                 C.A. 007750-007776; Pltf. C.A. 007777-
                 007782; Pltf. C.A. 007784-007845; Pltf.
                 C.A. 007848-008014; Pltf. C.A. 008019;
                 Pltf. C.A. 008023; Pltf. C.A. 008134-
                 008135; Pltf. C.A. 008186; Pltf. C.A.
                 008236; Pltf. C.A. 008249-008251; Pltf.
                 C.A. 008257; Pltf. C.A. 008320; Pltf.
                 C.A. 008342-008343; Pltf. C.A. 008357;
                 Pltf. C.A. 008365; Pltf. C.A. 008368; Pltf.
                 C.A. 008380; Pltf. C.A. 008391; Pltf.
Defx 516         Pltf. C.A. 004267-004271                                                LifeStance Health
Defx 517         Pltf. C.A. 004272                                                       ML Healthcare
Defx 518         Pltf. C.A. 004273-004291                                                Northside Hospital
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Exhibit Number   Bates Number                            Deposition Exhibit Number   Description                 Plaintiff's Objections
Defx 519         Pltf. C.A. 004405-004409; Pltf. C.A.                                Backpage Ads
                 004411-004412; Pltf. C.A. 004414; Pltf.
                 C.A. 004417-004418; Pltf. C.A. 004430-
                 004432; Pltf. C.A. 004434; Pltf. C.A.
                 004436-004440; Pltf. C.A. 004442-
                 004446; Pltf. C.A. 004448-004452; Pltf.
                 C.A. 004454-004459; Pltf. C.A. 004460;
                 Pltf. C.A. 004462-004464; Pltf. C.A.
                 004467-004470; Pltf. C.A. 004472-
                 004476; Pltf. C.A. 004486-004488; Pltf.
                 C.A. 004492-004493; Pltf. C.A. 004495;
                 Pltf. C.A. 004497-004501; Pltf. C.A.
                 004503-004504; Pltf. C.A. 004516; Pltf.
                 C.A. 004597; Pltf. C.A. 008051; Pltf.
                 C.A. 008074; Pltf. C.A. 008089; Pltf.
                 C.A. 008092-008096; Pltf. C.A. 008099-
                 008100; Pltf. C.A. 008102; Pltf. C.A.
                 008106-008107; Pltf. C.A. 008122-
                 008123; Pltf. C.A. 008126; Pltf. C.A.
                 008129-008133; Pltf. C.A. 008136-
                 008140; Pltf. C.A. 008143-008147; Pltf.
                 C.A. 008150-008154; Pltf. C.A. 008157:
                 Pltf. C.A. 008159-008161; Pltf. C.A.
                 008165-008168; Pltf. C.A. 008171-
                 008175; Pltf. C.A. 008188-008190; Pltf.
                 C.A. 008195-008196; Pltf. C.A. 008198;
Defx 520         Pltf. C.A. 004479-004482; Pltf. C.A.                                SugarDaddyForMe
                 004485; Pltf. C.A. 004513; Pltf. C.A.
                 008179-008182; Pltf. C.A. 008187; Pltf.
                 C.A. 008219
Defx 521         Pltf. C.A. 004489; Pltf. C.A. 008191                                Adam4Adam
Defx 522         Pltf. C.A. 007847                                                   Videos
Defx 523         Pltf. D.P.-000001                                                   Traffic Court
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Exhibit Number   Bates Number                               Deposition Exhibit Number   Description                                Plaintiff's Objections
Defx 524         Pltf. D.P.-000004-Pltf. D.P.-000006                                    Atlanta Municipal Court Records
Defx 525         Pltf. D.P.-000007-Pltf. D.P.-000012                                    City of Kennesaw Police Records
Defx 526         Pltf. D.P.-000013-Pltf.D.P.003219                                      Cobb County Community Services Board
                                                                                        medical and billing records
Defx 527         Pltf. D.P.-003220-Pltf. D.P.-003325                                    Cobb County Detention medical and inmate
                                                                                        records
Defx 528         Pltf. D.P.-003326-3340                                                 Cobb County State Court Records
Defx 529         Pltf. D.P.-003341-3385                                                 Cobb County Superior Court
Defx 530         Pltf. D.P.-003386-3390                                                 Dekalb Police Records
Defx 531         Pltf. D.P.-003391-3401                                                 Doraville Police Records
Defx 532         Pltf. D.P.-003402-3475                                                 Highland River Health
Defx 533         Pltf. D.P.-003476-3517                                                 Marietta Police Records
Defx 534         Pltf. D.P.-003518-3543                                                 Medical University of SC Records
Defx 535         Pltf. D.P.-003544-3547                                                 Smyrna Police Records
Defx 536         Pltf. D.P.-003548-4272                                                 Wellstar Kennestone Hospital Records
Defx 537         Pltf. D.P.-004273-4516                                                 Wellstar NW Women's Care
Defx 538         Pltf. D.P.-010303-010307                                               Craigslist/Backpage emails
Defx 539         Pltf. D.P.-010340-10341                                                series of text messages
Defx 540         Pltf. D.P.-010365-013280                                               Facebook account messages, photos, posts
Defx 541         Pltf. D.P.-013281-017805                                               Phone location printouts
Defx 542         Pltf. D.P.-017831-17843                                                text messages
Defx 543         Pltf. D.P.-010343                                                      MP3 Audio
Defx 544         Pltf. D.P.-017809                                                      Solicitation Email
Defx 545         Pltf. D.P.-010762                                                      Cobb Judicial Circuit Domestic Violence
                                                                                        Arrainment Hearing Notice
Defx 546         Pltf. D.P.-017808                                                      Booking Confirmation for Crossland Economy
                                                                                        Suites - Atlanta Peachtree Corners
Defx 547         Pltf.E.H.-000001-000011                                                Alabama Uniform Incident Report
Defx 548         Pltf.E.H.-000012-000017                                                Bibb County Sheriff's Office Records
Defx 549         Pltf.E.H.-000018-000051                                                Cobb County Police Records
Defx 550         Pltf.E.H.-000052-000107                                                Gwinnett County Police Records
Defx 551         Pltf.E.H.-000108-000116                                                Marietta Police Records
Defx 552         Pltf. E.H.000117                                                       Photographs
                                                   Case 1:20-cv-05263-VMC Document 478 Filed 05/09/24 Page 147 of 258


Exhibit Number   Bates Number                              Deposition Exhibit Number   Description                                Plaintiff's Objections
Defx 553         Pltf. E.H.000118-637; Pltf.E.H.000640-                                Location Services
                 3687; 3689-4136
Defx 554         Pltf. E.H. 000638-639; Pltf.E.H.003688                                Photographs

Defx 555         Pltf. E.H. 004137-4170                                                Call Details with Mr. McCoy
Defx 556         Pltf.E.H.4171                                                         Text Message
Defx 557         Pltf.E.H.004172-4182                                                  Solicitation Emails
Defx 558         Pltf.E.H.004183-84; 4448-4449; 4894-                                  Red Roof email
                 4897; 4899-4902; 4956-4959;4966-4984;
                 4990-4992; 5073-5074
Defx 559         Pltf.E.H.004185-4186                                                  Casting 360 email
Defx 560         Pltf.E.H.004187-004402;4456-4892;4948-                                Backpage emails
                 4951;4954-4955;4962-4965; 4993-5000;
                 5063-5066;5162-5174; 5471-6251

Defx 561         Pltf.E.H.004403-4447                                                  Uber receipts
Defx 562         Pltf.E.H.004450-4454; 4893; 4898; 4931-                               Chaturbate emails
                 4947;4952-4953; 5067-5069
Defx 563         Pltf.E.H.004903                                                       Craigslist Emails
Defx 564         Pltf. E.H.004904-4911                                                 Rover/Checkr reports on criminal charges
Defx 565         Pltf.E.H.004987-4989                                                  pof.com emails
Defx 566         Pltf E.H.005001; 5072                                                 LaQuinta emails
Defx 567         Pltf. E.H.005004-5009                                                 Pizza Hut emails
Defx 568         Pltf. E.H.005041-5062; 6266-6281                                      paxful
Defx 569         Pltf. E.H.005141-5161;5175-5220                                       Facebook posts
Defx 570         Pltf. E.H.005221-5462                                                 Mature Kiss post
Defx 571         Pltf. E.H.006282-6288                                                 Emails to E.H.
Defx 572         Pltf. E.H.006302-7200                                                 Instagram messages and photographs
Defx 573         Pltf. E.H.007201-7285; 7460-7492                                      Snapchat and videos
Defx 574         Pltf. E.H.007292                                                      Photographs
Defx 575         Pltf. E.H.007495-7562                                                 Wellstar Medical Records
Defx 576         Pltf. E.H.007563-7785                                                 Android phone records - videos/photos
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Exhibit Number   Bates Number                            Deposition Exhibit Number   Description                                Plaintiff's Objections
Defx 577         Pltf. E.H.007794-7811                                               Gwinnett County Superior Court and Sheriff
                                                                                     Records
Defx 578         Pltf. M.B.-000001-14                                                Miami Dade Police Department Records
Defx 579         Pltf. M.B.-0000015-16                                               Jacksonville Sheriff's Office Records
Defx 580         Pltf.M.B.000017                                                     Photograph
Defx 581         Pltf. M.B.000018-000051                                             Psychotherapy Records
Defx 582         Pltf.-M.B.000052-000108                                             Psychotherapy Records
Defx 583         Pltf.M.B.000110-115                                                 ML Healthcare Services LLC Medical Records

Defx 584         Pltf. M.M. - 000001 - Pltf. M.M. -                                  Atlanta Redemption Ink: scholarship to
                 000003                                                              remove branding/tag from her trafficker
Defx 585         Pltf. M.M. - 000004 - Pltf. M.M. -                                  Cobb County Court & Detention Records
                 000097
Defx 586         Pltf. M.M. - 000098 - Pltf. M.M. -                                  Gwinnett County Police & Court Records
                 000351
Defx 587         Pltf. M.M. - 000362 - Pltf. M.M. -                                  SafeWay Psych Services
                 000366
Defx 588         Pltf. M.M. - 000367 - Pltf. M.M. -                                  Palm Beach Florida Sheriff's Office Records
                 000405
Defx 589         Pltf. M.M. 000406 - Pltf. M.M. 000586                               St. Marys Hospital

Defx 590         Pltf. M.M. - 000587                                                 Street Grace Justice Project Application
Defx 591         Pltf. M.M. 000588 - Pltf. M.M. 000973                               Viewpoint Health

Defx 592         Pltf. M.M. 001982 - Pltf. M.M. 002390                               Cobb County Detention Records

Defx 593         Pltf. M.M. 002073- Pltf. M.M. 002151                                Affidavit of M.M. re Trafficking
Defx 594         Pltf. M.M. 002391 - Pltf. M.M. 002398                               M.M. Story/Presentation of Human
                                                                                     Trafficking
Defx 595         Pltf. M.M. 002399- Pltf. 002412                                     MI Health Safeway Psych Services
Defx 596         Pltf. R.K. 000422- Pltf. R.K. 001852                                Phone locations data
Defx 597         Pltf. R.K. 001853 - Pltf. R.K. 001858                               Dekalb State Court Records
Defx 598         Pltf. R.K. 001859 - Pltf. R.K. 001870                               Cobb County Police Department
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Exhibit Number   Bates Number                               Deposition Exhibit Number   Description                                  Plaintiff's Objections
Defx 599         Pltf. R.K. 001871                                                      Gwinnett County Police Department
Defx 600         Pltf. R.K. 001872 - Pltf. R.K. 001873                                  Cleveland County Court Records
Defx 601         Pltf. R.K. 001874 - Pltf. R.K. 004025                                  Search Engine Records
Defx 602         Pltf. RP 001268 - Pltf. R.P. 001270                                    Georgia Regional Hospital Records (inmate
                                                                                        hospital records)
Defx 603         Pltf. RP 001271                                                        Approved Medical Lien Application
Defx 604         Pltf. RP 001272 - Pltf. R.P. 001802                                    Wellstar Cobb Hospital Records
Defx 605         Pltf. RP 001803 - Pltf. R.P. 002059                                    Willbrooke at Tanner Inpatient Records
Defx 606         Pltf. RP 002060 - Pltf. R.P. 003407                                    Wellstar Cobb Hospital Records
Defx 607         Pltf. RP 003408 - Pltf. R.P. 003711                                    Cartersville/Piedmont Cartersville Medical
                                                                                        Records
Defx 608         Pltf. RP 003712 - Pltf. R.P. 003716                                    Social Media Pictures (username:
                                                                                        b_therealestbitch)
Defx 609         RRI_WK_00001752-                                                       2008 Presentation
                 RRI_WK_00001778
Defx 610         RRI_WK_00004262-                                                       Email correspondence
                 RRI_WK_00004264
Defx 611         RRI_WK_00024126 -                                                      Red Roof Weekly e-Pak
                 RRI_WK_00024142
Defx 612         RRI_WK_00038058 -                                                      Red Roof Weekly e-Pak
                 RRI_WK_00038077
Defx 613         RRI_WK_00045166 -                                                      Email correspondence
                 RRI_WK_00045168
Defx 614         RRI_WK_0045450 - RRI_WK_0045453                                        Email correspondence

Defx 615         RRI_WK_00050342 -                                                      Email correspondence
                 RRI_WK_00050344
Defx 616         RRI_WK_00051792 -                                                      Email correspondence
                 RRI_WK_00051793
Defx 617         RRI_WK_00055741-                                                       Email correspondence
                 RRI_WK_00055747
Defx 618         RRI_WK_00069705 -                                                      Email correspondence
                 RRI_WK_00069706
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Exhibit Number   Bates Number             Deposition Exhibit Number   Description                                   Plaintiff's Objections
Defx 619                                                              Vahari Settlement Agreement
Defx 620         WK-Whitmore000168                                    Trick Roll Study: Forced Criminality in Sex
                                                                      Trafficking Situations
Defx 621         WK-Whitmore000182                                    Email re: billing 8/24/2020
Defx 622         WK-Whitmore000184                                    Email re: retainer 4/27/2021
Defx 623         WK-Whitmore000191                                    Retainer Invoice 4/27/2021
Defx 624         WK-Whitmore000192                                    Email re: invoice of A. Whitmore
Defx 625         WK-Whitmore000195                                    Invoice 8/6/21
Defx 626         WK-Whitmore000197                                    Email about invoicing
Defx 627         WK-Whitmore000204                                    Email with invoice to Plaintiff’s lawyers
Defx 628         WK-Whitmore000205                                    Invoice 12/21/2021
Defx 629         WK-Whitmore000207                                    PPT The Psychological Impact on Trafficked
                                                                      Victims
Defx 630         WK-Whitmore000248                                    Email re: invoicing
Defx 631         WK-Whitmore000252                                    Email re: Invoicing
Defx 632         WK-Whitmore000253                                    Invoice in other HT case 1/25/22
Defx 633         WK-Whitmore000486                                    Summary of Ms. Whitmore’s expected
                                                                      testimony?
Defx 634         WK-Whitmore000492                                    Handwritten Notes 10/15/2021 (redaction)
Defx 635         WK-Whitmore000527                                    Invoice 12/21/21
Defx 636         WK-Whitmore000533                                    Email re: invoices
Defx 637         WK-Whitmore001029                                    Email re: invoice
Defx 638         WK-Whitmore001030                                    Invoice
Defx 639         WK-Whitmore001044                                    Handwritten nots of MB (melissa Bennett)
Defx 640         WK-Whitmore001050                                    Handwritten notes for Rebekah Potter
Defx 641         WK-Whitmore001067                                    Handwritten notes of Elizabeth Hogue (EH)
Defx 642         WK-Whitmore001074                                    Handwritten notes of Alexa Foster (AF)
Defx 643         WK-Whitmore001079                                    Handwritten notes of WK Whitney Karimi
Defx 644         WK-Whitmore001102                                    Handwritten notes of Chelsea Ausley
Defx 645         WK-Whitmore001110                                    Handwritten notes of MM Melanie Manus
Defx 646         WK-Whitmore001115                                    Handwritten notes of DP Delann Pountain
Defx 647         WK-Whitmore001128                                    Handwritten notes of KP Kazia Podrago
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Exhibit Number   Bates Number             Deposition Exhibit Number   Description                                     Plaintiff's Objections
Defx 648         WK-Whitmore001137                                    Handwritten notes of Rebecca Kennedy
                                                                      McCartney (RK)
Defx 649         WK-Whitmore001156                                    Invoice for Plaintiffs
Defx 650         WK-Whitmore001157                                    Invoice for Plaintiffs (consultation with team)
Defx 651         WK-Whitmore001159                                    Invoice
Defx 652         WK-Whitmore001161                                    Invoice
Defx 653         WK-Whitmore001162                                    Invoice
Defx 654         WK-Whitmore001164                                    Email confirming MB’s Zoom meeting 6/9/21
Defx 655         WK-Whitmore001165                                    MB Outline from Plaintiffs
Defx 656         WK-Whitmore001166                                    Email with EH’s Outline for Zoom meeting
Defx 657         WK-Whitmore001167                                    EH Outline
Defx 658         WK-Whitmore001168                                    Email related to Chelsea Ausley’s Outline
Defx 659         WK-Whitmore001169                                    CA’s Outline from Plaintiff’s Firm
Defx 660         WK-Whitmore001171                                    Email with DP’s outline from Plaintiffs
Defx 661         WK-Whitmore001172                                    DP’s Outline
Defx 662         WK-Whitmore001173                                    Email re: DP’s Medical Records from
                                                                      Highland Rivers
Defx 663         WK-Whitmore001211                                    Email related to MM’s Outline
Defx 664         WK-Whitmore001212                                    MM’s Outline
Defx 665         WK-Whitmore001286                                    Email related to WK’s Zoom Outline
                                                                      (redacted)
Defx 666         WK-Whitmore001287                                    WK’s Outline
Defx 667         WK-Whitmore001288                                    Email re: AF’s Zoom Outline
Defx 668         WK-Whitmore001289                                    AF’s Outline
Defx 669         WK-Whitmore001291                                    SafeWay Records for TH
Defx 670         WK-Whitmore001299                                    TH Psychotherapy Notes 2/7/22
Defx 671         WK-Whitmore001301                                    TH Psychotherapy Notes 2/12/21
Defx 672         WK-Whitmore001303                                    TH Post Trauma Anxiety Screen
Defx 673         WK-Whitmore001307                                    TH Psychotherapy Notes 1/14/21
Defx 674         WK-Whitmore001310                                    MR’s Psychotherapy Notes 5/4/21 Jane Doe
                                                                      4+
Defx 675         WK-Whitmore001312                                    MR’s Psychotherapy Notes 2/23/21 Jane Doe
                                                                      4
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Exhibit Number   Bates Number             Deposition Exhibit Number   Description                                   Plaintiff's Objections
Defx 676         WK-Whitmore001316                                    MR’s SafeWay Psychological Services Jane
                                                                      Doe 4
Defx 677         WK-Whitmore001324                                    MR’s Psychotherapy Notes 3/15/21 Jane Doe
                                                                      4
Defx 678         WK-Whitmore001326                                    MR Pscyhotherapy notes
Defx 679         WK-Whitmore001328                                    MRPscyhotherapy Notes
Defx 680         WK-Whitmore001333                                    MR Post Trauma Anxiety Screen
Defx 681         WK-Whitmore001336                                    AF SafeWay Psychological Notes
Defx 682         WK-Whitmore001345                                    AF Post Trauma Anxiety Screen
Defx 683         WK-Whitmore001349                                    Email re KP’s Outline to Experts
Defx 684         WK-Whitmore001350                                    KP Outline
Defx 685         WK-Whitmore001631                                    MM Post Trauma Anxiety Screen Safeway
Defx 686         WK-Whitmore001636                                    MB’s Psychotherapy Notes 7/16/21
Defx 687         WK-Whitmore001638                                    MB’s Pscychotherapy Notes 5/5/21
Defx 688         WK-Whitmore001640                                    More Safeway Records for MB
Defx 689         WK-Whitmore001652                                    MB Psychothreapy Notes 4/19/21
Defx 690         WK-Whitmore001654                                    MB Psychotherapy Notes 5/28/21
Defx 691         WK-Whitmore001656                                    MB Pscychotherapy Notes 5/19/21
Defx 692         WK-Whitmore001658                                    MB Post Traumatic Anxiety Screen 3/30/21
Defx 693         WK-Whitmore001662                                    MB Psychotherapy Notes 6/26/21
Defx 694         WK-Whitmore001664                                    MB Psychotherapy Notes 7/03/21
Defx 695         WK-Whitmore001666                                    MB Pscyhotherapy Notes 6/14/21
Defx 696         WK-Whitmore001668                                    MB Psychotherapy Notes 5/12/21 references
                                                                      sex trafficking
Defx 697         WK-Whitmore002537                                    Confirming TH Zoom meeting 5/12/21 with
                                                                      outline from Plaintiff’s counsel
Defx 698         WK-Whitmore002542                                    TH Outline from Plaintiff’s counsel
Defx 699         WK-Whitmore002548                                    Email from A. Whitmore asks as she explores
                                                                      “each hotel” whether they want her to explore
                                                                      each pimp?” whether they trafficked other
                                                                      girls?
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Exhibit Number   Bates Number                           Deposition Exhibit Number      Description                                   Plaintiff's Objections
Defx 700         WK-Whitmore002550                                                     Email confirming WK’s Zoom; team meeting
                                                                                       at 3, client joins at 3:30 says outline is
                                                                                       attached.
Defx 701         WK-Whitmore002551                                                     W.K. Notes from Plaintiff’s Counsel
Defx 702         WK-Whitmore002555                                                     Email re: W.K. Zoom outline provided by
                                                                                       Plaintiff’s counsel
Defx 703         WK-Whitmore002556                                                     W.K Notes from Plaintiff’s Counsel
                                                                                       (duplicate)
Defx 704         WK-Whitmore002557                                                     Email re: R.P. Zoom Outline from Plaintiff’s
                                                                                       counsel
Defx 705         WK-Whitmore002558                                                     R.P. Notes from Plaintiff’s Counsel
Defx 706         WK-Whitmore002559                                                     Email re: RP (mom texted to say that RP
                                                                                       forgot to say that her father was severely
                                                                                       depressed and bi polar and was also suicidal
                                                                                       throughout the 10 years of their marriage)
Defx 707         WK-Whitmore002760                                                     W.K.’s Records from Riverwoods Behavioral
                                                                                       (reports relationship problems; no mention of
                                                                                       trafficking?
Defx 708         WK-Whitmore002980                                                     Email chain with Plaintiff’s counsel sending
                                                                                       documents for each plaintiff and a table of
                                                                                       contents; notebook;
Defx 709                                                Tallis Deposition Exhibit 5    Emails with invoices
Defx 710         WK-Tallis-000088-000090                Tallis Deposition Exhibit 6    Engagment letter
Defx 711                                                Tallis Deposition Exhibit 10   Houston Chronicle news article

Defx 712         Pltf. C.A.000592-593; Pltf. C.A.000598- C.A. 6                        Email lists
                 Pltf. C.A.000600; Pltf. C.A.000701-Pltf.
                 C.A.000704
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WITNESS NAME:                                      Stocker, Gregory 30(b)(6)
DEPOSITION DATE:                                           5/11/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                                                      COUNTER DESIGNATIONS                                    REPLY DESIGNATIONS
Page/Lin            Page/Lin          Objections        Replies to Objections            Page/Lin           Page/Lin   Objections   Replies to   Page/Lin           Page/Lin   Objections   Replies to
e Begin             e End                                                                e Begin            e End                   Objections   e Begin            e End                   Objections
9        22         9        25
10       4          10       22
15       14         15       19
17       7          17       10       Asked and       Objection waived by failure to
                                      answered;repeti assert at deposition
                                      tive
26           10         26   23
27           10         27   25       Legal             Objection waived by failure to
                                      Conclusion        assert at deposition
28           11         28   14       Legal             Does not seek a legal
                                      conclusion;       conclusion, but rather Red
                                      Improper          Roof's knowledge of sex
                                      hypothetical      traffickers and the means by
                                                        which they operate; reflects
                                                        information contained within
                                                        Red Roof's own documents
28           16         29   1        Legal             28:16-17 see response above;
                                      conclusion;       28:18-29:1 objection waived
                                      Improper          by failure to assert at
                                      hypothetical      deposition
29           3          29   3
29           5          29   11
29           21         29   22
31           3 (begin   31   16
             with
             "This")
31           25         32   13       Assumes facts   Does not assume facts not in
                                      not in evidence evidence, testimony reflects
                                                      information contained within
                                                      Red Roof's own documents
33           3          33   15
34           6          34   9
34           11         34   19
36           17         37   14
37           19         37   22
38           8          38   11
38           15         38   19
38           22         38   23
39           1          39   3
39           6          39   11
39           14         39   15
40           1          41   1




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42           18           42   24   Relevance
43           9            43   10   Legal            Not a legal conclusion, doesn't
                                    conclusion;      assume a duty but rather
                                    Assumes duty     inquires about the abilities of
                                    that does not    the hospitality industry and
                                    exist            Red Roof confirms those
                                                     abilities
43           12           43   16   Legal            Not a legal conclusion, doesn't
                                    conclusion;      assume a duty but rather
                                    Assumes duty     inquires about the abilities of
                                    that does not    the hospitality industry and
                                    exist            Red Roof confirms those
                                                     abilities
43           19           44   11   43:24-25 and     Objection waived by failure to
                                    44:1-3 Legal     assert at deposition; not legal
                                    conclusion;      conclusion, doesn't assume
                                    Assumes duty     duty, asks about Red Roof's
                                    that does not    obligations which Red Roof
                                    exist            affirms
55           9 (begin     55   11   Assumes facts    Abundant facts in evidence
             with                   not in evidence; that prostitution and sex
             "What")                improper         trafficking occur at Red Roof
                                    hypothetical     locations, including Smyrna
                                                     and Buckhead; question does
                                                     not pose a hypothetical
55           13           55   15   Assumes facts    See response above
                                    not in evidence;
                                    improper
                                    hypothetical

55           20           56   12   Assumes facts    See response above
                                    not in evidence;
                                    improper
                                    hypothetical

57           4            57   14
57           20           57   23
59           17 (begin    60   7
             with "In")
60           13           60   15                                                      61   2   61   23               Not a proper
                                                                                                                      counter
                                                                                                                      designation
                                                                                                                      according to
                                                                                                                      your definition;
                                                                                                                      it does not
                                                                                                                      complete the
                                                                                                                      thought; not
                                                                                                                      relevant; vague;




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61           24   62    7
63           2    63    16
64           14   64    14
64           16   64    17
65           21   66    2
66           7    66    13
66           15   66    17
66           19   66    24
67           24   67    25
68           2    68    2
68           13   68    15
68           17   68    22
70           15   70    20   70:15-20         Relvant to steps Red Roof took 71      15   71   21   71:20-21 is attorney dialogue, not Identifies the    73   20   73   23
                             Relevance;       to verify allegations of criminal 72   7    72   25   witness testimony                  exhibit that is
                             outside relevant conduct at its locations,         73   1    73   19                                      being discussed
                             period;          including Smyrna and              74   3    74   9                                       so necessary to
                             privilege        Buckhead, trafficking period                                                             the context
                                              was prior to 2020 so not
                                              outside relevant period, not
                                              privileged
77           5    77    19
78           4    78    13
82           9    82    14   Relevance          Relvant to fact that for much of
                                                the period Plaintiffs were
                                                trafficked at Red Roof
                                                locations, Red Roof's director
                                                of safety and security position
                                                was vacant
82           18   83    3    Relevance          See response above
83           12   83    14
83           16   83    25   Relevance          Deponent's knowledge is       84     8    84   16                                                        85   21   86   2    Not a proper counter-
                                                relevant to Red Roof's        84     21   84   23                                                                            designation according
                                                testimony about its knowledge 85     16   85   20                                                                            to your definition
                                                of criminal activities at its 88     19   88   21
                                                locations                     88     23   88   25
                                                                              89     1    89   4
94           23   95    6
95           8    95    14   Relevance; not     Relevant as to Red Roof's
                             specific to this   knowledge of steps necessary
                             property           to prevent crime and
                                                applicable to Smyrna and
                                                Buckhead which lacked a
                                                sufficient security patrol
96           7    96    13
96           15   96    16
100          14   101   6




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102          3          102   5    Lack of         Deponent is corporate
                                   foundation (see representative of Red Roof, his
                                   page 101, lines personal lack of knowledge is
                                   19-23)          irrelevant as question seeks
                                                   Red Roof's knowledge; an
                                                   insufficiently prepared 30(b)(6)
                                                   witness is not a basis for a lack
                                                   of foundation objection


102          9          102   13   Lack of         See response above
                                   foundation (see
                                   page 101, lines
                                   19-23)
121          5          122   4    121:17-15 and    Not hearsay, not offered for
                                   122:1-2          truth of the matter asserted;
                                   Hearsay;         relevant to Red Roof's
                                   relevance;       knowledge of allegations of
                                   speculation      prostitution at Buckhead
                                                    location; does not seek
                                                    speculation; also relevance and
                                                    speculation objections waived
                                                    by failure to assert at
                                                    deposition

122          6          122   12   Misleading;      Relevant to Red Roof's
                                   relevance        knowledge of allegations of
                                                    prostitution at Buckhead
                                                    location and any action it took
                                                    in response to thoes
                                                    allegations, not misleading
122          15         122   15   Misleading;      See response above
                                   relevance
123          4          123   15
123          19         123   23   Lack of         Can't object that corporate
                                   foundation (pg. representative's answer lacked
                                   123, lines 19-  foundation
                                   23)
124          4          124   7
124          9 (begin   125   1    124:8-14         speculation objection waived
             with                  Hearsay;         by failure to assert at
             "the")                Relevance;       deposition; not hearsay, not
                                   speculation      being offered for truth of the
                                                    matter asserted; relevant to
                                                    Red Roof's knowledge of
                                                    allegations of criminal conduct
                                                    at location at which Plaintiffs
                                                    trafficked and action it


125          3          125   3




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125          8 (begin   126   4    125:22-25 and    speculation objection waived
             with                  126:1-6          by failure to assert at
             "Exhibit")            Hearsay;         deposition; not hearsay, not
                                   Relevance;       being offered for truth of the
                                   speculation      matter asserted; relevant to
                                                    Red Roof's knowledge of
                                                    allegations of criminal conduct
                                                    at location at which Plaintiffs
                                                    trafficked and action it


126          6         126    19
127          5         127    15   127:5-11         speculation objection waived
                                   Hearsay;         by failure to assert at
                                   speculation      deposition; not hearsay, not
                                                    being offered for truth of the
                                                    matter asserted;
128          5         128    24
129          9         129    10
129          16        129    20
129          22        129    23
130          3         130    6                                                         130   7   130   17
132          19        133    21   Relevance;       Relevant to Red Roof's ability
                                   hearsay; not     to learn of allegations of
                                   related to       criminal conduct at its
                                   property or      locations; specifically related
                                   plaintiffs at    to location at issue, see 133:19-
                                   issue            21
134          19        134    22   Hearsay          not hearsay, not offered for
                                                    truth of matter asserted
135          1         135    13   135:1-8          not hearsay, not offered for
                                   Hearsay; not     truth of matter asserted;
                                   related to       relevant to Red Roof's
                                   plaintiffs at    knowledge of allegations of
                                   issue            prostitution at hotel at which
                                                    Plaintiffs were trafficked
                                                    during the period of their
                                                    trafficking
136          2         136    10   136:1-6 Hearsay not hearsay, not offered for
                                                   truth of the matter asserted




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136          13   137   18   Relevance,       Relevant to Red Roof's
                             hearsay,         knowledge of allegations of
                             misleading       prostitution at location at
                             (allegations)    which Plaintiffs were trafficked
                                              during the period of their
                                              trafficking; not hearsay, not
                                              offered for truth of the matter
                                              asserted; not misleading,
                                              question states reports are


137          20   137   22   Relevance,       See response above
                             hearsay,
                             misleading
                             (allegations)
138          2    138   8
138          12   138   23                                                       138   24   138   25                    139      12   139   15   Argumentative; Not a
                                                                                 139   3    139   11                                             proper
                                                                                                                                                 counterdesignation
                                                                                                                                                 according to your
                                                                                                                                                 definition. Does not
                                                                                                                                                 complete the thought
140          13   140   16                                                       140   19   140   21
                                                                                 140   23   140   24
140          18   140   18
140          25   141   2
141          22   142   11                                                       142   12   142   20
144          3    144   6    Relevance        Information about steps Red
                                              Roof took to respond to
                                              allegations of prostitution and
                                              other criminal activity at
                                              location at which Plaintiffs
                                              were trafficked and during the
                                              period of their trafficking is
                                              relevant
144          8    144   18   Relevance        See response above
145          1    145   6
145          11   145   20   Hearsay         Not hearsay, not offered for
                                             truth of matter asserted
146          1    146   14   Hearsay;        Not hearsay, not offered for
                             Relevance as to truth of matter asserted;
                             other hotels    directly relevant to locations
                                             at which Plaintiffs were
                                             trafficked, see 146:1-6
146          23   147   1
153          24   154   17




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155          14 (Begin 155   19
             with
             "Plaintiffs'
             ")
156          23       157    12
158          18       158    25
159          6        159    8
159          22       160    8
161          7        161    25   161:12-18        not hearsay, not offered for
                                  Hearsay          truth of matter asserted
162          24       163    13                                                       163   14   163   19                    163      20   163   22   Not a proper
                                                                                      164   11   164   23                                             counterdesignation
                                                                                                                                                      according to your
                                                                                                                                                      definition; not
                                                                                                                                                      relevant; misleading
165          5        165    7
165          9        165    15
166          1        166    7
166          9        166    21
168          16       168    24
169          1        169    5
169          16       169    19
169          21       170    3
170          16       170    24   Relevance;       Relevant to Red Roof's motive
                                  outside the      for taking action in response to
                                  relevant time    allegations of criminal conduct
                                  frame            and its knowledge of criminal
                                                   conduct at its hotel locations;
                                                   30(b)(6) topic is time limited
                                                   to relevant period


173          11       174    13   173:11-25 and objection to scope of question
                                  174:1-13         waived by failure to assert at
                                  Relevance (not deposition; relevant to Red
                                  Smyrna or        Roof's lack of action in
                                  Buckhead)        Buckhead and lack of action at
                                  outside relevant Smyrna prior to nuisance
                                  time frame       abatement action


174          22       175    6    174:22-25        Relevant to Red Roof's motive
                                  Relevance (not for taking action in response to
                                  Smyrna or        allegations of criminal conduct
                                  Buckhead)        and its failure to do so and its
                                  175:1-6          knowledge of criminal conduct
                                  Relevance;       at its locations; question is
                                  outside relevant limited to period of trafficking
                                  time frame




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175          10   176   3    175:10-25        Relevant to Red Roof's motive
                             Relevance,       for taking action in response to
                             176:1-3          allegations of criminal conduct
                             Relevance (not   and its failure to do so and its
                             Smyrna or        knowledge of criminal conduct
                             Buckhead)        at its locations; question is
                                              limited to period of trafficking


177          24   178   5    177:24-25 and    Relevant to Red Roof's motive
                             178:1-5          for taking action in response to
                             Relevance        allegations of criminal conduct
                                              and its failure to do so and its
                                              knowledge of criminal conduct
                                              at its locations; question is
                                              limited to period of trafficking


180          6    180   24   Relevance (not   Relevant to Red Roof's motive
                             Smyrna or        for taking action in response to
                             Buckhead); not   allegations of criminal conduct
                             relevant time    and its failure to do so and its
                             frame            knowledge of criminal conduct
                                              at its locations; objection to
                                              temporal scope of question
                                              waived by failure to assert at
                                              depositi


181          1    181   3    181:1-18         See response above
                             Relevance
181          6    181   18   181:1-18         Relevant to Red Roof's motive
                             Relevance        for taking action in response to
                                              allegations of criminal conduct
                                              and its failure to do so and its
                                              knowledge of criminal conduct
                                              at its locations;


183          17   183   20   Relevance        Document concerns criminal
                                              activity, including pimping, at
                                              Red Roof Smyrna, also relevant
                                              to explaining Red Roof's
                                              conduct regarding Smyrna


183          25   184   13   Relevance        See response above
185          4    186   1    Relevance        See response above




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189          16   189   21   Relevance      Relevant to Red Roof's           189   12   189   15
                                            knowledge of criminal activity
                                            and alleged criminal activity at
                                            Smyrna location, and relevant
                                            to explaining Red Roof's
                                            conduct regarding Smyrna


190          8    190   10   Relevance      See response above
190          18   190   20   Relevance      See response above
191          25   192   16   191:25         See response above; Smyrna     191     6    191   15
                             Relevance,     location was continually
                             192:1-16       franchised to Varahi by
                             Relevance;     Defendants during this period;
                             (Patel’s       also Varahi is an alleged co-
                             ownership)     conspirator with the Red Roof
                                            Defendants and, if proven, is
                                            liable for the conduct of its
                                            alleged co-conspirators inclu


192          20   193   24   192:20-25      See response above; also does
                             Relevance;     not call for speculation and
                             (Patel’s       any such objection waived by
                             ownership),    failure to assert at deposition
                             193:1-24
                             Relevance;
                             speculation
194          7    194   24   192:20-25      See response above
                             Relevance;
                             (Patel’s
                             ownership),
                             193:1-24
                             Relevance;
                             speculation
195          1    195   5    195:1-25       Relevant to Red Roof's
                             Relevance;     knowledge of criminal activity
                             hearsay;       and alleged criminal activity at
                             speculation    Smyrna location, and relevant
                                            to explaining Red Roof's
                                            conduct regarding Smyrna;
                                            public record, 803(8)
195          7    196   25   195:1-25 and   See response above; 196:19-25
                             196:1-25       not hearsay, not offered for
                             Relevance;     truth of the matter asserted
                             hearsay




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197          6    198   16   197:6-25          Relevant to Red Roof's
                             Relevance;        knowledge of it allegations
                             hearsay, 198:1-   concerning its franchisees lack
                             16 Relevance      of cooperation with law
                                               enforcement; not hearsay, not
                                               offered for truth of the matter
                                               asserted
199          8    200   2    199:8-25 and      Relevant to Red Roof's
                             200:1-2           knowledge of criminal activity
                             Relevance         at its hotel locations
200          6    200   22   Relevance         Relevant to Red Roof's decision
                                               to continue to maintain
                                               Smyrna as a franchise location

204          7    204   14   203:1-7 and       See response above
                             204:7-14
                             Relevance
204          25   205   7    204:25            See response above                205   8   205   17                      206      11   206   18   Not relevant; post
                             Relevance                                           206   1   206   10                                               period of alleed
                                                                                                                                                  trafficking; misleading;
                                                                                                                                                  not a proper
                                                                                                                                                  counterdesignation


207          1    207   18   Relevance         See response above
207          24   208   4    Relevance         See response above
208          10   208   15   Relevance (post   See response above; plaintiffs'
                             2017; 2020        trafficking at Red Roof Smyrna
                             meeting)          continued during and after
                                               2017; impeachment
208          20   209   12   208:23-25         Relevant to Red Roof's decision
                             Relevance (post   to continue to maintain
                             2017; 2020        Smyrna as a franchise location;
                             meeting)          plaintiffs' trafficking at Red
                                               Roof Smyrna continued during
                                               and after 2017; impeachment


209          14   210   2    209:10-12; 14- See response above
                             25 Relevance
210          11   210   19   210:1-2; 11-25 See response above
                             Relevance
210          21   211   3    210:11-25 and See response above
                             211:1-3
                             Relevance




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WITNESS NAME:                         Andrew Alexander
DEPOSITION DATE:                          6/27/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                                   COUNTER DESIGNATIONS                                                                                      REPLY DESIGNATIONS
Page/Line Page/Line Objections                           Replies to   Page/Line Begin                Page/Line End            Objections          Replies to Objections         Page/Line Page/Line Objections   Replies to
Begin     End                                            Objections                                                                                                             Begin      End                   Objections
10    21  10    23
13    4   14    1
15    2   15    14
23    1   23    12                                                    25      4                      25    9                  No objection                                      26     25   27    10
                                                                      25      14                     25    18                                                                   27     19   27    25
                                                                      25      20                     25    20
                                                                      25      22                     26    1
                                                                      26      4                      26    24
                                                                      27      14                     27    18
                                                                      28      1                      28    7
36    5     36     22                                                 36      23                     37    13
49    6     49     11                                                 45      16                     46    5                  No objection                                      48     20   49    1
                                                                      46      7                      46    14
                                                                      47      25                     48    9
49    15    50     2
72    11    73     1
73    5     73     10                                                 74      8                      74    20                 Duplicative, not    not duplicative; proper       76     3    76    6
                                                                      78      16                     78    19                 a counter           counter under Rule 32(a)(6)   76     17   77    18
                                                                      82      1                      82    4 (end at "it.")   designation                                       88     9    88    13
                                                                      82      16                     82    20                 under Plaintiff's                                 88     15   88    17
                                                                      86      11(begin at "But")     86    23                 definition,
                                                                      86      25                     87    1                  irrelevant
                                                                      87      3                      87    11
93    13    94     17                                                 92      25                     93    3
                                                                      93      6                      93    12
95    15    95     24                                                 95      8 (begin at "So")      95    14                 Duplicative, not    not duplicative; proper        94    18   94    23
                                                                      98      1                      98    4                  a counter           counter under Rule 32(a)(6); 95      1    95    6
                                                                      98      6                      98    15                 designation         relevant to deponent's         98    16   98    20
                                                                      100     17 (begin at "When")   101   8                  under Plaintiff's   involvement in addressing sex 101    22   102   6
                                                                      102     7                      102   16                 definition,         trafficking at smyrna which is 103   11   103   20
                                                                      102     19                     102   25                 irrelevant          subject of designation


105   4     105    11                                                 104     19                     104   24
105   20    105    23




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106   12    106   18          107   19          107   21                        Duplicative, not    not duplicative; proper
                              108   1           108   2                         a counter           counter under Rule 32(a)(6)
                              108   4           108   7                         designation
                              108   10          108   11                        under Plaintiff's
                              108   19          108   25                        definition,
                                                                                irrelevant
106   20    107   14
112   1     112   4           110   25          111   25                        Duplicative, not    not duplicative; prover
                                                                                a counter           counter under Rule 32(a)(6)
                                                                                designation
                                                                                under Plaintiff's
                                                                                definition,
                                                                                irrelevant
112   6     112   6
116   3     116   10          114   13          114   22
                              117   1           117   7
190   20    191   6           190   13          190   20 (end with "police.")   Duplicative, not    not duplicative; proper
                              191   7           191   9 (end with "minor.")     a counter           counter under Rule 32(a)(6);
                                                                                designation         relevant to designated
                                                                                under Plaintiff's   testimony; not improper
                                                                                definition,         attorney testimony,
                                                                                irrelevant,         summarizing earlier questions
                                                                                hearsay,            and information contained in
                                                                                improper            red roof documents; not
                                                                                attorney            hearsay, statement of party
                                                                                testimony           opponent


191   9     191   11
191   16    191   24
229   21    229   23          229   13          229   16                        Irrelevant,         Relevant to designation and
                              229   19          229   19                        unfairly            provides context for
                                                                                prejudicial,        designation; probative value
                                                                                improper legal      not substantially outweighed
                                                                                standard,           by risk of unfair prejudice;
                                                                                improper lay        does not ask legal question or
                                                                                opinion             pose standard; not lay
                                                                                                    opinion
229   25    230   2




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230   12    231   8    Irrelevant, prejudicial, confusing, and Relevant to issues
                       misleading. There has been no evidence of Plainitff's case,
                       offered in this case that racial profiling including
                       is related to identifying prostitution     allegations that
                       and/or sex trafficking taking place at     RRI should have
                       hotels, other than by Defendants to        noticed "red
                       introduce irrelevant, prejudicial, and flags" or provided
                       confusing evidence and to mislead the different training
                       jury.


232   2     232   9    Irrelevant, prejudicial, confusing, and Relevant to issues
                       misleading. There has been no evidence of Plainitff's case,
                       offered in this case that racial profiling including
                       is related to identifying prostitution     allegations that
                       and/or sex trafficking taking place at     RRI should have
                       hotels, other than by Defendants to        noticed "red
                       introduce irrelevant, prejudicial, and flags" or provided
                       confusing evidence and to mislead the different training
                       jury.


233   17    234   2
234   4     234   8
234   10    235   15   234:25-236:7 Irrelevant, prejudicial,       Relevant to issues
                       confusing, and misleading. There has        of Plainitff's case,
                       been no evidence offered in this case       including
                       that racial profiling is related to         allegations that
                       identifying prostitution and/or sex         RRI should have
                       trafficking taking place at hotels, other   noticed "red
                       than by Defendants to introduce             flags" or provided
                       irrelevant, prejudicial, and confusing      different training
                       evidence and to mislead the jury.


235   17    235   17   See objection above                         Relevant to issues
                                                                   of Plainitff's case,
                                                                   including
                                                                   allegations that
                                                                   RRI should have
                                                                   noticed "red
                                                                   flags" or provided
                                                                   different training




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235   19    236   2    See objection above     Relevant to issues
                                               of Plainitff's case,
                                               including
                                               allegations that
                                               RRI should have
                                               noticed "red
                                               flags" or provided
                                               different training



236   4     236   7    See objection above     Relevant to issues 236       25   237   16
                                               of Plainitff's case, 237     18   237   19
                                               including            237     21   238   8
                                               allegations that 238         12   238   13
                                               RRI should have
                                               noticed "red
                                               flags" or provided
                                               different training



239   1     239   10   239:5-6, 8-10 Leading
239   12    239   12
239   14    239   16   Leading
239   18    239   18
239   20    240   5    Leading                 Objection waived

240   11    240   23
240   25    240   25
241   2     241   25                                                  242   1    242   3
                                                                      242   9    242   14
                                                                      242   17   242   25




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WITNESS NAME:                                                   Michael Beene
DEPOSITION DATE:                                                    9/26/22
Plaintiffs object on hearsay ground because Mr. Beene lives within the district, and Defendants have made no showing that he's unavailable.
   Plaintiffs also object to the disclosure of Plaintiffs' names. (27:15; 27:23-24; 28:8; 35:9; 40:13; 40:20; 43:22; 47:7; 48:10; 48:21; 49:1; 49:3-5; 49:10-11; 49:14; 50:6; 54:6; 55:20; 57:10; 57:17; 57:18; 58:2; 58:8; 65:22; 66:1; 66:8; 66:11; 66:13; 66:16; 66:21; 66:23-24; 67:1; 67:5;
                                                                                                       67:9; 67:15; 67:20; 67:22; 67:1; 68:2; 68:8-10; 68:12-13; 68:20; 80:20; 94:4; 94:9; 94:14; )
AFFIRMATIVE DEPOSITION DESIGNATIONS                                                         COUNTER DESIGNATIONS                                                                                                              REPLY DESIGNATIONS
Page/Line Begin           Page/Line End            Objections         Replies to Objections Page/Line Begin          Page/Line End          Objections        Replies to Objections                                           Page/Line Begin         Page/Line End          Objection Replies to
                                                                                                                                                                                                                                                                             s          Objection
                                                                                                                                                                                                                                                                                        s
10          21         12          9
13          11         13          19
14          6          14          12
14          24         15          13
16          20         17          2
17          9          17          15
18          2          18          5
18          25         19          7
20          8          20          15
20          23         21          7                                                     23         17          23          23
27          14         28          19
31          6          31          8           Calls for         Does not call for
                                               speculation;      speculation and not
                                               prejudicial       prejudicial based on
                                                                 Plaintiff's testimony
31          14         31          15          Calls for         Does not call for
                                               speculation;      speculation and not
                                               prejudicial       prejudicial based on
                                                                 Plaintiff's testimony
31          17         32          1
33          7          33          9
33          19         39          24
40          8          41          2
41          12         41          24
42          5          43          1
43          21         44          18
45          7          45          14
46          19         50          13
52          3          52          7
52          11         52          14
52          52         53          23
54          5          54          18
55          5          56          5
56          17         56          25
57          8          59          14
63          2          63          13
65          4          65          6




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65          7    69   5    66:23-69:5        Rule 412(b)(2),
                           (Rule 412; Rule   relevant to issues of
                           403; Rule 404;    Plaintiff's case,
                           prejudicial,      admissible for other
                           irrelevant,       purposes under Rule
                           confusing)        404, not unfairly
                                             prejudicial
71          10   71   17
                                                                     73   15   73   25   Not a question      If the video is played, this will be helpful so the jury knows
                                                                                                             who's asking the questions (just as would be the case if
                                                                                                             testifying live).
                                                                     77   6    77   9
                                                                     78   8    78   13
80          12   80   22
84          1    85   8
85          17   86   2                                              86   3    86   14                                                                                          86   15   86   17
                                                                                                                                                                                86   20   87   2
87          16   87   18                                             87   7    87   12
                                                                     87   22   87   22   Speculation         He's testifying he saw people he would identify as                 88   1    88   3
                                                                                                             "crackheads," and not speculating as to what they were or
                                                                                                             were not doing at the time.
                                                                     87   24   87   24
87          20   87   20
88          4    88   10
                                             Cross-Examination:      88   13   88   17   Not a counter       This would be played as part of Plaintiffs' cross-examination of 92     4    92   12
                                                                                         designation         the witness and not in line with Defendants' designations.
                                                                                         under Plaintiff's   Relevant for the jury's assessment of Beene's credibility,
                                                                                         definition,         including that he previously said he didn't want to be a snitch.
                                                                                         irrelevnat,
                                                                                         confusing issues
                                                                     89   5    92   3    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                                                                         designation         the witness and not in line with Defendants' designations.
                                                                                         under Plaintiff's   Relevant for the jury's assessment of Beene's credibility,
                                                                                         definition,         including that he previously said he didn't want to be a snitch.
                                                                                         irrelevnat,
                                                                                         confusing issues
                                                                     93   18   95   11   Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                                                                         designation         the witness and not in line with Defendants' designations.
                                                                                         under Plaintiff's
                                                                                         definition


                                                                     95   21   95   25   Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                                                                         designation         the witness and not in line with Defendants' designations.
                                                                                         under Plaintiff's
                                                                                         definition




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                96    11    96    16    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                97    8     97    10    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                97    19    98    4     Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                107   16    107   20    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                110   9     110   19    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                110   23    111   14                                                                                           111   18   111   25
                143   16    144   6     Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                144   9     145   11    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                145   13    145   14    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                145   19    146   15    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                146   19    147   20    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                147   22    148   15    Not a counter       This would be played as part of Plaintiffs' cross-examination of 148     19   148   23
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition




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                149   1     150   2     Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition
                150   6     151   17    Not a counter       This would be played as part of Plaintiffs' cross-examination of
                                        designation         the witness and not in line with Defendants' designations.
                                        under Plaintiff's
                                        definition




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WITNESS NAME:                                                     Tradelle Lacy
DEPOSITION DATE:                                                    9/26/22
Plaintiffs object on hearsay ground because Mr. Lacy lives within the district, and Defendants have made no showing that he's unavailable.
Plaintiffs also object to the disclosure of Plaintiffs' names. (20:25-21:1; 21:4; 24:5; 27:19; 28:13; 29:5; 29:12; 29:18; 29:23; 30:1; 31:8; 30:22; 32:11; 33:2; 33:17; 41:5-6; 41:13; 67:21; 68:25)
AFFIRMATIVE DEPOSITION DESIGNATIONS                                                         COUNTER DESIGNATIONS                                                                 REPLY DESIGNATIONS
Page/Line Begin           Page/Line End            Objections         Replies to Objections Page/Line Begin         Page/Line End          Objections        Replies to          Page/Line Begin     Page/Line End   Objections   Replies to Objections
                                                                                                                                                             Objections
9             25          12          7
16            5           18          20
20            19          25          8
25            23          27          17
27            18          31          11
32            5           32          14           Authenticty (as Not being used for a
                                                   to Ex. 2);         hearsay purpose and
                                                   hearsay            Mr. Lacy
                                                                      authenticated the
                                                                      exhibit
32          20         34          24
34          25         35          19
36          6          36          14
36          15         38          22
38          23         39          9
40          16         41          18
42          12         43          12                                                       42     2          42          11
44          1          44          8                                                        43     21
                                                                                            43     25
47          23         49          13          Rule               Relevant and not
                                               403/Confusing      unfairly prejudicial as
                                               and prejudicial    it goes directly to
                                               because            claims raised by
                                               attorney falsely   Plainitff in this case.
                                               claims that RK     Not comunulative.
                                               accused Lacy of
                                               trafficking
                                               (47:23-48:3);
                                               Cumulative
                                               (48:4-5)




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55          12   56    9    Cumulative       Not cumulative.     56   13   56   16   Not a counter       If the video is
                            (55:12-25; 58:8-                                         designation         played, this will
                            9).                                                      under Plaintiff's   be helpful so the
                                                                                     definition and      jury knows who's
                                                                                     not a question.     asking the
                                                                                                         questions (just as
                                                                                                         would be the case
                                                                                                         if testifying live).
67          10   68    8
68          12   68    16
68          19   68    19
68          21   69    9
69          12   69    13
71          14   71    16                                        71   4    71   13
72          5    73    7                                         71   17   72   4
92          24   93    13
129         20   130   16
                                            Cross-Examination:   76   15   76   24   Not a counter       This would be
                                                                                     designation         played as part of
                                                                                     under Plaintiff's   Plaintiffs' cross-
                                                                                     definition          examination of
                                                                                                         the witness and
                                                                                                         not in line with
                                                                                                         Defendants'
                                                                                                         designations.
                                                                 77   20   78   2    Not a counter       This would be
                                                                                     designation         played as part of
                                                                                     under Plaintiff's   Plaintiffs' cross-
                                                                                     definition          examination of
                                                                                                         the witness and
                                                                                                         not in line with
                                                                                                         Defendants'
                                                                                                         designations.
                                                                 78   21   79   4    Not a counter       This would be
                                                                                     designation         played as part of
                                                                                     under Plaintiff's   Plaintiffs' cross-
                                                                                     definition          examination of
                                                                                                         the witness and
                                                                                                         not in line with
                                                                                                         Defendants'
                                                                                                         designations.




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                    79    7      79    7      Not a counter       This would be        79   9    79   10
                                              designation         played as part of    79   18   79   18
                                              under Plaintiff's   Plaintiffs' cross-   80   16   80   20
                                              definition          examination of
                                                                  the witness and
                                                                  not in line with
                                                                  Defendants'
                                                                  designations.
                    80    24     81    14     Not a counter       This would be
                                              designation         played as part of
                                              under Plaintiff's   Plaintiffs' cross-
                                              definition          examination of
                                                                  the witness and
                                                                  not in line with
                                                                  Defendants'
                                                                  designations.




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WITNESS NAME:               Nha Luan (Vickie) Lam
DEPOSITION DATE:                  3/11/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                  COUNTER DESIGNATIONS                                             REPLY DESIGNATIONS
Page/Line Page/Line Objections          Replies to   Page/Line Begin   Page/Line Objections   Replies to Objections   Page/Line Begin    Page/Line End   Objections   Replies to
Begin     End                           Objections                     End                                                                                            Objections
12    8   12    12
15    7   16    18
19    21  20    16
21    2   21    4
31    2   32    7
32    9   32    10
39    8   40    22
42    9   43    20
43    22  43    23
43    25  44    24
45    8   46    9
46    11  46    12
48    4   48    13
48    15  48    18
49    23  50    17                                   49   6            49   6
                                                     49   17 (begin    49   22
                                                          with "do")
51    7     51     9
51    11    52     12




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52    16    53    20   56    1              56    9    Speculation;   Witness's account of her own
                       56    11             56    18   foundation;    conversations are not hearsay but
                       57    23             58    6    hearsay        admissions of a party opponent
                       58    9              58    25                  under FRE 801(d)(2). Statements of
                                                                      franchisee and those within customer
                                                                      review referred to are not hearsay
                                                                      because they are not offered to prove
                                                                      the truth of the matter asserted, but
                                                                      to show the effect on the listener--in
                                                                      this case, the reasonableness of Ms.
                                                                      Lam's response in light of the
                                                                      information received.
                                                                      Witness is testifying to her personal
                                                                      knowledge, including its limitations.
                                                                      Unclear what the basis for a
                                                                      foundation objection would be, but
                                                                      again, witness is qualified to testify
                                                                      regarding both her personal
                                                                      knowledge and its limitations.




88    22    90    15
90    24    91    13
91    15    91    16
95    12    95    23
96    10    96    15   96    16             96    20
96    21    97    15   97    25 (begin      98    21
                             with "But")
                       99    14             100   12
                       100   14             100   18
                       100   20             101   9
                       101   12             101   15
102   23    102   25
150   10    151   19   151   20             152   12
190   22    191   3    190   10             190   21                                                           190   22   191   6    None
                       192   3(begin with   192   10                                                           191   8    191   14
                             "There")                                                                          191   16   191   18
                                                                                                               191   20   191   24
                                                                                                               192   1    192   3




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224   14    224   21   224   22     225   22
                       226   3      226   5
                       226   7      226   15
                       226   17     226   24
229   18    229   22   229   12     229   17   Not a proper      We agree it will not be played twice.
                                               counter
                                               objection; given
                                               your instructions
                                               this can be
                                               played in your
                                               affirmative
                                               designations, not
                                               ours
229   24    230   7
230   18    230   20   230   21     230   22   Not a proper      We agree it will not be played twice.
                       230   24     231   15   counter
                                               objection; given
                                               your instructions
                                               this can be
                                               played in your
                                               affirmative
                                               designations, not
                                               ours
231   16    231   22   231   23     232   1    Not a proper      We agree it will not be played twice.
                       232   4      232   6    counter
                                               objection; given
                                               your instructions
                                               this can be
                                               played in your
                                               affirmative
                                               designations, not
                                               ours
232   8     232   19
237   18    240   1




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277   21    227   24   277   25     278   19   Not a proper      We agree it will not be played twice.
                                               counter
                                               objection; given
                                               your instructions
                                               this can be
                                               played in your
                                               affirmative
                                               designations, not
                                               ours

316   18    317   14




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WITNESS NAME:                         George Limbert
DEPOSITION DATE:                         4/27/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                                COUNTER DESIGNATIONS                                                                                 REPLY DESIGNATIONS
Page/Line Page/Line     Objections                Replies to       Page/Line Begin                            Page/Line Objections        Replies to Objections         Page/Line Page/Line Objections   Replies to
Begin      End                                    Objections                                                  End                                                       Begin      End                   Objections
16    7    17   23
24    4    24   14
29    14   29   21                                                 29                 11 (start with "You")   29   13
30    21   31   5
34    14   34   15                                                 34                 24 (start with "The")   35   10
34    17   34   17
34    19   34   20
37    19   37   22
38    2    38   4
39    25   40   13
40    22   41   4                                                  41                 5                       41   7    Not a counter       proper counter under Rule
                                                                   41                 12                      41   17   designation         32(a)(6)
                                                                                                                        under Plainitff's
                                                                                                                        definition (41:12 -
                                                                                                                        41:17)


42    2     42     6
50    12    50     17
52    13    52     16                                              53                 1                       53   4
29    14    29     21   Previously designated     agree
                        above
37    19    37     22   Previously designated     agree
                        above
38    2     38     4    Previously designated     agree
                        above
39    25    40     13   Previously designated     agree
                        above
40    22     41    4    Previously designated     agree
      (begin            above
      ning
      with
      so)
52    13    52     16   Previously designated     agree
                        above




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WITNESS NAME:                         George Limbert
DEPOSITION DATE:                         4/27/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                                COUNTER DESIGNATIONS                                                                        REPLY DESIGNATIONS
Page/Line Page/Line     Objections                Replies to       Page/Line Begin              Page/Line Objections           Replies to Objections           Page/Line Page/Line Objections   Replies to
Begin      End                                    Objections                                    End                                                            Begin      End                   Objections
53    10    53     17                                              53                 18        54    2    Not a counter       proper counter under Rule
                                                                   54                 10        54    13   designation         32(a)(6)
                                                                                                           under Plaintiff's
                                                                                                           definition


68    2     68     17                                              68                 18        68    22
                                                                   68                 25        69    2
85    2     85     10                                              85                 11        85    25
86    1     86     12                                              86                 13        86    16   Not a counter       proper counter under Rule
                                                                   86                 19        87    1    designation         32(a)(6)
                                                                   87                 12        87    15   under Plaintiff's
                                                                   87                 20        87    25   definition (86:19 -
                                                                                                           87:20)

98    4     98     13                                              96                 17        97    9    Improper lay        Not lay opinion
                                                                   97                 12        97    13   opinion (97:6 -
                                                                   98                 14        99    2    97:13)
                                                                   99                 5         99    7
114   21    115    7                                               113                3         113   13   Not a counter       proper counter under Rule
                                                                                                           designation         32(a)(6)
                                                                                                           under Plaintiff's
                                                                                                           definition


139   12    139    22                                              139                23        140   22   Irrelevant,         Relevant to designation; not
                                                                                                           improper lay        improper lay opinion;
                                                                                                           opinion             testimony of president of
                                                                                                                               hotel chain
184   6     184    16
184   18    184    21
184   23    185    3                                               185                4         185   5    Attorney-Client     not privileged
                                                                   185                7         185   15   Privilege
185   22    186    25                                              185                18        185   21   Attorney-Client     not privileged, because
                                                                                                           Privilege           affirmative designation
                                                                                                                               discusses steps deponent took




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WITNESS NAME:                         George Limbert
DEPOSITION DATE:                         4/27/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                                COUNTER DESIGNATIONS                                                                          REPLY DESIGNATIONS
Page/Line Page/Line     Objections                Replies to       Page/Line Begin               Page/Line Objections           Replies to Objections            Page/Line Page/Line Objections   Replies to
Begin      End                                    Objections                                     End                                                             Begin      End                   Objections
186   2     186    13
187   1     187    6
187   19    188    3                                               188                      4    188   10
189   8     189    14                                              188                      18   189   5    Attorney-Client     not privileged
                                                                                                            Privilege
190   2     190    15                                              192 (begin with "Did")   3    192   5    Not a counter       proper counter under Rule
                                                                   193                      6    193   8    designation         32(a)(6)
                                                                   193                      10   193   11   under Plaintiff's
                                                                   193                      13   193   16   definition;
                                                                                                            attorney-client
                                                                                                            privilege
191   5     191    7                                               197                      6    197   12   Not a counter       should be listed as counter to
                                                                   197                      15   197   20   designation         197:21-198:9 below, not
                                                                   199                      10   200   1    under Plaintiff's   here; proper counter under
                                                                   200                      12   201   4    definition;         Rule 32(a)(6); relevant to
                                                                   204                      3    204   9    irrelevant          contents of affirmative
                                                                   204                      20   206   5                        designation
192   6     192    17
197   21    198    9




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WITNESS NAME:                                                                     Meghan Harrsch (M.H.)
DEPOSITION DATE:                                                                           10/5/22
Plaintiffs object on hearsay ground because Ms. Harrsch lives within the district, and Defendants have made no showing that she's unavailable.
Plaintiffs also object to the disclosure of Plaintiffs' names or the names of other sex trafficking victims (e.g., Jane Doe 1 and Jane Doe 2).
Plaintiffs also object to Ms. Harrsch's testimony as
irrelevant and confusing. Ms. Harrsch is testifying about
Ms. Rajotte and the Jane Doe case, not this one. She
testified that she was not aware of JD1 or JD2 approaching
anyone other than her about joining the lawsuit (69:14-
70:9). And if Ms. Rajotte does not testify as a witness in
this case, none of Ms. Harrsch's testimony is relevant, and
instead it would confuse the jury.
DEFENDANTS' RESPONSE: Ms. Harrsch's October 5, 2024
deposition was specifically taken for use in the W.K. case.
Further, specifically testifies to being involved with an
alleged trafficker named “Kwan” who at least two of the
Plaintiffs also claim was involved with their alleged
trafficking. Finally, Ms. Harrsch testified she was present at
the subject hotel during the relevant time period and can
speak to issues of general relevance to the claims and
defenses in the WK case. Therefore, Plaintiff’s objecitons
go to the weight of the testimony, not its relationship to
the key issues in this case and just because this testimony
is prejudicial to Plaintiff, it does not rise to the level of
being unfairly prejudicial under 403.




AFFIRMATIVE DEPOSITION DESIGNATIONS                                                                                            COU                                            REPLY DESIGNATIONS
Page/Line Begin                                                   Pag          Objections            Replies to Objections     Pag           Pag    Objections   Replies to   Pag        Pag       Objections   Replies to
                                                                  e/Li                                                         e/Li          e/Li                Objections   e/Li       e/Li                   Objections
8                                                          23     9       3
10                                                         12     16      1    11:8-14 (Irrelevant, Defendants incorporate
                                                                               prejudicial,          their response to
                                                                               confusing and         Plaintiff's general
                                                                               misleading. Her       objection in row 6.
                                                                               testimony is not
                                                                               that the "plaintiffs"
                                                                               tried to get her "in
                                                                               on something," only
                                                                               JD2)



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16          4    16    11
16          22   17    5    Nonresponsive,        Defendants incorporate
                            speculative, and asks their response to
                            for information she Plaintiff's general
                            does not possess      objection in row 6.
                                                  Further, MH is testifying
                                                  to her experience in the
                                                  same geographical
                                                  locaitons, during the
                                                  same time periods,
                                                  making her testimony
                                                  squarely relevant to the
                                                  claims and defenses in
                                                  this case.

18          15   18    19
18          21   18    21
19          3    19    7    Speculation; asks for Defendants incorporate
                            information she       their response to
                            can't know            Plaintiff's general
                                                  objection in row 6.
                                                  Further, MH is testifying
                                                  to her experience in the
                                                  same geographical
                                                  locaitons, during the
                                                  same time periods,
                                                  making her testimony
                                                  squarely relevant to the
                                                  claims and defenses in
                                                  this case.

19          9    19    12   Speculation; asks for Defendants incorporate
                            information she       their response to
                            can't know            Plaintiff's general
                                                  objection in row 6.
                                                  Further, MH is testifying
                                                  to her experience in the
                                                  same geographical
                                                  locaitons, during the
                                                  same time periods,
                                                  making her testimony
                                                  squarely relevant to the
                                                  claims and defenses in
                                                  this case.

19          14   19    25



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20          2    21    17   Irrelevant,            Defendants incorporate
                            prejudicial,           their response to
                            confusing and          Plaintiff's general
                            misleading. The        objection in row 6. MH
                            witness recants this   testifies to the same
                            testimony as to        hotels at issue in this
                            Kristin; Hearsay       case.
                            (21:7-14)
21          20   21    25   Irrelevant/Prejudici
                            al/confusing
22          2    27    10   Speculation; asks for Defendants incorporate
                            information she       their response to the
                            can't know as to      Plaintiff's general
                            Kristin having sex    objection in row 6. MH
                            with Bob Patel;       testifies to the same
                            Hearsay re what       hotels at issue in this case
                            Micaela said;         and what occurred at
                            prejudical,           those hotels during the
                            irrelevant and        same time period,
                            confusing.            including the discretion
                                                  that was taken to avoid
                                                  detection. MH's
                                                  testimony about Bob
                                                  Patel is based on her own
                                                  personal experience, and
                                                  witnesses can testify to
                                                  their knowledge.




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27          20   27    23   Speculation; asks for Defendants incorporate
                            information she       their response to the
                            can't know as to      Plaintiff's general
                            Micaela having sex objection in row 6. MH
                            with Bob Patel        testifies to the same
                                                  hotels at issue in this case
                                                  and what occurred at
                                                  those hotels during the
                                                  same time period,
                                                  including the discretion
                                                  that was taken to avoid
                                                  detection. MH's
                                                  testimony about Bob
                                                  Patel is based on her own
                                                  personal experience, and
                                                  witnesses can testify to
                                                  their knowledge.


27          25   27    25   Speculation; asks for Defendants incorporate
                            information she       their response to the
                            can't know as to      Plaintiff's general
                            Micaela having sex objection in row 6. MH
                            with Bob Patel        testifies to the same
                                                  hotels at issue in this case
                                                  and what occurred at
                                                  those hotels during the
                                                  same time period,
                                                  including the discretion
                                                  that was taken to avoid
                                                  detection. MH's
                                                  testimony about Bob
                                                  Patel is based on her own
                                                  personal experience, and
                                                  witnesses can testify to
                                                  their knowledge.




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28          2   28    3    Irrelevant, confusing Defendants incorporate
                           (Kristin is not       their response to the
                           testifying in this    Plaintiff's general
                           case); speculation    objection in row 6. MH
                                                 testifies to the same
                                                 hotels at issue in this case
                                                 and what occurred at
                                                 those hotels during the
                                                 same time period. MH's
                                                 testimony about Bob
                                                 Patel is based on her own
                                                 personal experience, and
                                                 witnesses can testify to
                                                 their knowledge.


28          6   30    21   Speculation; asks for Defendants incorporate
                           information she       their response to the
                           can't know as to      Plaintiff's general
                           pimps ever paying     objection in row 6. MH
                           employees             testifies to the same
                                                 hotels at issue in this case
                                                 and what occurred at
                                                 those hotels during the
                                                 same time period. MH's
                                                 testimony about her
                                                 experience at the Red
                                                 Roof Inn is based on her
                                                 own personal
                                                 experience, and
                                                 witnesses can testify to
                                                 their knowledge.




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30          23   30    24   Speculation; asks for Defendants incorporate
                            information she       their response to the
                            can't know about      Plaintiff's general
                            anyone ever paying objection in row 6. MH
                            any employee          testifies to the same
                                                  hotels at issue in this case
                                                  and what occurred at
                                                  those hotels during the
                                                  same time period. MH's
                                                  testimony about her
                                                  experience at the Red
                                                  Roof Inn is based on her
                                                  own personal
                                                  experience, and
                                                  witnesses can testify to
                                                  their knowledge.

31          1    31    1    Speculation; asks for Defendants incorporate
                            information she       their response to the
                            can't know about      Plaintiff's general
                            anyone ever paying objection in row 6. MH
                            any employee          testifies to the same
                                                  hotels at issue in this case
                                                  and what occurred at
                                                  those hotels during the
                                                  same time period. MH's
                                                  testimony about her
                                                  experience at the Red
                                                  Roof Inn is based on her
                                                  own personal
                                                  experience, and
                                                  witnesses can testify to
                                                  their knowledge.

31          10   32    18
32          20   35    18
37          21   37    23   Irrelevant,             Defendants will
                            prejudicial,            withdraw this testimony.
                            confusing and
                            misleading. That
                            hotel is not at issue
                            in this case.




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38          12   44    12   Cumulative; these     Defendants incorporate
                            questions were        their response to
                            asked and answered    Plaintiff's general
                            as to history with    objection in row 6. This
                            pimps and JD2         line of questioning goes
                            contacting her        to MH's lack of bias.
                            about the lawsuit.    Further, this testimony
                                                  relates to Kwan, who is
                                                  claimed to be an alleged
                                                  trafficer by at leas two of
                                                  the WK Plaintiffs.
                                                  Therefore, MH's
                                                  tesitmony regarding how
                                                  these "pimps" provided
                                                  for her, and how the
                                                  operation was
                                                  conducted is directly
                                                  relevant to this case.

44          14   46    12
46          19   51    10   Cumulative; these    Defendants incorporate
                            questions were       their response to
                            asked and answered Plaintiff's general
                            as to which hotels   objection in row 6. This
                            she stayed at with   testimony is about he
                            which pimps and      same Inns at isssue in this
                            her drug history,    case, and the same time
                            keeping money from period. Therefore, MH's
                            Shivers and          tesitmony regarding how
                            spending it, keeping these "pimps" provided
                            it "quiet."          for her, and how the
                                                 operation was
                                                 conducted is directly
                                                 relevant to this case.


51          12   54    20
55          5    55    7
55          9    55    12
56          10   56    25




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57          7    58    4    Calls for legal   Defendants incorporate
                            conclusion.       their response to
                                              Plaintiff's general
                                              objection in row 6. MH's
                                              testimony regarding
                                              Kwan, who is an alleged
                                              trafficker in this case, is
                                              relevant. So is her
                                              personal belief that
                                              Micaela was a "bottom"
                                              for Kwan and what the
                                              position entailed.

58          8    58    10   Calls for legal   Defendants incorporate
                            conclusion.       their response to
                                              Plaintiff's general
                                              objection in row 6. MH's
                                              testimony regarding
                                              Kwan, who is an alleged
                                              trafficker in this case, is
                                              relevant. So is her
                                              personal belief that
                                              Micaela was a "bottom"
                                              for Kwan and what the
                                              position entailed.

58          12   58    12   Calls for legal   MH's testimony
                            conclusion.       regarding Kwan, who is
                                              an alleged trafficker in
                                              this case, is relevant. So is
                                              her personal belief that
                                              Micaela was a "bottom"
                                              for Kwan and what the
                                              position entailed.




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58          16   58    19   Calls for legal       Defendants incorporate
                            conclusion.           their response to
                                                  Plaintiff's general
                                                  objection in row 6. MH's
                                                  testimony regarding
                                                  Kwan, who is an alleged
                                                  trafficker in this case, is
                                                  relevant. So is her
                                                  personal belief based on
                                                  personal experience,
                                                  regarding the role drugs
                                                  played in this lifestyle.

58          21   60    3    Calls for legal       Defendants incorporate 60      4   60   9
                            conclusion.           their response to
                                                  Plaintiff's general
                                                  objection in row 6. MH's
                                                  testimony regarding
                                                  Kwan, who is an alleged
                                                  trafficker in this case, is
                                                  relevant. So is her
                                                  personal belief based on
                                                  personal experience,
                                                  regarding the role drugs
                                                  played in this lifestyle. So
                                                  is her personal belief that
                                                  Micaela was a "bottom"
                                                  for Kwan and what the
                                                  position entailed.


60          17   60    23   Speculation; asks for Defendants incorporate
                            information she       their response to
                            can't possess as to   Plaintiff's general
                            wether Kwan was       objection in row 6. MH's
                            ever violent; and     testimony about how
                            whether Micaela       one of the alleged
                            ever threatened       traffickers in this case,
                            violence or withheld Kwan, treated her is
                            drugs.                directly relevant to the
                                                  claims and defenses at
                                                  issue.




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60          25   62    23   Cumulative; these        Defendants incorporate
                            questions were           their response to
                            already asked and        Plaintiff's general
                            answered.                objection in row 6.
                                                     Further, this testimony is
                                                     not cumulative but
                                                     instead adds more detail
                                                     to why MH did not sue
                                                     even though she had
                                                     similar experiences to
                                                     other Plaintiffs. This
                                                     testimony also goes
                                                     directly to a lack of bias.

63          15   64    7    Cumulative.              Defendants incorporate
                                                     their response to
                                                     Plaintiff's general
                                                     objection in row 6.
                                                     Further, this testimony is
                                                     not cumulative but
                                                     instead adds more detail
                                                     to why MH did not sue
                                                     even though she had
                                                     similar experiences to
                                                     other Plaintiffs. This
                                                     testimony also goes
                                                     directly to a lack of bias.

66          2    66    24
67          2    68    19   Irrelevant,              Defendants withdraw as 68     9   68   19   Relevance - relates to Withdraw 68:9-   60   10   60   16   Withdrawn 68:9-
                            prejudicial,             to 68:9-19. Defendants                      another hotel not at 19                                     16; irrelvant,
                            confusing and            incorporate their                           issue in this case.                                         confusing,
                            misleading. The          response to Plaintiff's                                                                                 prejudicial; this
                            Microtel is not at       general objection in row                                                                                relates to JD1
                            issue in this lawsuit.   6. MH's testimony                                                                                       (not a witness)
                                                     regarding Kwan, who is                                                                                  and different
                                                     an alleged trafficker in                                                                                hotel
                                                     this case, is relevant.




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69          14   70    9    Irrelevant,           Defendants incorporate
                            prejudicial,          their response to the
                            confusing and         Plaintiff's general
                            misleading as to      objection in row 6.
                            asking if Kristin     Further, there were no
                            called anyone about form objections on the
                            joining the lawsuit, record to these
                            which the witness     questions, which means
                            already testified     those were waived. MH's
                            never happened and testimony about being
                            vague, speculative, approached and that
                            and leading as "she other women were
                            was involved in it in approached about these
                            some way" after       lawsuits is relevant given
                            witness testified she her involvement with the
                            had never talked to same people, properties,
                            Kristin about it.     and timeframes.


71          4    71    15   Irrelevant; confusing Defendants incorporate
                                                  their response to
                                                  Plaintiff's general
                                                  objection in row 6. MH's
                                                  testimony about how
                                                  one of the alleged
                                                  traffickers in this case,
                                                  Kwan, treated her is
                                                  directly relevant to the
                                                  claims and defenses at
                                                  issue.

75          22   79    3                                                       79   4    79   8    Irrelevant - relates to the preceding    79   20   79   22
                                                                               79   10   79   18   a hotel not at issue portion and         80   1    80   4
                                                                               80   5    80   21   in this case. MH        other parts
                                                                                                   testified CB was        you've
                                                                                                   never at Red Roof       designated deal
                                                                                                   Inns.                   with CB. If that
                                                                                                                           comes in, the
                                                                                                                           whole discussion
                                                                                                                           should come in.




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81          12   83    10                            81   2     81    12   Not a proper          This is part of
                                                                           counter designation your counter-
                                                                           given Plaintiff’s     counter; if any of
                                                                           parameters for        this comes in
                                                                           counter designation; (and again we
                                                                           this can be played in object to MH's
                                                                           your affirmative      testimony
                                                                           designations, not     wholesale), then
                                                                           ours                  this should be
                                                                                                 played in line for
                                                                                                 clarity purposes.

83          17   84    1
83          21   84    7
85          9    85    18                            84   20     85   8                          The questions are
                                                          (begin           Not a proper          about how many
                                                          with             counter               girls were with
                                                          "befor           designation given     each pimp.
                                                          e")              Plaintiff’s           (87:14-25); this
                                                                           parameters for        goes with that
                                                                           counter               and is a proper
                                                                           designation; this     counter.
                                                                           can be played in
                                                                           your affirmative
                                                                           designations, not
                                                                           ours
87          14   87    25                            86   3     86    22
88          1    89    13                            89   14    89    19                         the conversation 90   12   90   22
                                                     89   24    90    12   Not a proper          is about her stays
                                                                           counter               at the RRI Smyrna
                                                                           designation given     and this is part of
                                                                           Plaintiff’s           that; it's a proper
                                                                           parameters for        counter if she's
                                                                           counter               permitted to
                                                                           designation; this     discuss her time
                                                                           can be played in      at the Smyrna
                                                                           your affirmative      Red Roof.
                                                                           designations, not
                                                                           ours
91          21   92    4
92          9    92    12
92          14   92    19




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92          21   92    21                            93   1    93   6                        This would be
                                                                         Not a proper        used solely for
                                                                         counter             cross if she's
                                                                         designation given   allowed to testify
                                                                         Plaintiff’s         about Jane Doe 2
                                                                         parameters for      asking her to join
                                                                         counter             in the lawsuit.
                                                                         designation; this
                                                                         can be played in
                                                                         your affirmative
                                                                         designations, not
                                                                         ours
93          9    93    23
94          25   95    1
95          25   96    19                            95   16   95   24                       Withdraw
                                                                         Not a proper
                                                                         counter
                                                                         designation given
                                                                         Plaintiff’s
                                                                         parameters for
                                                                         counter
                                                                         designation; this
                                                                         can be played in
                                                                         your affirmative
                                                                         designations, not
                                                                         ours




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97          6    97     8                             99    16   100   14                           Withdraw
                                                      100   21   101   4

                                                                            Not a proper
                                                                            counter
                                                                            designation given
                                                                            Plaintiff’s
                                                                            parameters for
                                                                            counter
                                                                            designation; this
                                                                            can be played in
                                                                            your affirmative
                                                                            designations, not
                                                                            ours. This counter
                                                                            designates
                                                                            testimony
                                                                            regarding an exhibit
                                                                            that was not used
                                                                            in Defendants'
                                                                            affirmative
                                                                            designation,
                                                                            highlighting the
                                                                            inappropriate
                                                                            nature of Plaintiff's
                                                                            counter per
                                                                            Plaintiff's counter
                                                                            designation "rules."
103         18   103    21                            103   2    103   5                            This relates to    101   18   101   21
                                                      103   8    103   12   Not a proper            103:18-21,
                                                                            counter                 108:24-104:13
                                                                            designation given       about whether
                                                                            Plaintiff’s             the hotel knew or
                                                                            parameters for          should have
                                                                            counter                 known about
                                                                            designation; this       prostitution so it
                                                                            can be played in        is proper counter
                                                                            your affirmative
                                                                            designations, not
                                                                            ours




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103         24   104    13                            103   15   103   16                           This relates to
                                                                            Not a proper            103:18-21,
                                                                            counter                 108:24-104:13
                                                                            designation given       about whether
                                                                            Plaintiff’s             the hotel knew or
                                                                            parameters for          should have
                                                                            counter                 known about
                                                                            designation; this       prostitution so it
                                                                            can be played in        is proper counter
                                                                            your affirmative
                                                                            designations, not
                                                                            ours
104         16   104    16                            104   20   104   24                           104:20-24
                                                      105   3    105   10                           relates to 103:18-
                                                      106   2    106   5                            21, 108:24-
                                                      107   1    107   6    Not a proper            104:13 about
                                                      107   18   108   11   counter                 whether the
                                                      108   12   109   13   designation given       hotel knew or
                                                      109   21   110   5    Plaintiff’s             should have
                                                                            parameters for          known about
                                                                            counter                 prostitution so it
                                                                            designation; this       is proper
                                                                            can be played in        counter.
                                                                            your affirmative
                                                                            designations, not    Withdraw 105:3-
                                                                            ours. This counter 10.
                                                                            designates
                                                                            testimony            106:2-112:14
                                                                            regarding an exhibit would be for
                                                                            that was not used purposes of cross-
                                                                            in Defendants'       examination and
                                                                            affirmative          could be played
                                                                            designation,         after Defendants
                                                                            highlighting the     play their
                                                                            inappropriate        designations
                                                                            nature of Plaintiff's
                                                                            counter per
                                                                            Plaintiff's counter
                                                                            designation "rules."




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114         25   115    7    Irrelevant as to      Withdraw as to 115:3-4 111      14   111   20                           see note above
                             where she lives (also (hotel name). Defendants 111    23   112   14                           re: 111:14-
                             unsafe) and what she incorporate their                                                        111:20 and
                             wears there.          response to Plaintiff's                         Not a proper            111:23-112:14
                                                   general objection in row                        counter
                                                   6. MH's testimony                               designation given
                                                   regarding Kwan, who is                          Plaintiff’s
                                                   an alleged trafficker in                        parameters for
                                                   this case, is relevant. So is                   counter
                                                   her personal belief based                       designation; this
                                                   on personal experience,                         can be played in
                                                   regarding the role drugs                        your affirmative
                                                   played in this lifestyle.                       designations, not
                                                                                                   ours. This counter
                                                                                                   designates
                                                                                                   testimony
                                                                                                   regarding an exhibit
                                                                                                   that was not used
                                                                                                   in Defendants'
                                                                                                   affirmative
                                                                                                   designation,
                                                                                                   highlighting the
                                                                                                   inappropriate
                                                                                                   nature of Plaintiff's
                                                                                                   counter per
                                                                                                   Plaintiff's counter
                                                                                                   designation "rules."
115         11   115    19
115         23   116    6




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117         4   118    5                             118   11   118   15                       this relates
                                                                                               precisely to the
                                                                                               question before
                                                                                               and many other
                                                                                               questions about
                                                                                               JD1 JD2 (i.e., MH
                                                                           Not a proper        wasn't always
                                                                           counter             with them); if her
                                                                           designation given   testimony about
                                                                           Plaintiff’s         either of the two
                                                                           parameters for      comes in, this
                                                                           counter             should be played
                                                                           designation; this   at the conclusion
                                                                           can be played in    of the deposition
                                                                           your affirmative    video
                                                                           designations, not
                                                                           ours




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WITNESS NAME:                       Tom McElroy
DEPOSITION DATE:                      7/6/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                           COUNTER DESIGNATIONS                                     REPLY DESIGNATIONS
Page/Line   Page/Line   Objections          Replies to        Page/Line Page/Line Objections   Replies to Objections   Page/Line Begin    Page/Line End   Objections   Replies to
Begin       End                             Objections        Begin      End                                                                                           Objections
8     4     8     9     Attorney testimony; Required to
                        not admissible      clarify record
                                            given Plaintiffs'
                                            efforts to
                                            combine Red
                                            Roof entities
                                            even though they
                                            are separate
                                            corporate
                                            entities

8      24   8      25
9      1    9      3
15     23   15     25
17     4    17     9
18     10   18     20
21     25   21     25




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22     1    22   16      22   17   23   11   Page 22; lines 23- deponent is Red Roof's
                         24   10   24   12   25; Not a proper former safety and security
                         24   14   24   23   counter-            director, not offering expert
                                             designation         opinion; designations proper
                                             according to        under Rule 32(a)(6)
                                             your definition of
                                             counter-
                                             designations;
                                             improper expert
                                             opinion; not
                                             designated as an
                                             expert; Page 23,
                                             lines 1-11 Not a
                                             proper counter-
                                             designation
                                             according to
                                             your definition of
                                             counter-
                                             designations;
                                             improper expert
                                             opinion; not
                                             designated as an
                                             expert; Page 24,
                                             lines 10-23: Not a
                                             proper counter-
                                             designation
                                             according to
27     23   27   25      26   20   27   13   your  definition
                                             Relevance;  Not aof Relevant and provides
                         27   15   27   21   proper counter-    context for affirmative
                                             designation        designation; former Red Roof
                                             based upon your    Safety and security director,
                                             definition of      proper foundation; proper
                                             counter-           designation under Rule
                                             designations;      32(a)(6)
                                             improper expert
                                             opinion; lack of
                                             foundation
                                             during relevant
                                             time period;




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28     3    28   9       30   3    30   6    Not a proper     Withdraw as counter
                         30   8    30   8    counter-
                                             designation
                                             based upon your
                                             definition of
                                             counter-
                                             designations;
                                             improper expert
                                             opinion; lack of
                                             foundation
                                             during relevant
                                             time period;

48     25   48   25
49     1    49   6
49     25   49   25
50     1    50   2
50     4    50   9       50   11   50   13   Not a proper       proper counter under Rule
                         50   15   50   25   counter-           32(a)(6); not expert opinion,
                                             designation        describing his experience as
                                             based upon your    Red Roof Safety and Security
                                             definition of      Director; does not lack
                                             counter-           foundation; discussing the
                                             designations;      period of his employment,
                                             improper expert    which overlaps with period
                                             opinion; lack of   of trafficking
                                             foundation
                                             during relevant
                                             time period;

55     22   55   23
55     25   55   25      56   2    56   23   Relevance;         Not speculation, asks
                         57   1    57   4    Speculation;       deponent's understanding
                         57   6    57   16                      based on his own experience;
                                                                relevant to Red Roof's
                                                                prioritization of revenue over
                                                                safety, relevant to punitive
                                                                damages
70     14   70   25
71     1    71   1
78     24   78   25



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79     1    79   6    5-6 Argumentative,   Not
                      Mistates evidence,   argumentative;
                      call for legal       accurately states
                      conclusion, vague    improper
                                           conduct of
                                           witness to show
                                           his bias against
                                           RRI; not vague
                                           and not a legal
                                           conclusion

79     8    79   8    see objection above See response
                                           above.
79     17   79   21   Argumentative,       Same as above;
                      Mistates evidence, does not include
                      assumes facts not in facts not in
                      evidence             evidence
79     23   79   24   see objection above Same as above.
80     10   80   13
80     14   80   21   17-21 call for legal Shows bias of
                      conclusion, assumes witness; no legal
                      facts not in         conclusion or
                      evidence, vague      facts assumed;
                                           not vague
80     23   80   23   see objection above Shows bias of
                                          witness; no legal
                                          conclusion or
                                          facts assumed;
                                          not vague
80     25   80   25   call for legal      Shows bias of
                      conclusion, assumes witness; no legal
                      facts not in        conclusion or
                      evidence, vague     facts assumed;
                                          not vague
81     1    81   2    call for legal      Shows bias of
                      conclusion, assumes witness; no legal
                      facts not in        conclusion or
                      evidence, vague     facts assumed;
                                          not vague
81     20   81   25



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82     1    82   2
82     16   82   25
83     1    83   3
83     6    82   25
84     1    84   25   23-25 -                Shows bias of
                      Argumentative,         witness; no legal
                      Mistates evidence,     conclusion or
                      assumes facts not in   facts assumed;
                      evidence               not vague
85     2    85   2    see objection above Shows bias of
                                          witness; no legal
                                          conclusion or
                                          facts assumed;
                                          not vague
85     13   85   24
88     8    88   14   14 - Argumentative,    Shows bias of
                      Mistates evidence,     witness; no legal
                      assumes facts not in   conclusion or
                      evidence               facts assumed;
                                             not vague
88     16   88   19   see objection above Shows bias of
                                          witness; no legal
                                          conclusion or
                                          facts assumed;
                                          not vague
88     23   88   23   Argumentative,         Shows bias of
                      Mistates evidence,     witness; no legal
                      assumes facts not in   conclusion or
                      evidence               facts assumed;
                                             not vague
88     25   88   25   see objection above Shows bias of
                                          witness; no legal
                                          conclusion or
                                          facts assumed;
                                          not vague




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89     1    89    1    see objection above Shows bias of
                                           witness; no legal
                                           conclusion or
                                           facts assumed;
                                           not vague
89     11   89    13   assumes facts not in Shows bias of
                       evidence, vague      witness; no legal
                                            conclusion or
                                            facts assumed;
                                            not vague
89     24   89    25   Argumentative,         Shows bias of
                       Mistates evidence,     witness; no legal
                       assumes facts not in   conclusion or
                       evidence               facts assumed;
                                              not vague
90     1    90    1    see objection above Shows bias of
                                           witness; no legal
                                           conclusion or
                                           facts assumed;
                                           not vague
90     4    90    16
91     4    91    8    misstates evidence, Witness admits
                       assumes facts not in facts as true
                       evidence
110    14   110   25
111    24   111   25
112    1    112   25                                              113   5   114   13   Not a proper       proper counter under Rule
                                                                                       counter-           32(a)(6); relevant to duties as
                                                                                       designation        Red Roof Safety and Security
                                                                                       according to       Director
                                                                                       your definition of
                                                                                       counter-
                                                                                       designations;
                                                                                       relevance;
115    17   115   24




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117    1    117   25   117:24-118:1:        Not
                       argumentative,       argumentative;
                       misstates evidence   witness admitted
                                            the statements
                                            were true

118    1    118   1    see objection above Same
118    5    118   16                                           118   17   118   24
119    5    119   6                                            119   2    119   3    Unnecessary to not confusing
                                                                                     repeat question;
                                                                                     confusing;
119    8    119   12
119    14   119   14
119    16   119   25
120    1    120   5
120    7    120   7
120    9    120   25
121    1    121   9
121    25   121   25
122    1    122   5                                            122   6    122   9    Improper expert Questioning is by Red Roof's
                                                                                     opinion; calls for counsel; objections to expert
                                                                                     speculation; not opinion and speculation
                                                                                     a proper counter- waived by failure to raise at
                                                                                     designation        deposition; proper counter
                                                                                     based upon your under Rule 32(a)(6)
                                                                                     definition of
                                                                                     counter-
                                                                                     designations;
122    19   122   21                                           122   12   122   18   Improper expert See response above
                                                                                     opinion; calls for
                                                                                     speculation; not
                                                                                     a proper counter-
                                                                                     designation
                                                                                     based upon your
                                                                                     definition of
                                                                                     counter-
                                                                                     designations;
122    23   122   23
123    10   123   21
123    23   123   25


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124    1    124   2
124    6    124   9    Question is at line 4: Witness
                       vague                  answered
                                              question
                                              including
                                              narrative
                                              response; not
                                              vague
124    11   124   19
126    15   126   25
127    1    127   1
128    16   128   25
129    1    128   15                                          129   16   129   17   Lack of            Questioning is by Red Roof's     129   18   129   19
                                                                                    foundation;        counsel; all objections
                                                                                    speculation;       waived by failure to assert at
                                                                                    improper legal     deposition
                                                                                    opinion and
                                                                                    improper expert
                                                                                    opinion;
134    7    134   21                                          134   22   135   14   Improper expert expert opinion objection
                                                                                    opinion; not a     waived by failuer to assert at
                                                                                    proper counter- deposition; proper counter
                                                                                    designation        under Rule 32(a)(6)
                                                                                    according to
                                                                                    your definition of
                                                                                    counter-
                                                                                    designations;
137    16   137   25




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138    1    138   2       139   12   139   19   Improper expert    not improper opinion;          135   20   135   25
                          139   25   140   7    opinion;           proper counter under Rule      136   1    136   2
                          140   14   140   21   improper           32(a)(6); relvant to subject
                          140   24   140   24   counter-           matter of Red Roof's
                          141   1    141   3    designation        designations
                          141   5    141   12   based upon your
                          141   15   141   17   definition of
                          141   21   141   24   counter-
                          142   1    142   12   designations;
                          142   14   142   20   relevance;
                          142   22   143   1
                          143   3    143   7
                          143   9    143   13
                          143   15   143   19
                          143   21   143   21

144    7    144   18      144   19   145   20   Relevance;         proper counter under Rule
                          145   22   146   1    hearsay; not a     32(a)(6); relvant to subject
                          146   3    146   3    proper counter- matter of Red Roof's
                                                designation        designations; not hearsay,
                                                according to       not offered for truth of
                                                your definition of matter asserted; not
                                                counter-           speculation
                                                designation;
                                                speculation;




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WITNESS NAME:                   James Moyer
DEPOSITION DATE:                  3/18/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                 COUNTER DESIGNATIONS                                                 REPLY DESIGNATIONS
Page/Line Page/Line Objections         Replies to   Page/Line Begin Page/Line   Objections   Replies to Objections       Page/Line Page/Line Objections   Replies to
Begin     End                          Objections                   End                                                  Begin      End                   Objections
14    12  14    15
18    18  19    7
19    14  19    24
20    5   22    23
23    2   23    8
26    1   26    9                                   26    10         26    16
26    17  26    21
29    22  30    18
31    5   31    21
32    10  32    19                                  32    20         33    9
33    10  33    23
34    8   34    12
34    23  34    25                                  35    1          35    12
35    13  35    24
36    9   36    13
38    3   38    7
40    15  41    17
45    25  46    23                                  45    15         45    22
48    10  48    23                                  47    18         48    9
48    25  49    2
49    4   51    4                                   51    5           51   18
52    11  53    14                                  51    25 (begin 52     10
                                                          with "did")
58    19    59     1                                59    2           59   19
63    7     64     9
64    23    65     25                               66    3          66    4
80    1     80     16
81    13    81     20
118   5     118    12
121   9     122    13                               122   14         122   23
123   20    124    4                                124   11         124   23
130   9     130    13                               129   23         130   8
130   16    131    1
131   3     131    8                                133   1          133   4
                                                    133   6          133   7
134   15    134    16



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135   1     135   3
135   7     135   16
136   4     136   13   136   115 (begin 136   19
                             with "can")
136   20    136   25
137   2     137   17
137   19    137   21
141   1     141   12   141   13        141    16
143   4     143   8    143   9         143    15
143   16    143   20
143   24    143   25
144   2     144   5    144   10        145    11
145   13    145   23   145   24        146    4
147   10    147   16   147   2         147    9
                       147   17        148    3
                       148   6         148    11
149   24    150   16   148   15        149    22
150   18    151   14
151   16    152   5
153   13    153   16   152   6         152    15
                       152   17        152    23
                       152   25        153    10
154   11    154   16
154   18    155   1
155   3     155   5
155   7     155   9
155   13    155   16
155   22    156   6    156   7         156    10
156   11    156   14   156   15        157    2
159   4     159   15
160   5     161   7    161   8         161    11
161   13    161   21   161   22        162    1
162   5     163   10
163   12    163   13
163   15    163   19
163   23    164   2
164   5     164   6
164   16    164   19
164   21    164   25   165   1         165    2
165   3     165   10   165   11        165    20
167   3     167   16   166   18        167    2
                       167   17        167    18
167   19    168   5    168   6         168    22



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168   23    169   6                                          169    7    169   11
                                                             169    13   170   15
171   23    172   7                                          172    8    172   14
                                                             172    21   173   4
173   5     175   13                                         175    14   176   13
179   1     179   5
179   7     179   12                                         179    25   181   4
181   9     181   16
192   8     193   7                                          191    23   192   7
195   19    195   21
213   16    217   10                                         209    14   211   21   Rule 403.       Witness's own characterization of guests at Buckhead
                                                             211    23   213   11                   location as "pimps and hos," even if made in jest or
                                                             213    13   213   14                   parroting others' words, are not unfairly prejudicial,
                                                                                                    confusing, or duplicative. Witness's characterization belies
                                                                                                    his own knowledge of actual or suspected criminal activity
                                                                                                    at the location, which is probative of defendants'
                                                                                                    knowledge of the same. There is no 403 factor that would
                                                                                                    substantially outweigh the significant probative value.
218   12    219   21
229   2     230   16                                         228    14   229   1
230   18    231   11
231   13    231   17
231   25    232   11
232   14    232   19
232   22    233   1                                          233    2    233   22   Improper        Witness is a lay witness testifying to his rationally based
                                                             233    24   235   23   hypothetical;   perception regarding facts about which he has personal
                                                                                    argumentative   knowledge. He is testifying regarding the contents of Red
                                                                                                    Roof's training on prostitution and sex trafficking and what
                                                                                                    that training directed employees to do in response to
                                                                                                    certain guest conduct. He is not being asked to offer an
                                                                                                    opinion about a topic that requires expert knowledge
                                                                                                    under FRE 702.
                                                                                                    As to argumentative, the questioning and the testimony are
                                                                                                    within the limits of a normal, searching cross examination.


236   5     236   11
236   13    236   15
236   17    236   23
239   6     240   22                                          240   23   241   17
246   16    247   11   Highlighting goes   The designation 246      6    246   15
                       through line 17.    is inteded to stop
                                           at line 11



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                       247   12   247   25
248   1     248   13   248   14   248   18
248   19    249   8    249   9    250   9
250   10    250   23
253   14    254   25   251   2    251   6
                       251   12   252   23



257   23    258   11   255   1    256   8    Foundation;       As to foundation, it is unclear what the basis of such an
                       256   10   256   19   improper lay      objection would be. Further, as to much of the testimony,
                       256   22   257   22   opinion;          any foundation objection would be waived as foundation is
                                             duplicative;      a form objection and it was not raised during the
                                             hearsay; R. 404   deposition.
                                                               As to lay opinion, the witness is a lay witness being asked to
                                                               testify to his rationally based perception regarding facts
                                                               about which he has personal knowledge. In particular, the
                                                               witness is being questioned about an email he received and
                                                               forwarded to a colleague with his comments. He is not
                                                               offering opinions about areas that require specialized
                                                               knowledge, education, or experience under Rule 702.
                                                               The testimony is not needlessly duplicative such that the
                                                               cumulative effect would substantially outweight the
                                                               probative value under Rule 403. The probative value is
                                                               significant, and Plaintiffs are not proposing that the
                                                               material actually be played twice.
257   23    258   11   258   12   262   9    Hearsay; R. 404   As to hearsay, the testimony is not hearsay. First, it is not
                                                               offered to prove the truth of the matter asserted--that is,
                                                               that the events occurred precisely as reported--but to show
                                                               the effect on the listener. They are offered to show that the
                                                               witness had notice of the reported information and to
                                                               show the reasonableness of his response in light of that
                                                               information. Second, statements made by Red Roof
                                                               employees are statements of a party opponent and
                                                               therefore not hearsay.
                                                               It is unclear what the basis for a Rule 404 objection would
                                                               be, but again, the testimony is not offered for its truth and
                                                               therefore is not offered to show prior bad action and
                                                               conformity therewith. Instead, it is offered to show Mr.
                                                               Moyer's notice of the information as reported to him and
                                                               the reasonableness of his response, in turn.




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264   16    264   24   263   4    264   15            As to hearsay, the testimony is not hearsay. First, it is not
                                                      offered to prove the truth of the matter asserted--that is,
                                                      that the events occurred precisely as reported--but to show
                                                      the effect on the listener. They are offered to show that the
                                                      witness had notice of the reported information and to
                                                      show the reasonableness of his response in light of that
                                                      information. Second, statements made by Red Roof
                                                      employees are statements of a party opponent and
                                                      therefore not hearsay.
                                                      It is unclear what the basis for a Rule 404 objection would
                                                      be, but again, the testimony is not offered for its truth and
                                                      therefore is not offered to show prior bad action and
                                                      conformity therewith. Instead, it is offered to show Mr.
                                                      Moyer's notice of the information as reported to him and
                                                      the reasonableness of his response, in turn.


265   12    266   18
266   20    267   13
281   9     283   2
283   10    283   24   283   25   284   4
                       284   7    284   9
285   8     286   25   285   3    285   7




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                       287   1    287   2    Improper lay      As to foundation, it is unclear what the basis of such an
                       287   5    287   13   opinion;          objection would be. Further, as to much of the testimony,
                       287   16   288   14   foundation;       any foundation objection would be waived as foundation is
                                             hearsay           a form objection and it was not raised during the
                                                               deposition.
                                                               As to lay opinion, the witness is a lay witness being asked to
                                                               testify to his rationally based perception. In particular, the
                                                               witness is being questioned about an email he received and
                                                               responded to. He is not offering opinions about areas that
                                                               require specialized knowledge, education, or experience
                                                               under Rule 702.
                                                               As to hearsay, the testimony is not hearsay. It is not offered
                                                               to prove the truth of the matter asserted--that is, that the
                                                               events occurred precisely as reported--but to show the
                                                               effect on the listener. They are offered to show that the
                                                               witness had notice of the reported information and to
                                                               show the reasonableness of his response in light of that
                                                               information.
                                                               It is unclear what the basis for a Rule 404 objection would
                                                               be, but again, the testimony is not offered for its truth and
                                                               therefore is not offered to show prior bad action and
                                                               conformity therewith. Instead, it is offered to show Mr.
                                                               Moyer's notice of the information as reported to him and
                                                               the reasonableness of his response, in turn.

304   12    304   20   301   19   301   22   Hearsay; R. 404   As to hearsay, the testimony is not hearsay. First, it is not
                                                               offered to prove the truth of the matter asserted--that is,
                                                               that the events occurred precisely as reported--but to show
                                                               the effect on the listener. They are offered to show that the
                                                               witness had notice of the reported information and to
                                                               show the reasonableness of his response in light of that
                                                               information. Second, statements of Red Roof employees
                                                               are not hearsay because they are statements of a party
                                                               opponent.
                                                               It is unclear what the basis for a Rule 404 objection would
                                                               be, but again, the testimony is not offered for its truth and
                                                               therefore is not offered to show prior bad action and
                                                               conformity therewith. Instead, it is offered to show Mr.
                                                               Moyer's notice of the information as reported to him and
                                                               the reasonableness of his response, in turn


                       302   7    304   11   Hearsay; R. 404




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313   15    313   24   312   17   312   21   Improper lay   Witness is testifying as a lay witness regarding his personal
                       312   24   312   25   opinion;       knowledge, and his personal knowledge and rationally
                       313   2    313   6    foundation     based perception regarding whether the Buckhead location
                       313   8    313   14                  had problems with prostitution and sex trafficking.
                       314   1    314   8                   Testimony shows that witness received guest reviews at
                       314   10   315   17                  regular intervals and was responsible for assuring "quality"
                       315   20   315   22                  at this location, which was measured within the
                       315   25   316   7                   organization by, among other things, consumer reviews
                                                            This is an opinion that doesn't require particular
                                                            education, experience, or expertise. Juries are capable of
                                                            understanding what "problem with prostitution" means in
                                                            general terms.
                                                            Witness certainly has sufficient personal knowledge to
                                                            render such an opinion, given the time he worked for Red
                                                            Roof and was specifically responsible for the location at
                                                            issue.


327   23    328   7
329   7     329   11
330   2     330   12
330   14    330   16
330   18    332   12
344   11    345   16




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WITNESS NAME:                       Gregory E. Stocker
DEPOSITION DATE:                        5/11/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                         COUNTER DESIGNATIONS                                                   REPLY DESIGNATIONS
Page/Line    Page/Line End Objections          Replies to   Page/Line Page/Line Objections         Replies to Objections           Page/Line Page/Line Objections   Replies to
Begin                                          Objections   Begin      End                                                         Begin      End                   Objections
8     14     8      16
18    25     18     25
19    1      19     7
19    13     19     24
21    3      21     16
22    17     22     23                                      22   24    23   8    Relevance;       Relevant to the affirmative
                                                                                                  designation
24     9     24     23                                      24   24    26   3    Relevance; not a Withdrawn
                                                                                 proper counter-
                                                                                 designation in
                                                                                 light of your
                                                                                 definition of
                                                                                 counter-
                                                                                 designations;
26     4     26     25
27     1     27     25
28     1     28     25
29     1     29     3                                       29   4     29   17   Improper           objections waived by failure
                                                                                 hypothetical;      to assert at depo; proper
                                                                                 expert opinion; counter under Rule 32(a)(6)
                                                                                 not a proper
                                                                                 counter-
                                                                                 designation
                                                                                 according to
                                                                                 your definition of
                                                                                 counter-
                                                                                 designations;
                                                                                 calls for
                                                                                 speculation;



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36     10   36   25            30   5    32   16   Improper           objections waived by failure
                               32   24   33   11   hypothetical;      to assert at depo; proper
                               33   16   33   19   expert opinion; counter under Rule 32(a)(6);
                               33   21   33   25   not a proper       designations on pages 30-33
                               34   16   35   3    counter-           are responsive to 28:1-29:3
                               35   7    36   9    designation
                                                   according to
                                                   your definition of
                                                   counter-
                                                   designations;
                                                   calls for
                                                   speculation;

37     1    37   7             37   8    37   9    Relevance;         Relevant to affirmative     37   12   37   13
                               37   11   37   11   improper           designation; not improper   37   15   37   17
                                                   hypothetical; not hypotehtical; proper counter
                                                   a proper counter- under Rule 32(a)(6)
                                                   designation
                                                   according to
                                                   your definition of
                                                   counter-
                                                   designations;


38     8    38   25            37   18   37   22   Relevance;         Designations are responsive to
                               37   24   38   7    improper           36:10-37:7; relevant to
                                                   hypothetical; not affirmative designation; not
                                                   a proper counter- improper hypothetical
                                                   designation
                                                   according to
                                                   your definition of
                                                   counter-
                                                   designations;




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39     1    39   3             39   4      39   22   Relevance;         Relevant to designation at
                               40   10     40   18   improper           38:8-39:3; not improper
                               41   3      41   11   hypothetical; not hypothetical; proper counter
                                    (start           a proper counter- under Rule 32(a)(6)
                                    at               designation
                                    "So")            according to
                                                     your definition of
                                                     counter-
                                                     designations;


62     22   62   25            63   23    64    1    Relevance;         Relevant to affirmative
                               64   11    64    25   improper           designation; not improper
                                                     hypothetical; not hypotehtical; proper counter
                                                     a proper counter- under Rule 32(a)(6)
                                                     designation
                                                     according to
                                                     your definition of
                                                     counter-
                                                     designations;


63     1    63   22
68     12   68   20
68     25   68   25
69     1    69   15            69   21    69    23   Relevance; vague; Relevant to affirmative
                               69   25    70    9    not a proper       designation; not vague;
                               70   11    70    12   counter-           proper counter under Rule
                                                     designation        32(a)(6)
                                                     according to
                                                     your definition of
                                                     counter-
                                                     designations;




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WITNESS NAME:                        Gregory E. Stocker - 30(b)(6) Vol II
DEPOSITION DATE:                                  9/21/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                                             COUNTER DESIGNATIONS                                     REPLY DESIGNATIONS
Page/Line    Page/Line End Objections                         Replies to        Page/Line Page/Line Objections   Replies to Objections   Page/Line Page/Line Objections   Replies to
Begin                                                         Objections        Begin      End                                           Begin      End                   Objections
243 22       243 24        Leading                            Appropriate to
                                                              orient witness
                                                              and restate prior
                                                              testimony;
                                                              objection did not
                                                              advise of
                                                              purported issue
                                                              with question at
                                                              deposition; no
                                                              prejudice;

244    1     244    1      Leading                            Appropriate to
                                                              orient witness
                                                              and restate prior
                                                              testimony;
                                                              objection did not
                                                              advise of
                                                              purported issue
                                                              with question at
                                                              deposition; no
                                                              prejudice;




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244    3    244   6    Leading   Objection waived
                                 (not
                                 asserted);Approp
                                 riate to orient
                                 witness and
                                 restate prior
                                 testimony;
                                 objection did not
                                 advise of
                                 purported issue
                                 with question at
                                 deposition; no
                                 prejudice;

244    23   244   25   Leading   Objection waived
                                 (not asserted);
                                 Appropriate to
                                 orient witness
                                 and restate prior
                                 testimony;
                                 objection did not
                                 advise of
                                 purported issue
                                 with question at
                                 deposition; no
                                 prejudice;




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245    1    245   1    Leading   Objection waived
                                 (not asserted);
                                 Appropriate to
                                 orient witness
                                 and restate prior
                                 testimony;
                                 objection did not
                                 advise of
                                 purported issue
                                 with question at
                                 deposition; no
                                 prejudice;


245    4    245   7    Leading   Appropriate to
                                 orient witness
                                 and restate prior
                                 testimony;
                                 objection did not
                                 advise of
                                 purported issue
                                 with question at
                                 deposition; no
                                 prejudice;

245    9    245   9    Leading   Appropriate to    245   19   245   25
                                 orient witness
                                 and restate prior
                                 testimony;
                                 objection did not
                                 advise of
                                 purported issue
                                 with question at
                                 deposition; no
                                 prejudice;

245    11   245   18
247    8    247   11




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249    13   249   17   Compound, irrelvant,               Relevant; no
                       prejudicial, confusing, and        prejudice; there
                       misleading. There has been no      has been
                       evidence offered in this case      evidence
                       that racial profiling is related   introduced along
                       to identifying prostitution        these lines
                       and/or sex trafficking taking      contrary to these
                       place at hotels, other than by     assertions; not
                       Defendants to introduce            misleading or
                       irrelevant, prejudicial, and       confusing but
                       confusing evidence and to          appropriate to
                       mislead the jury.                  respond to
                                                          allegations

249    20   249   24   Irrelvant, confusing, and          Relevant; no
                       misleading. See prior              prejudice; there
                       objection.                         has been
                                                          evidence
                                                          introduced along
                                                          these lines
                                                          contrary to these
                                                          assertions; not
                                                          misleading or
                                                          confusing but
                                                          appropriate to
                                                          respond to
                                                          allegations




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250    3    250   5    See prior objection.           Relevant; no
                                                      prejudice; there
                                                      has been
                                                      evidence
                                                      introduced along
                                                      these lines
                                                      contrary to these
                                                      assertions; not
                                                      misleading or
                                                      confusing but
                                                      appropriate to
                                                      respond to
                                                      allegations

250    7    250   19   250:7-10 - see prior objection. Objections
                                                       waived; Relevant;
                                                       no prejudice;
                                                       there has been
                                                       evidence
                                                       introduced along
                                                       these lines
                                                       contrary to these
                                                       assertions; not
                                                       misleading or
                                                       confusing but
                                                       appropriate to
                                                       respond to
                                                       allegations


250    21   250   23
250    25   250   25
251    1    251   14
251    22   251   25
252    1    252   2




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                        260   19   260   20   Not proper counter-      proper counter under Rule
                                              designation according to 32(a)(6); proper foundation;
                                              your definition of       facts in evidence; not
                                              counter-designations;    misleading
                                              lack of foundation;
                                              assumes facts not in
                                              evidence; misleading;
                        260   22   260   22   Not proper counter-      proper counter under Rule
                                              designation according to 32(a)(6); proper foundation;
                                              your definition of       facts in evidence; not
                                              counter-designations;    misleading
                                              lack of foundation;
                                              assumes facts not in
                                              evidence; misleading;
                        260   24   260   25   Not proper counter-      Withdraw
                                              designation according to
                                              your definition of
                                              counter-designations;
                                              lack of foundation;
                                              assumes facts not in
                                              evidence; misleading;
                        261   2    261   2    Unnecessary;             Withdraw
                                              duplicative'
                        261   4    261   5    Not proper counter-      proper counter under Rule
                                              designation according to 32(a)(6); proper foundation;
                                              your definition of       facts in evidence; not
                                              counter-designations;    misleading
                                              lack of foundation;
                                              assumes facts not in
                                              evidence; misleading;
                        261   7    261   7    Not proper counter-      proper counter under Rule
                                              designation according to 32(a)(6); proper foundation;
                                              your definition of       facts in evidence; not
                                              counter-designations;    misleading
                                              lack of foundation;
                                              assumes facts not in
                                              evidence; misleading;




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                        261   9    261   9    Not proper counter-      proper counter under Rule
                                              designation according to 32(a)(6); proper foundation;
                                              your definition of       facts in evidence; not
                                              counter-designations;    misleading
                                              lack of foundation;
                                              assumes facts not in
                                              evidence; misleading;
                        261   11   261   12   Not proper counter-      proper counter under Rule
                                              designation according to 32(a)(6); proper foundation;
                                              your definition of       facts in evidence; not
                                              counter-designations;    misleading
                                              lack of foundation;
                                              assumes facts not in
                                              evidence; misleading;
                        261   14   261   16   Relevance; vague; not a Relevant to affirmative
                                              proper counter-          designations; proper counter
                                              designation according to under Rule 32(a)(6)
                                              your definition of
                                              counter-designations;
                        262   5    262   7    Relevance; hearsay;      Relevant to affirmative
                                              misleading; assumes      designations; not hearsay;
                                              facts not in evidence;   facts in evidence; proper
                                              not a proper counter-    counter under Rule 32(a)(6)
                                              designation according to
                                              your definition of
                                              counter-designations;
                        262   9    262   11   Relevance; hearsay;      See response above
                                              misleading; assumes
                                              facts not in evidence;
                                              not a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;




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                        262   13   262   14   Misleading; based upon Not misleading; not hearsay,
                                              hearsay, and assumes       not based on truth of matter;
                                              facts not in evidence;     facts in evidence; does not call
                                              calls for speculation; not for speculation, question is to
                                              a proper counter-          Red Roof; proper counter
                                              designation according to under Rule 32(a)(6)
                                              your definition of
                                              counter-designations;
                                              confusing and unfairly
                                              prejudicial;

                        262   16   262   16   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;
                        262   18   262   18   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;

                        262   21   262   22   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;




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                        262   24   263   1    Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;
                                              confusing and unfairly
                                              prejudicial;

                        263   4    263   14   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;
                        263   16   263   19   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;
                                              confusing and unfairly
                                              prejudicial;

                        263   21   263   21   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;
                                              confusing and unfairly
                                              prejudicial;




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                        263   23   263   23   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;
                        263   25   264   3    Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;

                        264   5    264   8    Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;

                        264   10   264   11   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;




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                        265   10   265   18   Misleading; based upon Not misleading; not
                                              hearsay, and assumes       hearsay,asking about own
                                              facts not in evidence;     counsel's questioning of
                                              calls for speculation; not witness; facts in evidence; not
                                              a proper counter-          speculation; proper counter
                                              designation according to under Rule 32(a)(6); not
                                              your definition of         confusing; probative value not
                                              counter-                   outweighed by risk of unfair
                                              designations;confusing prejudice
                                              and unfairly prejudicial;

                        265   20   265   21   Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;

                        266   23   267   1    Misleading; based upon See response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-designations;




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                        267   11   268   3    Misleading; based upon See response above; not
                                              hearsay, and assumes       argumentative
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              argumentative;

                        268   6    268   11   Misleading; based upon see response above
                                              hearsay, and assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;

                        269   7    269   24   page 269, lines 7-19:      not misleading; not based on
                                              Misleading; based upon hearsay, not for truth of
                                              hearsay, and assumes       matter asserted; facts in
                                              facts not in evidence;     evidence; does not call for
                                              calls for speculation; not speculation; proper counter
                                              a proper counter-          under Rule 32(a)(6); probative
                                              designation according to value not substantially
                                              your definition of         outweighed by risk of unfair
                                              counter-                   prejudice
                                              designations;confusing
                                              and unfairly prejudicial;

                        270   1    270   1




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                        270   3    270   5   Misleading; based upon not misleading; not based on
                                             hearsay, and assumes       hearsay, not for truth of
                                             facts not in evidence;     matter asserted; facts in
                                             calls for speculation; not evidence; does not call for
                                             a proper counter-          speculation; proper counter
                                             designation according to under Rule 32(a)(6) - Red Roof
                                             your definition of         chose to designate material on
                                             counter-                   this subject matter; probative
                                             designations;confusing value not substantially
                                             and unfairly prejudicial; outweighed by risk of unfair
                                                                        prejudice

                        270   11   271   5   Misleading; based upon not misleading; not based on
                                             hearsay, and assumes       hearsay, not for truth of
                                             facts not in evidence;     matter asserted; facts in
                                             calls for speculation; not evidence; does not call for
                                             a proper counter-          speculation; proper counter
                                             designation according to under Rule 32(a)(6) - Red Roof
                                             your definition of         chose to designate material on
                                             counter-                   this subject matter; probative
                                             designations;confusing value not substantially
                                             and unfairly prejudicial; outweighed by risk of unfair
                                                                        prejudice

                        271   7    271   7   Relevance; improper        relevant to affirmative
                                             hypothetical; assumes      designation; not improper
                                             facts not in evidence;     hypothetical; facts in
                                             calls for speculation; not evidence; does not call for
                                             a proper counter-          speculation; Red Roof chose
                                             designation according to to designate material on this
                                             your definition of         subject matter, proper
                                             counter-                   counter under Rule 32(a)(6);
                                             designations;confusing probative value not
                                             and unfairly prejudicial; substantially outweighed by
                                                                        risk of unfair prejudice




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                        271   9    271   11   Relevance; improper        See Response above
                                              hypothetical; assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;

                        271   13   271   13   Relevance; improper        See response above
                                              hypothetical; assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation

                        271   15   271   15   Relevance; improper        See response above
                                              hypothetical; assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation




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                        271   17   271   18   Relevance; improper        See response above
                                              hypothetical; assumes
                                              facts not in evidence;
                                              calls for speculation; not
                                              a proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation

                        272   6    272   8    Relevance; Misleading; See response above
                                              improper hypothetical;
                                              assumes facts not in
                                              evidence; calls for
                                              speculation; not a
                                              proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation

                        272   11   272   15   Relevance; Misleading; See response above
                                              improper hypothetical;
                                              assumes facts not in
                                              evidence; calls for
                                              speculation; not a
                                              proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation




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                        272   17   272   21   Relevance; Misleading; See response above
                                              improper hypothetical;
                                              assumes facts not in
                                              evidence; calls for
                                              speculation; not a
                                              proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation

                        272   23   273   1    Relevance; Misleading; See response above
                                              improper hypothetical;
                                              assumes facts not in
                                              evidence; calls for
                                              speculation; not a
                                              proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation

                        273   4    273   10   Relevance; Misleading; See response above
                                              improper hypothetical;
                                              assumes facts not in
                                              evidence; calls for
                                              speculation; not a
                                              proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation




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                        273   13   273   16   Relevance; Misleading; See response above
                                              improper hypothetical;
                                              assumes facts not in
                                              evidence; calls for
                                              speculation; not a
                                              proper counter-
                                              designation according to
                                              your definition of
                                              counter-
                                              designations;confusing
                                              and unfairly prejudicial;
                                              calls for speculation




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WITNESS NAME:                           Vincent Vittatoe
DEPOSITION DATE:                            5/3/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                            COUNTER DESIGNATIONS                                     REPLY DESIGNATIONS
Page/Line    Page/Line     Objections            Replies to    Page/Line Page/Line Objections   Replies to Objections   Page/Line Page/Line Objections   Replies to
Begin        End                                 Objections    Begin      End                                           Begin      End                   Objections
6     12     6      14
12    2      12     11
13    7      13     13
14    3      14     23
15    15     15     25




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16     1    16   20             17   15   18   7    Page 17, lines 15- Relevant to portions on
                                19   1    19   5    25; Page 18, lines deponents background with
                                19   18   19   23   1-7: Relevance; Dallas PD; withdraw 19:1-23.
                                                    Not an expert
                                                    witness; Not a
                                                    proper counter-
                                                    designation
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designation; Page
                                                    19, lines 18-23:
                                                    Relevance; Not a
                                                    proper counter-
                                                    designation
                                                    based upon your
                                                    interpretaation
                                                    of counter-
                                                    designation;
                                                    confusing
                                                    introduction of
                                                    completely
                                                    unrelated event
                                                    and no context;
                                                    hearsay;




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21     5    21   18             20   6    20   13   Relevance; Not a Withdraw
                                                    proper counter-
                                                    designation
                                                    based upon your
                                                    interpretaation
                                                    of counter-
                                                    designation;
                                                    confusing
                                                    introduction of
                                                    completely
                                                    unrelated event
                                                    and no context;
                                                    hearsay; not an
                                                    expet witness

22     3    22   7              22   8    22   17   Relevance; Not a   Withdraw 22:8-24, 23:22-
                                22   19   22   22   proper counter-    24:6; remainder is relevant to
                                22   24   22   24   designation        affirmative designation;
                                23   16   23   17   based upon your    proper counter; not
                                23   19   24   10   interpretaation    confusing; not more expert
                                24   25   24   25   of counter-        testimony than what is
                                                    designation;       covered in affirmative
                                                    confusing          designation
                                                    introduction of
                                                    completely
                                                    unrelated event
                                                    and no context;
                                                    hearsay; not an
                                                    expert witness

25     1    25   4
25     9    25   25
26     1    26   4
26     15   26   22
27     3    27   17
28     12   28   25
29     1    29   9
29     15   29   25


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30     1    30   7
30     21   30   24
31     20   31   25
32     1    32   11
35     2    35   19
36     16   36   24
37     1    37   3
37     22   37   23
38     1    38   3              39   19   39   25   Relevance; Not a Withdraw
                                40   3    40   4    proper counter-
                                40   6    40   8    designation
                                40   10   40   16   based upon your
                                41   6    41   8    interpretaation
                                41   12   41   22   of counter-
                                                    designation;
                                                    confusing
                                                    introduction of
                                                    completely
                                                    unrelated event
                                                    and no context;
                                                    hearsay; not an
                                                    expert witness

47     1    47   16
48     13   48   25
49     1    49   14
49     22   49   25
50     1    50   2
53     15   53   25
54     1    54   8
54     10   54   23
56     4    56   15
56     22   56   25
57     1    57   2
57     12   57   25
58     1    58   15
58     17   58   19
60     12   60   25


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61     1    61   15
61     17   61   18
62     14   62   25
63     1    63   12             64   22   64   25   Relevance; Not a Relevant to affirmative
                                                    proper counter- designation at 65:1-8; proper
                                                    desgination       counter under Rule 32(a)(6)
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
65     1    65   8
65     10   65   17
66     6    66   8
66     10   66   25
67     2    67   8
67     16   67   17
67     19   67   24             67   25   68   5
69     9    69   18             69   19   70   5    Relevance; not a Relevant to affirmative
                                                    proper counter- designation; proper counter
                                                    designation       under Rule 32(a)(6)
                                                    according to
                                                    your
                                                    interpretation of
                                                    counter-
                                                    designation;
70     6    70   11             70   12   70   22   Relevance; Not a Relevant to affirmative
                                70   24   70   24   proper counter- designation; proper counter
                                                    desgination       under Rule 32(a)(6)
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;




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71     17   71   25             71   4    71   6    Not a proper      Relevant to affirmative
                                71   8    71   16   counter-          designation; proper counter
                                                    designation       under Rule 32(a)(6)
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
72     1    72   3
72     8    72   19
72     23   72   25
73     1    73   16
73     18   73   25
74     1    74   15
74     18   74   22
74     24   74   25
75     1    75   3              75   11   76   3    Not a proper      Withdraw
                                                    counter-
                                                    designation
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
76     24   76   25             76   18   76   23   Not a proper      Withdraw
                                                    counter-
                                                    designation
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
77     1    77   2
77     13   77   20
77     25   77   25




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78     1    78   2              78   24   79   12   Not a proper      Proper counter under Rule
                                79   23   80   21   counter-          32(a)(6); not improper hypo
                                                    designation
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
                                                    improper
                                                    hypothetical;

81     7    81   25
82     1    82   19
83     4    83   7
83     14   83   25
84     1    84   19
84     25   84   25
85     1    85   3
85     5    85   16             85   20   85   23   Not a proper      Withdraw
                                                    counter-
                                                    designation
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
                                                    unnecessary and
                                                    improper to
                                                    reference
                                                    counsel's
                                                    objection; next
                                                    answer defines
                                                    words.

85     24   85   25




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86     1    86   1              86   2    86   8    Not a proper      Proper counter; not improper
                                                    counter-          hypothetical
                                                    designation
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
                                                    improper
                                                    hypothetical;

86     9    86   14             86   15   86   20   Relevance; not an Relevant to 86:21-25,
                                                    expert witness    designated by Red Roof: "We
                                                                      note that you served as
                                                                      subject matter expert . . . "
86     21   86   25
87     1    87   2              87   3    87   15   Relevance; not a Proper counter under Rule
                                                    proper-           32(a)(6)
                                                    counterdesignati
                                                    on based upon
                                                    your
                                                    interpretation of
                                                    counter-
                                                    designations;
87     16   87   25
88     1    88   1
88     13   88   25
89     1    89   23             89   24   90   2
90     6    90   13             90   14   90   15   Improper          Withdraw 90:21-91:15;
                                90   17   90   24   hypothetical;     remainder proper counter;
                                91   1    91   6    relevance; Not a relevant to designation at
                                91   8    91   15   proper counter- 92:14-21; not improper
                                                    designation       hypothethical
                                                    based upon your
                                                    interpretation of
                                                    counter-
                                                    designations;
92     14   92   21


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93     2    93    19             93    20   93    22   Not a proper      Proper counter under Rule
                                 93    24   94    1    counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
94     9    94    20             94    21   94    23   Not a proper      Proper counter under Rule
                                                       counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations
95     17   95    25
96     1    96    18
96     21   96    25
97     1    97    19
98     15   98    17
98     19   98    22
99     15   99    23
100    5    100   10
100    11   100   18
101    13   101   16
102    5    102   8              102   9    102   19   Relevance; Not a relevant to affirmative
                                                       proper counter- designation at 102:20-23;
                                                       designation       proper counter under Rule
                                                       based upon your 32(a)(6)
                                                       interpretation of
                                                       counter-
                                                       designations;




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102    20   102   23             102   24   103   1    Not a proper      Proper counter under Rule
                                                       counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
103    2    103   10             103   21   103   25
105    22   105   25
106    1    106   15             106   16   106   25   Relevance; Not a Relevant to affirmative
                                 107   21   108   8    proper counter- designation; proper counter
                                                       designation       under Rule 32(a)(6)
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
108    9    108   17             108   18   108   25   Not a proper      Proper counter under Rule
                                                       counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
109    1    109   25
110    1    110   10             110   11   110   18   Not a proper      Proper counter under Rule
                                                       counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
110    19   110   23




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111    5    111   16             111   17   112   1    Not a proper      Proper counter under Rule
                                                       counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
112    2    112   4
112    6    112   20             113   5    113   6    Not a proper      Proper counter under Rule
                                 113   8    113   12   counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
114    5    114   9              114   21   114   23
                                 114   25   115   4
115    5    115   9              115   10   115   15
115    22   115   25
116    1    116   5              116   6    116   8    Relevance; Post- Relevant to affirmative
                                 116   12   117   12   trafficing period designation; not post
                                 118   4    118   19   events; Not a     trafficking; proper counter
                                                       proper counter- under Rule 32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
                                                       Improper
                                                       hypothetical




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120    20   120   22             120   23   121   6    Not a proper      Proper counter under Rule
                                 121   8    121   12   counter-          32(a)(6); relevant to
                                 121   14   122   2    designation       affirmative designation; not
                                 122   4    122   5    based upon your improper expert opinion
                                                       interpretation of
                                                       counter-
                                                       designations;
                                                       relevance;
                                                       improper expert
                                                       opinion;

123    21   123   25
124    1    124   2              124   10   124   15   Not a proper      Proper counter under Rule
                                                       counter-          32(a)(6)
                                                       designation
                                                       based upon your
                                                       interpretation of
                                                       counter-
                                                       designations;
126    12   126   24
131    3    131   6
131    8    131   18             131   20   133   4    Relevance; Not a Withdrawn
                                 133   6    133   23   proper counter-
                                                       designation
                                                       based upon your
                                                       definition of
                                                       counter-
                                                       designations;
                                                       hearsay
135    8    135   11




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135    13   135   21                                          135   23   137   2    Relevance; Not a   Withdraw 135:23-137:12;
                                                              137   4    137   12   proper counter-    remainder relevant to
                                                              137   18   137   25   designation        affirmative designations; not
                                                              140   23   141   5    based upon your    hearsay; not expert testimony
                                                                                    definition of
                                                                                    counter-
                                                                                    designations;
                                                                                    hearsay; not
                                                                                    identified as an
                                                                                    expert;

141    6    141   8
141    10   141   19                                          141   20   142   7    Relevance; Not a   Relevant to affirmative
                                                              142   16   142   24   proper counter-    designation; not hearsay, not
                                                              143   5    143   8    designation        offered for truth, proper
                                                              143   12   143   23   based upon your    counter under Rule 32(a)(6)
                                                                                    definition of
                                                                                    counter-
                                                                                    designations;
                                                                                    hearsay;
150    12   150   25
151    1    151   7    3-7, 9 - Leading   Appropriate to
                                          orient witness
                                          and restate prior
                                          testimony;
                                          objection did not
                                          advise of
                                          purported issue
                                          with question at
                                          deposition; no
                                          prejudice;




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151    9    151   13   10-13 - Leading   Appropriate to
                                         orient witness
                                         and restate prior
                                         testimony;
                                         objection did not
                                         advise of
                                         purported issue
                                         with question at
                                         deposition; no
                                         prejudice;

151    20   151   22   Leading           Appropriate to
                                         orient witness
                                         and restate prior
                                         testimony;
                                         objection did not
                                         advise of
                                         purported issue
                                         with question at
                                         deposition; no
                                         prejudice;

151    24   151   25
152    1    152   3    Leading           Appropriate to
                                         orient witness
                                         and restate prior
                                         testimony;
                                         objection did not
                                         advise of
                                         purported issue
                                         with question at
                                         deposition; no
                                         prejudice;

152    5    152   5
152    8    152   25




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153    1    153   3             153   11   154   12   Lack of            Relevant to affirmative
                                                      foundation;        designation; seeks deponent's
                                                      relevance; Not a   knowledge; proper counter
                                                      proper counter-    under Rule 32(a)(6)
                                                      designation
                                                      based upon your
                                                      definition of
                                                      counter-
                                                      designations




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WITNESS NAME:            Michelle Wehrle 30(b)(6)
DEPOSITION DATE:                 8/9/22

AFFIRMATIVE DEPOSITION DESIGNATIONS                         COU                                                                      REPLY DESIGNATIONS
Page         Page          Objections          Replies to   Pag         Pag         Objections        Replies to Objections          Page/Lin       Page/Line   Objections   Replies to
/Line        /Line                             Objections   e/Li        e/Li                                                         e Begin        End                      Objections
9     10     9      13
12    23     13     14
15    22     16     2                                       16     5    16     12
16    15     16     25
17    7      17     13
17    17     18     9
19    23     20     2                                       24     5    24     13   Not a proper      Will play in affirmative
                                                                                    counter
                                                                                    designation given
                                                                                    Plaintiff’s
                                                                                    parameters for
                                                                                    counter
                                                                                    designation; this
                                                                                    can be played in
                                                                                    your affirmative
                                                                                    designations, not
                                                                                    ours.

28     20    29     20                                      30     8    30     13   vague as to       Not vague, question is clear
                                                                                    "Above them,"     what it is asking
                                                                                    compound.
30     14    32     4                                       32     5    32     8
32     14    33     3                                       33     4    33     5
                                                            33     8    33     13
33     14    33     21
34     5     35     9                                       35     10   35     14
35     15    35     21                                      35     22   35     25
36     1     36     6                                       36     7    36     10
36     11    37     10                                      37     11   37     15
                                                            37     18   37     18
40     1     40     8
40     10    40     20



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41     1    41   23
41     25   42   6
42     18   43   2
43     5    43   6
43     8    43   12
43     14   43   17
43     19   43   21
44     11   47   21
48     1    48   14
48     18   48   25
49     25   50   18
50     21   51   13
51     15   53   14
57     5    59   11          59   12   59   19   Exhibit 1 (Guest- Will withdraw as counter
                             59   21   60   9    Ready
                                                 expectations)
                                                 was not included
                                                 in RRI's
                                                 affirmative
                                                 designations.
                                                 Therefore, Not a
                                                 proper counter
                                                 designation given
                                                 Plaintiff’s
                                                 parameters for
                                                 counter
                                                 designation; this
                                                 can be played in
                                                 your affirmative
                                                 designations, not
                                                 ours.

60     17   61   21




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63     25   63   25          64   1    64   2    This affirmative   Okay
                             64   5    64   13   designation
                                                 (63:25) was a
                                                 mistake and is
                                                 withdrawn.
                                                 There is nothing
                                                 to counter, and
                                                 the Plaintiff's
                                                 counter
                                                 designations
                                                 should also be
                                                 withdrawn.

65     15   65   23
67     1    68   1           68   3    68   4
68     6    68   7
68     11   68   21
69     22   70   16
71     4    71   14
72     2    72   14          72   15   72   21   Compound,          objections waived by failure
                                                 attorney           to assert at deposition
                                                 testifying,
72     22   73   19
73     22   73   25
74     13   74   23          74   24   75   6
82     16   84   18
84     20   85   17          85   18   86   4




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86     5    89   8           89   9    89   13   attorney          Will withdraw as counter
                             89   15   89   15   testifying,
                             90   25   91   3    compound, Not a
                             91   6    91   6    proper counter
                                                 designation given
                                                 Plaintiff’s
                                                 parameters for
                                                 counter
                                                 designation; this
                                                 can be played in
                                                 your affirmative
                                                 designations, not
                                                 ours

94     18   94   25
95     8    95   10
95     14   95   19          95   20   95   25   Not a proper      Proper counter under Rule
                                                 counter           32(a)(6)
                                                 designation given
                                                 Plaintiff’s
                                                 parameters for
                                                 counter
                                                 designation; this
                                                 can be played in
                                                 your affirmative
                                                 designations, not
                                                 ours

96     1    96   10          96   11   96   22   Not a proper      Proper counter under Rule
                                                 counter           32(a)(6)
                                                 designation given
                                                 Plaintiff’s
                                                 parameters for
                                                 counter
                                                 designation; this
                                                 can be played in
                                                 your affirmative
                                                 designations, not
                                                 ours




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96     23   98    15          98    16   98    18   Not a proper      Proper counter under Rule
                                                    counter           32(a)(6)
                                                    designation given
                                                    Plaintiff’s
                                                    parameters for
                                                    counter
                                                    designation; this
                                                    can be played in
                                                    your affirmative
                                                    designations, not
                                                    ours

98     19   98    21
99     1    99    7           99    8    99    17   Not a proper      Proper counter under Rule
                                                    counter           32(a)(6)
                                                    designation given
                                                    Plaintiff’s
                                                    parameters for
                                                    counter
                                                    designation; this
                                                    can be played in
                                                    your affirmative
                                                    designations, not
                                                    ours

99     18   100   17
100    20   100   22          100   23   101   4
101    5    101   25
102    15   105   9
105    13   106   10          106   11   106   15
107    23   108   23
108    25   109   7
109    17   112   10          112   11   112   18




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112    19   112   24          112   25   113   2    Not a proper      Proper counter under Rule
                              113   4    113   5    counter           32(a)(6)
                              113   7    113   13   designation given
                              113   17   113   17   Plaintiff’s
                                                    parameters for
                                                    counter
                                                    designation; this
                                                    can be played in
                                                    your affirmative
                                                    designations, not
                                                    ours

113    23   113   24
114    1    114   7
114    10   114   18
114    20   114   24
115    2    115   13
115    24   116   1
116    5    116   13
116    15   117   4
117    20   117   25          118   1    118   15
118    16   119   10          119   11   119   13
119    14   122   10
122    13   126   21
126    24   127   18          127   19   128   1
128    23   131   3           131   4    131   16                                                 131   20   132   3
                              131   19   131   19
132    4    132   17
132    21   132   21          133   7    133   9    Not a proper      Proper counter under Rule
                              133   12   133   15   counter           32(a)(6)
                                                    designation given
                                                    Plaintiff’s
                                                    parameters for
                                                    counter
                                                    designation; this
                                                    can be played in
                                                    your affirmative
                                                    designations, not
                                                    ours



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133    18   134   3
134    5    134   10
134    12   135   1           135   3    135   11   Not a proper      Withdraw 136:22-138:6;       135   21   135   25   responsive
                              135   15   135   17   counter           remainder are proper                               designation
                              135   20   135   20   designation given counters under Rule 32(a)(6)                       withdrawn so
                              136   22   138   4    Plaintiff’s                                                          reply no longer
                              138   6    138   6    parameters for                                                       proper
                                                    counter
                                                    designation; this
                                                    can be played in
                                                    your affirmative
                                                    designations, not
                                                    ours. For
                                                    example,
                                                    Plaintiff's
                                                    counter
                                                    designations on
                                                    page 136-138
                                                    relate to a an
                                                    exhibit that wasn
                                                    ot mentioned in
                                                    RRI's affirmative
                                                    designations,
                                                    which makes
                                                    Plaintiff's
                                                    counter
                                                    inappropriate.



138    14   138   20
139    2    139   9           139   10   139   11                                                 140    15   140   19
                              139   14   140   8




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140    24   141   21          141   22   142   7    Not a proper      Proper counter under Rule
                                                    counter           32(a)(6)
                                                    designation given
                                                    Plaintiff’s
                                                    parameters for
                                                    counter
                                                    designation; this
                                                    can be played in
                                                    your affirmative
                                                    designations, not
                                                    ours

142    8    142   11          142   12   142   20   Not a proper      Proper counter under Rule
                                                    counter           32(a)(6)
                                                    designation given
                                                    Plaintiff’s
                                                    parameters for
                                                    counter
                                                    designation; this
                                                    can be played in
                                                    your affirmative
                                                    designations, not
                                                    ours

145    8    146   17
146    21   147   5
147    25   148   1           148   2    148   5
149    14   149   21
149    23   150   6
150    15   150   16
150    22   152   12
154    18   156   11          154   13   154   17
157    2    158   2
158    8    160   15
161    7    161   20
161    22   162   3
162    7    162   7
162    13   162   17
162    21   163   9
163    12   163   16


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163    18   164   1          164   2   164   4




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